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                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                    Invoice Date                          :      June 22, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3389817
Cranberry Township, PA 16066                                                          Services Through                      :      May 31, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




 0236915.00013           E.U. Competition Counseling



                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         71,825.00
Disbursements and Other Charges                                                                                                          $            736.46

CURRENT INVOICE DUE                                                                                                                      $         72,561.46




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                      FEES

DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
03/29/17   S.S. Megregian    0.20 C300       Consider incoming from M.        140.00
                                             Kirst with partial responses
03/29/17   Z. Romata         1.20 C300       Reviewing responses from         444.00
                                             M. Kirst to second RFI
03/30/17   Z. Romata         2.70 C300       Working on security of           999.00
                                             supply note
03/30/17   Z. Romata         0.70 C300       Revising responses to RFI2       259.00
03/30/17   Z. Romata         0.20 C300       Adding comments to RIF2           74.00
03/31/17   S.S. Megregian    0.30 C100       Consider incoming from M.        210.00
                                             Kirst with further responses
                                             to Commission questions
04/01/17   S.S. Megregian    0.30 C100       Consider incoming from           210.00
                                             RED counsel regarding fuel
                                             ACT
                                             assembly submission and
                                             proposed remedy; respond
                                             to M. Powell regarding
                                             same; email to K. Brode
                                             and M. Kirst regarding
                                             same
04/02/17   S.S. Megregian    0.70 C100       Call with Z. Romata to           490.00
                                             review consolidated draft
                                             response to Commission
                                             questions; discuss same
                                             and provide comments
04/02/17   Z. Romata         0.30 C300       Reviewing further                111.00
                                             responses and comments
                                             to RFI2
04/02/17   Z. Romata         0.30 C300       Revising RFI2                    111.00
04/02/17   Z. Romata         0.70 C300       Discussing responses and         259.00
                                             comments to RFI2 with S.
                                             Megregian
04/02/17   Z. Romata         0.50 C300       Finalizing comments and          185.00
                                             sending same to M. Kirst
                                             and K. Brode
04/04/17   S.S. Megregian    0.10 C300       Consider incoming from M.         70.00
                                             Kirst regarding further
                                             responses
04/04/17   S.S. Megregian    0.10 C300       Email to M. Kirst regarding       70.00
                                             questions on Areva
                                             capacity and utilization
04/04/17   S.S. Megregian    0.80 C300       Review memo from White &         560.00
                                             Case on behalf of RED
                                                                  ACT and
                                             counsel with Z. Romata
                                             discuss comments
04/04/17   S.S. Megregian    0.10 C300       Consider Z. Romata email          70.00
                                             regarding draft comments
                                             to RED counsel response
                                               ACT
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
04/04/17   S.S. Megregian    0.10 C300      Consider further incoming        70.00
                                            from M. Kirst regarding
                                            responses
04/04/17   Z. Romata         0.50 C300      Review of security of supply     185.00
                                            document
04/04/17   Z. Romata         1.60 C300      Reviewing further                592.00
                                            responses and revising
                                            submissions accordingly
04/04/17   Z. Romata         0.20 C300      Email exchange with client        74.00
                                            regarding call to discuss
                                            responses and revising
                                            submissions accordingly
04/04/17   Z. Romata         1.80 C300      Review of further                666.00
                                            comments on responses
                                            and revising submissions
04/04/17   Z. Romata         0.40 C300      Considering materials for        148.00
                                            response to question 32
04/05/17   S.S. Megregian    0.40 C100      Discuss with Z. Romata           280.00
                                            comments from M. Kirst
                                            regarding responses and
                                            documents
04/05/17   S.S. Megregian    0.10 C100      Consider incoming from            70.00
                                            RED counsel and respond
                                            ACT
                                            regarding same
04/05/17   S.S. Megregian    0.40 C100      Call with Z. Romata and M.       280.00
                                            Kirst on responses
04/05/17   S.S. Megregian    0.10 C100      Update with Z. Romata             70.00
                                            regarding contacts to White
                                            & Case; consider email
                                            regarding same
04/05/17   Z. Romata         0.40 C300      Discussing comments from         148.00
                                            M. Kirst with S. Megregian
04/05/17   Z. Romata         3.50 C300      Working on note on security    1,295.00
                                            of supply
04/05/17   Z. Romata         0.30 C300      Considering incoming from        111.00
                                            M. Kirst regarding further
                                            responses and EFG
                                            Agreement
04/05/17   Z. Romata         1.00 C300      Call with client regarding       370.00
                                            RFI2
04/05/17   Z. Romata         1.00 C300      Revising responses based         370.00
                                            on call
04/05/17   Z. Romata         0.80 C300      Preparing draft response to      296.00
                                            question 32 of RFI1
04/06/17   S.S. Megregian    0.30 C100      Review revised comments          210.00
                                            to submission with Z.
                                            Romata; comments and
                                            amendments regarding
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DATE       NAME              HRS TASK       DESCRIPTION                   AMOUNT
                                            same
04/06/17   S.S. Megregian    0.20 C100      Discuss with Z. Romata         140.00
                                            response to M. Kirst on
                                            capacity utilization and
                                            production locations of
                                            Areva
04/06/17   S.S. Megregian    0.10 C100      Further follow-up from M.       70.00
                                            Kirst regarding same
04/06/17   S.S. Megregian    0.20 C100      Emails with RED counsel        140.00
                                                         ACT
                                            regarding filing
04/06/17   S.S. Megregian    0.10 C100      Consider email from M.          70.00
                                            Kirst regarding capacity
                                            utilization
04/06/17   Z. Romata         0.60 C300      Reviewing revised              222.00
                                            responses regarding
                                            submission
04/06/17   Z. Romata         0.10 C300      Discussing revised              37.00
                                            responses regarding
                                            submission with S.
                                            Megregian
04/06/17   Z. Romata         0.10 C300      Email to M. Kirst regarding     37.00
                                            revised responses
                                            regarding submission
04/06/17   Z. Romata         1.70 C300      Working on note on security    629.00
                                            of supply
04/06/17   Z. Romata         0.20 C300      Considering incoming from       74.00
                                            M. Kirst regarding Areva
                                            and responding on same
04/07/17   S.S. Megregian    0.10 C300      Consider incoming from          70.00
                                            RED and email to M. Kirst
                                            ACT
                                            regarding same
04/07/17   S.S. Megregian    0.10 C300      Consider incoming               70.00
                                            comments from M. Kirst on
                                            responses
04/07/17   S.S. Megregian    0.10 C300      Consider emails from M.         70.00
                                            Kirst and K. Brode on RED
                                            document               ACT
04/07/17   S.S. Megregian    0.80 C300      Discuss with Z. Romata         560.00
                                            comments from M. Kirst
                                            and K. Brode on
                                            Commission responses and
                                            RED submission
04/07/17   S.S. Megregian    0.10 C300      ACT
                                            Consider Z. Romata email        70.00
                                            to K. Brode regarding
                                            comments
04/07/17   S.S. Megregian    0.10 C300      Consider Z. Romata email        70.00
                                            to counsel regarding
                                            comments
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
04/07/17   Z. Romata         1.30 C300      Working on note on security      481.00
                                            of supply
04/07/17   Z. Romata         0.50 C300      Reviewing and editing            185.00
                                            comments sent by client on
                                            RED submission
04/07/17   Z. Romata         0.80 C300      ACT
                                            Discussing comments sent         296.00
                                            by client on RED
                                            submission ACT
                                                         with S.
                                            Megregian
04/07/17   Z. Romata         0.20 C300      Email exchange with client        74.00
                                            regarding comments sent
                                            by client on RED
                                            submission ACT
04/07/17   Z. Romata         0.10 C300      Email to White & Case             37.00
                                            regarding comments sent
                                            by client on RED
                                            submission ACT
04/08/17   Z. Romata         1.80 C300      Working on note on security      666.00
                                            of supply
04/09/17   S.S. Megregian    0.60 C300      Review draft submission on       420.00
                                            security of supply and
                                            comments regarding same
04/09/17   Z. Romata         0.60 C300      Review of draft note non         222.00
                                            security of supply with S.
                                            Megregian
04/10/17   Z. Romata         2.30 C300      Revising note on security of     851.00
                                            supply to implement S.
                                            Megregian comments
04/11/17   S.S. Megregian    0.10 C100      Discuss with Z. Romata            70.00
                                            update on responses to
                                            Commission questions and
                                            status of draft submission
04/11/17   S.S. Megregian    0.10 C100      Consider emails from Z.           70.00
                                            Romata to K. Brode
                                            regarding approvals for
                                            submission
04/11/17   S.S. Megregian    0.10 C100      Consider emails from M.           70.00
                                            Kirst regarding update;
                                            discuss with Z. Romata
                                            regarding proposed
                                            response
04/11/17   Z. Romata         2.70 C300      Revising note on security of     999.00
                                            supply
04/11/17   Z. Romata         0.10 C300      Considering incoming from         37.00
                                            S. Lemaire
04/11/17   Z. Romata         0.10 C300      Email to K. Brode regarding       37.00
                                            submitting responses
04/11/17   Z. Romata         0.10 C300      Considering incoming from         37.00
                                            M. Kirst
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
04/12/17   S.S. Megregian    0.10 C100      Consider incoming from D.        70.00
                                            De Novellis regarding
                                            revised response to
                                            question 32
04/12/17   S.S. Megregian    0.10 C100      Consider further incoming         70.00
                                            from K. Brode on
                                            responses and EFG
                                            agreement
04/12/17   S.S. Megregian    0.30 C100      Discuss responses with Z.        210.00
                                            Romata and agree next
                                            steps
04/12/17   S.S. Megregian    0.30 C100      Discuss confidentiality          210.00
                                            claims on responses with Z.
                                            Romata and review email
04/12/17   S.S. Megregian    0.30 C100      Review with Z. Romata            210.00
                                            draft submission on security
                                            of supply and comment
                                            regarding same
04/12/17   Z. Romata         0.10 C300      Considering incoming from         37.00
                                            client regarding response to
                                            question 32
04/12/17   Z. Romata         0.20 C300      Revising confidentiality          74.00
                                            claims
04/12/17   Z. Romata         0.30 C300      Discussing response to           111.00
                                            question 32 from client with
                                            S. Megregian
04/12/17   Z. Romata         0.10 C300      Email to client regarding         37.00
                                            note on security of supply
04/12/17   Z. Romata         0.20 C300      Finalizing note on security       74.00
                                            of supply
04/12/17   Z. Romata         0.60 C300      Discussing note on security      222.00
                                            of supply with S. Megregian
04/13/17   S.S. Megregian    0.30 C100      Discuss with Z. Romata           210.00
                                            follow-up regarding
                                            responses to Commission
                                            questions and security of
                                            supply submission
04/13/17   S.S. Megregian    0.10 C100      Consider Z. Romata and M.         70.00
                                            Kirst emails regarding
                                            status of submissions to
                                            Commission and security of
                                            supply
04/13/17   S.S. Megregian    0.10 C100      Consider further comments         70.00
                                            from K. Brode and M. Kirst
                                            regarding responses on
                                            security of supply
04/14/17   S.S. Megregian    0.10 C100      Consider Z. Romata email          70.00
                                            to Commission with
                                            responses to questions;
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DATE       NAME              HRS TASK       DESCRIPTION                     AMOUNT
                                            discuss remaining
                                            outstanding questions
04/14/17   S.S. Megregian    0.10 C100      Discuss with Z. Romata            70.00
                                            and respond
04/14/17   S.S. Megregian    0.10 C100      Consider further comment          70.00
                                            from M. Kirst
04/14/17   S.S. Megregian    0.10 C100      Consider further incoming         70.00
                                            from M. Kirst and respond
                                            to Z. Romata regarding
                                            same
04/14/17   S.S. Megregian    0.30 C100      Discuss remaining                210.00
                                            outstanding questions;
                                            discuss K. Brode and M.
                                            Kirst comments on security
                                            of supply submission and
                                            review revised draft; update
                                            with Z. Romata regarding
                                            remaining outstanding
                                            responses to Commission
04/14/17   Z. Romata         0.20 C300      Considering and                   74.00
                                            implementing comments
                                            from client regarding
                                            submission on security of
                                            supply
04/14/17   Z. Romata         0.30 C300      Discussing comments from         111.00
                                            client regarding submission
                                            on security of supply with S.
                                            Megregian
04/14/17   Z. Romata         0.40 C300      Finalizing response and          148.00
                                            submitting them to
                                            Commission
04/14/17   Z. Romata         0.20 C300      Email to client regarding         74.00
                                            outstanding questions and
                                            revised submission
04/17/17   S.S. Megregian    0.20 C100      Consider incoming from K.        140.00
                                            Brode on Areva capacity
                                            utilization; comment back
                                            regarding same
04/17/17   Z. Romata         0.20 C300      Considering incoming from         74.00
                                            K. Brode regarding Areva
                                            plants capacity and
                                            response regarding same
                                            from S. Megregian
04/18/17   S.S. Megregian    0.20 C100      Consider incoming from           140.00
                                            Commission regarding
                                            formal notification by EDF
                                            of transaction and
                                            questionnaires
04/18/17   S.S. Megregian    0.10 C100      Discuss with Z. Romata            70.00
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DATE       NAME                HRS TASK       DESCRIPTION                  AMOUNT
                                              email to K. Brode and M.
                                              Kirst on next steps
04/18/17   S.S. Megregian      0.20 C100      Discuss with Z. Romata        140.00
                                              areas covered by
                                              questionnaires
04/18/17   S.S. Megregian      0.10 C100      Consider further comments      70.00
                                              from S. Lemaire
04/18/17   S.S. Megregian      0.10 C100      Review responses from          70.00
                                              client regarding responses
                                              to questionnaire
04/18/17   S.S. Megregian      0.10 C100      Review responses from K.       70.00
                                              Brode regarding update on
                                              next steps
04/18/17   S.S. Megregian      0.10 C100      Consider incoming from S.      70.00
                                              Lameier regarding security
                                              of supply and respond
                                              regarding same
04/18/17   Z. Romata           0.10 C300      Considering incoming from      37.00
                                              Commission regarding
                                              questionnaire; email to
                                              Commission regarding
                                              same, considering various
                                              emails from client, email
                                              with FA questionnaire
04/18/17   Z. Romata           0.30 C300      Discuss response from         111.00
                                              Commission regarding
                                              questionnaire with S.
                                              Megregian and response to
                                              client
04/19/17   B. C. McLaughlin    0.20 P400      Discussed questionnaires       59.00
                                              with Z. Romata
04/19/17   B. C. McLaughlin    0.10 P400      Drafted responses to           29.50
                                              questionnaires
04/19/17   B. C. McLaughlin    0.10 P400      Discussed with Z. Romata       29.50
                                              responses to the
                                              questionnaires
04/19/17   B. C. McLaughlin    0.40 P400      Drafted notes on proposed     118.00
                                              answers for questionnaires
04/19/17   B. C. McLaughlin    0.90 P400      Used information provided     265.50
                                              in previous questionnaires
                                              and board minutes to
                                              determine whether we
                                              could answer each question
04/19/17   B. C. McLaughlin    0.40 P400      Reviewed questionnaire on     118.00
                                              nuclear services
04/19/17   S.S. Megregian      0.10 C100      Consider update regarding      70.00
                                              Commission timeline for
                                              review
04/19/17   S.S. Megregian      0.40 C100      Consider Z. Romata email      280.00
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
                                            regarding additional
                                            questionnaires; consider Z.
                                            Romata and Commission
                                            emails regarding extension
                                            to deadline; consider M.
                                            Kirst emails and Z. Romata
                                            responses regarding
                                            logistics for completing
                                            responses; consider
                                            incoming from S. Lemaire
                                            regarding security of supply
                                            paper and respond
                                            regarding same; consider
                                            further emails from K.
                                            Brode and M. Kirst
                                            regarding response
04/19/17   S.S. Megregian    0.40 C100      Call with RED counsel           280.00
                                            regardingACTupdate on
                                            completion of
                                            questionnaires
04/19/17   S.S. Megregian    0.20 C100      Further discuss with Z.         140.00
                                            Romata questionnaires and
                                            organizing responses to
                                            remaining questionnaires
04/19/17   S.S. Megregian    0.10 C100      Consider Z. Romata email         70.00
                                            to team regarding FA
                                            questionnaire
04/19/17   S.S. Megregian    1.00 C100      Review with Z. Romata, S.       700.00
                                            Lemaire comments on
                                            security of supply; review
                                            FA questionnaire with Z.
                                            Romata and determine
                                            where WEEK input is
                                            required; update with Z.
                                            Romata regarding contacts
                                            with Commission and
                                            additional questionnaires;
                                            discuss with Z. Romata
                                            plans for completing
                                            questionnaire
04/19/17   Z. Romata         0.20 C300      Email exchange with client       74.00
04/19/17   Z. Romata         0.60 C300      Reviewing questionnaire on      222.00
                                            FAs with S. Megregian
04/19/17   Z. Romata         0.20 C300      Email to client regarding        74.00
                                            questionnaire on FAs
04/19/17   Z. Romata         0.30 C300      Contacting Commission           111.00
                                            regarding questionnaires
04/19/17   Z. Romata         0.60 C300      Reviewing comments from         222.00
                                            S. Lemaire on submission
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DATE       NAME              HRS TASK       DESCRIPTION                     AMOUNT
                                            on security of supply with S.
                                            Megregian
04/19/17   Z. Romata          0.40 C300     Revising submission on           148.00
                                            security of supply
04/19/17   Z. Romata          0.10 C300     Email to S. Lemaire               37.00
                                            regarding submission on
                                            security of supply
04/19/17   Z. Romata          4.00 C300     Working on FA                   1,480.00
                                            questionnaire
04/19/17   Z. Romata          0.60 C300     Reviewing other three            222.00
                                            questionnaires received
                                            from Commission
04/19/17   Z. Romata          0.30 C300     Call with Commission             111.00
                                            regarding extension
04/20/17   S.S. Megregian     0.10 C100     Update with Z. Romata             70.00
                                            regarding approval for
                                            submission
04/20/17   S.S. Megregian     0.10 C100     Review Z. Romata emails           70.00
                                            regarding revised
                                            submission on security of
                                            supply and discuss with Z.
                                            Romata
04/20/17   S.S. Megregian     0.10 C100     Consider incoming from S.         70.00
                                            Lemaire regarding approval
                                            for submission
04/20/17   Z. Romata          0.10 C300     Updating contact details for      37.00
                                            e-questionnaires
04/20/17   Z. Romata          0.10 C300     Considering email from S.         37.00
                                            Megregian to S. Lemaire
                                            regarding submission on
                                            security of supply
04/20/17   Z. Romata          0.10 C300     Organizing call regarding         37.00
                                            submission on security of
                                            supply
04/20/17   Z. Romata          0.40 C300     Call with S. Lemaire             148.00
                                            regarding submission on
                                            security of supply
04/20/17   Z. Romata          0.10 C300     Discuss submission on             37.00
                                            security of supply with S.
                                            Megregian
04/20/17   Z. Romata          0.10 C300     Revising submission on            37.00
                                            security of supply
04/20/17   Z. Romata          0.10 C300     Discussing revising               37.00
                                            submission on security of
                                            supply with S. Megregian
04/20/17   Z. Romata          0.40 C300     Email to S. Lemaire              148.00
                                            regarding revised
                                            submission
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
04/20/17   Z. Romata         0.40 C300      Finalizing submission            148.00
04/20/17   Z. Romata         0.10 C300      Email to Commission               37.00
                                            regarding finalization of
                                            submission
04/21/17   S.S. Megregian     0.10 C100     Follow-up email from M.           70.00
                                            Kirst regarding same and
                                            respond
04/21/17   S.S. Megregian     0.10 C100     Consider incoming from            70.00
                                            Commission regarding
                                            confidentiality on
                                            submission
04/21/17   S.S. Megregian     0.10 C100     Discuss confidentiality on        70.00
                                            submission with Z. Romata
04/21/17   S.S. Megregian     0.10 C100     Consider Z. Romata email          70.00
                                            to K. Brode and M. Kirst
                                            regarding confidentiality on
                                            submission
04/21/17   S.S. Megregian     0.10 C100     Consider K. Brode                 70.00
                                            comments regarding
                                            confidentiality
04/21/17   S.S. Megregian     0.10 C100     Consider M. Kirst input           70.00
                                            regarding confidentiality of
                                            submission
04/21/17   S.S. Megregian     0.10 C100     Email to M. Kirst and K.          70.00
                                            Brode regarding possible
                                            strategy to meet with senior
                                            officials
04/21/17   Z. Romata          0.20 C300     Identifying confidential          74.00
                                            information in submission
                                            on security of supply
04/21/17   Z. Romata          0.10 C300     Considering incoming from         37.00
                                            Commission regarding
                                            confidentiality
04/21/17   Z. Romata          0.10 C300     Email to client regarding         37.00
                                            identifying confidential
                                            information in submission
04/22/17   S.S. Megregian     0.10 C100     Discuss with Z. Romata            70.00
                                            plan for contacts to
                                            Commission regarding
                                            potential meeting
04/22/17   S.S. Megregian     0.10 C100     Consider incoming from M.         70.00
                                            Kirst regarding possible
                                            Commission meeting
04/22/17   Z. Romata          0.10 C300     Considering incoming from         37.00
                                            M. Kirst and S. Megregian
                                            regarding confidentiality
                                            claims and potential
                                            meeting with Commission
04/23/17   S.S. Megregian     0.10 C100     Consider emails from Z.           70.00
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DATE       NAME              HRS TASK       DESCRIPTION                     AMOUNT
                                            Romata and M. Kirst
                                            regarding potential meeting
                                            with Commission
04/24/17   S.S. Megregian     0.10 C300     Consider email from M.            70.00
                                            Kirst regarding further
                                            responses to Commission
                                            questionnaires
04/24/17   S.S. Megregian     0.40 C300     Call with Z. Romata              280.00
                                            regarding draft responses
                                            on services questionnaire;
                                            comments to Z. Romata
                                            regarding same; discuss
                                            with Z. Romata regarding
                                            comments from K. Brode;
                                            review same and provide
                                            amendments to Z. Romata
04/24/17   S.S. Megregian     0.20 C300     Consider correspondence          140.00
                                            regarding confidentiality on
                                            security of supply an email
                                            from K. Brode approving
                                            submission
04/24/17   S.S. Megregian     0.20 C300     Consider incoming from N.        140.00
                                            Torbjorn regarding
                                            comments on fuel assembly
                                            response and discuss with
                                            Z. Romata
04/24/17   Z. Romata          0.90 C300     Review of response on            333.00
                                            nuclear services
                                            questionnaire
04/24/17   Z. Romata          0.40 C300     Discussing response on           148.00
                                            nuclear services
                                            questionnaire with S.
                                            Megregian
04/24/17   Z. Romata          0.40 C300     Email to client with             148.00
                                            comments responses on
                                            nuclear services
                                            questionnaire
04/24/17   Z. Romata          0.20 C300     Considering comments              74.00
                                            from K. Brode on nuclear
                                            services questionnaire
04/24/17   Z. Romata          0.10 C300     Discussing answers from T.        37.00
                                            Noren regarding fuel
                                            assemblies with S.
                                            Megregian
04/24/17   Z. Romata          0.40 C300     Considering answers from         148.00
                                            T. Noren regarding fuel
                                            assemblies
04/25/17   S.S. Megregian     0.10 C300     Consider M. Kirst emails          70.00
                                            regarding timing of potential
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DATE       NAME              HRS TASK       DESCRIPTION                     AMOUNT
                                            Commission meeting
04/25/17   S.S. Megregian     0.20 C300     Discuss timing of potential      140.00
                                            Commission meeting with
                                            Z. Romata
04/25/17   S.S. Megregian     0.30 C300     Consider Z. Romata email         210.00
                                            regarding revised response;
                                            consider M. Kirst response
                                            regarding same; consider
                                            Z. Romata email to
                                            Commission regarding
                                            security of supply and
                                            confidentiality; consider
                                            Commission response
                                            regarding same
04/25/17   Z. Romata          2.20 C300     Revising FA questionnaire        814.00
04/25/17   Z. Romata          0.30 C300     Contacting Commission to         111.00
                                            organize meeting
04/26/17   S.S. Megregian     0.10 C300     Call with Z. Romata on            70.00
                                            organizing Commission
                                            meeting
04/26/17   S.S. Megregian     0.10 C300     Consider M. Kirst email           70.00
                                            regarding Commission
                                            meeting
04/26/17   S.S. Megregian     0.10 C300     Consider emails and               70.00
                                            attachments from M. Kirst
                                            on responses
04/26/17   Z. Romata          0.20 C300     Call with Commission              74.00
                                            regarding meeting with
                                            officials and WEC
                                            representatives
04/26/17   Z. Romata          0.10 C300     Considering incoming from         37.00
                                            M. Kirst regarding timing for
                                            meeting, response
                                            regarding same
04/27/17   F. Carloni         0.40 C300     Telephone conference with        280.00
                                            Z. Romata regarding
                                            preparation of meeting with
                                            DG COMP of 4 May
                                            regarding background
                                            about Carles Esteva Mosso
04/27/17   F. Carloni         0.30 C300     Telephone conference with        210.00
                                            Z. Romata and S.
                                            Megregian regarding scope
                                            of briefing points of meeting
                                            May 4th
04/27/17   F. Carloni         0.30 C300     Draft follow-up regarding        210.00
                                            scope of briefing points and
                                            meeting of May 4th
04/27/17   S.S. Megregian     0.10 C300     Consider email from M.            70.00
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DATE       NAME              HRS TASK       DESCRIPTION                     AMOUNT
                                            Kirst regarding Fuel
                                            assembly responses;
                                            consider emails from M.
                                            Kirst, Z. Romata and
                                            Commission regarding
                                            potential Commission
                                            meeting
04/27/17   S.S. Megregian     0.20 C300     Discuss with Z. Romata           140.00
                                            Nuclear Island responses;
                                            discuss with Z. Romata
                                            status of all 4 questionnaire
                                            responses
04/27/17   S.S. Megregian     0.20 C300     Consider numerous emails         140.00
                                            from M. Kirst, Z. Romata
                                            and Commission regarding
                                            logistics of Commission
                                            meeting
04/27/17   S.S. Megregian     0.30 C300     Discuss with F. Carloni          210.00
                                            potential assistance with
                                            Commission meeting
04/27/17   S.S. Megregian     0.10 C300     Consider incoming from K.         70.00
                                            Brode on nuclear Island
                                            submission; consider
                                            incoming from S. Lemaire
                                            regarding comments on
                                            nuclear services response
                                            and status of fuel assembly
                                            response; discuss with Z.
                                            Romata update on
                                            responses and preparation
                                            for meeting
04/27/17   Z. Romata          0.30 C300     Organizing meeting with          111.00
                                            Commission
04/27/17   Z. Romata          1.30 C300     Reviewing responses to           481.00
                                            nuclear islands and nuclear
                                            services questionnaires
04/27/17   Z. Romata          0.20 C300     Email exchanges with M.           74.00
                                            Kirst
04/27/17   Z. Romata          0.30 C300     Instructing T. Siakka to         111.00
                                            upload nuclear island
                                            questionnaire online
04/27/17   Z. Romata          0.40 C300     Discussing questionnaire         148.00
                                            with F. Carloni case team
                                            and case
04/27/17   Z. Romata          0.20 C300     Update to S. Megreian             74.00
                                            regarding questionnaires
04/27/17   T. Siakka          0.50 B110     Liaising and email               185.00
                                            exchange with Z. Romata
                                            regarding Westinghouse
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DATE       NAME              HRS TASK       DESCRIPTION                   AMOUNT
                                            questionnaire
04/27/17   T. Siakka          1.50 B110     Review questionnaire and       555.00
                                            input in Commission's
                                            portal
04/27/17   T. Siakka          0.40 B110     Email to Z. Romata and         148.00
                                            discussion regarding
                                            progress portal modalities
                                            and responses to
                                            confidentiality claims
04/28/17   F. Carloni         0.70 C300     Prepare for and attend         490.00
                                            telephone conference with
                                            S. Megregian and Z.
                                            Romata regarding speaking
                                            notes for meeting with DG
                                            COMP of 4 May 2017
04/28/17   F. Carloni         0.40 C300     Review Z. Romata               280.00
                                            correspondence with
                                            speaking points
04/28/17   F. Carloni         0.10 C300     Attention to                    70.00
                                            correspondence regarding
                                            speaking points
04/28/17   S.S. Megregian     0.20 C300     Consider M. Kirst and Z.       140.00
                                            Romata emails regarding
                                            meeting with Commission;
                                            consider incoming from M.
                                            Kirst regarding responses
                                            on fuel assemblies and
                                            nuclear services
04/28/17   S.S. Megregian     0.40 C300     Call with Z. Romata and F.     280.00
                                            Carloni regarding talking
                                            points for Commission
                                            meeting; review talking
                                            points with Z. Romata and
                                            comments regarding same
04/28/17   S.S. Megregian     0.20 C300     Discuss with Z. Romata         140.00
                                            submission of documents
                                            and review of nuclear
                                            services and fuel
                                            assemblies
04/28/17   S.S. Megregian     0.10 C300     Consider M. Kirst response      70.00
                                            regarding pre-meeting and
                                            talking points
04/28/17   S.S. Megregian     0.10 C300     Consider incoming email         70.00
                                            regarding response to I & C
                                            questionnaire
04/28/17   S.S. Megregian     0.10 C300     Consider incoming from K.       70.00
                                            Brode on bullet points and
                                            incoming from S. Lemaire
                                            on responses
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DATE       NAME              HRS TASK       DESCRIPTION                   AMOUNT
04/28/17   Z. Romata         0.20 C300      Review of comments from         74.00
                                            S. Lemaire regarding
                                            talking points
04/28/17   Z. Romata          2.00 C300     Finalizing nuclear services     740.00
                                            questionnaire
04/28/17   Z. Romata          0.60 C300     Review of online                222.00
                                            submissions prepared by T.
                                            Siakka
04/28/17   Z. Romata          0.40 C300     Review of fuel assemblies       148.00
                                            and I&C questionnaires
04/28/17   Z. Romata          1.30 C300     Uploading fuel assemblies       481.00
                                            questionnaire online
04/28/17   Z. Romata          0.40 C300     Discussing with S.              148.00
                                            Megregian and F. Carloni
                                            talking points for meeting
04/28/17   Z. Romata          0.20 C300     Email to client regarding        74.00
                                            talking points for meeting
04/28/17   T. Siakka          1.00 B110     Review first questionnaire      370.00
                                            and liaise with Z. Romata
                                            regarding comments
04/28/17   T. Siakka          1.00 B110     Revise accordingly review       370.00
                                            and submit to the EC portal
04/28/17   T. Siakka          0.10 B110     Email to Z. Romata               37.00
                                            regarding submitted
                                            questionnaire and
                                            confirmation
04/28/17   T. Siakka          0.10 B110     Discussion with Z. Romata        37.00
                                            regarding second
                                            questionnaire
04/28/17   T. Siakka          0.30 B110     Input responses                 111.00
04/28/17   T. Siakka          0.10 B110     Email regarding modalities       37.00
                                            regarding Q25 to Z.
                                            Romata
04/28/17   T. Siakka          0.10 B110     Consider incoming from           37.00
                                            client and modify responses
04/28/17   T. Siakka          0.30 B110     Review first questionnaire      111.00
                                            and liaise with Z. Romata
                                            regarding comments;
                                            review and submit
                                            questionnaire; email to Z.
                                            Romata regarding
                                            submitted responses and
                                            confirmation
04/28/17   T. Siakka          0.10 B110     Email to Z. Romata               37.00
                                            regarding submitted
                                            responses and confirmation
05/01/17   S.S. Megregian     0.10 C300     Consider emails from Z.          70.00
                                            Romata and M. Kirst
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DATE       NAME              HRS TASK       DESCRIPTION                   AMOUNT
                                            regarding submission
05/01/17   S.S. Megregian     0.10 C300     Consider email from D. De       70.00
                                            Novellis regarding response
                                            regarding submission
05/01/17   S.S. Megregian     0.10 C300     Discuss with Z. Romata          70.00
                                            submission of I&C
                                            response to Commission
05/01/17   Z. Romata          1.00 C300     Uploading I&C                  370.00
                                            questionnaire online
05/01/17   Z. Romata          0.10 C300     Email to client with            37.00
                                            questions on I&C
                                            questionnaire
05/01/17   Z. Romata          0.10 C300     Considering incoming from       37.00
                                            M. Kirst regarding I&C
                                            questionnaire
05/01/17   Z. Romata          0.10 C300     Revise submission of I&C        37.00
                                            questionnaire
05/02/17   F. Carloni         0.20 C300     Attention to                   140.00
                                            correspondence and follow-
                                            up with Z. Romata
                                            regarding meeting of 4 May
05/02/17   S.S. Megregian     0.10 C300     Consider various incoming       70.00
                                            from M. Kirst, Z. Romata
                                            and Commission regarding
                                            meeting with Commission
                                            regarding concerns
05/02/17   S.S. Megregian     0.10 C300     Discuss meeting and             70.00
                                            organizing call with
                                            Commission regarding
                                            concerns with Z. Romata
05/02/17   S.S. Megregian     0.10 C300     Consider further emails         70.00
                                            from Commission regarding
                                            attendance at meeting
05/02/17   Z. Romata          0.10 c300     Email to M. Kirst with          37.00
                                            responses submitted to
                                            Commission, considering
                                            incoming from M. Kirst
                                            regarding meeting
05/02/17   Z. Romata          0.10 c300     Email to Commission to          37.00
                                            confirm attendees and
                                            place
05/02/17   Z. Romata          0.10 c300     Discussing attendees and        37.00
                                            place with S. Megregian
05/02/17   Z. Romata          0.10 c300     Email to M. Kirst regarding     37.00
                                            meeting, further email
                                            exchange with client
                                            regarding call
05/03/17   F. Carloni         1.80 C300     Review presentation to        1,260.00
                                            European Commission of
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DATE       NAME              HRS TASK       DESCRIPTION                      AMOUNT
                                            19 January 2017; and
                                            updated list of talking points
                                            regarding meeting of 4 May
                                            with European Commission
05/03/17   F. Carloni         1.00 C300     Prepare for and attend            700.00
                                            telephone conference with
                                            M. Kirst, Kevin Brode, S.
                                            Megregian, Z. Romata
                                            regarding preparation of
                                            meeting of 4 May 2017
05/03/17   S.S. Megregian     0.20 C300     Call with counsel to discuss      140.00
                                            updates and intelligence
05/03/17   S.S. Megregian     0.10 C300     Consider incoming from M.          70.00
                                            Kirst regarding materials for
                                            preparation of Commission
                                            meeting
05/03/17   S.S. Megregian     0.10 C300     Discuss preparation of             70.00
                                            commission meeting with Z.
                                            Romata and provide
                                            comments
05/03/17   S.S. Megregian     0.40 C300     Prepare for call for              280.00
                                            Commission meeting with
                                            K. Brode, M. Kirst and KL
                                            Gates team
05/03/17   S.S. Megregian     0.10 C300     Email to M. Powell                 70.00
                                            regarding proposed call
05/03/17   S.S. Megregian     0.20 C300     Consider update from F.           140.00
                                            Carloni regarding deadline
                                            for EDF to offer remedies
05/03/17   S.S. Megregian     0.10 C300     Discuss with Z. Romata             70.00
                                            and instructions regarding
                                            update of client
05/03/17   S.S. Megregian     0.20 C300     Consider incoming MLex            140.00
                                            update regarding
                                            intelligence on status of
                                            Commission review
05/03/17   Z. Romata          0.30 c300     Considering talking points        111.00
                                            from M. Kirst regarding
                                            preparing for additional
                                            information on remedies
                                            and counter arguments to
                                            EU arguments
05/03/17   Z. Romata          0.90 c300     Preparing additional info on      333.00
                                            remedies and counter
                                            arguments to EU
                                            arguments
05/03/17   Z. Romata          0.10 c300     Discussing remedies and            37.00
                                            counter arguments to EU
                                            with S. Megregian
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
05/03/17   Z. Romata         0.10 c300      Email to M. Kirst regarding      37.00
                                            remedies and counter
                                            arguments to EU
05/03/17   Z. Romata          0.60 c300     Call to discuss meeting with     222.00
                                            Commission
05/03/17   Z. Romata          0.20 c300     Call with M. Powell to            74.00
                                            discuss meeting with
                                            Commission
05/03/17   Z. Romata          0.20 c300     Update email to client            74.00
                                            regarding meeting with
                                            Commission
05/03/17   Z. Romata          2.50 c300     Travel to Brussels for           925.00
                                            meeting with Commission
05/04/17   F. Carloni         1.00 C300     Attend preparatory meeting       700.00
                                            and with L. Van Hulle, S.
                                            Lemaire, M. Kirst, Z.
                                            Romata
05/04/17   F. Carloni         2.00 C300     Meeting with L. Van Hulle,     1,400.00
                                            S. Lemaire, M. Kirst, C.
                                            Esteva Mosso, H.
                                            Anttilainen, B. Popescu, C.
                                            Tixier, D. Gerard
05/04/17   F. Carloni         0.80 C300     Debrief meeting with S.          560.00
                                            Megregian and Z. Romata
                                            regarding preparation of
                                            submission to DG COMP
                                            regarding remedy issues
05/04/17   F. Carloni         0.60 C300     Office conferences with Z.       420.00
                                            Romata and K. Hristova
                                            regarding scope of
                                            research regarding
                                            preparation of note
05/04/17   F. Carloni         5.00 C300     Draft note regarding           3,500.00
                                            remedy issues
05/04/17   K. Hristova        0.60 C300     Office conference with F.        129.00
                                            Carloni and Z. Romata
                                            regarding scope of
                                            research regarding
                                            European Commission
                                            precedents regarding
                                            Westinghouse paper on
                                            remedies
05/04/17   K. Hristova        2.90 C300     Research, draft findings         623.50
                                            regarding European
                                            Commission precedents
                                            regarding Westinghouse
                                            paper on remedies
05/04/17   M. Kocon           1.80 C200     Review and analysis of EU        666.00
                                            precedents on meager
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
                                            remedy decisions imposing
                                            obligation on merging
                                            parties to continue existing
                                            contracts
05/04/17   M. Kocon           0.40 C200     Draft and internal              148.00
                                            communication of note
                                            summarizing supporting
                                            case law on precedents on
                                            meager remedy decisions
                                            imposing obligation on
                                            merging parties to continue
                                            existing contracts
05/04/17   S.S. Megregian     0.40 C300     Preparatory call with WEC       280.00
                                            team, Z. Romata and F.
                                            Carloni for Commission
                                            meeting
05/04/17   S.S. Megregian     0.80 C300     Discuss with Z. Romata          560.00
                                            and F. Carloni regarding
                                            results of Commission
                                            meeting and next steps
05/04/17   S.S. Megregian     0.10 C300     Consider Z. Romata email         70.00
                                            regarding clarification of
                                            Vesteros capacity
05/04/17   S.S. Megregian     0.10 C300     Consider emails from             70.00
                                            commission regarding
                                            follow-up questions and Z.
                                            Romata email regarding
                                            same
05/04/17   Z. Romata          2.00 c300     Pre-meeting with F. Carloni,    740.00
                                            S. Lemaire, M. Kirst and L.
                                            Van Hulle,
05/04/17   Z. Romata          1.50 c300     Meeting with Commission         555.00
05/04/17   Z. Romata          1.00 c300     Debriefing and setting next     370.00
                                            steps with client thereafter
05/04/17   Z. Romata          0.80 c300     Instructing M. Kocon and K      296.00
                                            Hristova regarding research
                                            on precedents
05/04/17   Z. Romata          0.80 c300     Call with S. Megregian          296.00
                                            regarding meeting with
                                            Commission and next steps
05/04/17   Z. Romata          0.80 c300     Travel from meeting             296.00
05/04/17   Z. Romata          0.30 c300     Considering incoming from       111.00
                                            Commission, email to client
                                            regarding same,
                                            considering incoming from
                                            F. Carloni
05/05/17   F. Carloni         0.90 C300     Review Z. Romata's              630.00
                                            comments regarding
                                            Westinghouse submission
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DATE       NAME                HRS TASK       DESCRIPTION                   AMOUNT
                                              to European Commission;
                                              review Areva/Urenco/ETC
                                              JV and firewall
05/05/17   F. Carloni           0.40 C300     Telephone conference with      280.00
                                              Z. Romata regarding same
05/05/17   F. Carloni           0.50 C300     Draft comments regarding       350.00
                                              submission
05/05/17   S.S. Megregian       0.10 C300     Consider incoming from          70.00
                                              RED counsel regarding
                                              ACT
                                              submission on remedies
05/05/17   Z. Romata            0.80 C300     Review of submission on        296.00
                                              remedies from F. Carloni
05/05/17   Z. Romata            1.80 C300     Revising submission on         666.00
                                              remedies and providing
                                              comments to F. Carloni
05/05/17   Z. Romata            0.50 C300     Finalizing draft of            185.00
                                              submission on remedies
05/07/17   S.S. Megregian       0.30 C300     Discuss with Z. Romata         210.00
                                              preparing response to
                                              further questions on
                                              capacity
05/07/17   S.S. Megregian       0.10 C300     Review with Z. Romata           70.00
                                              draft submission on
                                              remedies
05/07/17   Z. Romata            0.20 c300     Discussing draft submission     74.00
                                              on remedies with S.
                                              Megregian
05/07/17   Z. Romata            2.00 c300     Revising draft submission      740.00
                                              on remedies to incorporate
                                              S. Megregian comments
05/07/17   Z. Romata            1.50 c300     Review of case law referred    555.00
                                              to regarding draft
                                              submission on remedies
05/08/17   F. Carloni           0.30 C300     Telephone conference with      210.00
                                              Z. Romata regarding S.
                                              Megregian's comments to
                                              draft submission and tender
                                              precedents in Commission
                                              decisions
05/08/17   B. C. McLaughlin     0.40 L320     Proof read document for Z.     118.00
                                              Romata; updated soft copy
                                              and emailed to Z. Romata
05/08/17   S.S. Megregian       0.40 C300     Review with Z. Romata          280.00
                                              draft submission and
                                              comment
05/08/17   S.S. Megregian       0.30 C300     Consider revised               210.00
                                              submission and provide
                                              final comments
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DATE       NAME              HRS TASK       DESCRIPTION                   AMOUNT
05/08/17   S.S. Megregian    0.10 C300      Consider incoming update        70.00
                                            from M. Kirst regarding
                                            status of responses to
                                            Commission
05/08/17   S.S. Megregian     0.10 C300     Update toRED counsel             70.00
                                            regarding ACT
                                                       status of
                                            responses to Commission
05/08/17   Z. Romata          2.00 c300     Working on remedies             740.00
                                            submission
05/08/17   Z. Romata          0.40 c300     Discussing work on              148.00
                                            remedies submission with
                                            S. Megregian
05/08/17   Z. Romata          1.00 c300     Further research on case        370.00
                                            law regarding remedies
05/08/17   Z. Romata          0.10 c300     Email to M. Kirst regarding      37.00
                                            timing of responses to
                                            Commission's latest
                                            questions
05/09/17   M. Kocon           3.00 C200     Assessment of EU              1,110.00
                                            Commission merger control
                                            precedents dealing with
                                            remedy decisions requiring
                                            merging parties to source
                                            supplies from third parties
                                            by way of a public auction
05/09/17   M. Kocon           0.50 C200     Draft and internal              185.00
                                            communication of email
                                            summarizing findings and
                                            conclusions
05/09/17   S.S. Megregian     0.10 C300     Discuss with Z. Romata           70.00
                                            amendments to remedies
                                            submission based on K.
                                            Brode comments
05/09/17   S.S. Megregian     0.10 C300     Consider incoming from M.        70.00
                                            Kirst regarding responses
                                            to questions from
                                            Commission and review of
                                            remedies submission
05/09/17   S.S. Megregian     0.20 C300     Discuss M. Kirst email with     140.00
                                            Z. Romata and review
                                            responses
05/09/17   S.S. Megregian     0.10 C300     Consider Z. Romata email         70.00
                                            regarding revised supply
                                            and capacity tables for
                                            CMA
05/09/17   Z. Romata          0.80 c300     Considering comments            296.00
                                            from K. Brode, revising
                                            submission on remedies
                                            accordingly
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DATE       NAME              HRS TASK       DESCRIPTION                     AMOUNT
05/09/17   Z. Romata         0.10 c300      Discussing comments from          37.00
                                            K. Brode and revising
                                            submission on remedies
                                            with S. Megregian
05/09/17   Z. Romata          0.20 c300     Email to client regarding          74.00
                                            revising submission on
                                            remedies
05/09/17   Z. Romata          0.20 c300     Discussing with M. Kocon           74.00
                                            research on precedents
                                            requesting the merging
                                            party to source
                                            products/services post-
                                            merger from third party
                                            suppliers through
                                            auctions/public tenders
05/09/17   Z. Romata          0.20 c300     Review of responses to             74.00
                                            latest RFI
05/09/17   Z. Romata          0.30 c300     Comments to M. Kirst on           111.00
                                            same and further email
                                            exchange regarding actual
                                            capacity
05/10/17   S.S. Megregian     0.10 C300     Consider M. Kirst and Z.           70.00
                                            Romata emails regarding
                                            submission of capacity and
                                            utilization data; consider
                                            further incoming from
                                            Commission regarding
                                            capacity clarification
05/10/17   S.S. Megregian     0.10 C300     Discuss submission of              70.00
                                            capacity and utilization data
                                            and capacity clarification
                                            with Z. Romata
05/10/17   S.S. Megregian     0.10 C300     Consider email from M.             70.00
                                            Kirst regarding comments
                                            to remedies paper
05/10/17   S.S. Megregian     0.10 C300     Discuss amendments                 70.00
                                            regarding comments to
                                            remedies paper with Z.
                                            Romata
05/10/17   S.S. Megregian     0.20 C300     Consider Z. Romata emails         140.00
                                            to M. Kirst regarding
                                            responses to Commission
                                            questions and remedies
                                            paper
05/10/17   Z. Romata          2.20 c300     Finalizing response to latest     814.00
                                            RFI and submitting same to
                                            Commission
05/10/17   Z. Romata          0.30 c300     Considering comments              111.00
                                            from M. Kirst on submission
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
                                            on potential remedies
05/10/17   Z. Romata          0.40 c300     Revising submission on          148.00
                                            potential remedies
                                            accordingly
05/10/17   Z. Romata          0.10 c300     Discussing submission on         37.00
                                            potential remedies with S.
                                            Megregian
05/10/17   Z. Romata          0.30 c300     Call from Commission            111.00
                                            regarding responses to
                                            questions
05/10/17   Z. Romata          0.10 c300     Email to M. Kirst with           37.00
                                            follow-up questions from
                                            Commission
05/11/17   S.S. Megregian     0.10 C300     Consider incoming from M.        70.00
                                            Kirst regarding review of
                                            responses to Commission
                                            on clarifying capacity
                                            questions
05/11/17   S.S. Megregian     0.10 C300     Consider incoming                70.00
                                            regarding IP protection
                                            language
05/11/17   S.S. Megregian     0.40 C300     Discuss with M. Kirst and Z.    280.00
                                            Romata communications
                                            with EDF
05/11/17   S.S. Megregian     0.10 C300     Consider emails from S.          70.00
                                            Lemaire and M. Kirst re
                                            comments on remedies
                                            paper
05/11/17   S.S. Megregian     0.20 C300     Discuss responses to            140.00
                                            emails from S. Lemaire and
                                            M. Kirst regarding
                                            comments on remedies
                                            paper with Z. Romata
05/11/17   S.S. Megregian     0.30 C300     Consider draft response to      210.00
                                            S. Lemaire comments and
                                            comments to Z. Romata
                                            regarding same
05/11/17   S.S. Megregian     0.10 C300     Consider further emails          70.00
                                            from Z. Romata and M.
                                            Kirst regarding remedies
                                            submission; consider
                                            incoming from S. Lemaire
                                            regarding EDF agreement;
                                            respond regarding same
05/11/17   Z. Romata          0.30 c300     Review of response to           111.00
                                            Commission's questions
05/11/17   Z. Romata          0.40 c300     Call with M. Kirst regarding    148.00
                                            calls from EDF
05/11/17   Z. Romata          0.20 c300     Filing response with             74.00
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
                                            Commission
05/11/17   Z. Romata          0.20 c300     Responding to comments           74.00
                                            on draft submission on
                                            remedies
05/11/17   Z. Romata          0.30 c300     Considering incoming from       111.00
                                            S. Lemaire regarding EDF
                                            request and response from
                                            S. Megregian
05/12/17   S.S. Megregian     0.10 C300     Consider response from S.        70.00
                                            Lemaire regarding
                                            communications from EDF
                                            regarding IP agreement
05/12/17   S.S. Megregian     0.40 C300     Discussion with European        280.00
                                            Commission regarding
                                            contact from EDF
05/12/17   S.S. Megregian     0.40 C300     Consider draft email update     280.00
                                            regarding communications
                                            from EDF regarding IP
                                            agreement and comment to
                                            Z. Romata
05/12/17   S.S. Megregian     0.20 C300     Email to team regarding         140.00
                                            possible arrangement with
                                            EDF
05/12/17   S.S. Megregian     0.20 C300     Consider incoming from M.       140.00
                                            Kirst regarding negotiations
                                            with EDF and respond
                                            regarding same;
                                            instructions to Z. Romata
                                            regarding follow-up on
                                            remedies paper
05/12/17   S.S. Megregian     0.10 C300     Consider incoming from S.        70.00
                                            Lemaire regarding contact
                                            with EDF and process;
                                            consider final document Z.
                                            Romata email to
                                            Commission regarding
                                            submission regarding
                                            remedies; consider
                                            incoming request from RED
                                                                   ACT
                                            counsel regarding remedies
                                            paper; consider M. Kirst
                                            response; respond to RED
                                            counsel regarding sameACT
05/12/17   Z. Romata          0.20 c300     Considering incoming from        74.00
                                            S. Lemaire regarding
                                            contact with EDF and
                                            process
05/12/17   Z. Romata          0.10 c300     Reviewing EDF letter             37.00
05/12/17   Z. Romata          0.40 c300     Considering incoming from       148.00
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DATE       NAME              HRS TASK       DESCRIPTION                   AMOUNT
                                            S. Lemaire, organizing call
                                            with Commission, call with
                                            Commission, reporting back
                                            to client about call with
                                            Commission and EDF
                                            request, finalizing
                                            submission on remedies,
                                            email to Commission
                                            regarding same,
                                            considering request from
                                            Counsel, email to M. Kirst
                                            regarding same, preparing
                                            redacted version for
                                            counsel, email to M. Powell
05/12/17   Z. Romata          0.20 c300     Reporting back to client        74.00
                                            about call with Commission
                                            and EDF request
05/12/17   Z. Romata          0.50 c300     Finalizing submission on       185.00
                                            remedies and email to
                                            Commission
05/12/17   Z. Romata          0.10 c300     Considering request from        37.00
                                            RED counsel regarding
                                            ACT
                                            remedy paper
05/12/17   Z. Romata          0.10 c300     Email to M. Kirst regarding     37.00
                                            same, preparing redacted
                                            version for RED counsel,
                                            email to M.ACT
                                                         Powell
05/15/17   S.S. Megregian     0.10 C300     Instructions to Z. Romata       70.00
                                            regarding confirming with
                                            Commission regarding
                                            remedies submission;
                                            consider incoming from
                                            Commission regarding
                                            acknowledgement of
                                            submission
05/15/17   S.S. Megregian     0.10 C300     Consider incoming from S.       70.00
                                            Lemaire regarding
                                            communication from EDF
                                            and propose response
                                            regarding same
05/15/17   Z. Romata          0.10 c300     Email to Commission             37.00
                                            regarding submission,
                                            considering incoming from
                                            S. Lemaire regarding
                                            signing EDF letter and
                                            responding regarding same
05/18/17   S.S. Megregian     0.10 C300     Consider incoming from M.       70.00
                                            Kirst regarding EDF/Areva
                                            joint venture; discuss same
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DATE       NAME              HRS TASK       DESCRIPTION                    AMOUNT
                                            with Z. Romata
05/18/17   S.S. Megregian     0.10 C300     Instructions to Z. Romata        70.00
                                            regarding updating
                                            Commission; consider
                                            confirmation from
                                            Commission
05/18/17   Z. Romata          0.10 c300     Considering incoming from        37.00
                                            M. Kirst regarding Areva
                                            EDF JV
05/18/17   Z. Romata          0.10 c300     Discussing incoming from         37.00
                                            M. Kirst regarding Areva
                                            EDF JV with S. Megregian
                                            and informing Commission
05/19/17   F. Carloni         0.20 C300     Consider press reports          140.00
                                            regarding merger control
                                            proceedings EDF/Areva
                                            regarding expected
                                            unconditional clearance in
                                            Phase I and liaise with
                                            team regarding same
05/19/17   S.S. Megregian     0.10 C300     Consider incoming                70.00
                                            voicemail fromRED
                                                           ACT status
                                            counsel regarding
                                            update
05/19/17   S.S. Megregian     0.30 C300     Call withRED counsel to         210.00
                                                     ACT update
                                            discuss status
05/19/17   S.S. Megregian     0.10 C300     Consider reports regarding       70.00
                                            likely approval of
                                            transaction
05/19/17   Z. Romata          0.20 c300     Call with M. Powell              74.00
                                            regarding latest update on
                                            remedies and progress of
                                            Commission investigation
05/20/17   S.S. Megregian     0.10 C300     Emails with RED counsel          70.00
                                                         ACT update
                                            regarding status
05/20/17   S.S. Megregian     0.10 C300     Email M. Kirst and K. Brode      70.00
                                            regarding press reports on
                                            transaction clearance
05/20/17   S.S. Megregian     0.40 C300     Call with RED counsel           280.00
                                            regardingACT
                                                       press reports and
                                            possible next steps
05/20/17   S.S. Megregian     0.10 C300     Draft email to K. Brode and      70.00
                                            M. Kirst regarding
                                            communications with RED
                                            counsel               ACT
05/20/17   Z. Romata          0.30 c300     Call with M. Powell and S.      111.00
                                            Megregian regarding latest
                                            press report on EDF/Areva
05/21/17   S.S. Megregian     0.20 C300     Consider incoming from M.       140.00
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DATE       NAME              HRS TASK       DESCRIPTION                   AMOUNT
                                            Kirst on possible options
05/21/17   S.S. Megregian     0.30 C300     Draft email to M. Kirst        210.00
                                            regarding options for
                                            responding to reported
                                            unconditional approval
05/22/17   S.S. Megregian     0.10 C300     Consider M. Kirst email         70.00
                                            regarding contacting case
                                            team for update
05/22/17   S.S. Megregian     0.10 C300     Emails with K. Brode and        70.00
                                            M. Kirst regarding press
                                            reports
05/22/17   S.S. Megregian     0.10 C300     Discuss email to Case           70.00
                                            Team regarding update and
                                            press reports with Z.
                                            Romata
05/22/17   S.S. Megregian     0.10 C300     Consider emails with case       70.00
                                            team
05/22/17   S.S. Megregian     0.10 C300     Call with Commission case       70.00
                                            team to try and determine
                                            status
05/22/17   S.S. Megregian     0.10 C300     Email M. Kirst and K. Brode     70.00
                                            regarding call with Case
                                            team
05/22/17   S.S. Megregian     0.10 C300     Call with RED counsel to        70.00
                                            compare ACT
                                                      notes
05/22/17   Z. Romata          0.10 c300     Considering incoming from       37.00
                                            M. Kirst and K. Brode,
                                            email to Commission,
05/22/17   Z. Romata          0.50 c300     Call with Commission and       185.00
                                            S. Megregian regarding
                                            incoming from M. Kirst and
                                            K. Brode
05/23/17   S.S. Megregian     0.10 C300     Consider email from M.          70.00
                                            Kirst regarding contacts
                                            with RED counsel
05/23/17   S.S. Megregian     0.10 C300     EmailACT
                                                   back regarding           70.00
                                            comments from M. Kirst
                                            regarding contacts with
                                            counsel
05/29/17   S.S. Megregian     0.20 C300     Consider incoming              140.00
                                            regarding proposed
                                            amendments to supply
                                            agreement; consider
                                            Commission release
                                            regarding approval; end
                                            correspondence between Z.
                                            Romata and M. Kirst;
                                            consider email from K.
                                            Brode on potential contract
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DATE        NAME                 HRS TASK          DESCRIPTION                    AMOUNT
                                                   amendment
05/29/17    Z. Romata             0.20 c300        Considering incoming from         74.00
                                                   M. Kirst approval of
                                                   EDF/Areva deal, review of
                                                   market intelligence on
                                                   same, email to M. Kirst
                                                   regarding same
05/30/17    S.S. Megregian        0.10 C300        Discuss with Z. Romata            70.00
                                                   inquiry from A. Vallee Jego
05/30/17    Z. Romata             0.10 c300        Considering incoming from         37.00
                                                   K. Brode and follow up from
                                                   A. Vallee Jego, responding
                                                   to same
                          TOTAL FEES                 154.80 hrs               $   71,825.00


                                 TIMEKEEPER SUMMARY

F. Carloni                           16.90    hrs at   $     700.00   / hr        11,830.00
K. Hristova                           3.50    hrs at   $     215.00   / hr           752.50
M. Kocon                              5.70    hrs at   $     370.00   / hr         2,109.00
B. C. McLaughlin                      2.50    hrs at   $     295.00   / hr           737.50
S.S. Megregian                       29.40    hrs at   $     700.00   / hr        20,580.00
Z. Romata                            91.30    hrs at   $     370.00   / hr        33,781.00
T. Siakka                             5.50    hrs at   $     370.00   / hr         2,035.00

                          TOTAL FEES                   154.80 hrs            $    71,825.00
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                                TASK CODE SUMMARY

B110    Case Administration                       5.50   hrs              2,035.00
C100    Fact Gathering                           10.40   hrs              7,280.00
C200    Researching Law                           5.70   hrs              2,109.00
C300    Analysis and Advice                       1.00   hrs                700.00
c300    Analysis and Advice                       5.20   hrs              1,924.00
C300    Analysis and Advice                       1.00   hrs                700.00
c300    Analysis and Advice                       3.50   hrs              1,295.00
C300    Analysis and Advice                       0.50   hrs                350.00
c300    Analysis and Advice                       1.50   hrs                555.00
C300    Analysis and Advice                       0.40   hrs                280.00
c300    Analysis and Advice                       1.00   hrs                370.00
C300    Analysis and Advice                       0.90   hrs                630.00
c300    Analysis and Advice                       0.50   hrs                185.00
C300    Analysis and Advice                       0.50   hrs                350.00
c300    Analysis and Advice                       0.70   hrs                259.00
C300    Analysis and Advice                       0.20   hrs                 74.00
c300    Analysis and Advice                       0.40   hrs                148.00
C300    Analysis and Advice                       0.30   hrs                111.00
c300    Analysis and Advice                       0.10   hrs                 37.00
C300    Analysis and Advice                       1.30   hrs                877.00
c300    Analysis and Advice                       0.50   hrs                185.00
C300    Analysis and Advice                       0.20   hrs                 74.00
c300    Analysis and Advice                       0.90   hrs                333.00
C300    Analysis and Advice                       0.20   hrs                140.00
c300    Analysis and Advice                       0.10   hrs                 37.00
C300    Analysis and Advice                      35.40   hrs             18,378.00
c300    Analysis and Advice                       0.20   hrs                 74.00
C300    Analysis and Advice                       0.40   hrs                280.00
c300    Analysis and Advice                       2.00   hrs                740.00
C300    Analysis and Advice                      12.70   hrs              4,936.00
c300    Analysis and Advice                       0.10   hrs                 37.00
C300    Analysis and Advice                       0.60   hrs                420.00
c300    Analysis and Advice                       0.30   hrs                111.00
C300    Analysis and Advice                       1.80   hrs              1,260.00
c300    Analysis and Advice                       2.00   hrs                740.00
C300    Analysis and Advice                       1.70   hrs              1,091.00
c300    Analysis and Advice                       0.30   hrs                111.00
C300    Analysis and Advice                       1.00   hrs                700.00
c300    Analysis and Advice                       4.60   hrs              1,702.00
C300    Analysis and Advice                       7.90   hrs              2,902.50
c300    Analysis and Advice                       2.20   hrs                814.00
C300    Analysis and Advice                       0.10   hrs                 70.00
c300    Analysis and Advice                       0.30   hrs                111.00
C300    Analysis and Advice                       0.10   hrs                 70.00
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c300     Analysis and Advice                       0.20   hrs                 74.00
C300     Analysis and Advice                       0.10   hrs                 70.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                       0.10   hrs                 70.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                       0.10   hrs                 70.00
c300     Analysis and Advice                       0.50   hrs                185.00
C300     Analysis and Advice                       0.40   hrs                280.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                       0.40   hrs                280.00
c300     Analysis and Advice                       0.20   hrs                 74.00
C300     Analysis and Advice                       0.20   hrs                140.00
c300     Analysis and Advice                       0.10   hrs                 37.00
C300     Analysis and Advice                      29.50   hrs             12,037.00
c300     Analysis and Advice                       1.10   hrs                407.00
C300     Analysis and Advice                       1.40   hrs                980.00
c300     Analysis and Advice                       0.80   hrs                296.00
C300     Analysis and Advice                       0.70   hrs                391.00
L320     Document Production                       0.40   hrs                118.00
P400     Initial Document Prep/Filing              2.10   hrs                619.50
                          TOTAL FEES             154.80   hrs         $   71,825.00



                            DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                               AMOUNT
Taxi / Uber Fare                                                            219.04
Travel Expenses: Air Fare                                                   206.16
Travel Expenses: Hotel                                                      283.63
Travel Expenses: Meals                                                       27.63

                            DISBURSEMENTS & OTHER CHARGES             $      736.46
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                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                    Invoice Date                          :      July 24, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3402114
Cranberry Township, PA 16066                                                          Services Through                      :      June 30, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




  0236915.00013          E.U. Competition Counseling


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $                  387.00

CURRENT INVOICE DUE                                                                                                                       $                  387.00




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                        FEES

DATE         NAME              HRS TASK        DESCRIPTION                    AMOUNT
06/05/17     S.S. Megregian    0.10 C300       Emails with M Powell for         70.00
                                               TVO re update on next
                                               steps
06/06/17     S.S. Megregian     0.10 C300      Consider incoming from M            70.00
                                               Kirst re next steps
06/07/17     S.S. Megregian     0.20 C300      Call with M Powell, counsel       140.00
                                               for TVO re information on
                                               decision
06/07/17     S.S. Megregian     0.10 C300      Email update to M Kirst re          70.00
                                               status
06/07/17     Z. Romata          0.10 c300      Research on EDF/Areva               37.00
                                               deal (whether decision has
                                               been published), discussing
                                               same S Megregian
                          TOTAL FEES                0.60 hrs              $      387.00


                               TIMEKEEPER SUMMARY

S.S. Megregian                     0.50 hrs at    $       700.00 / hr            350.00
Z. Romata                          0.10 hrs at    $       370.00 / hr             37.00
                          TOTAL FEES                  0.60 hrs           $       387.00



                                TASK CODE SUMMARY

C300       Analysis and Advice                        0.20   hrs                 140.00
c300       Analysis and Advice                        0.10   hrs                  37.00
C300       Analysis and Advice                        0.30   hrs                 210.00
                           TOTAL FEES                 0.60   hrs         $       387.00
17-10751-mew
BTK00117


                       Doc 3955-7                 Filed 09/25/18 Entered 09/25/18 13:03:15                                                        Exhibit Time
                                                 Entries Part 1 Pg 34 of 335
                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                    Invoice Date                          :      August 15, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3419028
Cranberry Township, PA 16066                                                          Services Through                      :      July 31, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




  0236915.00013          E.U. Competition Counseling


                                                          INVOICE SUMMARY

Disbursements and Other Charges                                                                                                           $                  21.40

CURRENT INVOICE DUE                                                                                                                       $                  21.40




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15   Exhibit Time
                            Entries Part 1 Pg 35 of 335
                                                                  Invoice # 3419028
                                                                     0236915.00013
                                                                         Page 2 of 2

                        DISBURSEMENTS & OTHER CHARGES
DESCRIPTION                                                             AMOUNT
Telephone / Conference Calls / Fx Line Trans                              21.40
                         DISBURSEMENTS & OTHER CHARGES             $       21.40
17-10751-mew          Doc 3955-7                 Filed 09/25/18 Entered 09/25/18 13:03:15                                                        Exhibit Time
                                                Entries Part 1 Pg 36 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                   Invoice Date                          :      October 23, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3442564
Cranberry Township, PA 16066                                                         Services Through                      :      September 30, 2017
Attn: Kevin W. Brode, Esquire/Deputy General
Counsel




 0236915.00013          E.U. Competition Counseling


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $                  465.00

CURRENT INVOICE DUE                                                                                                                      $                  465.00




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
                              Entries Part 1 Pg 37 of 335
                                                                        Invoice # 3442564
                                                                           0236915.00013
                                                                               Page 2 of 2

                                        FEES

DATE         NAME              HRS TASK        DESCRIPTION                    AMOUNT
09/15/17     S.S. Megregian    0.10 C300       Consider incoming email          70.00
                                               from client regarding
                                               correspondence with
                                               Commission
09/15/17     S.S. Megregian     0.10 C300      Respond with questions re           70.00
                                               same
09/15/17     Z. Romata          0.10 B110      Considering incoming email          37.00
                                               regarding request for
                                               documents on case,
                                               discussing same with S
                                               Megregian
09/16/17     S.S. Megregian     0.20 C300      Conference with Z Romata          140.00
                                               regarding materials for
                                               WEC and consider email
                                               response re same
09/16/17     Z. Romata          0.40 B110      Email to client with main         148.00
                                               submissions made to
                                               European Commission
                                               regarding EDF's acquisition
                                               of Areva
                          TOTAL FEES                0.90 hrs              $      465.00


                               TIMEKEEPER SUMMARY

S.S. Megregian                     0.40 hrs at    $       700.00 / hr            280.00
Z. Romata                          0.50 hrs at    $       370.00 / hr            185.00
                          TOTAL FEES                  0.90 hrs           $       465.00



                                TASK CODE SUMMARY

B110       Case Administration                        0.50 hrs                   185.00
C300       Analysis and Advice                        0.40 hrs                   280.00
                           TOTAL FEES                 0.90 hrs           $       465.00
17-10751-mew          Doc 3955-7                 Filed 09/25/18 Entered 09/25/18 13:03:15                                                        Exhibit Time
                                                Entries Part 1 Pg 38 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                   Invoice Date                          :      December 14, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3464380
Cranberry Township, PA 16066                                                         Services Through                      :      November 30, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




 0236915.00013          E.U. Competition Counseling


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $                  144.00

CURRENT INVOICE DUE                                                                                                                      $                  144.00




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15      Exhibit Time
                              Entries Part 1 Pg 39 of 335
                                                                        Invoice # 3464380
                                                                           0236915.00013
                                                                               Page 2 of 2

                                        FEES

DATE         NAME              HRS TASK        DESCRIPTION                    AMOUNT
11/15/17     S.S. Megregian    0.10 B110       Consider update regarding        70.00
                                               published decision and
                                               instructions to Z. Romata
11/15/17     Z. Romata          0.20 P270      Email to client with                74.00
                                               published decision in
                                               EDF/Areva merger and
                                               address email from client
                          TOTAL FEES                0.30 hrs             $       144.00


                               TIMEKEEPER SUMMARY

S.S. Megregian                     0.10 hrs at    $       700.00 / hr             70.00
Z. Romata                          0.20 hrs at    $       370.00 / hr             74.00
                          TOTAL FEES                  0.30 hrs           $       144.00



                                TASK CODE SUMMARY

B110       Case Administration                        0.10 hrs                    70.00
P270       Regulatory Reviews                         0.20 hrs                    74.00
                           TOTAL FEES                 0.30 hrs           $       144.00
17-10751-mew                     Doc 3955-7                 Filed 09/25/18 Entered 09/25/18 13:03:15                                                     Exhibit Time
                                                           Entries Part 1 Pg 40 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                            Invoice Date                         :      February 5, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3479475
Cranberry Township, PA 16066                                                                  Services Through                     :      December 31, 2017
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




 0236915.00013                     E.U. Competition Counseling



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $             333.00
Disbursements and Other Charges                                                                                                                  $           7,554.24

CURRENT INVOICE DUE                                                                                                                              $           7,887.24




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew     Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
                              Entries Part 1 Pg 41 of 335
                                                                        Invoice # 3479475
                                                                           0236915.00013
                                                                               Page 2 of 2

                                        FEES

DATE         NAME              HRS TASK        DESCRIPTION                    AMOUNT
12/04/17     Z. Romata         0.30 B110       Email exchange with client       111.00
                                               regarding merger decision,
                                               instruct translators to
                                               translate decision
12/12/17     Z. Romata          0.10 P930      Consider incoming                   37.00
                                               communication from M Kirst
                                               re discussions with third
                                               party
12/13/17     Z. Romata          0.50 C300      Review of Commission              185.00
                                               decision in respect of FAs
                                               and email with client
                                               regarding same
                          TOTAL FEES                0.90 hrs              $      333.00


                               TIMEKEEPER SUMMARY

Z. Romata                          0.90 hrs at    $       370.00 / hr            333.00
                          TOTAL FEES                  0.90 hrs           $       333.00



                                TASK CODE SUMMARY

B110       Case Administration                        0.30   hrs                 111.00
C300       Analysis and Advice                        0.50   hrs                 185.00
P930       Other                                      0.10   hrs                  37.00
                           TOTAL FEES                 0.90   hrs         $       333.00


                          DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                   AMOUNT
Agents & 3rd Party Fees                                                        7,554.24
                          DISBURSEMENTS & OTHER CHARGES                  $     7,554.24
17-10751-mew                     Doc 3955-7                 Filed 09/25/18 Entered 09/25/18 13:03:15                                                     Exhibit Time
                                                           Entries Part 1 Pg 42 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                            Invoice Date                         :      February 28, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3485628
Cranberry Township, PA 16066                                                                  Services Through                     :      January 31, 2018
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




 0236915.00013                     E.U. Competition Counseling



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $               391.00

CURRENT INVOICE DUE                                                                                                                              $               391.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew      Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
                               Entries Part 1 Pg 43 of 335
                                                                         Invoice # 3485628
                                                                            0236915.00013
                                                                                Page 2 of 2

                                         FEES

DATE          NAME               HRS TASK       DESCRIPTION                     AMOUNT
01/04/18      Z. Romata          0.30 C300      Consider incoming from            111.00
                                                client regarding maintaining
                                                confidentiality protections
01/11/18      N.A. Baylis        0.40 L120      Call to discuss EU merger          280.00
                                                control decision and
                                                possibility of challenge
                            TOTAL FEES               0.70 hrs               $      391.00


                                 TIMEKEEPER SUMMARY

N.A. Baylis                          0.40 hrs at   $       700.00 / hr             280.00
Z. Romata                            0.30 hrs at   $       370.00 / hr             111.00
                            TOTAL FEES                 0.70 hrs            $       391.00



                                 TASK CODE SUMMARY

C300       Analysis and Advice                         0.30 hrs                    111.00
L120       Analysis/Strategy                           0.40 hrs                    280.00
                            TOTAL FEES                 0.70 hrs            $       391.00
17-10751-mew                     Doc 3955-7                 Filed 09/25/18 Entered 09/25/18 13:03:15                                                     Exhibit Time
                                                           Entries Part 1 Pg 44 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Company, LLC                                                            Invoice Date                         :      July 31, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3542398
Cranberry Township, PA 16066                                                                  Services Through                     :      June 30, 2018
Attn: Kevin W. Brode, Equire/Deputy General
Counsel




 0236915.00013                     E.U. Competition Counseling



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $               498.00

CURRENT INVOICE DUE                                                                                                                              $               498.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew      Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
                               Entries Part 1 Pg 45 of 335
                                                                          Invoice # 3542398
                                                                             0236915.00013
                                                                                 Page 2 of 2

                                         FEES

DATE          NAME               HRS TASK       DESCRIPTION                      AMOUNT
06/14/18      N.A. Baylis        0.50 P300      Call to discuss                    350.00
                                                developments re EDF and
                                                EU competition law options
06/14/18      Z. Romata          0.40 P930      Call with M Kirst to discuss        148.00
                                                developments following
                                                EDF/Areva approval
                            TOTAL FEES               0.90 hrs                $      498.00


                                 TIMEKEEPER SUMMARY

N.A. Baylis                          0.50 hrs at   $       700.00 / hr              350.00
Z. Romata                            0.40 hrs at   $       370.00 / hr              148.00
                            TOTAL FEES                 0.90 hrs             $       498.00



                                 TASK CODE SUMMARY

P300       Structure/Strategy/Analysis                 0.50 hrs                     350.00
P930       Other                                       0.40 hrs                     148.00
                            TOTAL FEES                 0.90 hrs             $       498.00
17-10751-mew          Doc 3955-7                 Filed 09/25/18 Entered 09/25/18 13:03:15                                                        Exhibit Time
                                                Entries Part 1 Pg 46 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      June 23, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3399532
Cranberry Township, PA 16066                                                         Services Through                      :      May 31, 2017




 0236915.00030          Subpoena Response


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $       371,340.00
Disbursements and Other Charges                                                                                                          $         5,904.76

CURRENT INVOICE DUE                                                                                                                      $       377,244.76




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
                            Entries Part 1 Pg 47 of 335
                                                                      Invoice # 3399532
                                                                         0236915.00030
                                                                            Page 2 of 36

                                      FEES

DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
03/29/17   V. L. Martinez    1.30 L120       Call with counsel for KPMG       910.00
                                             regarding WEC's need to
                                             conduct a privilege review
03/29/17   V. L. Martinez     0.70 L120      Review and revise                 490.00
                                             proposed redactions to
                                             KPMG documents sent by
                                             N. Stockey
03/29/17   V. L. Martinez     1.00 L120      Call with cleint and T. Ryan      700.00
                                             to discuss KPMG privilege
                                             review
03/29/17   V. L. Martinez     0.50 L120      Prepare privilege log and         350.00
                                             send documents with
                                             redactions to N. Stockey
03/29/17   N. A. Stockey      2.50 L120      Revise privilege                  925.00
                                             annotations to KPMG
                                             documents for WEC for
                                             privilege
03/29/17   N. A. Stockey      0.50 L120      Draft privilege log for           185.00
                                             KPMG privilege redactions
03/29/17   N. A. Stockey      0.90 L120      Analyze correspondence            333.00
                                             and documents related to
                                             SEC subpoena issues
03/29/17   M.L. Thibadeau     0.20 L120      Correspond with E. Fleury           74.00
                                             regarding followup research
                                             on subpoena issues
03/29/17   M.L. Thibadeau     0.10 L120      Review and prepare emails           37.00
                                             to C. Dale and T. Ryan
                                             regarding subpoena issue
03/30/17   S. N. Hastings     2.40 L110      Prepare for and participate     1,680.00
                                             in interviews related to
                                             narrative response
03/30/17   S. N. Hastings     0.40 L110      Review and revised                280.00
                                             privilege log for KPMG
                                             materials
03/30/17   R. W. Hosking      0.50 L120      Follow up regarding prior         350.00
                                             conference with client and
                                             T. Ryan
03/30/17   V. L. Martinez     0.80 L110      Review and revise                 560.00
                                             memoranda related to
                                             narrative response
03/30/17   V. L. Martinez     0.20 L110      Correspond with co-counsel        140.00
                                             regarding meeting to
                                             discuss investigation
                                             matters
03/30/17   V. L. Martinez     0.40 L120      Review correspondence             280.00
                                             from KPMG's counsel to the
                                             SEC regarding subpoena
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
                            Entries Part 1 Pg 48 of 335
                                                                      Invoice # 3399532
                                                                         0236915.00030
                                                                            Page 3 of 36

DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
03/30/17   V. L. Martinez    0.30 L120       Correspond with N. Stockey        210.00
                                             regarding privilege log for
                                             KPMG
03/30/17   V. L. Martinez     0.50 L120      Review and revise privilege        350.00
                                             log
03/30/17   V. L. Martinez     0.20 L120      Correspond with T. Ryan            140.00
                                             and S. Hastings regarding
                                             privilege log
03/30/17   V. L. Martinez     0.60 L120      Review and share privilege         420.00
                                             log and production to
                                             KPMG counsel
03/30/17   N. A. Stockey      1.30 L190      Update and revise privilege        481.00
                                             log for KPMG privilege
                                             redactions
03/30/17   N. A. Stockey      0.20 L190      Conference with V.                  74.00
                                             Martinez regarding privilege
                                             log and redactions
03/30/17   N. A. Stockey      1.20 L190      Analyze correspondence             444.00
                                             and documents related to
                                             SEC subpoena issues
03/31/17   V. L. Martinez     0.50 L110      Correspond with client             350.00
                                             regarding follow-up
                                             production
03/31/17   V. L. Martinez     1.00 L110      Conference with attorneys          700.00
                                             for KPMG regarding
                                             discussion of privilege
                                             review procedure
03/31/17   V. L. Martinez     0.50 L110      Review and revise the              350.00
                                             interview memorandum
03/31/17   V. L. Martinez     0.60 L110      Correspond with client             420.00
                                             regarding ESOP issue
03/31/17   V. L. Martinez     0.40 L110      Review and revise letter to        280.00
                                             SEC regarding answering
                                             narrative inquiries
03/31/17   V. L. Martinez     0.40 L110      Correspond with T. Ryan            280.00
                                             regarding narrative inquiries
03/31/17   V. L. Martinez     0.30 L110      Correspond with attorneys          210.00
                                             for KPMG regarding
                                             privilege review portal
03/31/17   V. L. Martinez     0.80 L110      Send privilege review              560.00
                                             information to S. Hastings,
                                             N. Stockey and T. Ryan
03/31/17   N. A. Stockey      2.50 L120      Analyze Japanese                   925.00
                                             language MOI translations
                                             to identify issues related to
                                             government investigation
03/31/17   N. A. Stockey      0.90 L120      Review, revise, and update         333.00
                                             MOIs for support of
                                             narrative responses
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15      Exhibit Time
                            Entries Part 1 Pg 49 of 335
                                                                     Invoice # 3399532
                                                                        0236915.00030
                                                                           Page 4 of 36

DATE       NAME              HRS TASK        DESCRIPTION                   AMOUNT
03/31/17   M.L. Thibadeau    2.30 L120       Research bankruptcy issue       851.00
                                             and prepare memorandum
                                             regarding same
04/02/17   J. D. Morrison     1.00 L120      Research effect of               370.00
                                             bankruptcy issues on SEC
                                             enforcement action
04/03/17   S. N. Hastings     1.00 L110      Call with KPMG counsel           700.00
04/03/17   S. N. Hastings     1.00 L110      Conference with co-counsel       700.00
04/03/17   S. N. Hastings     0.40 L110      Attention to redactions and      280.00
                                             underlying strategy
04/03/17   R. W. Hosking      1.00 L190      Review SEC materials and         700.00
                                             related memoranda/emails
04/03/17   V. L. Martinez     0.30 L120      Review terms of KPMG             210.00
                                             engagement letter review
                                             platform
04/03/17   V. L. Martinez     1.00 L120      Conference with attorneys        700.00
                                             from KPMG regarding
                                             redactions
04/03/17   V. L. Martinez     0.40 L120      Discuss redaction approach       280.00
                                             with S. Hastings
04/03/17   V. L. Martinez     1.00 L120      Revise redactions                700.00
04/03/17   V. L. Martinez     0.50 L120      Conference with N. Stockey       350.00
                                             to prepare for privilege
                                             review of KPMG documents
04/03/17   V. L. Martinez     0.50 L120      Correspond with J. Gagen         350.00
                                             regarding KPMG document
                                             production protocol
04/03/17   V. L. Martinez     1.30 L120      Follow-up conference with        910.00
                                             KPMG counsel regarding
                                             production and disussion
                                             points
04/03/17   J. D. Morrison     1.00 C200      Research bankruptcy              370.00
                                             issues as related to SEC
                                             enforcement action
04/03/17   N. A. Stockey      0.70 L120      Conference with V.               259.00
                                             Martinez regarding KPMG
                                             document review and
                                             privilege issues
04/03/17   N. A. Stockey      1.00 L120      Analyze materials from           370.00
                                             Williams & Connelly
                                             regarding privilege issues
04/03/17   N. A. Stockey      0.70 L120      Analyze SEC subpoena             259.00
                                             correspondence and
                                             materials from T. Ryan and
                                             co-counsel
04/03/17   M.L. Thibadeau     2.40 L120      Research bankruptcy case         888.00
                                             law
04/04/17   S. N. Hastings     0.40 L110      Review subpoena review           280.00
                                             protocol
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DATE       NAME              HRS TASK        DESCRIPTION                   AMOUNT
04/04/17   V. L. Martinez    4.00 L120       Travel to Pittsburgh           2,800.00
04/04/17   V. L. Martinez    1.00 L120       Conference with team to          700.00
                                             start them on KPMG
                                             document review
04/04/17   V. L. Martinez     0.40 L120      Correspond with KPMG             280.00
                                             attorneys regarding
                                             document review portal and
                                             redaction approach to
                                             KPMG documents
04/04/17   V. L. Martinez     0.30 L120      Correspond with co-counsel       210.00
                                             regarding production of
                                             Toshiba KPMG documents
04/04/17   V. L. Martinez     1.30 L120      Draft action plan for SEC        910.00
                                             subpoena response and
                                             investigation
04/04/17   J. D. Morrison     4.10 C200      Research bankruptcy            1,517.00
                                             issues related to SEC
                                             enforcement action
04/04/17   N. A. Stockey      1.00 L120      Conference with V.               370.00
                                             Martinez and S. Reger
                                             regarding privilege review
                                             for KPMG documents
04/04/17   N. A. Stockey      1.30 L120      Review and analyze letters       481.00
04/04/17   N. A. Stockey      0.30 L120      Conference with S. Reger         111.00
                                             regarding privilege review
                                             and logistics of relativity
04/04/17   M.L. Thibadeau     2.60 L120      Research case law and            962.00
                                             prepare memorandum on
                                             bankruptcy issue as it
                                             relates to SEC action
04/05/17   S. N. Hastings     1.50 L110      Attention to SEC subpoena      1,050.00
                                             related action items,
                                             including strategy
                                             discussion with T. Ryan
                                             and V. Martinez and email
                                             correspondence with co-
                                             counsel
04/05/17   V. L. Martinez     1.80 L120      Research and anlayze           1,260.00
                                             WEC securities issues
04/05/17   V. L. Martinez     1.50 L120      Conferencewith S. Hastings     1,050.00
                                             and T. Ryan to discuss all
                                             aspects of the SEC
                                             subpoena response and
                                             investigation
04/05/17   V. L. Martinez     0.50 L120      Draft action plan                350.00
04/05/17   V. L. Martinez     0.40 L120      Draft email to KPMG              280.00
                                             counsel regarding
                                             agreement on redactions
04/05/17   V. L. Martinez     1.00 L120      Follow-up with client            700.00
                                             regarding privilege
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             assertions over certain
                                             KPMG matters
04/05/17   V. L. Martinez     2.30 L120      Review and analyze Janus         1,610.00
                                             issues
04/05/17   V. L. Martinez     1.20 L120      Conference with Alix               840.00
                                             counsel regarding status of
                                             subpoena response and
                                             follow-up to same
04/05/17   S. P. Reger        1.30 L650      Review KPMG documents              481.00
                                             for privilege
04/05/17   N. A. Stockey      1.00 L120      Analyze KPMG documents             370.00
                                             for privilege and make
                                             redactions
04/05/17   N. A. Stockey      0.50 L120      Conference with S. Reger           185.00
                                             regarding privilege
                                             redactions
04/05/17   N. A. Stockey      1.20 L120      Review and analyze                 444.00
                                             documents for SEC
                                             subpoena issues and
                                             production
04/05/17   M.L. Thibadeau     3.50 L120      Research case law and            1,295.00
                                             prepare draft memorandum
                                             regarding bankruptcy
                                             issues
04/06/17   S. N. Hastings     2.00 L110      Attention to privilege review    1,400.00
                                             issues, including prepare
                                             for and call with co-counsel
                                             and review redactions
04/06/17   V. L. Martinez     1.50 L120      Review Japanese                  1,050.00
                                             investigation report
04/06/17   V. L. Martinez     3.50 L120      Review materials to identify     2,450.00
                                             issues related to
                                             investigation
04/06/17   V. L. Martinez     0.70 L120      Conference with client             490.00
                                             regarding additional
                                             materialsfor production to
                                             SEC
04/06/17   V. L. Martinez     0.30 L120      Correspond with KPMG               210.00
                                             counsel regarding privilege
                                             possitions
04/06/17   V. L. Martinez     1.00 L120      Review separation                  700.00
                                             agreement of former
                                             employee
04/06/17   N. A. Stockey      1.40 L120      Analyze materials sent by          518.00
                                             T. Ryan for WEC SEC
                                             subpoena issues and
                                             production
04/06/17   M.L. Thibadeau     3.20 L120      Research and draft               1,184.00
                                             memoradum surrounding
                                             effect of bankruptcy issues
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             on subpoena
04/07/17   S. N. Hastings     1.00 L110      Attention to SEC subpoena          700.00
                                             issues, including privilege
                                             review
04/07/17   V. L. Martinez     0.70 L120      Conference with team               490.00
                                             regarding production of
                                             KPMG documents
04/07/17   V. L. Martinez     0.50 L120      Call with client regarding         350.00
                                             certain KPMG documents
                                             and other materials
                                             responsive to SEC
                                             subpoena
04/07/17   V. L. Martinez     0.30 L120      Submit documents to L.             210.00
                                             Diersen for inclusion in
                                             production database
04/07/17   V. L. Martinez     0.60 L120      Conference with co-counsel         420.00
                                             on review of KPMG
                                             documents
04/07/17   V. L. Martinez     1.90 L120      Draft and revise analysis of     1,330.00
                                             materials responsive to
                                             SEC subpoena
04/07/17   V. L. Martinez     4.00 L120      Travel home to Washington        2,800.00
04/07/17   J. D. Morrison     0.90 C200      Review and make redline            333.00
                                             revisions to memorandum
                                             summarizing applicability of
                                             bankruptcy issues to
                                             pending SEC Enforcement
                                             Action
04/07/17   N. A. Stockey      1.70 L120      Analyze privilege issues per       629.00
                                             T. Ryan and S. Hastings
04/07/17   M.L. Thibadeau     3.00 L120      Prepare memorandum on            1,110.00
                                             bankruptcy issues with
                                             respect to subpoena
04/10/17   S. N. Hastings     1.00 L110      Attention to privilege review      700.00
                                             issues including reviewing
                                             Deloitte materials and
                                             emails and calls with team
                                             regarding same
04/10/17   V. L. Martinez     0.50 L120      Conference with client on          350.00
                                             privileged nature of certain
                                             KPMG engagements
04/10/17   V. L. Martinez     0.40 L120      Coordinate with with S.            280.00
                                             Hastings regarding review
                                             of Deloitte documents
04/10/17   V. L. Martinez     1.00 L120      Conference with co-counsel         700.00
                                             regarding privilege review
                                             issues and recent decision
                                             regarding extraterritorial
                                             application of SEC antifraud
                                             statutes
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
04/10/17   V. L. Martinez    0.40 L120       Coordinate with T. Ryan           280.00
                                             regarding status of
                                             subpoena production
04/10/17   V. L. Martinez     1.00 L120      Review certain documents           700.00
                                             for privilege claims
04/10/17   V. L. Martinez     0.30 L120      Draft email to client              210.00
                                             regarding privilege claims
04/10/17   V. L. Martinez     0.50 L120      Correspond with KPMG               350.00
                                             counsel regarding certain
                                             documents
04/10/17   V. L. Martinez     2.40 L120      Draft and send email to S.       1,680.00
                                             Hastings and T. Ryan
                                             regarding production of
                                             WEC documents
04/10/17   N. A. Stockey      1.50 L120      Review and analyze                 555.00
                                             Deloitte documents for
                                             privilege per V. Martinez
                                             and S. Hastings
04/10/17   N. A. Stockey      0.30 L120      Analyze e-mails from co-           111.00
                                             counsel regarding privilege
                                             issues and subpoena
                                             response issues
04/11/17   S. N. Hastings     0.60 C300      Attention to privilege issues      420.00
                                             related to Deloitte
                                             documents
04/11/17   V. L. Martinez     0.30 L120      Send documents to L.               210.00
                                             Diersen for uploading to
                                             subpoena production
                                             database
04/11/17   V. L. Martinez     0.20 L120      Correspond with L. Diersen         140.00
                                             regarding peoduction
                                             database
04/11/17   V. L. Martinez     0.50 L120      Correspond and hold call           350.00
                                             with co-counsel regarding
                                             redactions to certain KPMG
                                             documents
04/11/17   V. L. Martinez     0.50 L120      Draft and send email to            350.00
                                             client regarding pivilege
                                             issues
04/11/17   V. L. Martinez     1.00 L120      Review certain Deloitte            700.00
                                             documents at the request of
                                             S. Hastings to confirm
                                             privilege analysis
04/11/17   V. L. Martinez     0.30 L120      Correspond with S.                 210.00
                                             Hastings regarding privilege
                                             analysis
04/11/17   V. L. Martinez     0.70 L120      Correspond with co-counsel         490.00
                                             regarding Deloitte
                                             subpoena
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
04/11/17   V. L. Martinez    1.50 L120       Read opinion in SEC v.           1,050.00
                                             Traffic Monsoon et al., and
                                             import to legal strategies
04/11/17   V. L. Martinez     1.20 L120      Review testimony                   840.00
                                             summary
04/11/17   N. A. Stockey      0.50 L120      Update and finalize                185.00
                                             privilege redactions for
                                             Deloitte documents per S.
                                             Hastings
04/11/17   N. A. Stockey      0.40 L120      Analyze correspondence             148.00
                                             and weekly updates and
                                             related materials related to
                                             SEC subpoenas
04/11/17   N. A. Stockey      0.90 L120      Conference with S. Reger           333.00
                                             regarding Deloitte privilege
                                             issues and redactions
04/12/17   S. N. Hastings     2.00 L110      Attention to SEC production      1,400.00
                                             and privilege review issues,
                                             including calls with client,
                                             co-counsel and counsel for
                                             KPMG
04/12/17   V. L. Martinez     1.60 L120      Review and analyze               1,120.00
                                             testimony summary
04/12/17   V. L. Martinez     3.70 L120      Prepare for interview of         2,590.00
                                             former employee
04/12/17   V. L. Martinez     1.30 L120      Review and prepare initial         910.00
                                             production
04/13/17   S. N. Hastings     1.00 L110      Attention to privilege             700.00
                                             reviews, including revising
                                             project descriptions and
                                             email correspondence with
                                             client regarding same
04/13/17   R. W. Hosking      0.50 L120      Review weekly report on            350.00
                                             SEC matters and related
                                             materials
04/13/17   V. L. Martinez     1.20 L120      Conduct phone interview of         840.00
                                             former employee
04/13/17   V. L. Martinez     0.50 L120      Follow-up with T. Ryan             350.00
                                             regarding interview of
                                             former employee
04/13/17   V. L. Martinez     0.70 L120      Review engagement letters          490.00
                                             and apply redactions to
                                             other engagement letters
04/13/17   V. L. Martinez     1.00 L120      Conduct research regarding         700.00
                                             attorney-client privilege and
                                             work product protection
04/13/17   V. L. Martinez     0.70 L120      Conference with co-counsel         490.00
                                             regarding work product
                                             protection
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DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
04/13/17   V. L. Martinez    0.40 L120       Correspond with KPMG             280.00
                                             counsel regarding work
                                             product protection
04/13/17   T. C. Ryan         0.50 L110      Conference with SEC               350.00
                                             counsel
04/13/17   T. C. Ryan         0.40 L110      Conference with EY                280.00
                                             counsel
04/13/17   T. C. Ryan         0.40 L110      Follow-up notes to team           280.00
04/13/17   T. C. Ryan         0.10 L110      Review status of document          70.00
                                             collection and production
04/13/17   N. A. Stockey      0.50 L120      Draft descriptions for            185.00
                                             privileged engagement
                                             letters per S. Hastings
04/13/17   N. A. Stockey      1.30 L120      Review and analyze                481.00
                                             correspondence related to
                                             privilege issues
04/13/17   N. A. Stockey      0.60 L120      Review correspondence             222.00
                                             and materials related to
                                             SEC subpoena production
04/13/17   M.L. Thibadeau     0.70 L120      Revise draft memorandum           259.00
                                             regarding government
                                             investigation and
                                             bankruptcy issues
04/14/17   S. N. Hastings     0.50 L110      Emails and telephone              350.00
                                             conference with co-counsel
                                             and Deloitte's counsel
                                             regarding privilege review
04/14/17   V. L. Martinez     0.50 L120      Coordinate production of          350.00
                                             WEC internal materials
04/14/17   V. L. Martinez     0.50 L120      Draft letter to SEC, along        350.00
                                             with confidentiality request
04/14/17   V. L. Martinez     0.30 L120      Correspond with S.                210.00
                                             Hastings and T. Ryan
                                             regarding confidentiality
                                             request
04/14/17   V. L. Martinez     0.40 L120      Correspond with KPMG              280.00
                                             counsel regarding review of
                                             KPMG documents
04/14/17   V. L. Martinez     0.40 L120      Calls with co-counsel             280.00
                                             regardingreview of KPMG
                                             documents
04/14/17   V. L. Martinez     3.30 L120      Review and analyze              2,310.00
                                             employee settlement
                                             agreement and correspond
                                             with co-counsel regarding
                                             same
04/14/17   T. C. Ryan         0.50 L120      Review status of production       350.00
04/14/17   T. C. Ryan         0.50 L120      Analyze substantive issues        350.00
                                             regading production
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
04/14/17   T. C. Ryan        0.20 L120       Review and revise cover           140.00
                                             letter
04/14/17   T. C. Ryan         0.30 L120      Conference with co-counsel         210.00
                                             regarding interview of
                                             former employee
04/17/17   S. N. Hastings     0.60 L110      Attention to privilege review      420.00
                                             issues, including
                                             correspondence with co-
                                             counsel and Deloitte's
                                             counsel
04/17/17   R. W. Hosking      1.00 L120      Review memoranda and               700.00
                                             emails regarding
                                             bankruptcy issues and
                                             subpoenas
04/17/17   R. W. Hosking      0.40 L120      Emails and conferences             280.00
                                             regarding bankruptcy
                                             issues and subpoenas and
                                             regarding strategy
04/18/17   S. N. Hastings     0.80 L110      Attention to Deloitte log and      560.00
                                             privilege review, including
                                             calls with co-counsel and
                                             counsel for Deloitte
04/18/17   V. L. Martinez     0.30 L120      Review weekly report               210.00
04/18/17   V. L. Martinez     0.20 L120      Correspond with S.                 140.00
                                             Hastings and T. Ryan
                                             regarding weekly report
04/18/17   V. L. Martinez     0.50 L120      Review and analyze hot             350.00
                                             document from document
                                             review
04/18/17   V. L. Martinez     0.70 L120      Correspond with co-counsel         490.00
                                             regarding document review
04/18/17   V. L. Martinez     1.30 L120      Review settlement                  910.00
                                             agreement language
                                             provided by co-counsel and
                                             comment on same
04/18/17   S. P. Reger        2.00 L110      Draft MOI for interview of         740.00
                                             former employee
04/18/17   N. A. Stockey      1.20 L120      Analyze materials for              444.00
                                             production to SEC per e-
                                             mails from T. Ryan
04/19/17   S. A. Bronder      4.50 P280      Attend meetings with T.          1,665.00
                                             Ryan and various WEC
                                             personnel regarding
                                             approach and initial
                                             collection of documents
04/19/17   S. A. Bronder      0.80 P280      Draft outline of process           296.00
                                             memo
04/19/17   S. A. Bronder      0.60 P280      Non-working travel to WEC          222.00
04/19/17   S. N. Hastings     0.30 L110      Attention to privilege             210.00
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DATE       NAME                HRS TASK        DESCRIPTION                     AMOUNT
                                               reviews, including call with
                                               other counsel
04/19/17   R. W. Manoso         2.70 L190      Review background                  999.00
                                               materials on internal
                                               investigation in relation to
                                               SEC investigation
04/19/17   V. L. Martinez       3.50 L120      Review hot documents and         2,450.00
                                               financial statements in
                                               preparation of narrative
                                               response
04/19/17   V. L. Martinez       0.50 L120      Correspond and hold call           350.00
                                               with T. Ryan regarding
                                               action plan items for the
                                               SEC investigation
04/19/17   V. L. Martinez       0.30 L120      Conference with KPMG               210.00
                                               counsel regarding status of
                                               review and production
04/19/17   V. L. Martinez       3.70 L120      Review and revise                2,590.00
                                               memorandum summaizing
                                               SEC's jurisdictional theories
04/19/17   S. P. Reger          1.00 L110      Finalize MOI of former             370.00
                                               employee interview
04/19/17   S. P. Reger          1.10 L110      Analyze Toshiba IIC report         407.00
                                               related to SEC jurisdictional
                                               issues
04/19/17   T. C. Ryan           8.00 L110      Conduct document                 5,600.00
                                               collection interviews on-site
                                               in preparation for subpoena
                                               production and narrative
                                               responses
04/19/17   N. A. Stockey        0.80 L120      Review and analyze                 296.00
                                               correspondence from co-
                                               counsel and materials for
                                               SEC subpoena issues
04/20/17   M. D. M. Bateman     2.00 L120      Conference with team               740.00
                                               regarding investigation
04/20/17   M. D. M. Bateman     2.30 L120      Review briefs related to           851.00
                                               privilege
04/20/17   S. A. Bronder        2.00 P930      Conference with team               740.00
                                               regading background, next
                                               steps and drafting of
                                               strategy memo
04/20/17   A. R. Cashman        2.00 L120      Conference regarding SEC           740.00
                                               subpoena response
04/20/17   A. R. Cashman        3.50 L120      Legal research regarding         1,295.00
                                               privilege and SEC issues
04/20/17   A. R. Cashman        1.30 L120      Coordinate regarding               481.00
                                               strategy
04/20/17   L. A. Diersen        1.20 L140      Organize, stage and load           240.00
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             documents into WEC SEC
                                             database as requested by
                                             V. Martinez
04/20/17   K. M. Gafner       2.00 L120      Attend team status meeting         740.00
04/20/17   K. M. Gafner       0.70 L120      Review documents for use           259.00
                                             in response to subpoena
04/20/17   S. N. Hastings     1.70 L110      Team status call and             1,190.00
                                             attention to privilege issues
04/20/17   R. W. Manoso       2.20 L120      Review outline for memo            814.00
                                             regardinglegal research
                                             related to jurisdiction and
                                             causes of action
04/20/17   R. W. Manoso       1.40 L190      Attend meeting to discuss          518.00
                                             strategy and planning
                                             subpoena and potential
                                             bases for liability with T.
                                             Ryan, S. Hastings, V.
                                             Martinez
04/20/17   V. L. Martinez     1.00 L120      Conference with KLG team           700.00
                                             regarding steps needed to
                                             prepare to respond to the
                                             SEC
04/20/17   V. L. Martinez     0.70 L120      Conference with client             490.00
                                             regarding factual
                                             background
04/20/17   V. L. Martinez     0.60 L120      Review and revise strategy         420.00
                                             memorandum of action
                                             items to prepare for
                                             responding to the SEC
04/20/17   V. L. Martinez     0.50 L120      Conference with team to            350.00
                                             discuss necessary legal
                                             research
04/20/17   V. L. Martinez     0.30 L120      Correspond with S. Reger           210.00
                                             regarding document
                                             collection
04/20/17   V. L. Martinez     1.00 L120      Review and revise MOI              700.00
04/20/17   V. L. Martinez     0.20 L120      Correspond with S. Reger           140.00
                                             regarding MOI
04/20/17   V. L. Martinez     0.80 L120      Meet with S.                       560.00
                                             Lambrakopoulos to read
                                             her into the SEC matter
04/20/17   V. L. Martinez     1.30 L120      Conduct research regarding         910.00
                                             Exchange Act
04/20/17   V. L. Martinez     0.10 L120      Find and send previous              70.00
                                             research on questions of
                                             jurisdiction to A. Cashman
                                             and R. Manoso
04/20/17   S. P. Reger        2.00 L110      Participate in work plan           740.00
                                             meeting
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DATE       NAME                HRS TASK        DESCRIPTION                      AMOUNT
04/20/17   S. P. Reger         2.00 L110       Draft memorandum                   740.00
                                               overview of securities laws
                                               as applied to SEC
                                               investigation
04/20/17   T. C. Ryan           1.10 L120      Organize document                   770.00
                                               collection and response to
                                               the SEC
04/20/17   T. C. Ryan           1.30 L120      Address privilege issues            910.00
04/20/17   T. C. Ryan           3.60 L120      Organize legal and factual        2,520.00
                                               research for team
04/20/17   T. C. Ryan           2.00 L120      Conference with SEC team          1,400.00
                                               regarding legal and factual
                                               research
04/20/17   N. A. Stockey        2.00 L120      Attend team meeting for             740.00
                                               SEC subpoena and
                                               securities litigation strategy
                                               and issues
04/20/17   N. A. Stockey        1.00 L120      Research law for securities         370.00
                                               issues and SEC subpoena
                                               issues
04/20/17   N. A. Stockey        0.80 L120      Review and analyze                  296.00
                                               background materials for
                                               SEC subpoena
04/21/17   M. D. M. Bateman     3.00 L120      Research law related to           1,110.00
                                               provisions of the Securities
                                               Exchange Act
04/21/17   S. A. Bronder        1.00 P280      Conference call with auditor        370.00
                                               counsel
04/21/17   S. A. Bronder        1.00 P280      Confer with A. Cashman              370.00
                                               and T. Ryan regarding
                                               privilege
04/21/17   A. R. Cashman        4.90 L120      Conduct legal research            1,813.00
                                               regarding privilege
04/21/17   A. R. Cashman        1.00 L120      Conference with T. Ryan             370.00
                                               and S. Bronder regarding
                                               privilege
04/21/17   L. A. Gehm           0.40 C200      Meet with R. Manoso to              148.00
                                               discuss assignment
04/21/17   L. A. Gehm           4.30 C200      Research waiver with              1,591.00
                                               respect to attorney client
                                               privilege
04/21/17   S. N. Hastings       0.30 L110      Conference with auditor             210.00
                                               counsel
04/21/17   S. N. Hastings       0.20 L110      Internal conference                 140.00
                                               regarding conference with
                                               auditor counsel
04/21/17   S. E.                0.70 B110      Review investigation-               490.00
           Lambrakopoulos                      related background material
                                               in connection with SEC
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DATE       NAME                HRS TASK        DESCRIPTION                      AMOUNT
                                               investigation
04/21/17   R. W. Manoso         1.00 L120      Additional attention to             370.00
                                               privilege issues, along with
                                               instruction to L. Gehm on
                                               further research
04/21/17   R. W. Manoso         3.00 L120      Research antifraud                1,110.00
                                               provisions for strategy
                                               memo, including recent
                                               treatment by courts and
                                               implications if court looks at
                                               where fraudulent conduct
                                               occurred
04/21/17   R. W. Manoso         0.90 L120      Research implication of             333.00
                                               Supreme Court's Janus
                                               opinion
04/21/17   V. L. Martinez       1.00 L120      Conference with T. Ryan             700.00
                                               and others regarding
                                               subpoena responses,
                                               research questions and
                                               related subjects
04/21/17   V. L. Martinez       0.30 L120      Direct associates regarding         210.00
                                               research questions
04/21/17   V. L. Martinez       2.40 L120      Review documents                  1,680.00
                                               regarding narrative
                                               response to SEC
04/21/17   S. P. Reger          4.00 C300      Draft memorandum                  1,480.00
                                               regarding potential causes
                                               of action underlying SEC
                                               investigation
04/21/17   N. A. Stockey        1.10 L120      Analyze legal privilege             407.00
                                               issues and securities
                                               litigation issues for SEC
                                               subpoena and related legal
                                               memorandum
04/24/17   M. D. M. Bateman     0.50 L120      Review co-counsel's                 185.00
                                               presentation on Morrison
                                               issue
04/24/17   A. R. Cashman        1.50 L120      Legal research regarding            555.00
                                               SEC matter
04/24/17   A. R. Cashman        1.60 L120      Draft strategy                      592.00
                                               memorandum
04/24/17   L. A. Gehm           1.50 C200      Research waiver with                555.00
                                               respect to attorney client
                                               privilege
04/24/17   L. A. Gehm           0.60 C200      Draft e-mail with findings          222.00
                                               and send to R. Manoso for
                                               review
04/24/17   R. W. Manoso         4.90 C200      Research cases and                1,813.00
                                               administrative proceedings
                                               regarding potential liability
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DATE       NAME                HRS TASK        DESCRIPTION                     AMOUNT
04/24/17   V. L. Martinez      0.20 L120       Correspond with co-counsel        140.00
                                               regarding subpoena
                                               productions issues with
                                               KPMG's counsel
04/24/17   S. P. Reger          3.60 L110      Draft memorandum                 1,332.00
                                               providing overview of anti-
                                               fraud securities laws
04/24/17   N. A. Stockey        1.60 L120      Research law regarding             592.00
                                               work product doctrine
04/25/17   M. D. M. Bateman     3.70 C200      Research jurisdictional          1,369.00
                                               issues
04/25/17   A. R. Cashman        8.40 L120      Draft strategy                   3,108.00
                                               memorandum
04/25/17   R. W. Manoso         2.10 C200      Continue research as to            777.00
                                               theories of liability in
                                               preparation for strategy
                                               memorandum
04/25/17   R. W. Manoso         3.00 L120      Draft portions of strategy       1,110.00
                                               memorandum discussing
                                               jurisdictional reach of
                                               antifraud provisions of
                                               securities laws
04/25/17   R. W. Manoso         0.30 L190      Conference with privilege          111.00
                                               issues regarding
                                               investigative report and
                                               related material with A.
                                               Cashman
04/25/17   S. P. Reger          6.00 C200      Draft memorandum                 2,220.00
                                               regarding anti-fraud
                                               provisions for securities
                                               laws
04/25/17   N. A. Stockey        2.70 L110      Continue to research               999.00
                                               regarding application of
                                               work product doctrine
04/26/17   M. D. M. Bateman     2.60 L120      Research law related to            962.00
                                               provision of securities law
04/26/17   A. R. Cashman        4.70 L120      Draft and revise strategy        1,739.00
                                               memorandum
04/26/17   K. M. Gafner         1.60 L120      Review research regarding          592.00
                                               jurisdiction
04/26/17   L. A. Gehm           0.20 C300      E-mail correspondence with          74.00
                                               R. Manoso regarding
                                               attorney client privilege
                                               research
04/26/17   R. W. Manoso         0.50 C200      Review questions regarding         185.00
                                               provisiosn of exchange act
                                               for purposes of strategic
                                               memorandum to client
04/26/17   R. W. Manoso         4.60 L120      Draft memorandum                 1,702.00
                                               sections related to potential
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DATE       NAME                HRS TASK        DESCRIPTION                    AMOUNT
                                               securities liabilities for
                                               purposes of strategic
                                               memorandum to client
04/26/17   R. W. Manoso         0.90 L190      Prepare for and attend            333.00
                                               status call re: privilege
                                               issues and strategic
                                               memorandum progress
04/26/17   S. P. Reger          6.90 C300      Research and draft              2,553.00
                                               memorandum regarding
                                               work-product protection
04/26/17   N. A. Stockey        1.00 L120      Meet and confer with SEC          370.00
                                               Subpoena team regarding
                                               updates, research
                                               preliminary findings, and
                                               action items
04/26/17   N. A. Stockey        1.50 L120      Research law regarding            555.00
                                               privilege issues and
                                               anticipation of litigation
                                               issues
04/26/17   N. A. Stockey        2.20 L120      Review and analyze                814.00
                                               materials and strategy
                                               memos regarding SEC
                                               subpoena
04/27/17   M. D. M. Bateman     0.90 C200      Research law related to           333.00
                                               securities law
04/27/17   S. A. Bronder        1.70 P280      Conference with team              629.00
                                               regarding securities
04/27/17   S. A. Bronder        0.50 P280      Review emails and case            185.00
                                               law regarding privilege
04/27/17   A. R. Cashman        4.00 L110      Conduct e-mail search on        1,480.00
                                               documents related to
                                               potential security
                                               transactions
04/27/17   A. R. Cashman        1.60 L110      Draft and revise strategy         592.00
                                               memorandum
04/27/17   K. M. Gafner         0.60 C200      Review jurisdiction and           222.00
                                               privilege research
04/27/17   L. A. Gehm           1.90 C200      Research history of               703.00
                                               securities enforcement
                                               actions against a subsidiary
04/27/17   S. E.                0.80 B110      Review backround                  560.00
           Lambrakopoulos                      materials regarding
                                               investigation
04/27/17   R. W. Manoso         4.00 L120      Continue draft of strategy      1,480.00
                                               memorandum sections
                                               pertaining to secondary
                                               liability under securities
                                               laws
04/27/17   S. P. Reger          4.00 C300      Research and draft              1,480.00
                                               memorandum regarding
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DATE       NAME                HRS TASK        DESCRIPTION                    AMOUNT
                                               work-product protection
04/27/17   T. C. Ryan           1.00 L110      Review draft strategy             700.00
                                               memorandum
04/27/17   T. C. Ryan           2.50 L110      Review status and results       1,750.00
                                               of legal research
04/27/17   T. C. Ryan           0.80 L110      Review status of subpoena         560.00
                                               response
04/27/17   N. A. Stockey        1.30 L120      Review, analyze, and              481.00
                                               research law regarding
                                               privilege issues and co-
                                               counsel memorandum and
                                               related materials regarding
                                               SEC subpoena
04/28/17   M. D. M. Bateman     0.40 L120      Draft and revise research e-      148.00
                                               mail related to securities
                                               research
04/28/17   S. A. Bronder        1.20 P280      Non-working travel to and         444.00
                                               from WEC
04/28/17   S. A. Bronder        2.00 P280      Conference with client            740.00
                                               regarding document
                                               collection
04/28/17   S. A. Bronder        3.60 P280      Interview former employee       1,332.00
04/28/17   A. R. Cashman        3.00 L110      Review documents                1,110.00
                                               regarding key transactions
04/28/17   A. R. Cashman        0.90 L110      Update memorandum                 333.00
                                               regarding the key
                                               transactions
04/28/17   S. N. Hastings       0.50 L110      Conference with V.                350.00
                                               Martinez and S.
                                               Lambrakopolous regarding
                                               Deloitte privilege review
04/28/17   S. E.                0.60 B110      Participate in conference         420.00
           Lambrakopoulos                      call with co-counsel
                                               regarding status and
                                               strategy
04/28/17   S. E.                0.40 B110      Follow-up with V. Martinez        280.00
           Lambrakopoulos                      regarding status and
                                               strategy
04/28/17   R. W. Manoso         2.50 L120      Continue draft of strategy        925.00
                                               memorandum sections
04/28/17   V. L. Martinez       1.00 L120      Conference with team              700.00
                                               regarding status of SEC
                                               inquiries and subpoena
                                               response efforts
04/28/17   V. L. Martinez       1.50 L120      Review documents related        1,050.00
                                               to potential security issues
04/28/17   V. L. Martinez       0.50 L120      Address document                  350.00
                                               production issues with
                                               Deloitte counsel
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DATE       NAME                HRS TASK        DESCRIPTION                   AMOUNT
04/28/17   V. L. Martinez      0.30 L120       Correspond with A.              210.00
                                               Cashman and R. Manoso
                                               regarding the status of
                                               research assignments
04/28/17   S. P. Reger          8.00 C300      Draft memorandum               2,960.00
                                               analyzing privilege issues
04/28/17   N. A. Stockey        1.20 L120      Analyze law and legal            444.00
                                               memoranda regarding
                                               securities litigation and
                                               privilege issues
04/30/17   A. R. Cashman        1.10 L120      Draft strategy memo              407.00
04/30/17   R. W. Manoso         1.50 L120      Continue draft of strategy       555.00
                                               memorandum portions
05/01/17   M. D. M. Bateman     1.60 L120      Draft and revise                 592.00
                                               memorandum regarding
                                               securities issues
05/01/17   A. R. Cashman        4.00 L120      Review documents               1,480.00
                                               produced by co-counsel to
                                               the SEC
05/01/17   A. R. Cashman        1.50 L120      Draft strategy                   555.00
                                               memorandum incorporating
                                               documents produced by co-
                                               counsel to the SEC
05/01/17   R. W. Manoso         8.20 L120      Complete draft of strategy     3,034.00
                                               memorandum portions
                                               regarding jurisdiction and
                                               liability application
05/01/17   V. L. Martinez       0.50 L120      Correspond with S.               350.00
                                               Lambrakopoulos and T.
                                               Ryan to coordinate
                                               assignments among the
                                               associates and other team
                                               members
05/01/17   V. L. Martinez       0.60 L120      Meet with S.                     420.00
                                               Lambrakopoulos to provide
                                               background documents on
                                               the case and to discuss the
                                               status of current
                                               assignments and tasks
05/01/17   V. L. Martinez       1.50 L120      Correspond with S. Bronder     1,050.00
                                               regarding witness
                                               interviews and review same
05/01/17   V. L. Martinez       1.90 L120      Review testimony summary       1,330.00
05/01/17   S. P. Reger          7.20 C300      Draft memorandum               2,664.00
                                               analyzing privilege issues
05/01/17   M.L. Thibadeau       1.80 L120      Research application of          666.00
                                               Bankruptcy Rules to SEC
                                               enforcement action
05/02/17   M. D. M. Bateman     5.20 L120      Draft and revise               1,924.00
                                               memorandum regarding
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DATE       NAME                HRS TASK        DESCRIPTION                      AMOUNT
                                               securities issues
05/02/17   A. R. Cashman        6.90 L120      Draft narrative response to       2,553.00
                                               SEC
05/02/17   J. A. Georges        0.20 L140      Respond to A. Cashman                50.00
                                               request regarding Network
                                               Share set-up
05/02/17   R. W. Manoso         3.20 L110      Review factual reports            1,184.00
                                               regarding background in
                                               evaluation of potential
                                               claims, along with review of
                                               underlying key documents
05/02/17   V. L. Martinez       1.00 L120      Conference with co-counsel          700.00
                                               regarding KPMG's privilege
                                               position
05/02/17   V. L. Martinez       1.50 L120      Review KPMG MSA                   1,050.00
05/02/17   V. L. Martinez       4.00 L120      Review memoranda and              2,800.00
                                               research underlying draft
                                               narrative response to SEC
05/02/17   V. L. Martinez       0.60 L120      Revise legal memorandum             420.00
05/02/17   S. P. Reger          1.70 C300      Draft memorandum                    629.00
                                               regarding privilege issues
05/02/17   T. C. Ryan           0.50 L120      Phone conference with co-           350.00
                                               counsel
05/02/17   T. C. Ryan           1.80 L120      Review legal research and         1,260.00
                                               strategy memorandum
05/02/17   M.L. Thibadeau       3.40 L120      Research case law and             1,258.00
                                               prepare draft memorandum
                                               regarding bankruptcy rules
05/03/17   M. D. M. Bateman     0.10 L120      Circulate memorandum                 37.00
                                               regarding securities issues
05/03/17   S. A. Bronder        2.00 P930      Participate in interview            740.00
05/03/17   S. A. Bronder        3.50 P930      Draft memorandum of               1,295.00
                                               interview
05/03/17   S. A. Bronder        0.60 P930      Conference with client              222.00
                                               regarding status of
                                               investigation
05/03/17   A. R. Cashman        2.20 L120      Draft narrative response for        814.00
                                               SEC
05/03/17   A. R. Cashman        2.80 L120      Review documents to               1,036.00
                                               determine chronlogy and
                                               key events
05/03/17   A. R. Cashman        0.50 L120      Conference with V.                  185.00
                                               Martinez regarding strategy
                                               memo and research
05/03/17   A. R. Cashman        0.80 L120      Review privilege                    296.00
                                               memorandum
05/03/17   S. N. Hastings       0.20 L110      Email correspondence with           140.00
                                               counsel for Deloitte and
                                               attention to related privilege
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DATE       NAME              HRS TASK        DESCRIPTION                   AMOUNT
                                             review
05/03/17   S. E.              1.00 B110      Participate in employee          700.00
           Lambrakopoulos                    interview related to
                                             narrative response to SEC
05/03/17   S. E.              1.50 B110      Various emails with team or    1,050.00
           Lambrakopoulos                    Deloitte privilege review,
                                             auditor subpoenas and
                                             related matters
05/03/17   R. W. Manoso       1.50 L120      Continue developing              555.00
                                             understanding of facts
                                             related to narrative
                                             response and evaluate
                                             potential claims
05/03/17   R. W. Manoso       1.30 L120      Revise relevant portions of      481.00
                                             strategic memorandum
05/03/17   V. L. Martinez     4.50 L120      Review and revise strategy     3,150.00
                                             memorandum
05/03/17   V. L. Martinez     1.00 L120      Attend iemployee interview       700.00
                                             of by phone
05/03/17   V. L. Martinez     2.00 L120      Review and revise legal        1,400.00
                                             research memorand drafted
                                             by R. Manoso and M.
                                             Bateman, and discuss
                                             additional research
                                             necessary
05/03/17   S. P. Reger        6.10 C300      Research and draft             2,257.00
                                             memorandum regarding
                                             federal securities
05/03/17   T. C. Ryan         3.00 L110      Conduct preliminary client     2,100.00
                                             interview of accounting
                                             group personnel to gather
                                             location of core documents
                                             responsive to subpoena
                                             and underlying facts
05/03/17   M.L. Thibadeau     4.90 L120      Research case law and          1,813.00
                                             prepare memorandum
                                             regarding application of
                                             bankruptcy rules to SEC
                                             claims
05/04/17   S. A. Bronder      1.10 P280      Draft MOI regarding              407.00
                                             employee interview related
                                             to historic accounting
                                             issues
05/04/17   A. R. Cashman      3.00 L120      Prepare documents for          1,110.00
                                             production
05/04/17   A. R. Cashman      2.30 L120      Prepare draft narrative          851.00
                                             response for SEC
05/04/17   A. R. Cashman      0.50 L120      Edit strategy memo               185.00
05/04/17   A. R. Cashman      0.50 L120      Confer with team regarding       185.00
                                             status
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DATE       NAME                HRS TASK        DESCRIPTION                     AMOUNT
05/04/17   S. E.               2.50 B110       Review privilege matters         1,750.00
           Lambrakopoulos                      relating to Deloitte
                                               subpoena
05/04/17   S. E.                0.50 B110      Conference with S.                 350.00
           Lambrakopoulos                      Hastings regarding privilege
                                               matters
05/04/17   S. E.                2.80 B110      Review memos regarding           1,960.00
           Lambrakopoulos                      privilege materials and
                                               other materials
05/04/17   R. W. Manoso         8.70 L120      Conduct additional               3,219.00
                                               research regarding
                                               potential primary liability
                                               under securities law and
                                               incorporate revisions to
                                               strategy memo
05/04/17   V. L. Martinez       0.50 L120      Conference with auditor            350.00
                                               counsel
05/04/17   V. L. Martinez       4.00 L120      Research SEC                     2,800.00
                                               enforcement history on
                                               similar claims
05/04/17   V. L. Martinez       0.50 L120      Correspond with S.                 350.00
                                               Lambrakopoulos regarding
                                               status of Deloitte production
05/04/17   V. L. Martinez       0.60 L120      Review and revise legal            420.00
                                               research memorandum on
                                               the applicability of certain
                                               federal securities laws
05/04/17   S. P. Reger          5.50 C300      Research and draft               2,035.00
                                               memorandum regarding
                                               federal securities laws
05/04/17   T. C. Ryan           0.50 L110      Status conference with co-         350.00
                                               counsel
05/04/17   T. C. Ryan           3.00 L110      Review and QC documents          2,100.00
                                               for production
05/05/17   M. D. M. Bateman     1.30 L120      Draft and revise                   481.00
                                               memorandum regarding
                                               securities issues
05/05/17   A. R. Cashman        1.80 L110      Review documents and               666.00
                                               draft narrative response for
                                               SEC
05/05/17   A. R. Cashman        1.30 L110      Review documents                   481.00
                                               regarding potential
                                               accounting issue
05/05/17   J. A. Georges        0.10 L140      Draft email communications          25.00
                                               with A. Cashman, e-DAT,
                                               IT regarding Network Share
05/05/17   S. E.                0.60 B110      Participate in telephone call      420.00
           Lambrakopoulos                      with SEC staff, T. Ryan and
                                               co-counsel regardig SEC
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DATE       NAME                HRS TASK        DESCRIPTION                   AMOUNT
                                               investigation
05/05/17   S. E.                0.50 B110      Debrief conference call          350.00
           Lambrakopoulos                      regarding SEC investigation
05/05/17   S. E.                1.90 B110      Review and prepare             1,330.00
           Lambrakopoulos                      privilege redactions for
                                               Deloitte documents
05/05/17   S. E.                0.80 B110      Various emails with              560.00
           Lambrakopoulos                      DeLoitte counsel, S.
                                               Hastings and N. Stockey
                                               regarding privilege
                                               redactions
05/05/17   R. W. Manoso         1.30 L120      Continue review of               481.00
                                               interview memoranda and
                                               documents related to
                                               accounting issues
05/05/17   V. L. Martinez       0.50 L120      Conference with S.               350.00
                                               Lambrakopoulos, T. Ryan
                                               and co-counsel egarding
                                               conversation with SEC staff
                                               and planned steps in
                                               response
05/05/17   S. P. Reger          5.10 C300      Analyze case law and draft     1,887.00
                                               memorandum regarding the
                                               Securities Act
05/05/17   T. C. Ryan           0.50 L120      Conference with co-counsel       350.00
05/05/17   T. C. Ryan           0.40 L120      Conference with SEC staff        280.00
                                               attorney
05/05/17   T. C. Ryan           0.60 L120      Address follow-up issues         420.00
05/05/17   M.L. Thibadeau       0.20 L120      Telephone conference with         74.00
                                               T. Ryan regarding research
                                               on bankruptcy issue
05/06/17   V. L. Martinez       0.40 L120      Review research                  280.00
                                               memorandum on
                                               bankruptcy law
05/06/17   V. L. Martinez       0.30 L120      Correspond with T. Ryan          210.00
                                               regarding the research
                                               memorandum
05/06/17   V. L. Martinez       1.30 L120      Review research on               910.00
                                               potential claims under
                                               securities laws
05/08/17   M. D. M. Bateman     0.20 L120      Draft e-mail distributing         74.00
                                               memorandum on securities
                                               issues
05/08/17   S. A. Bronder        0.50 P280      Conference with A.               185.00
                                               Cashman regarding
                                               production of WEC financial
                                               documents
05/08/17   S. A. Bronder        0.40 P280      Search Ringtail for              148.00
                                               documents
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DATE       NAME              HRS    TASK     DESCRIPTION                    AMOUNT
05/08/17   A. R. Cashman     2.10   L110     Edit strategy memo               777.00
05/08/17   A. R. Cashman     2.50   L110     Prepare production               925.00
05/08/17   A. R. Cashman     1.00   L110     Finalize narrative response      370.00
                                             to the SEC and search for
                                             and review documents for
                                             the same
05/08/17   S. E.              0.50 B110      Review memo regarding             350.00
           Lambrakopoulos                    bankruptcy effect on SEC
                                             claims process
05/08/17   S. E.              1.00 B110      Review various interview          700.00
           Lambrakopoulos                    memos
05/08/17   R. W. Manoso       0.70 L120      Review and revise strategy        259.00
                                             memorandum regarding
                                             potential causes of action
                                             by SEC along with status
                                             update
05/08/17   V. L. Martinez     1.50 L120      Review interview                1,050.00
                                             memoranda regarding
                                             historic accounting
                                             adjustments
05/08/17   V. L. Martinez     1.00 L120      Conduct research on               700.00
                                             provisions of the Securities
                                             Act of 1933
05/08/17   V. L. Martinez     0.50 L120      Correspond with R. Manoso         350.00
                                             and S. Reger on the status
                                             of research on securities
                                             issues
05/08/17   V. L. Martinez     1.00 L120      Review memorandum on              700.00
                                             potential bases of
                                             jurisdiction and potential
                                             causes of action
05/08/17   V. L. Martinez     0.70 L120      Correspond with co-counsel        490.00
                                             regarding status of KPMG
                                             production
05/08/17   V. L. Martinez     0.60 L120      Internal conference on            420.00
                                             comfort order with the SEC
                                             regarding the timing of the
                                             need to make a claim in the
                                             bankruptcy proceeding
05/08/17   V. L. Martinez     2.20 L120      Conduct research on case        1,540.00
                                             law following Janus Capital
                                             Group v. First Derivative
                                             Traders
05/08/17   S. P. Reger        5.50 C300      Analyze case law and draft      2,035.00
                                             memorandum regarding
                                             provisions of federal
                                             securities laws
05/09/17   S. A. Bronder      3.70 P280      Review and revise draft         1,369.00
                                             narrative response to the
                                             SEC
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DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
05/09/17   S. A. Bronder     0.50 P280       Exchange emails with T.          185.00
                                             Ryan and V. Martinez
                                             regarding narrative
                                             response to the SEC
05/09/17   A. R. Cashman      0.60 L120      Conference with S. Bronder        222.00
                                             regarding narrative
                                             response to the SEC
05/09/17   A. R. Cashman      0.50 L120      Review documents                  185.00
                                             regarding narrative
                                             response to the SEC
05/09/17   A. R. Cashman      2.50 L120      Edit strategy memo                925.00
05/09/17   S. E.              0.50 B110      Finalize redactions and           350.00
           Lambrakopoulos                    email Deloitte counsel
                                             regarding production to
                                             SEC
05/09/17   R. W. Manoso       6.20 L120      Continue revisions to           2,294.00
                                             strategy memorandum
                                             regarding potential claims,
                                             along with analysis of
                                             potential transactions to be
                                             focus of SEC investigation
05/09/17   V. L. Martinez     2.50 L120      Review and revise legal         1,750.00
                                             research memorandum
                                             regarding whether
                                             negotiations may constitute
                                             an offer under the
                                             Securities Act
05/09/17   V. L. Martinez     1.00 L120      Conduct research to find          700.00
                                             further supporting cases
05/09/17   V. L. Martinez     0.30 L120      Correspond with S. Reger          210.00
                                             regarding supporting cases
05/09/17   V. L. Martinez     1.00 L120      Correspond and hold call          700.00
                                             with co-counsel regarding
                                             negotiations with KPMG
                                             counsel regarding
                                             reviewing and redacting
                                             KPMG materials
05/09/17   V. L. Martinez     2.70 L120      Conduct legal research on       1,890.00
                                             claims under Securities Act
                                             as well as cases following
                                             SEC ruling in Flannery and
                                             Hopkins
05/09/17   S. P. Reger        5.10 C300      Analyze case law and draft      1,887.00
                                             memorandum regarding
                                             federal securities laws for
                                             development of overall
                                             strategy memorandum
05/10/17   S. A. Bronder      0.60 P280      Revise narrative response         222.00
                                             to the SEC
05/10/17   A. R. Cashman      2.50 L110      Prepare narrative response        925.00
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             to the SEC
05/10/17   S. E.              1.00 B110      Various conferences with V.        700.00
           Lambrakopoulos                    Martinez regarding
                                             investigation
05/10/17   S. E.              0.50 B110      Emails with Deloitte               350.00
           Lambrakopoulos                    counsel regarding
                                             production
05/10/17   S. E.              1.30 B110      Review memos by                    910.00
           Lambrakopoulos                    associates on legal issues
05/10/17   R. W. Manoso       4.60 L120      Revise memorandum                1,702.00
                                             regarding potential claims,
                                             along with additional
                                             research on conduct and
                                             effects test for determining
                                             jurisdiction
05/10/17   V. L. Martinez     0.40 L120      Correspond with KPMG               280.00
                                             counsel about redactions in
                                             Relativity database
05/10/17   V. L. Martinez     0.40 L120      Task S. Reger with creating        280.00
                                             a timeline of relevant
                                             transactions,
                                             announcements and public
                                             filings
05/10/17   V. L. Martinez     0.30 L120      Request certain documents          210.00
                                             from S. Bronder
05/10/17   V. L. Martinez     1.50 L120      Revise legal research            1,050.00
                                             memorandum regarding
                                             potential means for
                                             establishing jurisdiction
05/10/17   V. L. Martinez     1.40 L120      Meet with R. Manoso to go          980.00
                                             over edits and remaining
                                             questions
05/10/17   S. P. Reger        1.00 C300      Finalize memorandum                370.00
                                             regarding possible SEC
                                             jurisdictional bases
05/10/17   S. P. Reger        3.50 C300      Draft timeline of events         1,295.00
                                             leading to possible SEC
                                             jurisdictional bases
05/10/17   N. A. Stockey      0.40 L120      Update redactions and              148.00
                                             finalize letters for Deloitte
                                             per S. Lambrakopoulos
05/11/17   S. A. Bronder      0.60 P280      Revise draft letter to SEC         222.00
05/11/17   A. R. Cashman      2.00 L120      Review documents related           740.00
                                             to narrative response to
                                             SEC
05/11/17   A. R. Cashman      0.30 L120      Conference with T. Ryan            111.00
                                             regarding status
05/11/17   A. R. Cashman      0.50 L120      Draft chronology regarding         185.00
                                             historic accounting issues
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
05/11/17   A. R. Cashman     2.60 L120       Edit strategy memo                 962.00
05/11/17   R. W. Manoso      4.20 L120       Finalize memorandum              1,554.00
                                             regarding potential claims
05/11/17   V. L. Martinez     0.40 L120      Conference with T. Ryan to         280.00
                                             update him on progress of
                                             legal research assignments
                                             and discussions with
                                             counsel for KPMG
05/11/17   V. L. Martinez     0.40 L120      Ccorrespond with A.                280.00
                                             Cashman regarding how to
                                             write cover letters for
                                             production to the SEC
05/11/17   V. L. Martinez     0.50 L120      Correspond with S. Bronder         350.00
                                             regarding narrative
                                             response
05/11/17   V. L. Martinez     2.10 L120      Review and revise narrative      1,470.00
                                             response
05/11/17   V. L. Martinez     1.70 L120      Review legal research            1,190.00
                                             memorandum regarding the
                                             potential equity offer
05/11/17   V. L. Martinez     0.40 L120      Correspond with KPMG               280.00
                                             counsel regarding
                                             redactions in the KPMG
                                             Relativity system
05/11/17   S. P. Reger        1.00 C300      Draft timeline of key events       370.00
                                             leading to potential SEC
                                             jurisdiction
05/11/17   S. P. Reger        4.20 C300      Review and analyze               1,554.00
                                             Toshiba Article 26 report for
                                             memorandum of relevant
                                             Westinghouse statements
05/11/17   T. C. Ryan         1.30 L110      Conference with WEC                910.00
                                             Accounting Staff regarding
                                             FY2013 accounting issues
05/12/17   A. R. Cashman      5.00 L120      Prepare for and interview        1,850.00
                                             employee regarding Project
                                             G accounting
05/12/17   A. R. Cashman      1.30 L120      Discuss strategy with T.           481.00
                                             Ryan
05/12/17   S. E.              2.50 B110      Review Article 26 memo           1,750.00
           Lambrakopoulos                    and excerpts
05/12/17   R. W. Manoso       0.40 L120      Finalize memorandum                148.00
                                             regarding potential SEC
                                             claims and update master
                                             memorandum regarding
                                             strategies for subpoena
                                             response
05/12/17   V. L. Martinez     3.30 L120      Finalize legal research          2,310.00
                                             memorandum on potential
                                             bases of jurisdiction and
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             causes of action and send
                                             same to the team for
                                             inclusion in the strategy
                                             memo
05/12/17   V. L. Martinez     0.50 L120      Review S. Reger’s                  350.00
                                             summary of the Article 26
                                             report
05/12/17   V. L. Martinez     0.50 L120      Correspond with S. Bronder         350.00
                                             and A. Cashman about
                                             integrating a point from the
                                             Article 26 report
05/12/17   V. L. Martinez     0.70 L120      Hold weekly call with co-          490.00
                                             counsel
05/12/17   V. L. Martinez     0.50 L120      Correspond with T. Ryan            350.00
                                             regarding the timing of the
                                             narrative response to the
                                             SEC
05/12/17   S. P. Reger        2.10 C300      Draft production index for         777.00
                                             SEC production on May 10,
                                             2017
05/13/17   V. L. Martinez     0.50 L120      Review revised narrative           350.00
                                             response to the SEC
05/13/17   V. L. Martinez     0.50 L120      Correspond with A.                 350.00
                                             Cashman to answer
                                             questions raised in the draft
05/13/17   V. L. Martinez     0.40 L120      Correspond with co-counsel         280.00
                                             regarding questions raised
                                             in the draft
05/15/17   A. R. Cashman      0.70 L110      Confer encewith T. Ryan            259.00
                                             regarding narrative
                                             response to the SEC
05/15/17   A. R. Cashman      1.00 L110      Review memo regarding              370.00
                                             SEC jurisdiction
05/15/17   S. E.              0.70 B110      Confer encewith V.                 490.00
           Lambrakopoulos                    Martinez regarding
                                             narratives for SEC
05/15/17   S. E.              0.50 B110      Emails with Deloitte               350.00
           Lambrakopoulos                    counsel regarding
                                             production to SEC
05/15/17   S. E.              1.00 B110      Review Article 26 report           700.00
           Lambrakopoulos                    and materials related to
                                             narrative response
05/15/17   R. W. Manoso       0.50 L110      Attend call regarding              185.00
                                             treatment of historic
                                             accounting issues with
                                             WEC accounting group
                                             employee, along with
                                             review of spreadsheets
                                             showing accounting
                                             treatment
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DATE       NAME              HRS TASK        DESCRIPTION                   AMOUNT
05/15/17   V. L. Martinez    2.60 L120       Conference with co-counsel     1,820.00
                                             regarding status of SEC
                                             investigation and narrative
                                             response
05/15/17   V. L. Martinez     1.00 L120      Conference with employee         700.00
                                             to discuss factual
                                             background on journal
                                             entries related to historic
                                             accounting issue
05/15/17   V. L. Martinez     1.50 L120      Review and revise draft        1,050.00
                                             narrative response
05/15/17   V. L. Martinez     0.70 L120      Hold call with T. Ryan           490.00
                                             regarding the narrative
                                             response
05/15/17   T. C. Ryan         0.70 L120      Review documents                 490.00
                                             supporting narrative
                                             response
05/15/17   T. C. Ryan         2.20 L120      Draft and revise narrative     1,540.00
                                             response
05/15/17   T. C. Ryan         0.70 L120      Conference with co-counsel       490.00
                                             regarding narrative
                                             response
05/16/17   A. R. Cashman      0.50 L110      Confer with T. Ryan              185.00
                                             regarding narrative
                                             response
05/16/17   A. R. Cashman      0.20 L110      Edit narrative response           74.00
05/16/17   S. E.              1.20 B110      Review materials and             840.00
           Lambrakopoulos                    review and revise draft
                                             narrative to SEC
05/16/17   V. L. Martinez     0.40 L120      Hold call with T. Ryan           280.00
                                             regarding narrative
                                             response to the SEC
05/16/17   V. L. Martinez     1.20 L120      Read background                  840.00
                                             documents and compare to
                                             draft
05/16/17   N. A. Stockey      0.70 L120      Review and analyze SEC           259.00
                                             potential claims
                                             memorandum and research
                                             issues
05/17/17   A. R. Cashman      1.20 L110      Edit narrative response to       444.00
                                             the SEC
05/17/17   J. A. Georges      0.10 L660      Respond to T. Ryan                25.00
                                             request regarding
                                             document issues
05/17/17   S. E.              0.70 B110      Conference call with T.          490.00
           Lambrakopoulos                    Ryan, V. Martinez and co-
                                             counsel regarding narrative
                                             for SEC
05/17/17   S. E.              0.80 B110      Provide comments                 560.00
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DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
           Lambrakopoulos                    regarding conference call
                                             with co-counsel
05/17/17   S. E.              1.00 B110      Review interview memos in         700.00
           Lambrakopoulos                    preparation for potential
                                             SEC testimony
05/17/17   V. L. Martinez     0.70 L120      Conference with S.                490.00
                                             Lambrakopoulos, T. Ryan
                                             and co-counsel regarding
                                             edits to narrative letter
05/17/17   V. L. Martinez     1.20 L120      Review and reconcile co-          840.00
                                             counsel's and client edits
05/17/17   V. L. Martinez     1.10 L120      Review documents on               770.00
                                             financial accounting issues
05/17/17   T. C. Ryan         0.40 L120      Revise draft letter               280.00
05/17/17   T. C. Ryan         0.50 L120      Conference with co-counsel        350.00
                                             regarding letter
05/17/17   T. C. Ryan         0.30 L120      Circulate to client               210.00
05/17/17   T. C. Ryan         0.30 L120      Review comments                   210.00
05/18/17   A. R. Cashman      1.00 L110      Edit narrative response to        370.00
                                             the SEC
05/18/17   A. R. Cashman      0.60 L110      Review documents                  222.00
                                             regarding narrative
                                             response to the SEC
05/18/17   S. E.              0.70 B110      Telephone call with Deloitte      490.00
           Lambrakopoulos                    counsel regarding Deloitte
                                             subpoena
05/18/17   S. E.              0.50 B110      Review and revise related         350.00
           Lambrakopoulos                    search terms
05/18/17   S. E.              0.60 B110      Review charges/comments           420.00
           Lambrakopoulos                    to SEC narrative
05/18/17   V. L. Martinez     0.30 L120      Correspond with T. Ryan           210.00
                                             regarding edits to narrative
05/18/17   V. L. Martinez     0.20 L120      Review correspondence             140.00
                                             regarding accounting
                                             adjustments
05/19/17   A. R. Cashman      1.60 L110      Edit narrative response to        592.00
                                             the SEC
05/19/17   S. E.              0.40 B110      Review revised letter to          280.00
           Lambrakopoulos                    SEC and related
                                             background materials
05/19/17   S. E.              0.40 B110      Emails with team regarding        280.00
           Lambrakopoulos                    background materials
05/19/17   S. E.              0.70 B110      Emails with Deloitte              490.00
           Lambrakopoulos                    counsel regarding review of
                                             documents for SEC
                                             subpoena
05/19/17   V. L. Martinez     1.50 L120      Conference with KLG team        1,050.00
                                             and co-counsel regarding
                                             redactions to certain
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DATE       NAME              HRS TASK        DESCRIPTION                   AMOUNT
                                             exhibits to be provided to
                                             the SEC
05/19/17   T. C. Ryan         0.50 L110      Conference with client           350.00
                                             regarding draft letter
05/19/17   T. C. Ryan         1.00 L110      Revise letter                    700.00
05/19/17   T. C. Ryan         1.50 L110      Conference with co-counsel     1,050.00
                                             regarding privilege issues
05/19/17   T. C. Ryan         1.00 L110      Incorporate same into            700.00
                                             exhibits
05/19/17   T. C. Ryan         0.20 L110      Finalize letter                  140.00
05/22/17   S. A. Bronder      0.60 P280      Conference with T. Ryan          222.00
                                             and A. Cashman regarding
                                             next steps
05/22/17   A. R. Cashman      0.60 L110      Conference regarding             222.00
                                             status with T. Ryan and S.
                                             Bronder
05/22/17   A. R. Cashman      1.00 L110      Edit strategy memo               370.00
05/22/17   A. R. Cashman      0.50 L110      Prepare documents for            185.00
                                             production
05/22/17   A. R. Cashman      1.60 L110      Review financial accounting      592.00
                                             documents
05/22/17   S. E.              0.40 B110      Conference with V.               280.00
           Lambrakopoulos                    Martinez regarding Deloitte
                                             and KPMG subpoenas
05/22/17   S. E.              0.60 B110      Various emails with team         420.00
           Lambrakopoulos                    regarding subpoenas and
                                             regarding SEC requests
05/22/17   V. L. Martinez     0.50 L120      Correspond with co-counsel       350.00
                                             regarding KPMG
                                             confidentiality agreement
05/22/17   V. L. Martinez     0.40 L120      Correspond with T. Ryan          280.00
                                             and hold call with A.
                                             Cashman regarding drafting
                                             a FOIA confidentiality
                                             request letter to accompany
                                             last Friday’s production
05/22/17   V. L. Martinez     1.00 L120      Review background                700.00
                                             documents regarding
                                             accounting testing by
                                             Deloitte and financial
                                             reporting by Westinghouse
05/22/17   V. L. Martinez     0.60 L120      Meet with S.                     420.00
                                             Lambrakopoulos to discuss
                                             search terms for documents
                                             to be provided to Deloitte
                                             counsel
05/23/17   S. A. Bronder      0.30 P280      Review emails from V.            111.00
                                             Martinez and exchange
                                             emails with S.
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             Lampbrakopoulos
                                             regarding privilege search
                                             terms for Deloitte subpoena
                                             response
05/23/17   A. R. Cashman      2.90 L110      Review documents and             1,073.00
                                             draft second narrative
05/23/17   V. L. Martinez     0.20 L120      Review FOIA request letter         140.00
                                             drafted by A. Cashman
05/23/17   V. L. Martinez     0.40 L120      Edit list of search terms          280.00
                                             provided by Deloitte
                                             counsel for work products
                                             on certain Deloitte
                                             engagements
05/23/17   T. C. Ryan         1.60 L110      Review, organize and             1,120.00
                                             outline second narrative
                                             response to SEC
05/24/17   V. L. Martinez     0.40 L120      Hold call with T. Ryan             280.00
                                             regarding status of SEC
                                             investigation, plans for
                                             further presentations, and
                                             how to memorialize
                                             approach to the case
05/25/17   A. R. Cashman      0.60 L110      Prepare tracking chart             222.00
05/25/17   A. R. Cashman      1.00 L110      Edit second narrative              370.00
                                             response
05/25/17   V. L. Martinez     0.70 L120      Hold call with KPMG                490.00
                                             counsel regarding KPMG
                                             document review
                                             agreement
05/25/17   V. L. Martinez     0.40 L120      Hold calls with T. Ryan and        280.00
                                             client regarding certain
                                             clauses in document review
                                             agreement to secure
                                             approval from the client
05/25/17   V. L. Martinez     0.40 L120      Hold call with T. Ryan             280.00
                                             regarding how to respond
                                             to call from SEC staff
05/25/17   V. L. Martinez     0.40 L120      Correspond with KPMG               280.00
                                             counsel regarding call from
                                             SEC staff
05/25/17   V. L. Martinez     1.10 L120      Begin to review and revise         770.00
                                             jurisdiction section of legal
                                             research memo in response
                                             to call from T. Ryan
05/26/17   V. L. Martinez     2.20 L120      Draft memorandum                 1,540.00
                                             regarding potential SEC
                                             bases of enforcement and
                                             responsive defense
                                             strategies
05/26/17   V. L. Martinez     0.50 L120      Discuss terms of KPMG              350.00
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             confidentiality agreement
                                             with co-counsel
05/26/17   V. L. Martinez     0.70 L120      Hold call with T. Ryan to          490.00
                                             discuss call received from
                                             SEC
05/29/17   V. L. Martinez     1.70 L120      Draft memorandum                 1,190.00
                                             regarding potential SEC
                                             bases of enforcement and
                                             responsive defense
                                             strategies
05/30/17   S. A. Bronder      1.00 P280      Draft email regarding              370.00
                                             search terms to identify
                                             privileged Deloitte docs
05/30/17   S. A. Bronder      0.30 P280      Confer with T. Ryan and A.         111.00
                                             Cashman regarding status
                                             and next steps
05/30/17   A. R. Cashman      0.30 L120      Meet with T. Ryan and S.           111.00
                                             Bronder regarding status
05/30/17   A. R. Cashman      0.10 L120      Edit search terms for               37.00
                                             Deloitte privilege review
05/30/17   S. E.              0.60 B110      Various emails with T. Ryan        420.00
           Lambrakopoulos                    and V. Martinez regarding
                                             SEC request for testimony
                                             and witness representation
05/30/17   S. E.              0.20 B110      Emails with S. Broder              140.00
           Lambrakopoulos                    regarding Deloitte
                                             document review search
                                             terms
05/30/17   R. W. Manoso       5.50 C200      Research regarding               2,035.00
                                             evaluation of potential
                                             claims from SEC
05/30/17   V. L. Martinez     1.60 L120      Draft memorandum                 1,120.00
                                             regarding defense
                                             strategies given the state of
                                             the law
05/30/17   V. L. Martinez     0.40 L120      Hold call with co-counsel          280.00
                                             regarding KPMG
                                             confidentiality agreement
05/30/17   V. L. Martinez     1.00 L120      Call T. Ryan to discuss            700.00
                                             SEC request for witnesses,
                                             and SEC knowledge of
                                             certain transactions
05/30/17   V. L. Martinez     3.00 L120      Write up email for T. Ryan       2,100.00
                                             on SEC rules regarding
                                             counsel attendance at
                                             testimony
05/30/17   T. C. Ryan         0.50 L120      Address representation             350.00
                                             issues
05/31/17   A. R. Cashman      2.10 L110      Draft second narrative             777.00
                                             response to SEC
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DATE       NAME                 HRS TASK        DESCRIPTION                      AMOUNT
05/31/17   S. E.                0.70 B110       Conference call with T.            490.00
           Lambrakopoulos                       Ryan, V. Martinez, client
                                                and co-counsel regarding
                                                SEC staff questions on
                                                individual witnesses
05/31/17   S. E.                 0.70 B110      Various conferences and            490.00
           Lambrakopoulos                       emails with V. Martinez and
                                                T. Ryan regarding SEC
                                                staff questions
05/31/17   S. E.                 0.50 B110      Review potential search            350.00
           Lambrakopoulos                       terms for Deloitte subpoena
05/31/17   V. L. Martinez        3.70 L120      Draft memorandum                  2,590.00
                                                outlining subpoena
                                                response and defense
                                                strategies given the
                                                uncertain state of the law
05/31/17   V. L. Martinez        0.50 L120      Hold call regarding                350.00
                                                responding to SEC's
                                                request to interview certain
                                                witnesses and seek email
                                                review
05/31/17   V. L. Martinez        1.00 L120      Hold call with co-counsel          700.00
                                                retention of pool counsel
05/31/17   V. L. Martinez        2.00 L120      Review and provide                1,400.00
                                                comments on second
                                                narrative response
                            TOTAL FEES            736.20 hrs                $   371,340.00
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                              TIMEKEEPER SUMMARY

M. D. M. Bateman                23.80    hrs at    $    370.00   / hr          8,806.00
S. A. Bronder                   34.60    hrs at    $    370.00   / hr         12,802.00
A. R. Cashman                  108.50    hrs at    $    370.00   / hr         40,145.00
L. A. Diersen                    1.20    hrs at    $    200.00   / hr            240.00
K. M. Gafner                     4.90    hrs at    $    370.00   / hr          1,813.00
L. A. Gehm                       8.90    hrs at    $    370.00   / hr          3,293.00
J. A. Georges                    0.40    hrs at    $    250.00   / hr            100.00
S. N. Hastings                  19.80    hrs at    $    700.00   / hr         13,860.00
R. W. Hosking                    3.40    hrs at    $    700.00   / hr          2,380.00
S. E. Lambrakopoulos            34.80    hrs at    $    700.00   / hr         24,360.00
R. W. Manoso                    81.80    hrs at    $    370.00   / hr         30,266.00
V. L. Martinez                 196.40    hrs at    $    700.00   / hr        137,480.00
J. D. Morrison                   7.00    hrs at    $    370.00   / hr          2,590.00
S. P. Reger                     89.90    hrs at    $    370.00   / hr         33,263.00
T. C. Ryan                      46.20    hrs at    $    700.00   / hr         32,340.00
N. A. Stockey                   46.30    hrs at    $    370.00   / hr         17,131.00
M.L. Thibadeau                  28.30    hrs at    $    370.00   / hr         10,471.00
                       TOTAL FEES                 736.20 hrs             $   371,340.00
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                              TASK CODE SUMMARY

B110    Case Administration                     34.80   hrs              24,360.00
C200    Researching Law                         38.90   hrs              14,393.00
C300    Analysis and Advice                     71.70   hrs              26,727.00
L110    Fact Investigation/Development         107.90   hrs              57,083.00
L120    Analysis/Strategy                      436.40   hrs             231,494.00
L140    Document/File Management                 1.50   hrs                 315.00
L190    Other Case Assessment, Development       9.00   hrs               3,660.00
        and
L650    eDiscovery Review                       1.30    hrs                 481.00
L660    eDiscovery Analysis                     0.10    hrs                  25.00
P280    Other                                  26.50    hrs               9,805.00
P930    Other                                   8.10    hrs               2,997.00
                          TOTAL FEES          736.20    hrs        $    371,340.00


                      DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Copying Expense                                                              44.10
Lexis Research                                                              477.75
Litigation Support Charges - Ringtail                                       446.77
Long Distance Courier                                                        55.05
Conference Room Rental - Marriott Pittsburgh                                577.17
Pacer Research                                                               60.60
Telephone / Conference Calls / Fx Line Trans                                 21.29
Travel Expenses: Hotel                                                      577.98
Travel Expenses: Parking                                                     96.00
Travel Expenses: Mileage                                                     27.82
Travel Expenses: Tolls                                                       28.20
Travel Expenses: Gasoline                                                    29.10
Travel Expenses: Meals                                                       32.06
Westlaw Research                                                          3,430.87
                            DISBURSEMENTS & OTHER CHARGES          $      5,904.76
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                         Invoice Date                     :     June 8, 2017
 1000 Westinghouse Drive                                                               Invoice Number                   :     3395025
 Cranberry Township, PA 16066                                                          Services Through                 :     May 31, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

CONFIDENTIAL -- e-DAT Fees (70030)

       Fees                                                                        $         6,766.86
       Disbursements and Other Charges                                             $           590.17
       Total Amount Due This Matter                                                                                                $           7,357.03



CURRENT INVOICE DUE - All Matters                                                                                                   $          7,357.03




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
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 CONFIDENTIAL -- e-DAT Fees (70030)                                          $7,357.03

                                        FEES

DATE       NAME                HRS TASK        DESCRIPTION                    AMOUNT
04/12/17   L. A. Diersen       0.60 B110       Strategize with V. Martinez      150.00
                                               in regards to production
                                               specifications
04/12/17   L. A. Diersen        0.20 B110      Run advanced searches              50.00
                                               and isolate production set
04/13/17   L. A. Diersen        2.00 B110      Electronically produce data       500.00
                                               out of litigation support
                                               database per the request of
                                               V. Martinez for production
                                               to opposition
04/30/17   ESI Processing       N/A   B110     ESI Processing: 0.06642            19.92
                                               GB processed @ $50/GB =
                                               $3.32 (raw extracted
                                               volume - input); 0.06642
                                               GB processed @ $250/GB
                                               = $16.60 (post- filtered
                                               volume - output); Total ESI
                                               Processing Charge: $19.92
05/02/17   L. A. Diersen        0.40 L120      Strategize with S. Bronder        100.00
                                               in regards to loading data
                                               into Ringtail via NUIX from
                                               thumb drive Westinghouse
                                               collection
05/05/17   L. A. Diersen        0.60 L140      Run advanced searches for         150.00
                                               date restriction documents
                                               and isolate results to
                                               determine collection set as
                                               requested by S. Bronder
05/08/17   L. A. Diersen        0.60 L320      Strategize with A. Cashman        150.00
                                               in regards to production
                                               specifications
05/09/17   L. A. Diersen        1.30 L140      Export searchable pdfs for        325.00
                                               T. Ryan as requested by S.
                                               Bronder
05/09/17   L. A. Diersen        0.40 L140      Organize and stage                100.00
                                               collection script as
                                               requested by S. Bronder for
                                               T. Ryan
05/10/17   J. A. Chiccarino     0.60 L320      Coordinate with litigation        222.00
                                               support regarding
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DATE       NAME                HRS TASK        DESCRIPTION                     AMOUNT
                                               document production
05/10/17   L. A. Diersen        4.20 L140      Electronically produce           1,050.00
                                               "WEC SEC 002" out of
                                               litigation support database
                                               per the request of A.
                                               Cashman for production to
                                               opposition
05/11/17   J. A. Chiccarino     0.40 L320      Coordinate with litigation         148.00
                                               support regarding
                                               document production
05/11/17   L. A. Diersen        0.40 L120      Strategize with S. Bronder         100.00
                                               in regards to external user
                                               access
05/12/17   L. A. Diersen        0.60 L120      Strategize with S. Bronder         150.00
                                               and organize "client"
                                               permissions in anticipation
                                               of external user review)
05/12/17   L. A. Diersen        0.50 L120      Strategize with S. Reger           125.00
                                               and provide a production
                                               report for letter
05/18/17   L. A. Diersen        0.40 L140      Run advanced searches for          100.00
                                               specified email threads as
                                               requested by A. Cashman
05/19/17   L. A. Diersen        0.90 L320      Organize, stage and load           225.00
                                               Exhibits in anticipation of
                                               production as requested by
                                               A. Cashman
05/22/17   L. A. Diersen        0.30 L140      Strategize with A. Cashman          75.00
                                               in regards to certain
                                               transaction documents
05/31/17   ESI Processing       N/A   B110     ESI Processing: 9.00222          2,676.94
                                               GB processed @ $50/GB =
                                               $450.11 (raw extracted
                                               volume - input); 8.90732
                                               GB processed @ $250/GB
                                               = $2,226.83 (post- filtered
                                               volume - output); Total ESI
                                               Processing Charge:
                                               $2,676.94
                           TOTAL FEES               15.80 hrs              $     6,766.86
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                                             TIMEKEEPER SUMMARY

J. A. Chiccarino                              1.00 hrs at                 $    370.00 / hr                          370.00
L. A. Diersen                                14.80 hrs at                 $    250.00 / hr                        3,700.00
ESI Processing                                N/A hrs at                  $      N/A / hr                         2,696.86
                                    TOTAL FEES                            15.80 hrs                      $        6,766.86


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
05/31/17         OCR 4,088 pages @ $0.02/page: $81.76                                                                 81.76
05/31/17         ESI Conversion: Convert 0.10635 GB to TIFF images @ $500/GB:                                         53.18
                 $53.18
05/31/17         Ringtail Fees: May 2017 Data Storage Fees: 30.34899 GB @                                           455.23
                 $15.00/GB: $455.23
                                DISBURSEMENTS & OTHER CHARGES                $                                      590.17

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                                                 MATTER SUMMARY

Fees                                                                                                     $        6,766.86
Disbursements and Other Charges                                                                          $          590.17
MATTER TOTAL                                                                                             $        7,357.03
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BTK00117


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                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                         Invoice Date                          :      July 24, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3410074
Cranberry Township, PA 16066                                                          Services Through                      :      June 30, 2017




  0236915.00030          Subpoena Response


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $       147,758.00
Disbursements and Other Charges                                                                                                           $         1,491.17

CURRENT INVOICE DUE                                                                                                                       $       149,249.17




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                      FEES

DATE       NAME              HRS TASK        DESCRIPTION                   AMOUNT
06/01/17   A. R. Cashman     0.20 L110       Review V. Martinez edits to     74.00
                                             goodwill narrative
06/01/17   S. E.              0.70 B110      Conference with T. Ryan          490.00
           Lambrakopoulos                    regarding former employee
                                             interview and next steps
06/01/17   S. E.              0.30 B110      Review emails relating to        210.00
           Lambrakopoulos                    third party subpoenas
06/01/17   V. L. Martinez     0.80 L120      Draft memorandum                 560.00
                                             outlining subpoena
                                             response and defense
                                             strategies given the
                                             uncertain state of the law
06/01/17   V. L. Martinez     0.70 L120      Discuss the same with T.         490.00
                                             Ryan and subpoena
                                             response strategies
06/02/17   A. R. Cashman      0.60 L110      Conference with V.               222.00
                                             Martinez regarding goodwill
                                             impairment
06/02/17   A. R. Cashman      0.90 L110      Edit narrative                   333.00
06/02/17   V. L. Martinez     0.60 L120      Conference with A.               420.00
                                             Cashman to discuss draft
                                             goodwill impairment
                                             narrative response and
                                             establish tasks for
                                             completion
06/02/17   V. L. Martinez     0.60 L120      Draft email regarding            420.00
                                             discussion with KPMG
                                             counsel
06/02/17   V. L. Martinez     0.50 L120      Conference with co-counsel       350.00
                                             to discuss updates on
                                             subpoena response effort
06/02/17   V. L. Martinez     0.30 L120      Draft email to T. Ryan           210.00
                                             regarding the same
06/02/17   V. L. Martinez     0.40 L120      Correspond with KPMG             280.00
                                             counsel regarding review of
                                             engagement letters
06/02/17   V. L. Martinez     0.40 L120      Correspond with R. Manoso        280.00
                                             to help provide information
                                             to complete the former
                                             employee interview
                                             memorandum
06/02/17   V. L. Martinez     1.50 L120      Review accounting              1,050.00
                                             literature on goodwill
                                             impairment calculation
                                             procedures
06/02/17   V. L. Martinez     0.50 L120      Review WEC white paper           350.00
                                             regarding the same
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DATE       NAME              HRS TASK        DESCRIPTION                   AMOUNT
06/02/17   V. L. Martinez    0.70 L120       Review and revise               490.00
                                             memorandum of interview
06/05/17   S. E.              0.80 B110      Conferencewith V. Martinez       560.00
           Lambrakopoulos                    regarding input from Weil
                                             on SEC subpoena and
                                             potential witness testimony
06/05/17   R. W. Manoso       0.80 L120      Conference with team             296.00
                                             regarding new subpoena
                                             and status of SEC
                                             investigation/focus of
                                             inquiry
06/05/17   V. L. Martinez     1.00 L120      Conference with co-counsel       700.00
                                             regarding the status of the
                                             SEC case and approaches
                                             for responding to the new
                                             subpoena
06/05/17   V. L. Martinez     0.40 L120      Conference with T. Ryan          280.00
                                             regarding strategy for new
                                             subpoena
06/05/17   V. L. Martinez     4.50 L120      Redact KPMG engagement         3,150.00
                                             letters and statements of
                                             work
06/05/17   V. L. Martinez     0.50 L120      Correspond with co-counsel       350.00
                                             and KPMG counsel
                                             regarding same
06/06/17   A. R. Cashman      0.20 L120      Correspond with V.                 74.00
                                             Martinez regarding status
06/06/17   S. E.              1.10 B110      Review proposed search           770.00
           Lambrakopoulos                    terms for Deloitte document
                                             review
06/06/17   S. E.              0.40 B110      Emails regarding strategy        280.00
           Lambrakopoulos                    and status of investigation
06/06/17   V. L. Martinez     3.30 L120      Review and redact KPMG         2,310.00
                                             letters
06/06/17   V. L. Martinez     0.40 L120      Correspond with co-counsel       280.00
                                             and KPMG counsel
                                             regarding same
06/06/17   V. L. Martinez     0.50 L120      Conduct research regarding       350.00
                                             WEC’s goodwill impairment
                                             adjustments
06/06/17   V. L. Martinez     0.50 L120      Correspond with A.               350.00
                                             Cashman regarding
                                             goodwill impairment
                                             narrative and auditor
                                             meeting
06/06/17   V. L. Martinez     0.80 L120      Conduct research on              560.00
                                             caselaw defining domestic
                                             transactions for strategy
                                             memorandum
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DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
06/07/17   V. L. Martinez    0.70 L120       Finish review of KPMG            490.00
                                             engagement letters
06/07/17   V. L. Martinez     0.40 L120      Conference with co-counsel        280.00
                                             regarding engagement
                                             letters
06/07/17   V. L. Martinez     0.40 L120      Conference with T. Ryan           280.00
                                             regarding KPMG
                                             engagement letters
06/07/17   V. L. Martinez     3.30 L120      Conduct and send T. Ryan        2,310.00
                                             research venue for SEC
                                             subpoena enforcement
                                             actions and caselaw
                                             regarding the reach of the
                                             SEC’s subpoena and
                                             subpoena enforcement
                                             powers
06/07/17   V. L. Martinez     0.70 L120      Review documentation              490.00
                                             underlying the Shaw put,
                                             including disclosures to the
                                             SEC and the put and
                                             investment agreements
06/07/17   V. L. Martinez     1.20 L120      Conduct case research on          840.00
                                             tests to determine the
                                             location of purchases and
                                             sales for determining
                                             whether a transaction is
                                             domestic
06/08/17   V. L. Martinez     0.40 L120      Correspond with T. Ryan           280.00
                                             regarding request from
                                             auditor
06/08/17   V. L. Martinez     1.00 L120      Review Deloitte goodwill          700.00
                                             impairment work product to
                                             build the SEC narrative
                                             response
06/08/17   V. L. Martinez     2.90 L120      Conduct research regarding      2,030.00
                                             case law on how to
                                             determine whether offers
                                             and transactions are
                                             deemed domestic
06/08/17   V. L. Martinez     0.50 L120      Review documentation for          350.00
                                             the Shaw put agreements
06/08/17   V. L. Martinez     0.70 L120      Draft investigation strategy      490.00
                                             memorandum
06/09/17   S. A. Bronder      0.70 P280      Conference with team              259.00
                                             regarding status and next
                                             steps
06/09/17   A. R. Cashman      0.80 L120      Conference call with co-          296.00
                                             counsel regarding status
06/09/17   S. E.              0.80 B110      Conference with co-counsel        560.00
           Lambrakopoulos                    regarding SEC investigation
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DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
06/09/17   S. E.             1.20 B110       Review documents in              840.00
           Lambrakopoulos                    connection with Deloitte
                                             subpoena
06/09/17   S. E.              0.80 B110      Emails with Deloitte              560.00
           Lambrakopoulos                    counsel regarding
                                             subpoena
06/09/17   V. L. Martinez     1.00 L120      Conference with co-counsel        700.00
                                             regarding subpoena
                                             response strategies
06/09/17   V. L. Martinez     0.50 L120      Fold follow up call with T.       350.00
                                             Ryan regarding subpoena
                                             response strategies
06/09/17   V. L. Martinez     0.40 L120      Correspond with A.                280.00
                                             Cashman regarding the
                                             goodwill impairment
                                             narrative response
06/09/17   V. L. Martinez     1.00 L120      Begin to review WEC ETC           700.00
                                             variance white paper and
                                             responses to auditor
06/09/17   V. L. Martinez     2.00 L120      Continue to draft               1,400.00
                                             investigation strategy
                                             memorandum
06/09/17   V. L. Martinez     0.10 L120      Correspond with J. Pahl of          70.00
                                             Williams & Connolly
                                             regarding KPMG
                                             engagement letters
06/09/17   T. C. Ryan         0.40 L120      Coordinate response to            280.00
                                             subpoena
06/09/17   T. C. Ryan         0.20 L120      Review search terms               140.00
06/09/17   T. C. Ryan         0.70 L120      Review and comment on             490.00
                                             draft narrative response
06/09/17   T. C. Ryan         0.40 L120      Coordination call with co-        280.00
                                             counsel
06/09/17   T. C. Ryan         1.00 L120      Address representation            700.00
                                             issues
06/12/17   V. L. Martinez     1.30 L120      Read ETC variance white           910.00
                                             paper and white paper
                                             responding to PwC
                                             questions
06/12/17   V. L. Martinez     0.50 L120      Hold call with T. Ryan            350.00
                                             regarding status of
                                             subpoena response efforts
06/12/17   V. L. Martinez     3.00 L120      Draft defense strategy          2,100.00
                                             memorandum
06/12/17   T. C. Ryan         2.40 L110      Review scope of subpoena,       1,680.00
                                             current litigation hold list
                                             and coordinate collection of
                                             responsive e-mail with in-
                                             house IT staff
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
06/12/17   T. C. Ryan        1.10 L110       Review draft SEC narrative        770.00
                                             and coordinate comments
                                             from client
06/12/17   D. L. Stecko       0.60 L620      Review subpoena and data           150.00
                                             delivery standards per T.
                                             Ryan request and
                                             correspond with T. Ryan
                                             and E. McAnallen regarding
                                             ESI collection specifications
06/13/17   V. L. Martinez     0.70 L120      Read acquisition                   490.00
                                             accounting white paper
06/13/17   V. L. Martinez     0.40 L120      Finish investigation strategy      280.00
                                             memorandum and send to
                                             T. Ryan
06/13/17   V. L. Martinez     6.80 L120      Review and revise goodwill       4,760.00
                                             impairment narrative
                                             response
06/14/17   S. E.              0.80 B110      Review research memo               560.00
           Lambrakopoulos                    regarding jurisdictional
                                             issues
06/14/17   S. E.              1.20 B110      Work on Deloitte subpoena          840.00
           Lambrakopoulos                    matters
06/14/17   V. L. Martinez     0.50 L120      Read Deloitte goodwill             350.00
                                             impairment reports
06/14/17   V. L. Martinez     1.00 L120      Hold call with client              700.00
                                             regarding goodwill
                                             impairment procedure and
                                             history of interim goodwill
                                             impairment tests
06/14/17   V. L. Martinez     7.20 L120      Draft goodwill impairment        5,040.00
                                             narrative response for the
                                             SEC
06/15/17   S. A. Bronder      0.30 P280      Confer with S.                     111.00
                                             Lambrakopoulos regarding
                                             search terms
06/15/17   S. E.              0.40 B110      Telephone call with S.             280.00
           Lambrakopoulos                    Bronder regarding Deloitte
                                             subpoena response
06/15/17   S. E.              0.80 B110      Review related questions           560.00
           Lambrakopoulos
06/15/17   V. L. Martinez     0.40 L120      Review correspondence              280.00
                                             with T. Ryan, S. Bronder,
                                             and A. Cashman regarding
                                             background material for
                                             goodwill impairment
                                             narrative
06/15/17   V. L. Martinez     0.30 L120      Correspond with attorneys          210.00
                                             from White & Case and
                                             Williams & Connolly
                                             regarding KPMG
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DATE       NAME              HRS TASK        DESCRIPTION                     AMOUNT
                                             engagement letters
06/15/17   V. L. Martinez     0.50 L120      Draft slides on the nature of      350.00
                                             the SEC investigation for
                                             next week’s WEC audit
                                             committee meeting
06/15/17   V. L. Martinez     0.20 L120      Hold call with T. Ryan             140.00
                                             regarding the same
06/15/17   V. L. Martinez     4.80 L120      Draft goodwill impairment        3,360.00
                                             narrative
06/16/17   V. L. Martinez     0.40 L120      Correspond with T. Ryan            280.00
                                             regarding basic information
                                             (including timing, signatory,
                                             and objective statements)
                                             of the three Bluefin
                                             engagement letters
06/16/17   V. L. Martinez     0.20 L120      Review correspondence              140.00
                                             with T. Ryan and client
                                             regarding last remaining
                                             KPMG engagement letters
06/16/17   V. L. Martinez     0.30 L120      Make redaction changes to          210.00
                                             same engagement letters
                                             and correspond with KPMG
                                             counsel regarding the same
06/16/17   V. L. Martinez     0.10 L120      Review and comment on                70.00
                                             correspondence to auditor
                                             regarding interview request
06/16/17   V. L. Martinez     0.50 L120      Hold weekly call with co-          350.00
                                             counsel
06/16/17   V. L. Martinez     2.50 L120      Finish draft of goodwill         1,750.00
                                             narrative, and send same to
                                             A. Cashman and client
06/16/17   T. C. Ryan         0.40 L120      Conference with co-counsel         280.00
                                             regarding strategy for
                                             information requests from
                                             government
06/17/17   T. C. Ryan         0.40 L120      Draft e-mail regarding             280.00
                                             communication with former
                                             employees regarding
                                             investigation
06/19/17   S. A. Bronder      1.20 P280      Exchange emails with               444.00
                                             Ringtail support and A.
                                             Cashman regarding search
                                             and review of documents
                                             potentially responsive to
                                             subpoena
06/19/17   S. A. Bronder      0.90 P280      Compile search terms run           333.00
                                             in Bluefin investigation for
                                             consideratoin by S.
                                             Lambrakopoulos in
                                             communications with
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DATE       NAME              HRS TASK        DESCRIPTION                    AMOUNT
                                             Deloitte
06/19/17   S. A. Bronder      0.20 P280      Confer wtih A. Cashman              74.00
                                             and T. Ryan regarding
                                             status and next steps
06/19/17   A. R. Cashman      0.40 L120      Conference with S. Bronder        148.00
                                             regarding status of
                                             document review and
                                             production in response to
                                             Subpoena
06/19/17   A. R. Cashman      0.50 L120      Conference with V.                185.00
                                             Martinez and client
                                             regarding narrative
                                             responses to SEC
06/19/17   A. R. Cashman      2.10 L120      Plan and prepare for              777.00
                                             document review of
                                             documents responsive to
                                             Subepoena
06/19/17   A. R. Cashman      0.70 L120      Conference call with WEC          259.00
                                             legal team regarding status
                                             of response to SEC
06/19/17   A. R. Cashman      0.70 L120      Conference call with WEC          259.00
                                             and Toshiba legal teams
                                             regarding status of
                                             response to SEC
06/19/17   J. A. Georges      0.10 L120      Respond to T. Ryan email            25.00
                                             request regarding SEC
                                             subpoena specifications for
                                             production
06/19/17   S. E.              0.80 B110      Participate in conference         560.00
           Lambrakopoulos                    call with client regarding
                                             SEC investigation
06/19/17   S. E.              0.70 B110      Participate in conference         490.00
           Lambrakopoulos                    call with co-counsel and
                                             Toshiba counsel regarding
                                             SEC investigation
06/19/17   S. E.              0.20 B110      Various emails regarding          140.00
           Lambrakopoulos                    same
06/19/17   S. E.              0.20 B110      Various emails with Deloitte      140.00
           Lambrakopoulos                    counsel regarding
                                             subpoena
06/19/17   S. E.              0.40 B110      Various emails with S.            280.00
           Lambrakopoulos                    Bronder regarding same
06/19/17   S. E.              0.30 B110      Review proposed search            210.00
           Lambrakopoulos                    terms
06/19/17   V. L. Martinez     0.50 L120      Hold call with A. Cashman         350.00
                                             and client to discuss
                                             goodwill impairment
                                             narrative, and to determine
                                             further steps needed to
                                             complete the draft
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DATE       NAME               HRS TASK        DESCRIPTION                   AMOUNT
06/19/17   V. L. Martinez     1.50 L120       Hold calls with co-counsel     1,050.00
                                              and Toshiba counsel
                                              regarding investigation
                                              response strategies
06/19/17   T. C. Ryan          0.80 L120      Conference call with co-         560.00
                                              counsel regarding status of
                                              investigation
06/19/17   T. C. Ryan          0.70 L120      Update with Toshiba              490.00
                                              corporate counsel
06/20/17   E. S. Baum          0.20 B110      Meet with A. Cashman               74.00
                                              regarding document review
                                              for SEC subpoena
06/20/17   E. S. Baum          1.90 L650      Review documents for             703.00
                                              responsiveness to SEC
                                              subpoena
06/20/17   S. A. Bronder       0.90 P280      Supervise document review        333.00
06/20/17   A. R. Cashman       1.00 L320      Coordinate review of             370.00
                                              documents responsive to
                                              SEC subpoena
06/20/17   A. R. Cashman       0.70 L320      Conference with team             259.00
                                              regarding review of
                                              documents responsive to
                                              SEC subpoena
06/20/17   S. N. DeJarnett     0.50 L320      Meet with review team            185.00
                                              regarding document review
                                              protocol
06/20/17   S. N. DeJarnett     1.70 L320      Review documents to              629.00
                                              respond to SEC subpoena
06/20/17   K. M. Gafner        2.00 L650      Review documents                 740.00
                                              responsive to SEC
                                              subpoena
06/20/17   K. M. Gafner        0.50 L650      Conference with review           185.00
                                              team regarding document
                                              review
06/20/17   J. A. Jay           0.50 C100      Meeting with review team         185.00
                                              regarding document review
                                              protocol
06/20/17   J. A. Jay           4.80 C100      Review documents               1,776.00
                                              responding to SEC
                                              subpoena
06/20/17   D. I. Kelch         0.60 L140      Meeting with review team         222.00
                                              regarding document review
                                              protocol
06/20/17   D. I. Kelch         2.70 L140      Review documents in              999.00
                                              response to SEC subpoena
06/20/17   M. K. Komo          0.50 L650      Meet with review team            185.00
                                              regarding document review
                                              protocol for SEC subpoena
06/20/17   S. E.               0.40 B110      Emails with T. Ryan and V.       280.00
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DATE       NAME               HRS TASK        DESCRIPTION                   AMOUNT
           Lambrakopoulos                     Martinez regarding strategy
06/20/17   S. E.               1.20 B110      Review research and              840.00
           Lambrakopoulos                     materials regarding SEC
                                              jurisdiction and regarding
                                              bankruptcy impact on SEC
                                              enforcement
06/20/17   V. L. Martinez      0.20 L120      Draft proposed revisions to      140.00
                                              email to SEC staff, and
                                              send same to T. Ryan
06/20/17   S. P. Reger         0.70 C100      Meeting with review team         259.00
                                              regarding document review
                                              protocol
06/20/17   E. Rinaldi          0.50 L320      Participate in meeting with      185.00
                                              review team regarding the
                                              document review protoco
06/20/17   E. Rinaldi          3.70 L320      Review documents to            1,369.00
                                              respond to SEC subpoena
06/20/17   J. T. Waddell       0.60 L110      Conference regarding             222.00
                                              document review protocol
                                              for SEC subpoena
                                              response
06/21/17   S. A. Bronder       0.20 P280      Oversee and manage                74.00
                                              document review
06/21/17   A. R. Cashman       0.50 L320      Conference with J. Kephart       185.00
                                              and E. Baum regarding
                                              review protocol for
                                              documents responsive to
                                              SEC subpoena
06/21/17   A. R. Cashman       0.30 L320      Manage review of                 111.00
                                              documents responsive to
                                              SEC subpoena
06/21/17   S. N. DeJarnett     1.80 L320      Review documents to              666.00
                                              respond to SEC subpoena
06/21/17   K. M. Flanigan      0.50 L110      Correspond with A.               185.00
                                              Cashman and J. Kephart
                                              regarding review of
                                              documents responsive to
                                              subpoena
06/21/17   K. M. Flanigan      1.50 L110      Review documents                 555.00
                                              responsive to subpoena
06/21/17   K. M. Gafner        3.20 L650      Review documents               1,184.00
                                              responsive to SEC
                                              subpoena
06/21/17   J. A. Jay           6.80 C100      Review documents               2,516.00
                                              responding to SEC
                                              subpoena
06/21/17   E. Rinaldi          3.80 L320      Review documents to            1,406.00
                                              respond to SEC subpoena
06/21/17   T. C. Ryan          0.50 L120      Incorporate comments form        350.00
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DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
                                              client, co-counsel and
                                              correspond with
                                              government
06/22/17   E. S. Baum          2.00 L650      Review documents for              740.00
                                              responsiveness to SEC
                                              subpoena
06/22/17   S. A. Bronder       0.80 P280      Oversee review of                 296.00
                                              documents potentially
                                              responsive to subpoena
06/22/17   A. R. Cashman       2.20 L320      Manage review of and              814.00
                                              review documents
                                              responsive to SEC
                                              subpoena
06/22/17   A. R. Cashman       0.30 L320      Conference with S. Bronder        111.00
                                              regarding review of
                                              documents responsive to
                                              SEC subpoena
06/22/17   A. R. Cashman       0.20 L320      Correspond with co-counsel         74.00
                                              regarding documents
                                              responsive to subpoena
06/22/17   S. N. DeJarnett     1.80 L320      Review documents to               666.00
                                              respond to SEC subpoena
06/22/17   K. M. Flanigan      2.10 L110      Review documents                  777.00
                                              responsive to
                                              Westinghouse subpoena
06/22/17   J. A. Jay           5.10 C100      Review documents                1,887.00
                                              responding to SEC
                                              subpoena
06/22/17   S. E.               0.10 B110      Confer with V. Martinez            70.00
           Lambrakopoulos                     regarding Deloitte
                                              subpoena
06/22/17   S. E.               0.80 B110      Prepare search terms for          560.00
           Lambrakopoulos                     same
06/22/17   S. E.               0.30 B110      Emails to Deloitte counsel        210.00
           Lambrakopoulos                     regarding same
06/22/17   V. L. Martinez      0.20 L120      Hold call with A. Cashman         140.00
                                              regarding status of goodwill
                                              impairment narrative, and
                                              email client regarding the
                                              same
06/22/17   V. L. Martinez      0.10 L120      Email with co-counsel              70.00
                                              regarding tolling
                                              agreements
06/22/17   S. P. Reger         3.30 L650      Quality check review prior      1,221.00
                                              to production in response to
                                              SEC subpoena
06/22/17   E. Rinaldi          2.70 l320      Review documents to               999.00
                                              respond to SEC subpoena
06/22/17   T. C. Ryan          1.20 L110      Review status of partial          840.00
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DATE       NAME                HRS TASK        DESCRIPTION                   AMOUNT
                                               production, including
                                               addressing potential
                                               privilege and
                                               responsiveness issues
06/23/17   E. S. Baum           4.80 L650      Review documents for           1,776.00
                                               responsiveness to SEC
                                               subpoena
06/23/17   S. A. Bronder        0.60 P280      Confer with T. Ryan and A.       222.00
                                               Cashman regarding update
                                               and next steps
06/23/17   S. A. Bronder        0.70 P280      Manage document search           259.00
                                               and review
06/23/17   A. R. Cashman        0.70 L120      Conference call with co-         259.00
                                               counsel regarding status of
                                               response to subpoena
06/23/17   A. R. Cashman        0.20 L120      Coordinate with co-counsel        74.00
                                               regarding review of
                                               documents responsive to
                                               subpoena
06/23/17   A. R. Cashman        1.30 L320      Manage document review           481.00
                                               of documents responsive to
                                               subpoena
06/23/17   K. M. Gafner         2.80 L650      Review documents               1,036.00
                                               responsive to SEC
                                               subpoena
06/23/17   J. A. Jay            4.30 C100      Review documents               1,591.00
                                               responding to SEC
                                               subpoena
06/23/17   V. L. Martinez       0.80 L120      Hold weekly coordination         560.00
                                               call with co-counsel
06/23/17   V. L. Martinez       0.20 L120      Hold call with T. Ryan to        140.00
                                               learn outcomes of WEC
                                               board meeting in New York
                                               and upcoming tasks
06/23/17   E. Rinaldi           3.50 l320      Review documents to            1,295.00
                                               respond to SEC subpoena
06/23/17   T. C. Ryan           2.50 L110      Review status of production    1,750.00
                                               and hot documents for
                                               relevance, privilege issues
06/23/17   T. C. Ryan           2.20 L120      Conference with client         1,540.00
                                               regarding follow-up from
                                               Audit Committee meeting
06/23/17   T. C. Ryan           1.00 L120      Prepare for and conference       700.00
                                               with co-counsel regarding
                                               status of investigation
06/25/17   K. M. Flanigan       1.80 L110      Review documents                 666.00
                                               responsive to
                                               Westinghouse subpoena
06/26/17   M. D. M. Bateman     1.60 L110      Organize documents from          592.00
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DATE       NAME               HRS TASK        DESCRIPTION                     AMOUNT
                                              investigation for meeting
                                              with co-counsel
06/26/17   E. S. Baum          2.40 L650      Review documents for               888.00
                                              responsiveness to SEC
                                              subpoena
06/26/17   A. R. Cashman       1.70 L110      Review and edit second             629.00
                                              narrative response to the
                                              SEC
06/26/17   S. N. DeJarnett     1.60 L320      Review documents                   592.00
                                              responsive to SEC
                                              subpoena
06/26/17   K. M. Flanigan      2.00 L110      Review documents                   740.00
                                              responsive to
                                              Westinghouse subpoena
06/26/17   J. A. Georges       5.10 C100      Prepare and organize             1,275.00
                                              investigative reports,
                                              exhibits for meeting with co-
                                              counsel
06/26/17   J. A. Jay           6.80 C100      Review documents                 2,516.00
                                              responding to SEC
                                              subpoena
06/26/17   M. K. Komo          1.70 L650      Review documents                   629.00
                                              responding to SEC
                                              subpoena
06/26/17   S. E.               1.30 B110      Review materials regarding         910.00
           Lambrakopoulos                     SEC discussions and
                                              internal WEC presentations
06/26/17   V. L. Martinez      1.40 L120      Hold call with attorneys           980.00
                                              from co-counsel to discuss
                                              history of investigation
06/26/17   V. L. Martinez      0.10 L120      Hold call with T. Ryan to           70.00
                                              update on several
                                              developments
06/26/17   V. L. Martinez      0.10 L120      Correspond with co-counsel          70.00
                                              regarding status of KPMG
                                              production, discuss status
                                              of Deloitte production with
                                              S. Lambrakopolous
06/26/17   V. L. Martinez      1.40 L120      Review and revise goodwill         980.00
                                              impairment narrative
06/26/17   V. L. Martinez      0.20 L120      Correspond with A.                 140.00
                                              Cashman and client
                                              regarding open questions
                                              on the goodwill impairment
                                              narrative
06/26/17   E. Rinaldi          2.50 l320      Review documents to                925.00
                                              respond to SEC subpoena
06/26/17   T. C. Ryan          0.40 L120      Conference with co-counsel         280.00
                                              regarding document
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DATE       NAME               HRS TASK        DESCRIPTION                     AMOUNT
                                              production
06/26/17   J. T. Waddell       2.40 L320      Review documents                   888.00
                                              responsive to SEC
                                              subpoena
06/27/17   E. S. Baum          6.60 L650      Review documents for             2,442.00
                                              responsiveness to SEC
                                              subpoena
06/27/17   S. A. Bronder       0.50 P280      Confer with T. Ryan                185.00
                                              regarding next steps for
                                              subpoena response
06/27/17   A. R. Cashman       0.10 L120      Conference with V.                  37.00
                                              Martinez regarding status of
                                              second narrative response
                                              to the SEC
06/27/17   A. R. Cashman       0.50 L320      Respond to questions               185.00
                                              regarding review of
                                              documents responsive to
                                              subpoena
06/27/17   S. N. DeJarnett     0.60 L320      Review documents for               222.00
                                              responsiveness to SEC
                                              subpoena
06/27/17   K. M. Flanigan      1.60 L110      Review documents                   592.00
                                              responsive to
                                              Westinghouse subpoena
06/27/17   J. A. Georges       4.90 C100      Prepare and organize             1,225.00
                                              investigative materials for
                                              investigative reports for
                                              debrief with co-counsel
06/27/17   J. A. Jay           2.30 C100      Review documents                   851.00
                                              responding to SEC
                                              subpoena
06/27/17   M. K. Komo          4.50 L650      Review documents                 1,665.00
                                              responding to SEC
                                              subpoena
06/27/17   V. L. Martinez      0.10 L120      Hold call with C. Weber to          70.00
                                              revise goodwill impairment
                                              narrative
06/27/17   V. L. Martinez      0.20 L120      Hold call with co-counsel          140.00
                                              regarding the results of the
                                              day’s interviews and a call
                                              with government
06/27/17   V. L. Martinez      0.10 L120      Correspond with A.                  70.00
                                              Cashman on what remains
                                              to be produced for the
                                              goodwill impairment
                                              narrative
06/27/17   V. L. Martinez      1.70 L120      Revise goodwill impairment       1,190.00
                                              narrative following citations
                                              from A. Cashman and
                                              client, and send same to T.
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             Ryan
06/27/17   E. Rinaldi         4.10 l320      Review documents to             1,517.00
                                             respond to SEC subpoena
06/27/17   T. C. Ryan         0.40 L120      Call with co-counsel to           280.00
                                             prepare for call with
                                             government
06/27/17   T. C. Ryan         0.40 L120      Call with government              280.00
                                             counsel
06/27/17   J. T. Waddell      3.30 L320      Review documents                1,221.00
                                             responsive to SEC
                                             subpoena
06/28/17   E. S. Baum         5.40 L650      Review documents for            1,998.00
                                             responsiveness to SEC
                                             subpoena
06/28/17   J. A. Jay          6.40 C100      Review documents                2,368.00
                                             responding to SEC
                                             subpoena
06/28/17   M. K. Komo         0.50 L650      Review documents                  185.00
                                             responding to SEC
                                             subpoena
06/28/17   S. E.              0.30 B110      Telephone call with Deloitte      210.00
           Lambrakopoulos                    regarding subpoena review
06/28/17   S. E.              0.50 B110      Review search term hits           350.00
           Lambrakopoulos
06/28/17   V. L. Martinez     0.10 L120      Correspond with A.                 70.00
                                             Cashman regarding
                                             production of goodwill
                                             impairment narrative
06/28/17   E. Rinaldi         3.20 l320      Review documents to             1,184.00
                                             respond to SEC subpoena
06/29/17   E. S. Baum         0.90 L650      Review documents for              333.00
                                             responsiveness to SEC
                                             subpoena
06/29/17   A. R. Cashman      0.80 L110      Edit second narrative             296.00
                                             response to SEC to add
                                             citations to produced record
06/29/17   K. M. Flanigan     1.50 L110      Review documents                  555.00
                                             responsive to
                                             Westinghouse subpoena
06/29/17   J. A. Georges      0.40 P930      Prepare for co-counsel            100.00
                                             debrief
06/29/17   J. A. Jay          3.20 C100      Review documents                1,184.00
                                             responding to SEC
                                             subpoena
06/29/17   S. E.              0.30 B110      Confer with R. Manoso             210.00
           Lambrakopoulos                    regarding searches for
                                             Deloitte database
06/29/17   S. E.              1.90 B110      Review memo regarding           1,330.00
           Lambrakopoulos                    SEC interview; review
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DATE       NAME                 HRS TASK       DESCRIPTION                    AMOUNT
                                               related materials
06/29/17   R. W. Manoso          0.40 L120     Prepare for review of            148.00
                                               responsive documents for
                                               Deloitte subpoena along
                                               with privilege calls
06/29/17   V. L. Martinez        0.90 L120     Hold call with auditor           630.00
                                               counsel
06/29/17   V. L. Martinez        0.20 L120     Hold call with T. Ryan to        140.00
                                               consider points raised
                                               follow up to meeting with
                                               auditor
06/29/17   E. Rinaldi            1.70 l320     Review documents to              629.00
                                               respond to SEC subpoena
06/29/17   T. C. Ryan            0.80 L120     Conference with auditor          560.00
                                               counsel
06/29/17   J. T. Waddell         1.40 L320     Review documents                 518.00
                                               responsive to SEC
                                               subpoena
06/30/17   A. R. Cashman         0.40 L120     Conference with co-counsel       148.00
                                               regarding status of
                                               subpoena response
06/30/17   K. M. Flanigan        2.50 L110     Review documents                 925.00
                                               responsive to
                                               Westinghouse subpoena
06/30/17   D. I. Kelch           3.80 L310     Review documents to             1,406.00
                                               respond to SEC subpoena
06/30/17   V. L. Martinez        0.50 C300     Hold weekly update call          350.00
06/30/17   V. L. Martinez        0.10 C300     Discuss presentation              70.00
                                               outline with S.
                                               Lambrakopoulos
                            TOTAL FEES           300.20 hrs              $   147,758.00
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                               TIMEKEEPER SUMMARY

M. D. M. Bateman                 1.60    hrs at    $    370.00   / hr            592.00
E. S. Baum                      24.20    hrs at    $    370.00   / hr          8,954.00
S. A. Bronder                    7.00    hrs at    $    370.00   / hr          2,590.00
A. R. Cashman                   18.00    hrs at    $    370.00   / hr          6,660.00
S. N. DeJarnett                  8.00    hrs at    $    370.00   / hr          2,960.00
K. M. Flanigan                  13.50    hrs at    $    370.00   / hr          4,995.00
K. M. Gafner                     8.50    hrs at    $    370.00   / hr          3,145.00
J. A. Georges                   10.50    hrs at    $    250.00   / hr          2,625.00
J. A. Jay                       40.20    hrs at    $    370.00   / hr         14,874.00
D. I. Kelch                      7.10    hrs at    $    370.00   / hr          2,627.00
M. K. Komo                       7.20    hrs at    $    370.00   / hr          2,664.00
S. E. Lambrakopoulos            19.00    hrs at    $    700.00   / hr         13,300.00
R. W. Manoso                     1.20    hrs at    $    370.00   / hr            444.00
V. L. Martinez                  78.30    hrs at    $    700.00   / hr         54,810.00
S. P. Reger                      4.00    hrs at    $    370.00   / hr          1,480.00
E. Rinaldi                      25.70    hrs at    $    370.00   / hr          9,509.00
T. C. Ryan                      17.90    hrs at    $    700.00   / hr         12,530.00
D. L. Stecko                     0.60    hrs at    $    250.00   / hr            150.00
J. T. Waddell                    7.70    hrs at    $    370.00   / hr          2,849.00
                       TOTAL FEES                 300.20 hrs             $   147,758.00
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                               TASK CODE SUMMARY

B110    Case Administration                     19.20   hrs              13,374.00
C100    Fact Gathering                          50.90   hrs              17,633.00
C300    Analysis and Advice                      0.60   hrs                 420.00
L110    Fact Investigation/Development          27.10   hrs              12,403.00
L120    Analysis/Strategy                       96.50   hrs              64,865.00
L140    Document/File Management                 3.30   hrs               1,221.00
L310    Written Discovery                        3.80   hrs               1,406.00
L320    Document Production                      5.20   hrs               1,924.00
l320    Document Production                      9.00   hrs               3,330.00
L320    Document Production                      4.00   hrs               1,480.00
l320    Document Production                      2.70   hrs                 999.00
L320    Document Production                      0.60   hrs                 222.00
l320    Document Production                      6.00   hrs               2,220.00
L320    Document Production                     20.30   hrs               7,511.00
L620    eDiscovery Collection                    0.60   hrs                 150.00
L650    eDiscovery Review                       43.00   hrs              15,910.00
P280    Other                                    7.00   hrs               2,590.00
P930    Other                                    0.40   hrs                 100.00
                          TOTAL FEES           300.20   hrs        $    147,758.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Long Distance Courier                                                       323.61
Pacer Research                                                                1.00
Telephone / Conference Calls / Fx Line Trans                                  3.31
Westlaw Research                                                          1,163.25
                         DISBURSEMENTS & OTHER CHARGES             $      1,491.17
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                         Invoice Date                     :     July 21, 2017
 1000 Westinghouse Drive                                                               Invoice Number                   :     3405767
 Cranberry Township, PA 16066                                                          Services Through                 :     June 30, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

CONFIDENTIAL -- e-DAT Fees (70030)

       Fees                                                                        $       25,621.92
       Disbursements and Other Charges                                             $          900.96
       Total Amount Due This Matter                                                                                                $         26,522.88



CURRENT INVOICE DUE - All Matters                                                                                                   $        26,522.88




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
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 CONFIDENTIAL -- e-DAT Fees (70030)                                           $7,357.03

                                         FEES

DATE       NAME                 HRS TASK        DESCRIPTION                    AMOUNT
04/12/17   L. A. Diersen        0.60 B110       Strategize with V. Martinez      150.00
                                                in regards to production
                                                specifications
04/12/17   L. A. Diersen        0.20 B110       Run advanced searches              50.00
                                                and isolate production set
04/13/17   L. A. Diersen        2.00 B110       Electronically produce data       500.00
                                                out of litigation support
                                                database per the request of
                                                V. Martinez for production
                                                to opposition
04/30/17   ESI Processing       N/A   B110      ESI Processing: 0.06642            19.92
                                                GB processed @ $50/GB =
                                                $3.32 (raw extracted
                                                volume - input); 0.06642
                                                GB processed @ $250/GB
                                                = $16.60 (post- filtered
                                                volume - output); Total ESI
                                                Processing Charge: $19.92
05/02/17   L. A. Diersen        0.40 L120       Strategize with S. Bronder        100.00
                                                in regards to loading data
                                                into Ringtail via NUIX from
                                                thumb drive Westinghouse
                                                collection
05/05/17   L. A. Diersen        0.60 L140       Run advanced searches for         150.00
                                                date restriction documents
                                                and isolate results to
                                                determine collection set as
                                                requested by S. Bronder
05/08/17   L. A. Diersen        0.60 L320       Strategize with A. Cashman        150.00
                                                in regards to production
                                                specifications
05/09/17   L. A. Diersen        1.30 L140       Export searchable pdfs for        325.00
                                                T. Ryan as requested by S.
                                                Bronder
05/09/17   L. A. Diersen        0.40 L140       Organize and stage                100.00
                                                collection script as
                                                requested by S. Bronder for
                                                T. Ryan
05/10/17   J. A. Chiccarino     0.60 L320       Coordinate with litigation        222.00
                                                support regarding
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DATE       NAME                 HRS TASK       DESCRIPTION                     AMOUNT
                                               document production
05/10/17   L. A. Diersen        4.20 L140      Electronically produce           1,050.00
                                               "WEC SEC 002" out of
                                               litigation support database
                                               per the request of A.
                                               Cashman for production to
                                               opposition
05/11/17   J. A. Chiccarino     0.40 L320      Coordinate with litigation         148.00
                                               support regarding
                                               document production
05/11/17   L. A. Diersen        0.40 L120      Strategize with S. Bronder         100.00
                                               in regards to external user
                                               access
05/12/17   L. A. Diersen        0.60 L120      Strategize with S. Bronder         150.00
                                               and organize "client"
                                               permissions in anticipation
                                               of external user review)
05/12/17   L. A. Diersen        0.50 L120      Strategize with S. Reger           125.00
                                               and provide a production
                                               report for letter
05/18/17   L. A. Diersen        0.40 L140      Run advanced searches for          100.00
                                               specified email threads as
                                               requested by A. Cashman
05/19/17   L. A. Diersen        0.90 L320      Organize, stage and load           225.00
                                               Exhibits in anticipation of
                                               production as requested by
                                               A. Cashman
05/22/17   L. A. Diersen        0.30 L140      Strategize with A. Cashman          75.00
                                               in regards to certain
                                               transaction documents
05/31/17   ESI Processing       N/A   B110     ESI Processing: 9.00222          2,676.94
                                               GB processed @ $50/GB =
                                               $450.11 (raw extracted
                                               volume - input); 8.90732
                                               GB processed @ $250/GB
                                               = $2,226.83 (post- filtered
                                               volume - output); Total ESI
                                               Processing Charge:
                                               $2,676.94
                           TOTAL FEES               15.80 hrs              $     6,766.86
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                                             TIMEKEEPER SUMMARY

J. A. Chiccarino                              1.00 hrs at                 $    370.00 / hr                          370.00
L. A. Diersen                                14.80 hrs at                 $    250.00 / hr                        3,700.00
ESI Processing                                N/A hrs at                  $      N/A / hr                         2,696.86
                                    TOTAL FEES                            15.80 hrs                      $        6,766.86


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
05/31/17         OCR 4,088 pages @ $0.02/page: $81.76                                                                 81.76
05/31/17         ESI Conversion: Convert 0.10635 GB to TIFF images @ $500/GB:                                         53.18
                 $53.18
05/31/17         Ringtail Fees: May 2017 Data Storage Fees: 30.34899 GB @                                           455.23
                 $15.00/GB: $455.23
                                DISBURSEMENTS & OTHER CHARGES                $                                      590.17

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                                                 MATTER SUMMARY

Fees                                                                                                     $        6,766.86
Disbursements and Other Charges                                                                          $          590.17
MATTER TOTAL                                                                                             $        7,357.03
17-10751-mew
BTK00117


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                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                         Invoice Date                          :      August 15, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3419029
Cranberry Township, PA 16066                                                          Services Through                      :      July 31, 2017




  0236915.00030          Subpoena Response


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $       116,737.00
Disbursements and Other Charges                                                                                                           $         3,599.07

CURRENT INVOICE DUE                                                                                                                       $       120,336.07




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
07/03/17   S. E.              1.10 B110       Review and revise draft          770.00
           Lambrakopoulos                     outline for SEC
                                              presentation
07/03/17   S. E.              0.40 B110       Review status memo from           280.00
           Lambrakopoulos                     White & Case and related
                                              materials
07/03/17   V. L. Martinez     4.20 C300       Review and revise draft         2,940.00
                                              outline for SEC
                                              presentation created by co-
                                              counsel
07/03/17   V. L. Martinez     0.10 C300       Correspond with S.                  70.00
                                              Lambrakopoulos and T.
                                              Ryan regarding draft outline
07/05/17   S. A. Bronder      0.40 P280       Conference with A.                148.00
                                              Cashman regarding review
                                              of documents potentially
                                              responsive to subpoena
07/05/17   A. R. Cashman      0.40 L320       Coordinate review of              148.00
                                              documents responsive to
                                              SEC subpoena
07/05/17   K. M. Gafner       0.60 L650       Review documents for              222.00
                                              responsiveness to SEC
                                              subpoena
07/05/17   S. E.              0.70 B110       Review draft narrative and        490.00
           Lambrakopoulos                     related materials
07/05/17   S. E.              0.20 B110       Emails with counsel               140.00
           Lambrakopoulos                     regarding SEC
                                              communications
07/05/17   S. E.              0.90 B110       Work on legal argument            630.00
           Lambrakopoulos                     section for SEC
                                              presentation
07/05/17   V. L. Martinez     0.30 C300       Review comments of S.             210.00
                                              Lambrakopoulos on co-
                                              counselpresentation outline
07/05/17   V. L. Martinez     0.20 C300       Hold call with T. Ryan to         140.00
                                              discuss status of various
                                              matters related to
                                              investigation
07/06/17   K. M. Gafner       0.20 L320       Discussion regarding                74.00
                                              search terms
07/06/17   S. E.              0.60 B110       Telephone call with co-           420.00
           Lambrakopoulos                     counsel regarding
                                              presentation outline
07/06/17   S. E.              0.20 B110       Emails with Deloitte's            140.00
           Lambrakopoulos                     counsel regarding joint
                                              defense agreement
07/06/17   S. E.              0.30 B110       Conference with V.                210.00
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DATE       NAME               HRS TASK       DESCRIPTION                      AMOUNT
           Lambrakopoulos                    Martinez regarding same
07/06/17   S. E.              1.00 B110      Review narrative questions          700.00
           Lambrakopoulos                    on goodwill impairment
07/06/17   S. E.              0.20 B110      Review documents and                140.00
           Lambrakopoulos                    related communications
                                             with Deloitte regarding SEC
                                             subpoena
07/06/17   S. E.              0.10 B110      Emails with Deloitte                  70.00
           Lambrakopoulos                    counsel regarding
                                             subpoena
07/06/17   V. L. Martinez     0.20 C300      Conference with T. Ryan to          140.00
                                             discuss outstanding issues
                                             and status of investigation
07/06/17   V. L. Martinez     0.30 C300      Correspond with S.                  210.00
                                             Lambrakopoulos, and hold
                                             call with co-counsel
                                             regarding providing draft of
                                             goodwill impairment
                                             narrative to Deloitte
07/06/17   V. L. Martinez     0.20 C300      Revise and send outline to          140.00
                                             co-counsel
07/07/17   S. A. Bronder      0.70 P280      Participate in weekly               259.00
                                             update call
07/07/17   A. R. Cashman      0.80 L120      Conference with co-counsel          296.00
                                             regarding subpoena
                                             response
07/07/17   S. E.              0.70 B110      Conference call with co-            490.00
           Lambrakopoulos                    counsel regarding status
                                             and strategy
07/07/17   S. E.              0.80 B110      Review edits to goodwill            560.00
           Lambrakopoulos                    narrative relating to Deloitte
07/07/17   S. E.              0.40 B110      Review materials relating to        280.00
           Lambrakopoulos                    Deloitte work related to
                                             goodwill impairment
07/07/17   S. E.              0.50 B110      Conference call with                350.00
           Lambrakopoulos                    Deloitte's counsel regarding
                                             goodwill impairment work
07/07/17   S. E.              0.30 B110      Carious emails with team            210.00
           Lambrakopoulos                    and V. Martinez regarding
                                             same
07/07/17   S. E.              0.30 B110      Confer with R. Manoso               210.00
           Lambrakopoulos                    regarding Deloitte email
                                             review
07/07/17   R. W. Manoso       1.20 L120      Review background                   444.00
                                             material related to Deloitte
                                             in preparation for privilege
                                             review
07/07/17   V. L. Martinez     0.30 c300      Review correspondence               210.00
                                             from co-counsel, including
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             weekly report, and
                                             correspond with co-counsel
                                             regarding weekly call
07/07/17   V. L. Martinez     0.60 c300      Hold weekly call with co-         420.00
                                             counsel to discuss
                                             developments, including
                                             discusions with government
07/07/17   V. L. Martinez     0.40 c300      Review and revise goodwill        280.00
                                             impairment narrative in
                                             response to co-counsel
07/07/17   T. C. Ryan         0.40 L110      Conference with                   280.00
                                             government
07/07/17   T. C. Ryan         0.60 L120      Update call with co-counsel       420.00
07/10/17   S. A. Bronder      0.20 P280      Confer with A. Cashman             74.00
                                             regarding next steps
07/10/17   S. E.              0.30 B110      Emails with counsel               210.00
           Lambrakopoulos                    regarding SEC presentation
07/10/17   V. L. Martinez     1.50 L120      Draft responses outlining       1,050.00
                                             potential defensive
                                             strategies
07/10/17   V. L. Martinez     0.20 L120      Hold call with T. Ryan            140.00
                                             regarding the same
07/10/17   V. L. Martinez     3.50 L120      Conduct research on             2,450.00
                                             materiality for potentially
                                             omitting estimated financial
                                             information
07/10/17   V. L. Martinez     3.60 L120      Draft slides for anticipated    2,520.00
                                             SEC presentation
07/11/17   K. M. Gafner       1.80 L650      Conduct responsiveness            666.00
                                             review of documents
07/11/17   R. W. Manoso       0.50 L320      Prepare for privilege review      185.00
                                             of Deloitte documents
07/11/17   V. L. Martinez     1.50 L120      Draft slides for anticipated    1,050.00
                                             presentation to the SEC
07/12/17   V. L. Martinez     3.50 L120      Conduct research into           2,450.00
                                             elements of potential
                                             Exchange Act Section 10(b)
                                             charge
07/12/17   V. L. Martinez     3.30 L120      Draft slides for anticipated    2,310.00
                                             SEC presentation
07/12/17   V. L. Martinez     0.20 L120      Hold calls with A. Cashman        140.00
                                             and T. Ryan about email
                                             production and upcoming
                                             meetings, respectively
07/13/17   A. R. Cashman      2.30 L320      Review documents for              851.00
                                             production to SEC
07/13/17   V. L. Martinez     4.00 L120      Conduct research on             2,800.00
                                             various motions to dismiss
                                             in antifraud cases
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                                                                      Invoice # 3419029
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
07/13/17   V. L. Martinez     2.50 L120      Conduct research on             1,750.00
                                             omissions cases
07/13/17   V. L. Martinez     1.00 L120      Draft slides for anticipated      700.00
                                             presentation to the SEC
07/14/17   A. R. Cashman      3.90 L320      Review documents                1,443.00
                                             responsive to SEC
                                             subpoena for production
07/14/17   S. E.              0.40 B110      Telephone call with Deloitte      280.00
           Lambrakopoulos                    counsel regarding
                                             subpoena and related
                                             narrative
07/14/17   S. E.              0.20 B110      Emails with team regarding        140.00
           Lambrakopoulos                    narrative
07/14/17   V. L. Martinez     3.00 L120      Conduct research law            2,100.00
                                             concerning
                                             misrepresentations and
                                             omissions
07/14/17   V. L. Martinez     1.50 L120      Conduct research on             1,050.00
                                             Exchange Act Section 10(b)
                                             "in connection with"
                                             requirement
07/15/17   A. R. Cashman      1.50 L320      Review documents                  555.00
                                             responsive to SEC
                                             subpoena for production
07/15/17   V. L. Martinez     2.00 L120      Conduct research on the "in     1,400.00
                                             connection with"
                                             requirement, and read
                                             recent pleadings in SEC
                                             cases on the issue
07/16/17   A. R. Cashman      2.90 L320      Review documents                1,073.00
                                             responsive to SEC
                                             subpoena for production
07/16/17   V. L. Martinez     0.20 L120      Correspond with KLG team          140.00
                                             regarding question of
                                             privilege and request for
                                             search in current email
                                             production
07/17/17   S. A. Bronder      4.00 P280      Review documents for            1,480.00
                                             responsiveness to
                                             subpoena
07/17/17   A. R. Cashman      5.60 L320      Review documents for            2,072.00
                                             production in response to
                                             SEC subpoena
07/17/17   R. W. Manoso       4.10 L320      Review Deloitte documents       1,517.00
                                             for privilege concerns prior
                                             to production to SEC
07/17/17   V. L. Martinez     2.50 L120      Conduct research                1,750.00
                                             concerning cases on
                                             scienter in SEC antifraud
                                             actions
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
07/17/17   V. L. Martinez     3.20 L120      Draft slide deck for SEC         2,240.00
                                             presentation
07/18/17   S. A. Bronder      0.50 P280      Review documents for               185.00
                                             production
07/18/17   A. R. Cashman      0.70 L120      Conference call with co-           259.00
                                             counsel regarding status of
                                             subpoena response
07/18/17   A. R. Cashman      6.30 l320      Review documents for             2,331.00
                                             production responsive to
                                             SEC subpoena
07/18/17   S. E.              0.50 B110      Confer with V. Martinez            350.00
           Lambrakopoulos                    regarding SEC presentation
                                             draft
07/18/17   S. E.              0.20 B110      Brief review of draft slide        140.00
           Lambrakopoulos                    deck
07/18/17   S. E.              0.40 B110      Emails with T. Ryan                280.00
           Lambrakopoulos                    regarding investigative
                                             report; review draft report
07/18/17   R. W. Manoso       4.80 L320      Review documents marked          1,776.00
                                             as responsive from Deloitte
                                             for attorney-client privilege
                                             and work product concerns
                                             prior to SEC production
07/18/17   V. L. Martinez     1.50 L120      Conduct research on recent       1,050.00
                                             decisions related to motions
                                             to dismiss
07/18/17   V. L. Martinez     0.50 L120      Hold call with co-ounsel to        350.00
                                             provide updates on various
                                             aspects of the case
07/18/17   V. L. Martinez     1.00 L120      Draft slides for SEC               700.00
                                             presentation
07/18/17   V. L. Martinez     1.10 L120      Research SEC                       770.00
                                             Enforcement Manual
07/19/17   A. R. Cashman      3.30 L320      Review documents for             1,221.00
                                             production responsive to
                                             SEC subpoena
07/19/17   S. E.              0.40 B110      Emails with Deloitte               280.00
           Lambrakopoulos                    counsel regarding goodwill
                                             impairment
07/19/17   S. E.              0.70 B110      Review comments to                 490.00
           Lambrakopoulos                    narrative
07/19/17   S. E.              1.00 B110      Work on draft presentation         700.00
           Lambrakopoulos                    for SEC comments
07/19/17   S. E.              0.80 B110      Review related documents           560.00
           Lambrakopoulos                    and legal authority
07/19/17   S. E.              0.20 B110      Emails with R. Manoso              140.00
           Lambrakopoulos                    regarding document review
07/19/17   V. L. Martinez     0.50 L120      Review correspondence              350.00
                                             and hold call with A.
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
                                             Cashman to discuss issues
                                             of responsiveness to the
                                             SEC’s subpoena and the
                                             applicability of privilege to
                                             certain materials
07/19/17   T. C. Ryan         0.90 L120      Conference with co-counsel         630.00
                                             regarding e-mail
                                             production, privilege
                                             positions
07/20/17   A. R. Cashman      1.50 L320      Finalize production of             555.00
                                             documents responsive to
                                             SEC subpoena
07/20/17   S. E.              0.30 B110      Confer with V. Martinez            210.00
           Lambrakopoulos                    regarding goodwill
                                             impairment narrative
07/20/17   S. E.              0.90 B110      Conference call with V.            630.00
           Lambrakopoulos                    Martinez and Deloitte
                                             counsel regarding goodwill
                                             impairment
07/20/17   S. E.              0.40 B110      Work on draft letter to SEC        280.00
           Lambrakopoulos                    regarding goodwill
                                             impairment
07/20/17   S. E.              0.20 B110      Emails to Deloitte counsel         140.00
           Lambrakopoulos                    regarding goodwill
                                             impairment
07/20/17   V. L. Martinez     0.30 L120      Meet with S.                       210.00
                                             Lambrakopoulos to discuss
                                             changes to goodwill
                                             impairment narrative
07/20/17   V. L. Martinez     0.50 L120      Hold call with counsel for         350.00
                                             Deloitte to discuss changes
                                             to goodwill impairment
                                             narrative
07/20/17   V. L. Martinez     1.00 L120      Draft suggested counter-           700.00
                                             edits
07/20/17   V. L. Martinez     0.20 L120      Review and comment on              140.00
                                             production letter
07/21/17   S. A. Bronder      0.80 P280      Weekly update conference           296.00
                                             call
07/21/17   A. R. Cashman      0.80 l120      Conference call regarding          296.00
                                             status with co-counsel
07/21/17   A. R. Cashman      1.70 L320      Finalize production of             629.00
                                             responsive documents to
                                             SEC
07/21/17   S. E.              0.30 B110      Telephone call with V.             210.00
           Lambrakopoulos                    Martinez regarding goodwill
                                             impairment narrative
07/21/17   S. E.              0.30 B110      Conference calls with V.           210.00
           Lambrakopoulos                    Martinez and Deloitte
                                             counsel regarding goodwill
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
                                             impairment
07/21/17   S. E.              0.50 B110      Review proposed edits to           350.00
           Lambrakopoulos                    narrative
07/21/17   S. E.              0.80 B110      Participate in status call         560.00
           Lambrakopoulos                    with co-counsel
07/21/17   S. E.              1.10 B110      Review and revise draft            770.00
           Lambrakopoulos                    presentation to SEC
07/21/17   V. L. Martinez     2.50 L120      Redraft goodwill impairment      1,750.00
                                             narrative in response to
                                             edits by counsel for Deloitte
07/21/17   V. L. Martinez     0.60 L120      Hold calls with S.                 420.00
                                             Lambrakopoulos and
                                             counsel for Deloitte
                                             regarding the
07/21/17   V. L. Martinez     1.00 L120      Hold weekly call with co-          700.00
                                             counsel
07/21/17   V. L. Martinez     0.30 L120      Correspond with team               210.00
                                             regarding letter to
                                             accompany production of
                                             emails to the SEC
07/21/17   V. L. Martinez     0.20 L120      Revise goodwill impairment         140.00
                                             following response to open
                                             question from Deloitte’s
                                             counsel and redistribute
07/23/17   S. E.              2.50 B110      Revise draft SEC                 1,750.00
           Lambrakopoulos                    presentations and review
                                             related research memos
                                             and investigative report
07/23/17   R. W. Manoso       3.00 L320      Perform privilege review for     1,110.00
                                             documents marked for
                                             production by Deloitte in
                                             response to SEC subpoena
07/24/17   A. R. Cashman      0.50 L110      Send correspondence to             185.00
                                             Chief FOIA officer
                                             regarding production
07/24/17   S. E.              1.50 B110      Meet with V. Martinez            1,050.00
           Lambrakopoulos                    regarding SEC presentation
07/24/17   S. E.              0.40 B110      Review outline and co-             280.00
           Lambrakopoulos                    counsel draft
07/24/17   S. E.              1.60 B110      Review relevant                  1,120.00
           Lambrakopoulos                    investigative reports and
                                             legal research in
                                             connection with
                                             presentation
07/24/17   V. L. Martinez     2.00 L120      Research regarding               1,400.00
                                             conditions required for the
                                             SEC to seek an injunction
07/24/17   V. L. Martinez     1.50 L120      Review S. Lambrakopoulos’        1,050.00
                                             changes to slides and meet
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DATE       NAME               HRS TASK       DESCRIPTION                  AMOUNT
                                             to discuss same
07/24/17   V. L. Martinez     2.50 L120      Finish drafting slides and    1,750.00
                                             send same to T. Ryan
07/24/17   V. L. Martinez     0.50 L120      Receive and review slides       350.00
                                             from co-counsel, and
                                             correspond to set next
                                             meeting
07/24/17   T. C. Ryan         1.10 L120      Review and revise draft         770.00
                                             slide deck
07/25/17   A. R. Cashman      1.20 L110      Review draft presentations      444.00
                                             for the SEC
07/25/17   S. E.              0.60 B110      Conference call with V.         420.00
           Lambrakopoulos                    Martinez and T. Ryan
                                             regarding SEC presentation
                                             draft
07/25/17   S. E.              0.60 B110      Various calls and meetings      420.00
           Lambrakopoulos                    with V. Martinez regarding
                                             same
07/25/17   S. E.              1.20 B110      Review and revise draft         840.00
           Lambrakopoulos                    section from co-counsel
07/25/17   V. L. Martinez     4.50 L120      Read contracts relating to    3,150.00
                                             IHI and KAP investments in
                                             WEC
07/25/17   V. L. Martinez     0.20 L120      Meet with S.                    140.00
                                             Lambrakopoulos regarding
                                             minority investments
07/25/17   V. L. Martinez     0.50 L120      Hold call with S.               350.00
                                             Lambrakopoulos and T.
                                             Ryan regarding draft of
                                             slides for presentation to
                                             SEC
07/25/17   V. L. Martinez     2.80 L120      Review slides, review S.      1,960.00
                                             Lambrakopoulos’ markup of
                                             the same, and prepare
                                             responses to share with
                                             W&C regarding the same
07/25/17   T. C. Ryan         2.10 L120      Review and revise slide       1,470.00
                                             deck, narrative
07/26/17   S. A. Bronder      0.90 P280      Confer with team regarding      333.00
                                             revisions to presentation
07/26/17   A. R. Cashman      0.50 L120      Conference with V.              185.00
                                             Martinez, S.
                                             Lambrakopoulos, and S.
                                             Bronder regarding
                                             presentation to SEC
07/26/17   A. R. Cashman      0.50 l120      Conference with co-counsel      185.00
                                             regarding strategy for
                                             presentation to SEC
07/26/17   S. E.              0.50 B110      Various meetings with V.        350.00
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
           Lambrakopoulos                    Martinez regarding SEC
                                             presentation draft
07/26/17   S. E.              0.40 B110      Conference call with V.           280.00
           Lambrakopoulos                    Martinez, A. Cashman and
                                             S. Bronder regarding draft
                                             presentation
07/26/17   S. E.              0.50 B110      Conference call with co-          350.00
           Lambrakopoulos                    counsel and team regarding
                                             same
07/26/17   S. E.              2.40 B110      Review and revise draft;        1,680.00
           Lambrakopoulos                    research waiver question in
                                             connection with auditor
                                             disclosure
07/26/17   V. L. Martinez     1.20 L120      Continue to review                840.00
                                             investment and put
                                             agreement contracts
07/26/17   V. L. Martinez     0.50 L120      Conduct research regarding        350.00
                                             the actionability of
                                             unconsummated offers
07/26/17   V. L. Martinez     1.00 L120      Hold calls with co-counsel        700.00
                                             regarding how to
                                             consolidate the slide
                                             presentations
07/26/17   V. L. Martinez     1.00 L120      Draft memorandum                  700.00
                                             regarding settlement
                                             considerations
07/26/17   V. L. Martinez     0.50 L120      Begin to conduct research         350.00
                                             on monetary penalties in
                                             recent SEC financial fraud
                                             actions
07/27/17   S. E.              1.50 B110      Review materials in             1,050.00
           Lambrakopoulos                    connection with draft SEC
                                             presentation and related
                                             research
07/27/17   V. L. Martinez     1.00 L120      Conduct research regarding        700.00
                                             penalty measures
07/27/17   V. L. Martinez     1.80 L120      Draft strategy                  1,260.00
                                             memorandum
07/27/17   V. L. Martinez     0.20 L120      Discuss scenarios to              140.00
                                             resolve investigation
07/27/17   V. L. Martinez     0.10 L120      Voice mail for client to           70.00
                                             determine status of goodwill
                                             impairment narrative, and
                                             review correspondence
                                             regarding the same from
                                             co-counsel
07/28/17   A. R. Cashman      0.60 L120      Conference with co-counsel        222.00
                                             regarding status of SEC
                                             subpoena response
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
07/28/17   A. R. Cashman      0.30 L120      Edit narrative response to       111.00
                                             SEC regarding historic
                                             accounting issues
07/28/17   S. E.              1.50 B110      Review research relating to     1,050.00
           Lambrakopoulos                    SEC presentation; various
                                             emails with team regarding
                                             same
07/28/17   V. L. Martinez     0.50 L120      Correspond and hold call          350.00
                                             with T. Ryan to discuss
                                             goodwill impairment
                                             narrative and other aspects
                                             of the SEC case
07/28/17   V. L. Martinez     2.50 L120      Conduct research on             1,750.00
                                             potential monetary
                                             exposures
07/28/17   V. L. Martinez     0.90 L120      Hold weekly status update         630.00
                                             call with co-counsel and
                                             correspond with S.
                                             Lambrakopoulos regarding
                                             the same
07/28/17   V. L. Martinez     1.00 L120      Draft memorandum of               700.00
                                             settlement considerations
07/28/17   T. C. Ryan         0.50 L110      Conference with                   350.00
                                             government counsel
07/28/17   T. C. Ryan         0.80 L120      Prepare for and participate       560.00
                                             in conference call with co-
                                             counsel
07/30/17   V. L. Martinez     1.80 L120      Review, analyze and             1,260.00
                                             prepare notes regarding
                                             shareholders agreements
07/31/17   A. R. Cashman      1.10 L320      Review documents                  407.00
                                             identified as privileged and
                                             responsive to SEC
                                             subpoena
07/31/17   S. E.              1.00 B110      Confer with V. Martinez           700.00
           Lambrakopoulos                    regarding SEC staff
                                             discussions
07/31/17   S. E.              1.00 B110      Research caselaw relating         700.00
           Lambrakopoulos                    to "in connection" and
                                             materiality elements
07/31/17   S. E.              0.40 B110      Conference with R. Manoso         280.00
           Lambrakopoulos                    regarding Deloitte
                                             production
07/31/17   S. E.              0.70 B110      Review information on             490.00
           Lambrakopoulos                    minority shareholder
                                             agreements
07/31/17   V. L. Martinez     6.90 L120      Review shareholder              4,830.00
                                             agreements and put
                                             agreements, compare
                                             versions, write up notes,
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DATE       NAME                  HRS TASK         DESCRIPTION                     AMOUNT
                                                  and share observations
                                                  with S. Lambrakopoulos
07/31/17   V. L. Martinez        0.50 L120        Review cases provided by           350.00
                                                  S. Lambrakopoulos
                                                  regarding "in connection
                                                  with" requirement and
                                                  materiality requirement
07/31/17   V. L. Martinez        0.50 L120        Hold call and correspond           350.00
                                                  with client regarding
                                                  goodwill impairment
                                                  narrative
07/31/17   V. L. Martinez        0.10 L120        Correspond with A.                  70.00
                                                  Cashman regarding
                                                  producing goodwill
                                                  impairment narrative
                            TOTAL FEES              195.10 hrs             $     116,737.00


                                 TIMEKEEPER SUMMARY

S. A. Bronder                         7.50   hrs at    $    370.00   / hr          2,775.00
A. R. Cashman                        36.40   hrs at    $    370.00   / hr         13,468.00
K. M. Gafner                          2.60   hrs at    $    370.00   / hr            962.00
S. E. Lambrakopoulos                 36.90   hrs at    $    700.00   / hr         25,830.00
R. W. Manoso                         13.60   hrs at    $    370.00   / hr          5,032.00
V. L. Martinez                       91.70   hrs at    $    700.00   / hr         64,190.00
T. C. Ryan                            6.40   hrs at    $    700.00   / hr          4,480.00
                            TOTAL FEES                195.10 hrs             $   116,737.00
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                                TASK CODE SUMMARY

B110     Case Administration                     36.90   hrs              25,830.00
C300     Analysis and Advice                      0.20   hrs                 140.00
c300     Analysis and Advice                      1.00   hrs                 700.00
C300     Analysis and Advice                      0.60   hrs                 420.00
c300     Analysis and Advice                      0.30   hrs                 210.00
C300     Analysis and Advice                      4.70   hrs               3,290.00
L110     Fact Investigation/Development           2.60   hrs               1,259.00
L120     Analysis/Strategy                       11.70   hrs               8,190.00
l120     Analysis/Strategy                        0.80   hrs                 296.00
L120     Analysis/Strategy                        1.00   hrs                 535.00
l120     Analysis/Strategy                        0.50   hrs                 185.00
L120     Analysis/Strategy                       81.80   hrs              56,072.00
L320     Document Production                     15.60   hrs               5,772.00
l320     Document Production                      6.30   hrs               2,331.00
L320     Document Production                     21.20   hrs               7,844.00
L650     eDiscovery Review                        2.40   hrs                 888.00
P280     Other                                    7.50   hrs               2,775.00
                           TOTAL FEES           195.10   hrs        $    116,737.00


                        DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                               AMOUNT
Lexis Research                                                               933.77
Long Distance Courier                                                         21.94
Westlaw Research                                                           2,643.36
                         DISBURSEMENTS & OTHER CHARGES              $      3,599.07
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                         Invoice Date                     :     August 22, 2017
 1000 Westinghouse Drive                                                               Invoice Number                   :     3417507
 Cranberry Township, PA 16066                                                          Services Through                 :     July 31, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

CONFIDENTIAL -- e-DAT Fees (70030)

       Fees                                                                        $         1,250.00
       Disbursements and Other Charges                                             $           817.26
       Total Amount Due This Matter                                                                                                $           2,067.26



CURRENT INVOICE DUE - All Matters                                                                                                   $          2,067.26




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
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 CONFIDENTIAL -- e-DAT Fees (70030)                                          $2,067.26


                                         FEES

DATE       NAME                 HOURS      DESCRIPTION                        AMOUNT
07/10/17   L. A. Diersen         0.50      Run advanced searches based          125.00
                                           on document decision and
                                           isolate results into binders as
                                           requested by A. Cashman
07/12/17   L. A. Diersen          0.40     WEC SEC Subpoena: Run                 100.00
                                           advanced searches and update
                                           document decision for
                                           responsive documents as
                                           requested by A. Cashman
07/13/17   L. A. Diersen          0.30     WEC SEC Subpoena: Run                   75.00
                                           advanced searches and track
                                           documents that do not hit on
                                           search term families in review
                                           set, as requested by A.
                                           Cashman
07/17/17   L. A. Diersen          0.30     WEC SEC Subpoena:                       75.00
                                           Strategize with A. Cashman in
                                           regards to running content
                                           searches
07/18/17   L. A. Diersen          0.30     WEC SEC Subpoena: Run                   75.00
                                           advanced searches and isolate
                                           results on specified content
                                           search as requested by A.
                                           Cashman
07/19/17   L. A. Diersen          0.70     WEC SEC Subpoena: Analyze             175.00
                                           and compile data set in
                                           preparation for production
07/21/17   K. R. Slavik           0.90     Analyze documents confirming          225.00
                                           compliance with WEC SEC 004
                                           document production
                                           specifications
07/21/17   K. R. Slavik           0.30     Analyze and review production           75.00
                                           media
07/31/17   T. M. Gracey           0.30     Analyze documents confirming            75.00
                                           compliance with production
                                           specifications
07/31/17   T. M. Gracey           0.30     Encrypt documents for                   75.00
                                           production, organize and
                                           prepare production media and
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DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
                                                               accompanying letter for
                                                               shipment to Counsel at request
                                                               of A. Cashman
07/31/17         C. M. Kuffel                      0.70        Prepare Production No. 05 from                       175.00
                                                               Ringtail per the request of J.
                                                               Chiccarino
                                    TOTAL FEES                           5.00 hrs             $                   1,250.00


                                             TIMEKEEPER SUMMARY

L. A. Diersen                                2.50             hrs at      $       250.00     / hr                   625.00
T. M. Gracey                                 0.60             hrs at      $       250.00     / hr                   150.00
C. M. Kuffel                                 0.70             hrs at      $       250.00     / hr                   175.00
K. R. Slavik                                 1.20             hrs at      $       250.00     / hr                   300.00
                                    TOTAL FEES                                5.00 hrs                   $        1,250.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
07/31/17         Ringtail Fees: July 2017 Data Storage Fees: 36.54 GB @                                             548.03
                 $15.00/GB: $548.03
07/31/17         ESI Conversion: Convert 11,497 GB 0.54 to TIFF images @                                            269.23
                 $500/GB: $269.23
                                DISBURSEMENTS & OTHER CHARGES                                            $          817.26

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                                                 MATTER SUMMARY

Fees                                                                                                     $        1,250.00
Disbursements and Other Charges                                                                          $          817.26
MATTER TOTAL                                                                                             $        2,067.26
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                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      September 28, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3426892
Cranberry Township, PA 16066                                                         Services Through                      :      August 31, 2017




 0236915.00030          Subpoena Response


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $       234,600.00
Disbursements and Other Charges                                                                                                          $         3,734.13

CURRENT INVOICE DUE                                                                                                                      $       238,334.13




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                   AMOUNT
08/01/17   A. R. Cashman      1.40 L110       Finalize narrative response     518.00
                                              to SEC and send narrative
                                              response and production to
                                              SEC in response to
                                              subpoena request
08/01/17   A. R. Cashman      1.90 L320       Review privileged                703.00
                                              documents responsive to
                                              SEC subpoena
08/01/17   S. E.              1.70 B110       Research SEC                    1,190.00
           Lambrakopoulos                     enforcement actions
                                              relating to private
                                              transactions
08/01/17   R. W. Manoso       7.40 L320       Complete privilege review       2,738.00
                                              of material set for
                                              production by Deloitte
08/01/17   V. L. Martinez     0.40 L120       Meet with R. Manoso              280.00
                                              regarding research related
                                              to subpoena
08/01/17   V. L. Martinez     0.20 L120       Hold call with co-counsel        140.00
                                              regarding KAP put
                                              agreements and slide deck
08/01/17   V. L. Martinez     0.10 L120       Review slide deck draft            70.00
                                              received from co-counsel
08/01/17   V. L. Martinez     0.50 L120       Conduct research related to      350.00
                                              subpoena
08/01/17   V. L. Martinez     0.60 L120       Conduct research related to      420.00
                                              subpoena
08/01/17   V. L. Martinez     0.50 L120       Conduct research related to      350.00
                                              subpoena
08/01/17   V. L. Martinez     1.00 L120       Draft settlement                 700.00
                                              memorandum
08/02/17   S. A. Bronder      0.20 P280       Confer with A. Cashman             74.00
                                              regarding next steps
08/02/17   A. R. Cashman      2.60 L320       Review privileged                962.00
                                              documents responsive to
                                              SEC subpoena
08/02/17   S. E.              0.50 B110       Conference call with V.          350.00
           Lambrakopoulos                     Martinez regarding SEC
                                              presentation
08/02/17   S. E.              0.80 B110       Confer with R. Manoso            560.00
           Lambrakopoulos                     regarding Deloitte
                                              document review
08/02/17   S. E.              1.50 B110       Review draft of co-counsel      1,050.00
           Lambrakopoulos                     presentation sections and
                                              revise same
08/02/17   S. E.              0.50 B110       Review information relating      350.00
           Lambrakopoulos                     to related transactions
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
08/02/17   V. L. Martinez     0.10 L120      Review draft of slide deck        70.00
08/02/17   V. L. Martinez     0.50 L120      Hold call with S.                350.00
                                             Lambrakopolous regarding
                                             the same
08/02/17   V. L. Martinez     0.40 L120      Review R. Manoso’s                280.00
                                             research
08/03/17   A. R. Cashman      2.10 L320      Review documents                  777.00
                                             responsive to SEC
                                             subpoena for privilege
08/03/17   S. E.              0.10 B110      Review and revise audit             70.00
           Lambrakopoulos                    response letter
08/03/17   S. E.              0.40 B110      Various emails with team          280.00
           Lambrakopoulos                    regarding investigation
08/03/17   S. E.              0.40 B110      Confer with V. Martinez           280.00
           Lambrakopoulos                    regarding SEC presentation
                                             draft
08/03/17   S. E.              2.50 B110      Review and revise draft          1,750.00
           Lambrakopoulos                    presentation
08/03/17   V. L. Martinez     5.20 L120      Meet with S.                     3,640.00
                                             Lambrakopoulos regarding
                                             SEC subpoena
08/03/17   V. L. Martinez     0.20 L120      Hold call with co-counsel         140.00
                                             regarding document issues
08/03/17   V. L. Martinez     0.20 L120      Correspond with KLG team          140.00
                                             regarding document issues
08/03/17   V. L. Martinez     0.10 L120      Correspond with KLG team            70.00
                                             regarding audit response
08/03/17   T. C. Ryan         2.70 L120      Review legal strategy            1,890.00
                                             memoranda, draft
                                             presentations in preparation
                                             for client meeting
08/04/17   A. R. Cashman      1.70 L320      Prepare protocol for              629.00
                                             privilege and responsive
                                             review of emails responsive
                                             to SEC subpoena
08/04/17   S. E.              0.40 B110      Various emails with A.            280.00
           Lambrakopoulos                    Cashman regarding
                                             disclosure questions
08/04/17   S. E.              1.00 B110      Review related materials          700.00
           Lambrakopoulos
08/04/17   S. E.              1.30 B110      Revise draft presentation to      910.00
           Lambrakopoulos                    SEC
08/04/17   V. L. Martinez     0.20 L120      Correspond with T. Ryan           140.00
                                             regarding status of slide
                                             deck
08/05/17   A. R. Cashman      1.50 L320      Review documents                  555.00
                                             responsive to SEC
                                             subpoena request
08/07/17   S. A. Bronder      0.30 P280      Confer with A. Cashman            111.00
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             regarding next steps
08/07/17   S. A. Bronder      0.40 P280      Conference call with team         148.00
                                             regarding presentations
08/07/17   A. R. Cashman      1.00 L120      Review and edit attorney          370.00
                                             work product for
                                             presentation to SEC
08/07/17   A. R. Cashman      1.10 l320      Draft protocol for privilege      407.00
                                             and responsive review of
                                             emails responsive to SEC
                                             subpoena
08/07/17   S. E.              0.70 B110      Participate in status call        490.00
           Lambrakopoulos                    with co-counsel
08/07/17   S. E.              4.50 B110      Review documents for             3,150.00
           Lambrakopoulos                    production
08/07/17   S. E.              0.80 B110      Revise draft presentation         560.00
           Lambrakopoulos                    for SEC
08/07/17   S. E.              0.60 B110      Emails with team regarding        420.00
           Lambrakopoulos                    same
08/07/17   T. C. Ryan         0.50 L120      Prepare for and conference        350.00
                                             with co-counsel
08/07/17   T. C. Ryan         2.40 L120      Review and revise draft          1,680.00
                                             presentation
08/08/17   S. E.              0.40 B110      Confer with V. Martinez           280.00
           Lambrakopoulos                    regarding SEC presentation
08/08/17   S. E.              2.80 B110      Revise draft presentation        1,960.00
           Lambrakopoulos
08/08/17   V. L. Martinez     0.40 L120      Meet with S.                      280.00
                                             Lambrakopoulos and hold
                                             call with T. Ryan regarding
                                             yesterday’s update call with
                                             KLG and co-counsel
08/08/17   V. L. Martinez     1.00 L120      Review and send                   700.00
                                             memorandum regarding
                                             research on SEC subpoena
                                             related issue
08/08/17   V. L. Martinez     0.40 L120      Discuss research issue with       280.00
                                             S. Lambrakopoulos
08/08/17   V. L. Martinez     4.40 L120      Finish drafting and send         3,080.00
                                             memorandum regarding
                                             potential settlement issues
                                             to T. Ryan
08/08/17   T. C. Ryan         4.40 L120      Prepare for meeting              3,080.00
                                             regarding government
                                             investigation
08/09/17   A. R. Cashman      3.60 B110      Travel to DC for meeting         1,332.00
                                             with client and co-counsel
                                             to discuss subpoena
                                             response strategy
08/09/17   A. R. Cashman      2.20 L120      Conference with T. Ryan,          814.00
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
                                             V. Martinez, and S.
                                             Lambrakopoulos regarding
                                             strategy for meeting with
                                             SEC
08/09/17   A. R. Cashman      0.50 L120      Edit protocol for reviewing      185.00
                                             responsive and privileged
                                             documents responsive to
                                             SEC subpoena
08/09/17   A. R. Cashman      1.20 L120      Conference with client           444.00
                                             regarding status of
                                             response to SEC subpoena
08/09/17   S. E.              2.80 B110      Meeting with T. Ryan, V.        1,960.00
           Lambrakopoulos                    Martinez and A. Cashman
                                             in preparation for meeting
                                             with clients and co-counsel
08/09/17   S. E.              1.00 B110      Revise draft SEC                 700.00
           Lambrakopoulos                    presentation
08/09/17   S. E.              0.60 B110      Review memo by V.                420.00
           Lambrakopoulos                    Martinez
08/09/17   V. L. Martinez     3.50 L120      Review and revise draft         2,450.00
                                             slide deck prepared by T.
                                             Ryan
08/09/17   V. L. Martinez     0.10 L120      Send same to S.                    70.00
                                             Lambrakopoulos after
                                             making revisions
08/09/17   V. L. Martinez     1.30 L120      Meet with S.                     910.00
                                             Lambrakopoulos, T. Ryan
                                             and A. Cashman regarding
                                             meeting preparation
08/09/17   V. L. Martinez     0.10 L120      Correspond with co-counsel         70.00
                                             regarding tomorrow’s
                                             meeting
08/09/17   T. C. Ryan         5.00 L120      Prepare for client meeting      3,500.00
                                             regarding government
                                             investigation
08/09/17   T. C. Ryan         3.00 P930      Travel to Washington, DC        2,100.00
08/10/17   A. R. Cashman      4.10 B110      Travel from DC to               1,517.00
                                             Pittsburgh following SEC
                                             strategy meeting
08/10/17   A. R. Cashman      4.40 L120      Conference with client and      1,628.00
                                             co-counsel regarding
                                             strategy for response to
                                             SEC subpoena, legal
                                             arguments, and additional
                                             factual background
08/10/17   A. R. Cashman      2.00 L120      Conference with client and       740.00
                                             co-counsel regarding
                                             preparation of additional
                                             narrative response,
                                             document reviews and
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
                                             collection, and ongoing
                                             strategy
08/10/17   V. L. Martinez     4.50 L120      Meet with Westinghouse            3,150.00
                                             representatives and White
                                             & Case team to discuss
                                             status of the SEC
                                             investigation and strategy
                                             going forward
08/10/17   V. L. Martinez     1.00 L120      Return to KLG offices to           700.00
                                             discuss steps going forward
08/10/17   V. L. Martinez     2.50 L120      Conduct research on SEC           1,750.00
                                             subpoena related issue
08/10/17   T. C. Ryan         3.90 L120      Participate in client meeting     2,730.00
                                             at co-counsel's office
08/10/17   T. C. Ryan         3.00 P930      Travel from Washington,           2,100.00
                                             DC
08/11/17   A. R. Cashman      0.40 L120      Correspond with V.                 148.00
                                             Martinez regarding status
                                             and preparation of timeline
                                             for presentation to SEC
08/11/17   S. E.              0.40 B110      Review analysis by V.              280.00
           Lambrakopoulos                    Martinez on bankruptcy
                                             question
08/11/17   S. E.              1.00 B110      Research issue related to          700.00
           Lambrakopoulos                    SEC notice of claim in
                                             bankruptcy
08/11/17   S. E.              0.40 B110      Emails with T. Ryan and V.         280.00
           Lambrakopoulos                    Martinez regarding same
08/11/17   V. L. Martinez     1.00 L120      Draft and send email to S.         700.00
                                             Lambrakopoulos and T.
                                             Ryan regarding bankruptcy
                                             issue
08/11/17   V. L. Martinez     5.40 L120      Create timeline                   3,780.00
08/11/17   V. L. Martinez     0.50 L120      Correspond with A.                  350.00
                                             Cashman regarding
                                             documents to support the
                                             same
08/14/17   S. A. Bronder      2.00 L320      QC documents for                   740.00
                                             production
08/14/17   A. R. Cashman      0.90 L120      Conference with T. Ryan            333.00
                                             and S. Bronder regarding
                                             status of SEC investigation
                                             and response to requests
                                             for additional document
                                             productions
08/14/17   A. R. Cashman      0.70 L320      Coordinate review of               259.00
                                             additional documents
                                             requested by SEC
                                             responsive to subpoena
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
08/14/17   T. C. Ryan         1.20 L120      Conference with team to          840.00
                                             devise review protocol and
                                             plan for additional
                                             production at request of
                                             government
08/14/17   T. C. Ryan         0.70 L120      Review and organize               490.00
                                             follow-up action items from
                                             client meeting
08/14/17   T. C. Ryan         0.50 L120      Conference with client             350.00
08/14/17   T. C. Ryan         2.20 L120      Review various drafts of         1,540.00
                                             potentially relevant
                                             agreements
08/14/17   T. C. Ryan         1.10 L120      Review draft narrative            770.00
                                             response
08/15/17   S. A. Bronder      0.70 P280      Review documents for              259.00
                                             supplemental production for
                                             privilege with A. Cashman
08/15/17   A. R. Cashman      0.60 L320      Confer with S. Bronder            222.00
                                             regarding privilege issues
                                             related to the production of
                                             documents responsive to
                                             the SEC request
08/15/17   A. R. Cashman      1.50 L320      Review documents                  555.00
                                             responsive to SEC
                                             subpoena for privilege and
                                             prepare privilege log
08/15/17   J. A. Georges      0.10 L110      Conference with T. Ryan             25.00
                                             regarding chronology
                                             timeline preparation
08/15/17   V. L. Martinez     0.50 L120      Hold call with T. Ryan to         350.00
                                             discuss status of production
                                             and next steps responding
                                             to the SEC
08/15/17   V. L. Martinez     0.50 L120      Correspondence with A.            350.00
                                             Cashman regarding the
                                             same, as well as the draft
                                             timeline of events relevant
                                             to the SEC
08/15/17   T. C. Ryan         1.20 L120      Conferences with team             840.00
                                             members regarding follow-
                                             up work assignments after
                                             client meeting
08/16/17   S. A. Bronder      1.80 P280      Revise document review            666.00
                                             protocol
08/16/17   A. R. Cashman      0.50 L120      Correspond with T. Ryan           185.00
                                             regarding status of
                                             response to SEC subpoena
                                             and narrative request
08/16/17   A. R. Cashman      1.50 L320      Prepare privilege log for         555.00
                                             responsive documents to
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DATE       NAME                HRS TASK       DESCRIPTION                  AMOUNT
                                              SEC subpoena withheld as
                                              privileged
08/16/17   A. R. Cashman       0.50 L320      Coordinate review of            185.00
                                              documents for privilege
                                              responsive to SEC
                                              subpoena
08/16/17   T. C. Ryan          1.70 L120      Address review and search      1,190.00
                                              protocol in response to
                                              Subpoena
08/17/17   E. S. Baum          0.90 L320      Meet with subpoena              333.00
                                              response review team
                                              regarding document review
                                              in response to SEC
                                              subpoena
08/17/17   S. A. Bronder       0.20 L320      Revise document review            74.00
                                              protocol
08/17/17   S. A. Bronder       0.80 L320      Attend review protocol          296.00
                                              meeting
08/17/17   A. R. Cashman       1.20 L320      Prepare for and lead            444.00
                                              meeting to prepare
                                              associates for privilege
                                              review of documents
                                              responsive to SEC
                                              subpoena
08/17/17   A. R. Cashman       2.70 L320      Prepare privilege log for       999.00
                                              documents withheld from
                                              production to SEC as
                                              privileged
08/17/17   S. M. Czypinski     0.70 L320      Review documents for            259.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/17/17   S. M. Czypinski     1.00 L320      Participate in meeting          370.00
                                              regarding document review
                                              for privilege and
                                              responsiveness for SEC
                                              subpoena
08/17/17   K. M. Gafner        1.10 B150      Attend conference               407.00
                                              regarding privilege and
                                              responsiveness review to
                                              SEC subpoena
08/17/17   K. M. Gafner        0.40 L320      Review documents for            148.00
                                              responsiveness and
                                              privilege in response to
                                              SEC subpoena
08/17/17   J. A. Jay           0.70 L650      Conference with review          259.00
                                              team regarding review
                                              protocol
08/17/17   J. A. Jay           2.30 L650      Review documents for            851.00
                                              responsiveness and
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DATE       NAME                HRS TASK       DESCRIPTION                       AMOUNT
                                              privilege for SEC subpoena
08/17/17   M. K. Komo          0.90 L120      Meet with A. Cashman, S.             333.00
                                              Bronder regarding
                                              document review protocol
                                              regarding SEC subpoena
08/17/17   E. D. Phillips      0.70 L650      Attend meeting with S.               259.00
                                              Bronder and A. Cashman
                                              regarding SEC Subpoena
                                              document review
08/17/17   E. D. Phillips      0.30 L650      Review documents for                 111.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/17/17   E. D. Phillips      0.60 L650      Review materials and                 222.00
                                              instructions regarding
                                              document review
08/17/17   I. T. R. Smith      1.00 L190      Meeting regarding review of          370.00
                                              documents for privilege and
                                              responsiveness to SEC
                                              subpoena
08/17/17   I. T. R. Smith      1.50 L320      Review documents for                 555.00
                                              privilege and
                                              responsiveness to SEC
                                              Subpoena
08/17/17   N. A. Stockey       0.90 L120      Attend training and meeting          333.00
                                              regarding document review
                                              for subpoena
08/17/17   N. A. Stockey       1.10 L120      Review and analyze                   407.00
                                              document review materials
                                              for privilege review
08/17/17   J. T. Waddell       1.00 L320      Attend meeting regarding             370.00
                                              SEC subpoena
                                              responsiveness and
                                              privilege review
08/18/17   E. S. Baum          1.20 P280      Review documents for                 444.00
                                              responsiveness to SEC
                                              subpoena
08/18/17   A. R. Cashman       2.20 L320      Review documents with                814.00
                                              privilege determinations
                                              responsive to SEC
                                              subpoena and draft
                                              privilege log
08/18/17   S. M. Czypinski     0.60 L320      Review documents for                 222.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/18/17   S. E.               0.30 B110      Status call with co-counsel          210.00
           Lambrakopoulos
08/18/17   S. E.               0.20 B110      Confer with R. Manoso                140.00
           Lambrakopoulos                     regarding Deloitte review
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DATE       NAME                HRS TASK       DESCRIPTION                   AMOUNT
08/18/17   S. E.               0.40 B110      Emails with team regarding      280.00
           Lambrakopoulos                     related issues
08/18/17   E. D. Phillips      3.50 L650      Review documents for           1,295.00
                                              responsiveness to SEC
                                              subpoena
08/18/17   N. A. Stockey       2.10 L120      Confer with E-DAT                777.00
                                              regarding document review
                                              and tagging
08/18/17   N. A. Stockey       0.90 L120      Finish reviewing                 333.00
                                              background materials and
                                              document review protocol
08/18/17   N. A. Stockey       0.90 L120      Review documents for             333.00
                                              privilege response to SEC
                                              subpoena
08/20/17   A. R. Cashman       0.40 L320      Prepare supplemental             148.00
                                              production of responsive
                                              documents to SEC
08/21/17   E. S. Baum          3.40 P280      Review documents for           1,258.00
                                              responsiveness to SEC
                                              subpoena
08/21/17   A. R. Cashman       0.20 L120      Confer with V. Martinez           74.00
                                              regarding status of
                                              response to SEC subpoena
08/21/17   A. R. Cashman       0.50 L320      Coordinate review and            185.00
                                              production of documents
                                              responsive to SEC
                                              subpoena
08/21/17   S. M. Czypinski     4.00 L320      Review documents for           1,480.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/21/17   K. M. Gafner        4.60 L320      Review documents for           1,702.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/21/17   M. K. Komo          1.50 L650      Review documents for             555.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/21/17   S. E.               0.40 B110      Emails with R. Manoso            280.00
           Lambrakopoulos                     regarding privilege review
                                              of Deloitte documents
08/21/17   R. W. Manoso        2.80 L320      Perform quality control of     1,036.00
                                              privilege designations and
                                              prepare documents for
                                              additional quality review
08/21/17   V. L. Martinez      0.20 L120      Correspond and hold call         140.00
                                              with A. Cashman regarding
                                              status of production and
                                              draft narrative
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DATE       NAME                HRS TASK       DESCRIPTION                    AMOUNT
08/21/17   V. L. Martinez      0.30 L120      Review co-counsel weekly         210.00
                                              reports
08/21/17   V. L. Martinez      0.20 L120      Hold call with co-counsel on      140.00
                                              response strategy
08/21/17   V. L. Martinez      1.40 L120      Conduct research for              980.00
                                              narrative
08/21/17   E. D. Phillips      4.40 L650      Review documents for            1,628.00
                                              responsiveness to SEC
                                              subpoena
08/21/17   T. C. Ryan          0.70 L120      Conference with client            490.00
                                              regarding document review
                                              and production
08/22/17   E. S. Baum          5.00 L390      Review documents for            1,850.00
                                              responsiveness to SEC
                                              subpoena
08/22/17   A. R. Cashman       2.60 L110      Draft narrative response to       962.00
                                              SEC in response to
                                              subpoena request
08/22/17   A. R. Cashman       0.80 L110      Draft narrative response to       296.00
                                              SEC in response to
                                              subpoena request
08/22/17   S. M. Czypinski     2.30 L320      Review documents for              851.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/22/17   K. M. Gafner        0.30 L320      Review documents for              111.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/22/17   M. K. Komo          5.10 L650      Review documents for            1,887.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/22/17   V. L. Martinez      4.90 L120      Review and revise strategy      3,430.00
                                              memorandum
08/22/17   V. L. Martinez      0.80 L120      Review documents for              560.00
                                              narrative
08/22/17   E. D. Phillips      5.20 L650      Review documents for            1,924.00
                                              responsiveness to SEC
                                              subpoena
08/22/17   T. C. Ryan          3.80 L120      Review privilege calls on       2,660.00
                                              supplemental production
08/22/17   J. T. Waddell       1.20 L320      Review documents for              444.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/23/17   E. S. Baum          2.80 P280      Review documents for            1,036.00
                                              responsiveness to SEC
                                              subpoena
08/23/17   A. R. Cashman       0.20 L320      Coordinate production of           74.00
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DATE       NAME                HRS TASK       DESCRIPTION                   AMOUNT
                                              responsive non-privileged
                                              emails to SEC subpoena
08/23/17   S. M. Czypinski     3.60 L320      Review documents for           1,332.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/23/17   M. K. Komo          0.40 L650      Review documents for             148.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/23/17   V. L. Martinez      2.80 L120      Revise strategy                1,960.00
                                              memorandum
08/23/17   V. L. Martinez      1.00 L120      Conduct research on              700.00
                                              primary violation
                                              requirement for aiding and
                                              abetting charge
08/23/17   V. L. Martinez      0.20 L120      Arrange to meet with co-         140.00
                                              counsel
08/23/17   E. D. Phillips      4.50 L650      Review documents for           1,665.00
                                              responsiveness to SEC
                                              subpoena
08/23/17   T. C. Ryan          1.90 L120      Review privilege calls and     1,330.00
                                              status of supplemental
                                              production
08/23/17   N. A. Stockey       1.20 L120      Review documents for             444.00
                                              privilege for SEC Subpoena
08/23/17   J. T. Waddell       2.20 L320      Review documents for             814.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/24/17   E. S. Baum          0.80 P280      Review documents for             296.00
                                              responsiveness to SEC
                                              subpoena
08/24/17   A. R. Cashman       0.90 L320      Prepare for and meet with        333.00
                                              T. Ryan regarding
                                              document collection and
                                              review
08/24/17   A. R. Cashman       0.60 L320      Conference with R.               222.00
                                              Yammie regarding protocol
                                              for reviewing documents
                                              responsive to SEC
                                              subpoena for privilege
08/24/17   A. R. Cashman       3.50 L320      Coordinate and review          1,295.00
                                              privileged document review
                                              of documents responsive to
                                              SEC subpoena
08/24/17   S. M. Czypinski     3.20 L320      Review documents for           1,184.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
17-10751-mew   Doc 3955-7     Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
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DATE       NAME                HRS TASK       DESCRIPTION                      AMOUNT
08/24/17   K. M. Gafner        1.20 L320      Review documents for               444.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/24/17   M. K. Komo          0.10 L650      Review documents for                 37.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/24/17   V. L. Martinez      1.50 L120      Review documents for              1,050.00
                                              narrative response
08/24/17   V. L. Martinez      4.50 L120      Review and revise strategy        3,150.00
                                              memorandum
08/24/17   T. C. Ryan          1.20 L120      Review and organize                 840.00
                                              supplemental production
08/24/17   J. T. Waddell       2.00 L320      Review documents for                740.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/24/17   R. E. Yammine       0.90 L320      Meet with A. Cashman for            333.00
                                              document review task
08/25/17   E. S. Baum          5.60 P280      Review documents for              2,072.00
                                              responsiveness to SEC
                                              subpoena
08/25/17   A. R. Cashman       0.50 L120      Conference with co-counsel          185.00
                                              and K&L Gates teams
                                              regarding status of
                                              response to SEC subpoena
08/25/17   A. R. Cashman       1.60 L320      Review documents                    592.00
                                              responsive to SEC
                                              subpoena and coordinate
                                              production to SEC
08/25/17   S. M. Czypinski     3.40 L320      Review documents for              1,258.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/25/17   K. M. Gafner        3.60 L320      Review documents for              1,332.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/25/17   V. L. Martinez      0.80 L120      Hold weekly call with co-           560.00
                                              counsel
08/25/17   V. L. Martinez      3.00 L120      Read draft narrative              2,100.00
                                              response for SEC and
                                              provide comments on same
08/25/17   V. L. Martinez      2.50 L120      Read documents for                1,750.00
                                              narrative response
08/25/17   V. L. Martinez      0.60 L120      Review potentially relative         420.00
                                              agreements
08/25/17   V. L. Martinez      0.60 L120      Review applicable rules             420.00
08/25/17   T. C. Ryan          0.70 L120      Prepare for and conference          490.00
                                              with client on privilege issue
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DATE       NAME                HRS TASK       DESCRIPTION                   AMOUNT
08/25/17   T. C. Ryan          0.60 L120      Conference with co-counsel      420.00
                                              regarding status of
                                              investigation
08/25/17   T. C. Ryan          0.70 L120      Coordinate supplemental          490.00
                                              production
08/25/17   N. A. Stockey       0.90 L120      Review documents for             333.00
                                              privilege for SEC subpoena
08/25/17   R. E. Yammine       0.30 L320      Perform document review          111.00
                                              with regard to SEC
                                              subpoena matter
08/26/17   S. M. Czypinski     2.20 L320      Review documents for             814.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/26/17   K. M. Gafner        1.00 L320      Review documents for             370.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/26/17   V. L. Martinez      1.00 L120      Review documents for             700.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/26/17   V. L. Martinez      1.50 L120      Review and comment on          1,050.00
                                              draft SEC narrative
                                              response
08/27/17   A. R. Cashman       1.10 L120      Edit narrative response to       407.00
                                              SEC
08/27/17   M. K. Komo          5.90 L650      Review documents for           2,183.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/27/17   I. T. R. Smith      1.20 L320      Review documents for             444.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/27/17   N. A. Stockey       1.10 L120      Review documents for             407.00
                                              privilege for SEC subpoena
08/28/17   E. S. Baum          6.20 P280      Review documents for           2,294.00
                                              responsiveness to SEC
                                              subpoena
08/28/17   A. R. Cashman       2.20 L110      Draft narrative response to      814.00
                                              the SEC
08/28/17   A. R. Cashman       0.90 L320      Prepare privilege log for        333.00
                                              production to the SEC
08/28/17   S. M. Czypinski     3.60 L320      Review documents for           1,332.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/28/17   K. M. Gafner        6.40 L320      Review documents for           2,368.00
                                              responsiveness and
                                              privilege to SEC subpoena
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DATE       NAME                HRS TASK       DESCRIPTION                     AMOUNT
08/28/17   M. K. Komo          7.70 L650      Review documents for             2,849.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/28/17   S. E.               0.40 B110      Various emails with team           280.00
           Lambrakopoulos
08/28/17   V. L. Martinez      8.50 L120      Read documents                   5,950.00
                                              underlying narrative
                                              response
08/28/17   T. C. Ryan          1.90 L120      Review narrative and             1,330.00
                                              correspond with co-counsel
08/28/17   I. T. R. Smith      7.90 L320      Review documents for             2,923.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/28/17   N. A. Stockey       1.10 L120      Review documents for               407.00
                                              privilege in response to
                                              SEC subpoena
08/28/17   J. T. Waddell       6.80 L320      Review documents for             2,516.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/28/17   R. E. Yammine       1.00 L320      Perform document review            370.00
08/29/17   E. S. Baum          6.30 P280      Review documents for             2,331.00
                                              responsiveness to SEC
                                              subpoena
08/29/17   S. A. Bronder       1.60 L320      Revise privilege log               592.00
08/29/17   S. A. Bronder       0.50 L320      Confer with A. Cashman             185.00
                                              regarding progress of
                                              document review
08/29/17   A. R. Cashman       0.50 L320      Conference with T. Ryan            185.00
                                              regarding status of SEC
                                              document collection and
                                              review
08/29/17   A. R. Cashman       3.20 L320      Coordinate production and        1,184.00
                                              review of documents
                                              responsive to SEC
                                              subpoena and privilege log
                                              related to those documents
08/29/17   S. M. Czypinski     3.80 L320      Review documents for             1,406.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/29/17   K. M. Gafner        2.40 L320      Review documents for               888.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/29/17   M. K. Komo          3.90 L650      Review documents for             1,443.00
                                              responsiveness and
                                              privilege pertaining to the
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DATE       NAME                HRS TASK       DESCRIPTION                    AMOUNT
                                              SEC subpoena
08/29/17   V. L. Martinez      3.80 L120      Read materials for narrative    2,660.00
                                              response
08/29/17   V. L. Martinez      2.00 L120      Continue outlining points to    1,400.00
                                              make in narrative
08/29/17   V. L. Martinez      0.70 L120      Review emails regarding           490.00
                                              information request
08/29/17   V. L. Martinez      0.60 L120      Hold calls with T. Ryan and       420.00
                                              A. Cashman regarding SEC
                                              narrative response
08/29/17   T. C. Ryan          1.70 L120      Review status of draft          1,190.00
                                              narrative response and
                                              document review
08/29/17   I. T. R. Smith      6.20 L320      Review documents for            2,294.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/29/17   J. T. Waddell       5.40 L320      Review documents for            1,998.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/29/17   R. E. Yammine       1.30 L320      Perform document review           481.00
08/30/17   A. R. Cashman       3.40 L120      Edit narrative response to      1,258.00
                                              SEC
08/30/17   A. R. Cashman       0.80 L320      Finalize privilege log and        296.00
                                              supplemental production to
                                              the SEC
08/30/17   S. M. Czypinski     4.20 L320      Review documents for            1,554.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/30/17   K. M. Gafner        0.60 L320      Review documents for              222.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/30/17   J. A. Jay           4.80 C100      Review documents for            1,776.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/30/17   M. K. Komo          11.10 L650     Review documents for            4,107.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/30/17   E. D. Phillips      2.00 L650      Review documents for              740.00
                                              responsiveness to SEC
                                              subpoena
08/30/17   T. C. Ryan          1.10 L120      Conference with co-counsel        770.00
                                              regarding status of
                                              subpoena inquiries
08/30/17   I. T. R. Smith      6.50 L320      Review documents for            2,405.00
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DATE       NAME                HRS TASK       DESCRIPTION                      AMOUNT
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/30/17   N. A. Stockey       0.60 L120      Review documents for               222.00
                                              privilege for SEC subpoena
                                              response
08/30/17   J. T. Waddell       4.30 L320      Review documents for              1,591.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/30/17   R. E. Yammine       1.20 L320      Prepare document review            444.00
                                              for SEC matter
08/31/17   S. A. Bronder       1.00 P280      Review and annotate                370.00
                                              narrative response
08/31/17   A. R. Cashman       0.30 L120      Conference with S. Bronder         111.00
                                              regarding narrative
                                              response
08/31/17   S. M. Czypinski     1.70 L320      Review documents for               629.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/31/17   K. M. Gafner        2.10 L320      Review documents for               777.00
                                              responsiveness and
                                              privilege to SEC subpoena
08/31/17   J. A. Jay           5.30 C100      Review documents for              1,961.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
08/31/17   M. K. Komo          14.30 L650     Review documents for              5,291.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
08/31/17   V. L. Martinez      0.50 L120      Conduct research related to        350.00
                                              SEC subpoena
08/31/17   V. L. Martinez      0.50 L120      Conduct research related to        350.00
                                              SEC subpoena
08/31/17   N. A. Stockey       2.80 L120      Review documents for              1,036.00
                                              privilege for SEC subpoena
                                              response
08/31/17   J. T. Waddell       5.20 L320      Review documents for              1,924.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
08/31/17   R. E. Yammine    0.50 L320         Perform document review             185.00
                       TOTAL FEES               492.90 hrs                $   234,600.00
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                               TIMEKEEPER SUMMARY

E. S. Baum                      32.20    hrs at    $    370.00   / hr         11,914.00
S. A. Bronder                    9.50    hrs at    $    370.00   / hr          3,515.00
A. R. Cashman                   68.20    hrs at    $    370.00   / hr         25,234.00
S. M. Czypinski                 34.30    hrs at    $    370.00   / hr         12,691.00
K. M. Gafner                    23.70    hrs at    $    370.00   / hr          8,769.00
J. A. Georges                    0.10    hrs at    $    250.00   / hr             25.00
J. A. Jay                       13.10    hrs at    $    370.00   / hr          4,847.00
M. K. Komo                      50.90    hrs at    $    370.00   / hr         18,833.00
S. E. Lambrakopoulos            28.80    hrs at    $    700.00   / hr         20,160.00
R. W. Manoso                    10.20    hrs at    $    370.00   / hr          3,774.00
V. L. Martinez                  81.70    hrs at    $    700.00   / hr         57,190.00
E. D. Phillips                  21.20    hrs at    $    370.00   / hr          7,844.00
T. C. Ryan                      47.80    hrs at    $    700.00   / hr         33,460.00
I. T. R. Smith                  24.30    hrs at    $    370.00   / hr          8,991.00
N. A. Stockey                   13.60    hrs at    $    370.00   / hr          5,032.00
J. T. Waddell                   28.10    hrs at    $    370.00   / hr         10,397.00
R. E. Yammine                    5.20    hrs at    $    370.00   / hr          1,924.00
                       TOTAL FEES                 492.90 hrs             $   234,600.00
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                               TASK CODE SUMMARY

B110    Case Administration                     36.50 hrs               23,009.00
B150    Meetings of and Communications w/        1.10 hrs                  407.00
        Credi
C100    Fact Gathering                          10.10   hrs              3,737.00
L110    Fact Investigation/Development           7.10   hrs              2,615.00
L120    Analysis/Strategy                      156.60   hrs             98,697.00
L190    Other Case Assessment, Development       1.00   hrs                370.00
        and
L320    Document Production                     77.70   hrs              28,749.00
l320    Document Production                      1.10   hrs                 407.00
L320    Document Production                     85.80   hrs              31,746.00
L390    Other Discovery                          5.00   hrs               1,850.00
L650    eDiscovery Review                       74.20   hrs              27,454.00
P280    Other                                   30.70   hrs              11,359.00
P930    Other                                    6.00   hrs               4,200.00
                          TOTAL FEES           492.90   hrs        $    234,600.00


                      DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Air Fare                                                                    816.68
Business Meal                                                               229.90
Lexis Research                                                               85.97
Long Distance Courier                                                        45.26
Pacer Research                                                                3.80
Telephone / Conference Calls / Fx Line Trans                                  1.02
Travel Expenses                                                           1,299.42
Travel Related Meals                                                        180.88
Westlaw Research                                                          1,071.20
                         DISBURSEMENTS & OTHER CHARGES             $      3,734.13
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                                               Entries Part 1 Pg 143 of 335

                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                       Invoice Date                          :       September 8, 2017
 1000 Westinghouse Drive                                                             Invoice Number                        :       3425927
 Cranberry Township, PA 16066                                                        Services Through                      :       August 31, 2017
                                                                                     Our File Number                       :       0236915




                                             INVOICE SUMMARY BY MATTER

SUBPOENA RESPONSE -- e-DAT Fees (70030)

    Fees                                                                         $           1,707.00
    Disbursements and Other Charges                                              $              50.17
    Total Amount Due This Matter                                                                                                         $           1,757.17



CURRENT INVOICE DUE - All Matters                                                                                                        $           1,757.17




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew   Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15          Exhibit Time
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 SUBPOENA RESPONSE -- e-DAT Fees (70030)                                         $1,757.17


                                           FEES

DATE       NAME                   HOURS      DESCRIPTION                          AMOUNT
08/01/17   L. A. Diersen           0.30      Update review template as              75.00
                                             requested by A. Cashman
08/15/17   J. A. Chiccarino         0.40     Coordinate with litigation              148.00
                                             support regarding document
                                             review for production
08/16/17   J. A. Chiccarino         0.50     Coordinate with litigation              185.00
                                             support regarding document
                                             review for production
08/17/17   J. A. Chiccarino         0.50     Coordinate with litigation              185.00
                                             support regarding document
                                             processing and review for
                                             production
08/22/17   J. A. Chiccarino         0.30     Coordinate with litigation              111.00
                                             support regarding document
                                             review and production
08/22/17   C. T. Field              0.70     Provide support and training to         175.00
                                             M. Komo regarding column
                                             views and mass coding
08/23/17   J. A. Chiccarino         0.50     Coordinate with litigation              185.00
                                             support regarding document
                                             production
08/25/17   J. A. Chiccarino         0.30     Coordinate with litigation              111.00
                                             support regarding document
                                             production
08/25/17   T. M. Gracey             0.20     Analyze, organize and edit ESI           50.00
                                             in preparation for staging into
                                             Ringtail
08/25/17   T. M. Gracey             0.10     Perform complex modifications            25.00
                                             to database files to convert
                                             Concordance-formatted material
                                             into Ringtail format in
                                             preparation for metadata
                                             overlay, organize and stage
                                             metadata overlay into Ringtail in
                                             preparation for review, perform
                                             text extraction and indexing
                                             procedures on new data in
                                             preparation for search and
                                             review at the request of A.
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DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
                                                               Cashman
08/25/17         T. M. Gracey                      0.20        Stage ESI in WEC SEC                                   50.00
                                                               Subpoena Ringtail database
08/28/17         J. A. Chiccarino                  0.40        Coordinate with litigation                           148.00
                                                               support regarding document
                                                               production
08/29/17         J. A. Chiccarino                  0.70        Coordinate with litigation                           259.00
                                                               support regarding document
                                                               production
                                    TOTAL FEES                          5.10 hrs                         $        1,707.00


                                             TIMEKEEPER SUMMARY

J. A. Chiccarino                             3.60             hrs at      $       370.00     / hr                 1,332.00
L. A. Diersen                                0.30             hrs at      $       250.00     / hr                    75.00
C. T. Field                                  0.70             hrs at      $       250.00     / hr                   175.00
T. M. Gracey                                 0.50             hrs at      $       250.00     / hr                   125.00
                                    TOTAL FEES                                5.10 hrs                   $        1,707.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
08/31/17         ESI Conversion: Convert 0.10 GB to TIFF images @ $500/GB:                                            50.17
                 $50.17
                              DISBURSEMENTS & OTHER CHARGES                                              $            50.17

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                                                 MATTER SUMMARY

Fees                                                                                                     $        1,707.00
Disbursements and Other Charges                                                                          $           50.17
MATTER TOTAL                                                                                             $        1,757.17
17-10751-mew          Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                               Entries Part 1 Pg 146 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      October 23, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3442565
Cranberry Township, PA 16066                                                         Services Through                      :      September 30, 2017




 0236915.00030          Subpoena Response


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $       164,218.00
Disbursements and Other Charges                                                                                                          $         1,475.76

CURRENT INVOICE DUE                                                                                                                      $       165,693.76




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew   Doc 3955-7     Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
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                                        FEES

DATE       NAME                HRS TASK        DESCRIPTION                   AMOUNT
08/09/17   M. A. Rush          0.80 L120       Meeting with T. Ryan            560.00
                                               regarding SEC investigation
                                               strategy
08/10/17   S. E.               6.30 B110       Prepare for and participate    4,410.00
           Lambrakopoulos                      in client meeting regarding
                                               SEC investigation
08/10/17   M. A. Rush          5.00 L120       SEC strategy meeting with      3,500.00
                                               client in Washington, DC
08/10/17   M. A. Rush          1.50 L120       Follow-up meeting with         1,050.00
                                               client
08/18/17   J. A. Georges       0.10 L650       Respond to E. Phillip's            25.00
                                               request regarding
                                               clearance of document
                                               assignments reviewed
08/25/17   S. E.               0.50 B110       Participate in team              350.00
           Lambrakopoulos                      conference call with co-
                                               counsel
08/30/17   V. L. Martinez      3.50 L120       Review acquisition             2,450.00
                                               contracts and underlying
                                               accounting treatments for
                                               ETC narrative
08/31/17   T. C. Ryan          1.10 L120       Review and finalize              770.00
                                               supplemental production
                                               and privilege log
09/01/17   E. S. Baum          2.00 P280       Review documents for             740.00
                                               responsiveness to SEC
                                               subpoena
09/01/17   S. A. Bronder       0.40 L320       Respond to questions from        148.00
                                               reviewers regarding
                                               responsiveness
09/01/17   S. A. Bronder       0.50 L320       Conference with A.               185.00
                                               Cashman regarding
                                               progress of document
                                               review and production
09/01/17   S. A. Bronder       0.90 P280       Respond to questions from        333.00
                                               V. Martinez on draft ETC
                                               narrative response
09/01/17   A. R. Cashman       0.50 l110       Conference with S. Bronder       185.00
                                               regarding narrative
                                               response to the SEC
09/01/17   S. M. Czypinski     4.30 L320       Review documents for           1,591.00
                                               privilege and
                                               responsiveness for SEC
                                               subpoena
09/01/17   J. A. Jay           7.50 C100       Review documents for           2,775.00
                                               privilege and
                                               responsiveness for SEC
                                               subpoena
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DATE       NAME                HRS TASK       DESCRIPTION                    AMOUNT
09/01/17   M. K. Komo          1.90 L650      Review documents for             703.00
                                              responsiveness and
                                              privilege pertaining to the
                                              SEC subpoena
09/01/17   V. L. Martinez      3.00 L120      Conference with co-counsel      2,100.00
                                              and debrief with counsel for
                                              former employee
09/01/17   V. L. Martinez      0.20 L120      Hold call with T. Ryan to         140.00
                                              discuss issues raised at the
                                              meeting
09/01/17   V. L. Martinez      0.10 L120      Correspond with S. Bronder          70.00
                                              and A. Cashman regarding
                                              draft narrative
09/01/17   N. A. Stockey       1.20 L120      Review documents for              444.00
                                              privilege for SEC subpoena
                                              response
09/01/17   M.L. Thibadeau      1.00 L120      Review email from T. Ryan         370.00
                                              regarding SEC in
                                              bankruptcy and research
                                              bankruptcy issues
09/01/17   J. T. Waddell       2.00 L320      Review documents for              740.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
09/01/17   R. E. Yammine       1.50 L320      Perform document review           555.00
09/02/17   S. M. Czypinski     2.40 L320      Review documents for              888.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/02/17   E. D. Phillips      3.00 L650      Review documents for            1,110.00
                                              responsiveness to SEC
                                              subpoena
09/04/17   E. D. Phillips      3.50 L650      Review documents for            1,295.00
                                              responsiveness to SEC
                                              subpoena
09/05/17   E. S. Baum          1.70 P280      Review documents for              629.00
                                              responsiveness to SEC
                                              subpoena
09/05/17   S. A. Bronder       0.90 P280      Meet with team regarding          333.00
                                              bankruptcy considerations
09/05/17   S. A. Bronder       0.20 P280      Conference with A.                  74.00
                                              Cashman regarding next
                                              steps
09/05/17   A. R. Cashman       1.50 L120      Prepare for and attend            555.00
                                              conference with T. Ryan, S.
                                              Bronder, and M. Thibadeau
                                              regarding research related
                                              to bankruptcy status and
                                              response to SEC subpoena
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DATE       NAME                HRS TASK       DESCRIPTION                   AMOUNT
09/05/17   S. M. Czypinski     5.00 L320      Review documents for           1,850.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/05/17   K. M. Gafner        2.70 L320      Review documents for             999.00
                                              responsiveness and
                                              privilege to SEC subpoena
09/05/17   J. A. Jay           6.30 C100      Review documents for           2,331.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/05/17   V. L. Martinez      3.20 C300      Review and revise draft        2,240.00
                                              narrative response
09/05/17   V. L. Martinez      0.20 C300      Hold conversation with M.        140.00
                                              Rush regarding meeting
                                              with counsel for former
                                              employee
09/05/17   E. D. Phillips      2.80 L650      Review documents for           1,036.00
                                              responsiveness to SEC
                                              subpoena
09/05/17   T. C. Ryan          2.20 L110      Attention to legal research    1,540.00
                                              issues regarding overlay
                                              between bankruptcy
                                              proceedings and SEC
                                              procedure
09/05/17   I. T. R. Smith      6.10 L320      Review documents for           2,257.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
09/05/17   N. A. Stockey       1.20 L120      Review documents for             444.00
                                              privilege for SEC subpoena
09/05/17   M.L. Thibadeau      0.90 L120      Conference with T. Ryan,         333.00
                                              A. Cashman, and S.
                                              Bronder regarding
                                              bankruptcy issues
09/05/17   M.L. Thibadeau      0.40 L120      Prepare email to A. Paine        148.00
                                              regarding research
09/05/17   M.L. Thibadeau      0.90 L120      Analyze bankruptcy issues        333.00
                                              and prepare draft
                                              memorandum regarding
                                              same
09/05/17   J. T. Waddell       5.80 L320      Review documents for           2,146.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
09/06/17   E. S. Baum          6.90 P280      Review documents for           2,553.00
                                              responsiveness to SEC
                                              subpoena
09/06/17   S. M. Czypinski     4.70 L320      Review documents for           1,739.00
                                              privilege and
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DATE       NAME                HRS TASK       DESCRIPTION                   AMOUNT
                                              responsiveness for SEC
                                              subpoena
09/06/17   J. A. Jay           7.30 C100      Review documents for           2,701.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/06/17   V. L. Martinez      3.50 L120      Draft narrative response to    2,450.00
                                              the SEC
09/06/17   E. D. Phillips      2.30 L650      Review documents for             851.00
                                              responsiveness to SEC
                                              subpoena
09/06/17   I. T. R. Smith      4.90 L320      Review documents for           1,813.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
09/06/17   N. A. Stockey       1.40 L120      Review documents for             518.00
                                              privilege for SEC subpoena
09/06/17   M.L. Thibadeau      0.60 L120      Review and analyze               222.00
                                              bankruptcy case law with
                                              respect to SEC issues
09/06/17   R. E. Yammine       1.60 L320      Perform document review          592.00
09/07/17   E. S. Baum          1.00 P280      Review documents for             370.00
                                              responsiveness to SEC
                                              subpoena
09/07/17   S. M. Czypinski     3.60 L320      Review documents for           1,332.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/07/17   J. A. Jay           4.40 C100      Review documents for           1,628.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/07/17   V. L. Martinez      3.00 l120      Draft narrative response to    2,100.00
                                              SEC
09/07/17   E. D. Phillips      2.30 L650      Review documents for             851.00
                                              responsiveness to SEC
                                              subpoena
09/07/17   I. T. R. Smith      6.70 L320      Review documents for           2,479.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
09/07/17   J. T. Waddell       5.50 L320      Review documents for           2,035.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
09/07/17   R. E. Yammine       0.70 L320      Perform document review          259.00
09/08/17   S. M. Czypinski     5.30 L320      Review documents for           1,961.00
                                              privilege and
                                              responsiveness for SEC
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DATE       NAME                HRS TASK       DESCRIPTION                    AMOUNT
                                              subpoena
09/08/17   V. L. Martinez      0.20 l120      Correspond with A.                140.00
                                              Cashman regarding
                                              document
09/08/17   V. L. Martinez      6.50 l120      Draft narrative response for    4,550.00
                                              the SEC
09/08/17   A. R. D. Paine      3.70 B110      Research bankruptcy             1,369.00
                                              related issue
09/08/17   E. D. Phillips      2.00 L650      Review documents for              740.00
                                              responsiveness to SEC
                                              subpoena
09/08/17   T. C. Ryan          0.50 L120      Conference with co-counsel        350.00
09/08/17   M.L. Thibadeau      0.50 L120      Review A. Paine's research        185.00
                                              and case law regarding
                                              bankruptcy issues
09/08/17   J. T. Waddell       4.70 L320      Review documents for            1,739.00
                                              privilege and
                                              responsiveness to SEC
                                              subpoena
09/09/17   S. M. Czypinski     1.30 L320      Review documents for              481.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/10/17   E. D. Phillips      2.30 L650      Review documents for              851.00
                                              responsiveness to SEC
                                              subpoena
09/10/17   M.L. Thibadeau      3.00 L120      Prepare memorandum on           1,110.00
                                              bankruptcy issues
09/11/17   E. S. Baum          1.40 P280      Review documents for              518.00
                                              responsiveness to
                                              subpoena
09/11/17   S. A. Bronder       0.20 L320      Confer with A. Cashman              74.00
                                              regarding status of review
09/11/17   S. M. Czypinski     1.00 L320      Review documents for              370.00
                                              privilege and
                                              responsiveness for SEC
                                              subpoena
09/11/17   V. L. Martinez      7.60 l120      Revise narrative.               5,320.00
09/11/17   E. D. Phillips      2.10 L650      Review documents for              777.00
                                              responsiveness to SEC
                                              subpoena
09/11/17   M.L. Thibadeau      0.30 L120      Prepare email to A. Paine         111.00
                                              regarding additional
                                              research topics
09/11/17   M.L. Thibadeau      1.30 L120      Prepare draft memorandum          481.00
                                              regarding bankruptcy
                                              issues
09/11/17   R. E. Yammine       1.80 L320      Perform document review           666.00
09/12/17   S. A. Bronder       0.30 L320      Confer with A. Cashman            111.00
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DATE       NAME                HRS TASK       DESCRIPTION                    AMOUNT
                                              regarding status of review
09/12/17   V. L. Martinez      6.00 l120      Draft narrative response for    4,200.00
                                              the SEC
09/12/17   E. D. Phillips      3.50 L650      Review documents for            1,295.00
                                              responsiveness to SEC
                                              subpoena
09/12/17   M.L. Thibadeau      0.70 L120      Correspond with A. Paine          259.00
                                              regarding research; update
                                              draft memorandum
                                              regarding bankruptcy
                                              research
09/12/17   R. E. Yammine       4.30 L320      Perform document review         1,591.00
09/13/17   V. L. Martinez      4.00 l120      Finalize draft narrative for    2,800.00
                                              the SEC
09/13/17   R. E. Yammine       0.60 L320      Perform document review           222.00
09/14/17   S. E.               0.20 L120      Confer with V. Martinez           140.00
           Lambrakopoulos                     regarding SEC investigation
09/14/17   V. L. Martinez      0.50 l120      Meet with S.                      350.00
                                              Lambrakopoulos to discuss
                                              status of draft narrative,
                                              slide presentation and
                                              Deloitte production
09/14/17   N. A. Stockey       0.60 L120      Review documents for              222.00
                                              privilege for SEC subpoena
09/15/17   S. E.               0.70 L120      Conference call with K&L          490.00
           Lambrakopoulos                     and White & Case teams
                                              regarding strategy
09/15/17   V. L. Martinez      2.40 l120      Review and revise slide         1,680.00
                                              deck for presentation to the
                                              SEC
09/15/17   V. L. Martinez      0.50 l120      Hold call with T. Ryan to         350.00
                                              discuss status of various
                                              parts of the case, including
                                              SEC productions, creditors'
                                              committee issues, and the
                                              status of the SEC narrative
09/15/17   V. L. Martinez      0.50 l120      Read agreement in support         350.00
                                              of narrative
09/15/17   V. L. Martinez      0.80 l120      Hold weekly call with co-         560.00
                                              counsel
09/15/17   V. L. Martinez      0.40 l120      Research regarding SEC            280.00
09/15/17   A. R. D. Paine      3.10 B110      Research bankruptcy issue       1,147.00
09/15/17   E. D. Phillips      1.10 L650      Review documents for              407.00
                                              responsiveness to SEC
                                              Subpoena
09/15/17   T. C. Ryan          1.50 L120      Conference calls with co-       1,050.00
                                              counsel regarding status of
                                              narrative, document review
                                              and production
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DATE       NAME               HRS TASK       DESCRIPTION                  AMOUNT
09/15/17   I. T. R. Smith     5.10 L320      Review documents for          1,887.00
                                             privilege and
                                             responsiveness to SEC
                                             subpoena
09/15/17   J. T. Waddell      2.10 L320      Review documents for            777.00
                                             privilege and
                                             responsiveness to SEC
                                             subpoena
09/15/17   R. E. Yammine      0.40 L320      Perform document review         148.00
09/17/17   E. D. Phillips     1.50 L650      Review documents for            555.00
                                             responsiveness to SEC
                                             subpoena
09/17/17   I. T. R. Smith     4.20 L320      Review documents for          1,554.00
                                             privilege and
                                             responsiveness to SEC
                                             subpoena
09/18/17   A. R. Cashman      1.10 L120      Review and edit narrative       407.00
                                             response to the SEC
09/18/17   V. L. Martinez     1.80 L120      Review documents for          1,260.00
                                             narrative response
09/18/17   N. A. Stockey      1.20 L120      Review documents for            444.00
                                             privilege for SEC subpoena
                                             response
09/18/17   M.L. Thibadeau     2.70 L120      Research case law and           999.00
                                             prepare analysis of
                                             bankruptcy issues
09/19/17   V. L. Martinez     1.20 L120      Read EPC amendments             840.00
                                             and settlement agreements
09/19/17   V. L. Martinez     1.00 L120      Review documents for            700.00
                                             narrative response
09/19/17   V. L. Martinez     1.10 L120      Review documents for            770.00
                                             narrative response
09/19/17   V. L. Martinez     2.00 L120      Review of documents for       1,400.00
                                             narrative response
09/19/17   N. A. Stockey      1.50 L120      Review documents for            555.00
                                             privilege in response to
                                             SEC subpoena
09/20/17   V. L. Martinez     0.50 L120      Meet with T. Ryan to            350.00
                                             discuss meeting with C.
                                             Weber and other
                                             developments in the case
09/20/17   A. R. D. Paine     7.20 B110      Complete researching          2,664.00
                                             regarding bankruptcy issue
09/20/17   T. C. Ryan         0.40 L110      Address production issue        280.00
09/20/17   N. A. Stockey      2.70 L120      Confer with A. Cashman          999.00
                                             regarding QU privilege
                                             review for SEC subpoena
                                             and address same
09/20/17   M.L. Thibadeau     0.70 L120      Review bankruptcy               259.00
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
                                             research and prepare email
                                             to T. Ryan regarding same
09/21/17   S. E.              0.30 L120      Review SEC proof of claim        210.00
           Lambrakopoulos
09/21/17   V. L. Martinez     2.20 L120      Review A. Cashman's            1,540.00
                                             changes to variance draft
                                             narrative
09/21/17   V. L. Martinez     2.90 L120      Pull together questions for    2,030.00
                                             meeting with C. Weber
09/21/17   V. L. Martinez     0.20 L120      Discuss accounting               140.00
                                             treatments with T. Ryan
09/21/17   V. L. Martinez     1.00 L120      Meet with C. Weber to            700.00
                                             discuss accounting
                                             treatments
09/21/17   V. L. Martinez     0.20 L120      Discuss grand jury               140.00
                                             subpoena with M. Sweeney
                                             and T. Ryan
09/21/17   V. L. Martinez     1.50 L120      Review materials provided      1,050.00
                                             by C. Weber in response to
                                             my requests
09/21/17   A. R. D. Paine     3.60 B110      Complete drafting              1,332.00
                                             memorandum on
                                             bankruptcy issue
09/21/17   T. C. Ryan         0.90 L120      Review bankruptcy filing         630.00
                                             and conference with client
09/21/17   M.L. Thibadeau     3.90 L120      Review case law research       1,443.00
                                             and revise bankruptcy
                                             issues memorandum
09/22/17   V. L. Martinez     1.20 L120      Review follow up materials       840.00
                                             provided by C. Weber
09/22/17   V. L. Martinez     0.30 L120      Review SEC bankruptcy            210.00
                                             claim
09/25/17   S. E.              0.40 L120      Emails with Hughes               280.00
           Lambrakopoulos                    Hubbard (Deloitte)
                                             regarding SEC subpoena;
                                             emails with R. Manoso
                                             regarding same
09/25/17   V. L. Martinez     2.20 L120      Review materials provided      1,540.00
                                             by C. Weber following last
                                             week's interview
09/26/17   A. R. Cashman      0.50 L320      Conference with White &          185.00
                                             Case regarding review of
                                             Japanese language
                                             documents for production to
                                             SEC
09/26/17   R. W. Manoso       4.00 L320      Perform quality review of      1,480.00
                                             privilege calls on Deloitte
                                             documents prior to
                                             production
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
09/26/17   V. L. Martinez     3.00 L120      Review materials provided        2,100.00
                                             by C. Weber
09/26/17   V. L. Martinez     2.70 L120      Revise narrative response        1,890.00
                                             for the SEC
09/26/17   V. L. Martinez     0.20 L120      Hold call with A. Cashman          140.00
                                             to discuss narrative
                                             revisions
09/27/17   A. R. Cashman      0.60 L320      Coordinate foreign                 222.00
                                             language review of
                                             documents responsive to
                                             SEC subpoena
09/27/17   R. W. Manoso       3.00 L320      Additional review of             1,110.00
                                             documents from Deloitte for
                                             privilege calls prior to
                                             production
09/27/17   V. L. Martinez     4.00 L120      Finalize draft of narrative      2,800.00
                                             response sectionS&W
                                             acquisition / ETC variance
                                             initiative based on materials
                                             provided by C. Weber
09/27/17   V. L. Martinez     0.30 L120      Send draft to C. Weber and         210.00
                                             D. Mura
09/27/17   V. L. Martinez     0.20 L120      Correspond with C. Weber           140.00
                                             regarding accounting issue
09/27/17   V. L. Martinez     2.50 L120      Read guidance provided by        1,750.00
                                             C. Weber
09/27/17   T. C. Ryan         0.50 L120      Conference with the                350.00
                                             government counsel
09/27/17   T. C. Ryan         1.10 L120      Consult with client and co-        770.00
                                             counsel regarding
                                             government request
09/28/17   E. S. Baum         4.90 L320      Review documents for             1,813.00
                                             responsiveness to SEC
                                             subpoena
09/28/17   A. R. Cashman      0.40 L320      Coordinate the review of           148.00
                                             emails responsive to SEC
                                             subpoena by co-counsel's
                                             foreign language review
                                             team
09/28/17   V. L. Martinez     2.00 L120      Review accounting                1,400.00
                                             literature provided by C.
                                             Weber
09/29/17   E. S. Baum         7.00 L320      Review documents for             2,590.00
                                             responsiveness to SEC
                                             subpoena
09/29/17   A. R. Cashman      0.60 L120      Conference with White &            222.00
                                             Case regarding status of
                                             response to SEC subpoena
                                             and strategy for moving
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DATE       NAME                 HRS TASK       DESCRIPTION                      AMOUNT
                                               forward
09/29/17   A. R. Cashman         1.00 L320     Conduct training of foreign        370.00
                                               language review team
                                               regarding privilege review
                                               of documents responsive to
                                               SEC request
09/29/17   S. E.                 0.50 L120     Participate in conference          350.00
           Lambrakopoulos                      call with White & case
09/29/17   S. E.                 0.40 L120     Telephone call with T.             280.00
           Lambrakopoulos                      Ryan, V. Martinez and A.
                                               Cashman regarding SEC
09/29/17   S. E.                 0.60 L120     Review draft from co-              420.00
           Lambrakopoulos                      counsel
09/29/17   S. E.                 0.20 L120     Emails with Hughes                 140.00
           Lambrakopoulos                      Hubbard regarding Deloitte
                                               subpoena
09/29/17   V. L. Martinez        0.70 l120     Hold weekly call with co-          490.00
                                               counsel
09/29/17   V. L. Martinez        0.20 l120     Hold call with T. Ryan, S.         140.00
                                               Lambrakopoulos and A.
                                               Cashman regarding SEC
                                               presentation
09/29/17   V. L. Martinez        2.60 l120     Read accounting guidance          1,820.00
                                               provided by C. Weber,
                                               including ASC 450 and 605
09/29/17   T. C. Ryan            1.40 L120     Update call on status of           980.00
                                               production and
                                               investigation
09/30/17   V. L. Martinez        3.30 L120     Read accounting guidance,         2,310.00
                                               ASC 805.
                            TOTAL FEES           342.10 hrs                $   164,218.00
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                               TIMEKEEPER SUMMARY

E. S. Baum                      24.90    hrs at    $    370.00   / hr          9,213.00
S. A. Bronder                    3.40    hrs at    $    370.00   / hr          1,258.00
A. R. Cashman                    6.20    hrs at    $    370.00   / hr          2,294.00
S. M. Czypinski                 27.60    hrs at    $    370.00   / hr         10,212.00
K. M. Gafner                     2.70    hrs at    $    370.00   / hr            999.00
J. A. Georges                    0.10    hrs at    $    250.00   / hr             25.00
J. A. Jay                       25.50    hrs at    $    370.00   / hr          9,435.00
M. K. Komo                       1.90    hrs at    $    370.00   / hr            703.00
S. E. Lambrakopoulos            10.10    hrs at    $    700.00   / hr          7,070.00
R. W. Manoso                     7.00    hrs at    $    370.00   / hr          2,590.00
V. L. Martinez                  87.10    hrs at    $    700.00   / hr         60,970.00
A. R. D. Paine                  17.60    hrs at    $    370.00   / hr          6,512.00
E. D. Phillips                  26.40    hrs at    $    370.00   / hr          9,768.00
M. A. Rush                       7.30    hrs at    $    700.00   / hr          5,110.00
T. C. Ryan                       9.60    hrs at    $    700.00   / hr          6,720.00
I. T. R. Smith                  27.00    hrs at    $    370.00   / hr          9,990.00
N. A. Stockey                    9.80    hrs at    $    370.00   / hr          3,626.00
M.L. Thibadeau                  16.90    hrs at    $    370.00   / hr          6,253.00
J. T. Waddell                   20.10    hrs at    $    370.00   / hr          7,437.00
R. E. Yammine                   10.90    hrs at    $    370.00   / hr          4,033.00
                       TOTAL FEES                 342.10 hrs             $   164,218.00
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                               TASK CODE SUMMARY

B110    Case Administration                     24.40   hrs              11,272.00
C100    Fact Gathering                          25.50   hrs               9,435.00
C300    Analysis and Advice                      3.40   hrs               2,380.00
L110    Fact Investigation/Development           0.40   hrs                 280.00
l110    Fact Investigation/Development           0.50   hrs                 185.00
L110    Fact Investigation/Development           2.20   hrs               1,540.00
L120    Analysis/Strategy                        6.10   hrs               3,412.00
l120    Analysis/Strategy                        3.20   hrs               2,240.00
L120    Analysis/Strategy                        4.30   hrs               1,756.00
l120    Analysis/Strategy                       18.10   hrs              12,670.00
L120    Analysis/Strategy                       33.00   hrs              17,688.00
l120    Analysis/Strategy                        3.40   hrs               2,380.00
L120    Analysis/Strategy                       23.20   hrs              14,953.00
l120    Analysis/Strategy                        6.50   hrs               4,550.00
L120    Analysis/Strategy                        1.30   hrs                 481.00
l120    Analysis/Strategy                        1.20   hrs                 840.00
L120    Analysis/Strategy                       17.80   hrs              12,460.00
l120    Analysis/Strategy                        2.80   hrs               1,960.00
L120    Analysis/Strategy                        4.80   hrs               3,360.00
l120    Analysis/Strategy                        0.70   hrs                 490.00
L120    Analysis/Strategy                        4.80   hrs               2,733.00
L320    Document Production                    111.10   hrs              41,107.00
L650    eDiscovery Review                       28.40   hrs              10,496.00
P280    Other                                   15.00   hrs               5,550.00
                          TOTAL FEES           342.10   hrs        $    164,218.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Air Fare                                                                    589.07
Long Distance Courier                                                        11.21
Pacer Research                                                                4.30
Telephone / Conference Calls / Fx Line Trans                                  2.53
Travel Expenses                                                               9.44
Westlaw Research                                                            859.21
                         DISBURSEMENTS & OTHER CHARGES             $      1,475.76
17-10751-mew                 Doc 3955-7              Filed 09/25/18 Entered 09/25/18 13:03:15                                              Exhibit Time
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                         Invoice Date                     :     October 6, 2017
 1000 Westinghouse Drive                                                               Invoice Number                   :     3437258
 Cranberry Township, PA 16066                                                          Services Through                 :     September 30, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

       Fees                                                                        $             150.00
       Disbursements and Other Charges                                             $             557.73
       Total Amount Due This Matter                                                                                                $              707.73



CURRENT INVOICE DUE - All Matters                                                                                                   $             707.73




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
17-10751-mew           Doc 3955-7         Filed 09/25/18 Entered 09/25/18 13:03:15                             Exhibit Time
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                                                                                                       Invoice # 3437258
                                                                                                                 0236915
                                                                                                              Page 2 of 2



 Subpoena Response - eDAT Fees (70030)                                                                          $707.73


                                                           FEES

DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
09/08/17         L. A. Diersen                    0.60         WEC DUKE \ WEC Bluefin: Run                        150.00
                                                               advanced searches and isolate
                                                               sets into assignments for
                                                               associate review as requested
                                                               by A. Cashman
                                    TOTAL FEES                           0.60 hrs            $                      150.00


                                             TIMEKEEPER SUMMARY

L. A. Diersen                                0.60 hrs at                  $       250.00 / hr                       150.00
                                    TOTAL FEES                                0.60 hrs                   $          150.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
09/30/17         Ringtail Fees: September 2017 Data Storage Fees: 37.18 GB @                                        557.73
                 $15.00/GB: $557.73
                                DISBURSEMENTS & OTHER CHARGES                $                                      557.73

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                                                 MATTER SUMMARY

Fees                                                                                                     $          150.00
Disbursements and Other Charges                                                                          $          557.73
MATTER TOTAL                                                                                             $          707.73
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                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      November 13, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3450606
Cranberry Township, PA 16066                                                         Services Through                      :      October 31, 2017




 0236915.00030          Subpoena Response


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $       132,008.00
Disbursements and Other Charges                                                                                                          $         1,546.02

CURRENT INVOICE DUE                                                                                                                      $       133,554.02




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
10/02/17   E. S. Baum         2.10 L320       Review documents for             777.00
                                              responsiveness to SEC
                                              subpoena
10/02/17   A. R. Cashman      2.40 L320       Review documents for              888.00
                                              privilege for production to
                                              the SEC pursuant to
                                              subpoena request
10/02/17   S. E.              0.30 L120       Confer with R. Manoso             210.00
           Lambrakopoulos                     regarding Deloitte privilege
                                              review
10/02/17   S. E.              0.40 L120       Various emails with A.            280.00
           Lambrakopoulos                     Cashman regarding
                                              privilege questions
10/02/17   S. E.              0.40 L120       Various emails regarding          280.00
           Lambrakopoulos                     SEC investigation
10/02/17   V. L. Martinez     0.30 L120       Correspond with and call A.       210.00
                                              Cashman regarding request
                                              from co-counsel for certain
                                              example documents
10/02/17   V. L. Martinez     0.20 L120       Review example                    140.00
                                              documents
10/03/17   A. R. Cashman      3.20 L320       Review documents for            1,184.00
                                              privilege in response to
                                              SEC subpoena
10/03/17   E. J. Glover       1.50 L470       Review materials regarding        555.00
                                              SEC procedural issues
10/03/17   E. J. Glover       0.80 L470       Draft memo summarizing            296.00
                                              SEC procedural issues
10/03/17   J. A. Jay          1.60 C100       Review and redact                 592.00
                                              responsive documents for
                                              privilege
10/03/17   S. E.              0.40 L120       Various emails with V.            280.00
           Lambrakopoulos                     Martinez and E. Glover
                                              regarding SEC investigative
                                              process
10/03/17   S. E.              0.80 L120       Review research memo on           560.00
           Lambrakopoulos                     bankruptcy discharge
                                              issues relating to SEC
                                              investigation
10/03/17   V. L. Martinez     0.20 L120       Correspond with T. Ryan           140.00
                                              regarding SEC procedures
                                              and other issues
10/03/17   V. L. Martinez     0.20 L120       Hold call with E. Glover          140.00
                                              regarding the same
10/03/17   V. L. Martinez     0.20 L120       Meet with S.                      140.00
                                              Lambrakopoulos regarding
                                              the same and selecting
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             materials to send to E.
                                             Glover
10/03/17   V. L. Martinez     0.10 L120      Correspond with A.                  70.00
                                             Cashman regarding
                                             sending certain example
                                             communications to co-
                                             counsel
10/03/17   V. L. Martinez     0.10 L120      Correspond with T. Ryan             70.00
                                             regarding representing
                                             former employee and other
                                             issues
10/03/17   T. C. Ryan         0.80 L120      Coordinate representation         560.00
                                             for witness
10/04/17   J. A. Georges      0.80 C100      Prepare final research            200.00
                                             memos at the request of V.
                                             Martinez, T. Ryan
10/04/17   J. A. Georges      0.10 C100      Communications with M.              25.00
                                             Thibadeau regarding
                                             confirmation of final draft
                                             research memos
10/04/17   J. A. Georges      0.10 C100      Draft team email message            25.00
                                             regarding same
10/04/17   E. J. Glover       1.00 L470      Review materials regarding        370.00
                                             SEC procedure
10/04/17   E. J. Glover       1.50 L470      Draft memo summarizing            555.00
                                             SEC procedure
10/04/17   S. E.              0.20 L120      Various emails regarding          140.00
           Lambrakopoulos                    SEC investigation
10/04/17   S. E.              1.40 L120      Research prior SEC                980.00
           Lambrakopoulos                    enforcement proceedings
                                             on related matters
10/04/17   V. L. Martinez     0.20 L120      Correspond with J.                140.00
                                             Georges regarding
                                             organization of case file
10/04/17   T. C. Ryan         2.80 L120      Review and markup draft         1,960.00
                                             slide deck
10/05/17   S. E.              0.30 L120      Confer with R. Manoso             210.00
           Lambrakopoulos                    regarding Deloitte
                                             subpoena and document
                                             review
10/05/17   S. E.              0.30 L120      Various emails with Deloitte      210.00
           Lambrakopoulos                    counsel regarding same
10/05/17   S. E.              1.70 L120      Revise memo regarding           1,190.00
           Lambrakopoulos                    SEC investigative process
                                             issues
10/05/17   S. E.              0.80 L120      Participate in conference         560.00
           Lambrakopoulos                    call with co-counsel
                                             regarding investigation and
                                             related issues
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
10/05/17   V. L. Martinez     3.00 L120      Review and revise memo          2,100.00
                                             on SEC procedure
10/05/17   V. L. Martinez     0.10 L120      Correspond with client              70.00
                                             regarding the status of
                                             narrative review
10/05/17   V. L. Martinez     0.70 L120      Hold call with team               490.00
                                             regarding strategy for
                                             responding to SEC's
                                             testimony requests
10/06/17   J. A. Georges      0.50 C100      Prepare final                     125.00
                                             memorandums for attorney
                                             review at the request of V.
                                             Martinez
10/06/17   J. A. Jay          0.80 C100      Review documents for              296.00
                                             privilege
10/06/17   S. E.              0.40 L120      Review and revise memo            280.00
           Lambrakopoulos                    regarding SEC investigative
                                             process
10/06/17   S. E.              0.60 L120      Various emails regarding          420.00
           Lambrakopoulos                    related matters
10/06/17   S. E.              0.40 L120      Emails with counsel               280.00
           Lambrakopoulos                    regarding Deloitte SEC
                                             subpoena
10/09/17   S. E.              1.30 L120      Review investigative              910.00
           Lambrakopoulos                    materials
10/09/17   S. E.              0.30 L120      Various emails with T. Ryan       210.00
           Lambrakopoulos                    and V. Martinez regarding
                                             same
10/09/17   S. E.              0.40 L120      Various emails with Deloitte      280.00
           Lambrakopoulos                    regarding privilege review
10/10/17   S. E.              0.40 L120      Various emails regarding          280.00
           Lambrakopoulos                    SEC investigation
10/10/17   S. E.              0.60 L120      Conference with R. Manoso         420.00
           Lambrakopoulos                    regarding privilege review
                                             of Deloitte documents
10/10/17   S. E.              2.30 L120      Work on review of Deloitte      1,610.00
           Lambrakopoulos                    documents
10/11/17   A. R. Cashman      0.40 L120      Coordinate the review and         148.00
                                             production of documents
                                             response to SEC request
10/11/17   V. L. Martinez     0.30 L120      Correspond with co-counsel        210.00
                                             regarding preparations for
                                             testimony
10/11/17   T. C. Ryan         0.80 L120      Conference with the               560.00
                                             government and follow-up
                                             with client regarding
                                             government request
10/12/17   A. R. Cashman      1.10 L120      Conference with T. Ryan           407.00
                                             regarding status of
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DATE       NAME               HRS TASK       DESCRIPTION                      AMOUNT
                                             subpoena response and
                                             production of documents
10/12/17   S. E.              0.30 L120      Confer with V. Martinez             210.00
           Lambrakopoulos                    regarding investigation
10/12/17   S. E.              0.50 L120      Review related materials            350.00
           Lambrakopoulos
10/12/17   V. L. Martinez     0.10 L120      Follow up with co-counsel             70.00
                                             regarding email to
                                             government
10/12/17   V. L. Martinez     0.30 L120      Correspond and hold call            210.00
                                             with T. Ryan on co-
                                             counsel's edits to draft
                                             email
10/12/17   V. L. Martinez     0.60 L120      Prepare plan of action for          420.00
                                             upcoming SEC activities
10/12/17   T. C. Ryan         0.80 L120      Review and revise draft             560.00
                                             correspondence with the
                                             government
10/12/17   T. C. Ryan         0.50 L120      Conference with counsel for         350.00
                                             auditor
10/13/17   A. R. Cashman      0.70 L120      Conference with co-counsel          259.00
                                             regarding status of
                                             subpoena response and
                                             preparation for meeting with
                                             SEC
10/13/17   S. E.              0.70 L120      Participate in conference           490.00
           Lambrakopoulos                    call with co-counsel
                                             regarding SEC investigation
10/13/17   S. E.              0.80 L120      Participate in conference           560.00
           Lambrakopoulos                    call with counsel for Deloitte
10/13/17   S. E.              0.20 L120      Email to team regarding             140.00
           Lambrakopoulos                    conference with Deloitte
                                             counsel
10/13/17   S. E.              0.50 L120      Various emails with team            350.00
           Lambrakopoulos                    regarding investigation
10/13/17   V. L. Martinez     1.00 L120      Build list of tasks to prepare      700.00
                                             for upcoming SEC
                                             presentation and testimony
10/13/17   V. L. Martinez     0.20 L120      Email client seeking update         140.00
                                             on review of narrative
                                             response and update T.
                                             Ryan regarding the same
10/13/17   V. L. Martinez     0.50 L120      Send email to counsel for           350.00
                                             former employee regarding
                                             SEC investigation
10/13/17   V. L. Martinez     1.00 L120      Hold call with co-counsel on        700.00
                                             upcoming tasks for
                                             interacting with the SEC,
                                             most notably including
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
                                             plans for an upcoming
                                             presentation before
                                             testimony begins
10/13/17   V. L. Martinez     0.40 L120      Hold call and send markup          280.00
                                             of last draft of slides to T.
                                             Ryan
10/13/17   T. C. Ryan         1.10 L120      Prepare for and conference         770.00
                                             with co-counsel
10/13/17   T. C. Ryan         1.50 L120      Review audited balance           1,050.00
                                             sheet and consider impact
                                             on investigation
10/15/17   A. R. Cashman      0.20 L320      Coordinate production of             74.00
                                             documents responsive to
                                             SEC subpoena
10/16/17   A. R. Cashman      0.40 L320      Review production checklist        148.00
                                             for production responsive to
                                             SEC subpoena
10/16/17   S. E.              0.30 L120      Various emails with T. Ryan        210.00
           Lambrakopoulos                    and V. Martinez regarding
                                             investigation
10/16/17   V. L. Martinez     0.50 L120      Draft response to question         350.00
                                             posed by SEC and
                                             correspond with S.
                                             Lambrakopoulos, T. Ryan
                                             and A. Cashman regarding
                                             the same
10/16/17   T. C. Ryan         1.70 L120      Review government                1,190.00
                                             correspondence and confer
                                             with co-counsel regarding
                                             same
10/17/17   J. A. Georges      1.00 L320      Prepare document                   250.00
                                             production to SEC
10/17/17   S. E.              1.20 L120      Prepare talking points for         840.00
           Lambrakopoulos                    Board meeting
10/17/17   S. E.              1.40 L120      Review Deloitte documents          980.00
           Lambrakopoulos                    for SEC subpoena
10/17/17   S. E.              0.20 L120      Emails with T. Ryan                140.00
           Lambrakopoulos                    regarding Board talking
                                             points
10/17/17   V. L. Martinez     0.70 L120      Correspond and hold calls          490.00
                                             with consultant regarding
                                             status of the SEC matter
                                             and questions to consider
                                             in reviewing the draft
                                             narrative response
10/17/17   V. L. Martinez     0.10 L120      Correspond with partners             70.00
                                             regarding timing of
                                             presentation to SEC
10/17/17   T. C. Ryan         4.70 L120      Review and revise draft          3,290.00
                                             slide deck for potential
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             meeting
10/18/17   C. H. Bell         1.00 C100      Review and edit procedures        370.00
                                             for creation of witness kits
10/18/17   C. H. Bell         1.30 C100      Review work product and           481.00
                                             begin draft of memoranda
                                             summarizing witness
                                             information
10/18/17   S. E.              0.30 L120      Confer with V. Martinez           210.00
           Lambrakopoulos                    regarding investigation
10/18/17   T. C. Ryan         5.70 L120      Review factual narratives       3,990.00
                                             and supporting
                                             documentation in
                                             preparation of meeting with
                                             government
10/19/17   C. H. Bell         2.60 C100      Meet with A. Cashman and          962.00
                                             others to discuss strategy
                                             for creation of witness kits
                                             and for witness interviews
10/19/17   A. R. Cashman      1.90 L110      Coordinate the review of          703.00
                                             documents in preparation
                                             for interviews of WEC
                                             personnel by the SEC
10/19/17   K. M. Gafner       0.80 L320      Coordinate collection,            296.00
                                             review, and production of
                                             documents responsive to
                                             SEC subpoena
10/19/17   J. A. Kephart      0.50 L110      Prepare for and correspond        185.00
                                             with A. Cashman regarding
                                             SEC interview preparation
10/19/17   J. A. Kephart      1.20 L110      Review document                   444.00
                                             production in preparation
                                             for SEC interviews
10/19/17   S. E.              0.40 L120      Various emails with T. Ryan       280.00
           Lambrakopoulos                    and V. Martinez regarding
                                             SEC investigation
10/19/17   V. L. Martinez     0.10 L120      Coordinate with S.                  70.00
                                             Lambrakopoulos regarding
                                             upcoming meeting with
                                             counsel for former
                                             employee
10/19/17   V. L. Martinez     0.30 L120      Correspond with client            210.00
                                             regarding narrative
                                             response
10/19/17   V. L. Martinez     1.00 L120      Review comments to                700.00
                                             narrative response
10/19/17   V. L. Martinez     0.30 L120      Gather and send white             210.00
                                             papers to consultant for
                                             review
10/19/17   V. L. Martinez     0.40 L120      Correspond with S.                280.00
                                             Lambrakopoulos, T. Ryan
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
                                             and A. Cashman regarding
                                             work product assertion
10/19/17   V. L. Martinez     0.20 L120      Correspond with counsel          140.00
                                             regarding witness prep
10/19/17   W. A. Prichard     1.20 L320      Review document                  444.00
                                             production in preparation
                                             for SEC interviews
10/19/17   T. C. Ryan         6.80 L120      Review and revise narrative    4,760.00
                                             and slide deck for
                                             presentation
10/20/17   A. R. Cashman      1.00 L120      Prepare for and attend           370.00
                                             status conference with co-
                                             counsel regarding response
                                             to SEC subpoenas
10/20/17   A. R. Cashman      0.70 L120      Conference with T. Ryan          259.00
                                             regarding November
                                             PowerPoint presentation to
                                             the SEC
10/20/17   A. R. Cashman      2.70 L120      Edit powerpoint                  999.00
                                             presentation to SEC
10/20/17   A. R. Cashman      2.60 L120      Coordinate the review of         962.00
                                             documents and preparation
                                             for witness interviews by
                                             the SEC
10/20/17   K. M. Gafner       2.90 L320      Coordinate collection,         1,073.00
                                             review, and production of
                                             documents responsive to
                                             SEC subpoena
10/20/17   J. A. Kephart      1.80 L110      Review document                  666.00
                                             production in preparation
                                             for SEC interviews
10/20/17   S. E.              1.10 L120      Conference call with co-         770.00
           Lambrakopoulos                    counsel regarding
                                             investigation
10/20/17   S. E.              1.20 L120      Research privilege relating      840.00
           Lambrakopoulos                    to investigative report and
                                             related communications
10/20/17   S. E.              0.60 L120      Various emails with team         420.00
           Lambrakopoulos                    regarding SEC investigation
10/20/17   S. E.              0.40 L120      Telephone call with T. Ryan      280.00
           Lambrakopoulos                    regarding same
10/20/17   S. E.              0.20 L120      Confer with V. Martinez          140.00
           Lambrakopoulos                    regarding same
10/20/17   S. E.              1.00 L120      Review related research          700.00
           Lambrakopoulos
10/20/17   V. L. Martinez     0.50 L120      Review draft of narrative        350.00
                                             with comments from client
                                             and discuss same with T.
                                             Ryan
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
10/20/17   V. L. Martinez     0.10 L120      Correspond with client            70.00
                                             regarding timing of SEC
                                             testimony
10/20/17   V. L. Martinez     0.30 L120      Review SEC background              210.00
                                             questionnaire
10/20/17   V. L. Martinez     1.60 L120      Review edits and hold call       1,120.00
                                             to discuss the draft
                                             narrative response
10/20/17   V. L. Martinez     0.40 L120      Review edits to the                280.00
                                             narrative response provided
                                             by client
10/20/17   V. L. Martinez     1.30 L120      Hold weekly call with co-          910.00
                                             counsel
10/20/17   V. L. Martinez     0.30 L120      Send T. Ryan email                 210.00
                                             discussing same
10/20/17   T. C. Ryan         6.60 L120      Review and revise slide          4,620.00
                                             deck for presentation
10/20/17   T. C. Ryan         1.20 L120      Conference with co-counsel         840.00
                                             regarding status of
                                             investigation
10/21/17   A. R. Cashman      3.20 L120      Edit powerpoint                  1,184.00
                                             presentation for meeting
                                             with SEC
10/21/17   S. E.              1.20 L120      Review draft SEC                   840.00
           Lambrakopoulos                    presentation
10/21/17   S. E.              0.30 L120      Various emails regarding           210.00
           Lambrakopoulos                    same
10/21/17   S. E.              0.30 L120      Emails with V. Martinez            210.00
           Lambrakopoulos                    regarding SEC testimony
10/21/17   S. E.              1.40 L120      Review report on                   980.00
           Lambrakopoulos                    preparation for testimony
10/21/17   V. L. Martinez     4.50 L120      Incorporate comments into        3,150.00
                                             draft narrative
10/21/17   V. L. Martinez     0.20 L120      Correspond with S.                 140.00
                                             Lambrakopoulos and T.
                                             Ryan regarding preparing
                                             for testimony
10/21/17   V. L. Martinez     0.30 L120      Hold call with counsel for         210.00
                                             former employee
10/22/17   V. L. Martinez     0.50 L120      Provide draft narrative            350.00
                                             response to S.
                                             Lambrakopoulos and
                                             discuss issues that need to
                                             be addressed in review
10/22/17   V. L. Martinez     0.50 L120      Review current draft of slide      350.00
                                             presentation and provide
                                             comments to S.
                                             Lambrakopoulos and A.
                                             Cashman
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
10/22/17   V. L. Martinez     0.10 L120      Correspond with client            70.00
10/23/17   C. H. Bell         0.30 C100      Correspond with J. Kephart       111.00
                                             and support staff regarding
                                             construction of witness kits
10/23/17   A. R. Cashman      2.10 L120      Coordinate the preparation        777.00
                                             for witness interviews and
                                             the SEC November
                                             meeting
10/23/17   K. M. Gafner       0.80 L320      Coordinate collection,            296.00
                                             review, and production of
                                             documents responsive to
                                             SEC subpoena
10/23/17   J. A. Kephart      4.40 L110      Review document                 1,628.00
                                             production in preparation
                                             for SEC interviews
10/23/17   J. A. Kephart      0.70 L120      Prepare for and correspond        259.00
                                             with counsel for former
                                             employees regarding
                                             subpoena response
10/23/17   S. E.              2.20 L120      Revise presentation for         1,540.00
           Lambrakopoulos                    SEC meeting
10/23/17   S. E.              1.60 L120      Review narrative response       1,120.00
           Lambrakopoulos                    for SEC submission
10/23/17   V. L. Martinez     0.40 L120      Hold calls and correspond         280.00
                                             with client
10/23/17   V. L. Martinez     1.50 L120      Prepare for and hold call       1,050.00
                                             with co-counsel and
                                             counsel for former
                                             employee
10/24/17   C. H. Bell         6.10 C100      Discuss process and             2,257.00
                                             procedure for construction
                                             of witness kits and prepare
                                             same
10/24/17   A. R. Cashman      4.40 L120      Prepare materials for SEC       1,628.00
                                             meeting and witness
                                             interviews
10/24/17   K. M. Gafner       1.00 L320      Coordinate collection,            370.00
                                             review, and production of
                                             documents responsive to
                                             SEC subpoena
10/24/17   J. A. Georges      0.20 L120      Attend team status                 50.00
                                             conference
10/24/17   J. A. Jay          1.40 C100      Review documents to               518.00
                                             complete witness kit
10/24/17   J. A. Kephart      5.90 C100      Review document                 2,183.00
                                             production in preparation
                                             for SEC interviews
10/24/17   S. E.              0.30 L120      Emails with clients and           210.00
           Lambrakopoulos                    team regarding SEC
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15      Exhibit Time
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
                                             meeting
10/24/17   S. E.              0.60 L120      Revise presentation per          420.00
           Lambrakopoulos                    client comments
10/24/17   S. E.              1.20 L120      Review draft narrative for       840.00
           Lambrakopoulos                    SEC
10/24/17   S. E.              1.20 L120      Review documents and             840.00
           Lambrakopoulos                    report in relation to SEC
                                             witness preparation
10/24/17   M. A. Rush         3.90 B110      Review materials on SEC        2,730.00
                                             investigation to defend M.
                                             Sweeney deposition
10/25/17   C. H. Bell         0.60 C100      Continue review of               222.00
                                             evidence for inclusion in
                                             witness kit
10/25/17   J. A. Jay          3.90 C100      Review documents to            1,443.00
                                             complete witness kit
10/25/17   S. E.              2.80 L120      Review and revise narrative    1,960.00
           Lambrakopoulos                    and review related
                                             accounting literature and
                                             guidance
10/25/17   S. E.              0.40 L120      Confer with V. Martinez          280.00
           Lambrakopoulos                    regarding same
10/25/17   S. E.              0.60 L120      Various emails regarding         420.00
           Lambrakopoulos                    testimony
10/25/17   S. E.              2.40 L120      Research accounting SEC        1,680.00
           Lambrakopoulos                    enforcement actions
10/25/17   V. L. Martinez     0.40 L120      Meet with S.                     280.00
                                             Lambrakopoulos to discuss
                                             the draft narrative
10/25/17   V. L. Martinez     2.30 L120      Revise narrative response      1,610.00
10/25/17   M. A. Rush         2.90 L330      Review materials for           2,030.00
                                             deposition prep of client
10/26/17   A. R. Cashman      0.50 L120      Correspond with V.               185.00
                                             Martinez and T. Ryan
                                             regarding narrative
                                             response to the SEC
10/26/17   J. A. Jay          2.40 C100      Review documents to              888.00
                                             complete witness kit
10/26/17   J. A. Kephart      0.50 L110      Review documents                 185.00
                                             produced to the SEC in
                                             preparation for witness
                                             interviews
10/26/17   S. E.              1.30 L120      Revise narrative response        910.00
           Lambrakopoulos                    to SEC
10/26/17   S. E.              1.70 L120      Review SEC enforcement         1,190.00
           Lambrakopoulos                    actions relating to
                                             acquisition accounting and
                                             goodwill impairment
10/26/17   S. E.              0.30 L120      Various emails with team         210.00
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
           Lambrakopoulos                    regarding SEC
10/26/17   V. L. Martinez     0.40 L120      Send background materials         280.00
                                             to consultant to help with
                                             narrative response
10/26/17   V. L. Martinez     5.00 L120      Incorporate revisions from      3,500.00
                                             multiple parties into draft
                                             narrative response
10/26/17   V. L. Martinez     0.50 L120      Draft questions for T. Ryan       350.00
10/26/17   V. L. Martinez     0.20 L120      Correspond with T. Ryan           140.00
                                             and other parties regarding
                                             former employee
10/26/17   V. L. Martinez     1.00 L120      Revise draft talking points       700.00
                                             drafted by A. Cashman
10/26/17   V. L. Martinez     0.20 L120      Correspond with A.                140.00
                                             Cashman regarding
                                             questions of privilege
10/26/17   V. L. Martinez     0.20 L120      Correspond with A.                140.00
                                             Cashman and M. Rush
                                             regarding the same
10/26/17   V. L. Martinez     0.30 L120      Send same to client               210.00
10/27/17   E. J. Glover       2.20 L470      Review documents for              814.00
                                             witness binder creation
10/27/17   J. A. Jay          3.50 C100      Review documents to             1,295.00
                                             complete witness kit
10/27/17   S. E.              0.80 L120      Conference call with co-          560.00
           Lambrakopoulos                    counsel regarding strategy
10/27/17   S. E.              0.60 L120      Review related issues             420.00
           Lambrakopoulos
10/27/17   S. E.              1.20 L120      Review Deloitte non-              840.00
           Lambrakopoulos                    privileged documents
10/27/17   V. L. Martinez     0.80 L120      Hold weekly call with co-         560.00
                                             counsel
10/27/17   V. L. Martinez     0.20 L120      Circulate draft narrative         140.00
10/27/17   V. L. Martinez     0.20 L120      Draft and send notes of call      140.00
                                             to KLG team
10/27/17   V. L. Martinez     0.10 L120      Correspond with client             70.00
                                             regarding rescheduling
                                             meeting
10/27/17   V. L. Martinez     0.10 L120      Correspond with co-counsel         70.00
                                             team about SCANA
                                             subpoena
10/27/17   V. L. Martinez     0.10 L120      Correspond with A.                 70.00
                                             Cashman regarding
                                             production to SEC
10/27/17   V. L. Martinez     0.70 L120      Gather and send                   490.00
                                             shareholder and put option
                                             agreements to co-counsel
10/30/17   A. R. Cashman      2.40 L310      Coordinate the review and         888.00
                                             production of documents
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                responsive to the SEC
                                                subpoena
10/30/17   E. J. Glover          1.50 L470      Review and prepare                555.00
                                                witness kit materials
10/30/17   J. A. Kephart         4.40 L110      Review documents                1,628.00
                                                produced to the SEC in
                                                preparation for witness
                                                interviews
10/30/17   S. E.                 1.50 L120      Review Deloitte documents       1,050.00
           Lambrakopoulos                       for SEC production
10/30/17   V. L. Martinez        0.30 L120      Correspond with A.                210.00
                                                Cashman regarding
                                                corporate agreements
10/30/17   V. L. Martinez        0.20 L120      Correspond with N. Stockey        140.00
                                                regarding agenda for next
                                                team conference call
10/31/17   A. R. Cashman         5.70 L320      Review documents                2,109.00
                                                responsive to the SEC
                                                requests for privilege and
                                                coordinate the drafting of a
                                                privilege log
10/31/17   J. A. Georges         0.40 L110      Conference with A.                100.00
                                                Cashman regarding drafting
                                                financial events,
                                                transactions timeline
10/31/17   E. J. Glover          1.80 L470      Review documents for              666.00
                                                witness kit creation
10/31/17   J. A. Kephart         3.80 L110      Review documents                1,406.00
                                                produced to SEC in
                                                preparation for witness
                                                interviews
10/31/17   S. E.                 0.30 L120      Various emails with team          210.00
           Lambrakopoulos                       regarding SEC presentation
10/31/17   S. E.                 1.50 L120      Research SEC                    1,050.00
           Lambrakopoulos                       enforcement actions
10/31/17   W. A. Prichard        0.80 C100      Commence review of                296.00
                                                background information in
                                                preparation for review
                                                document production in
                                                preparation for SEC
                                                interviews
10/31/17   D. J. Veintimilla     0.50 B110      Review background                 185.00
                                                materials on WEC/SEC
                                                matter
10/31/17   D. J. Veintimilla     1.00 B110      Meet with A. Cashman              370.00
                                                regarding details of the
                                                WEC/SEC matter
10/31/17   D. J. Veintimilla     0.20 B110      Review procedure for               74.00
                                                compiling witness kit
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                         TOTAL FEES                240.50 hrs             $   132,008.00


                               TIMEKEEPER SUMMARY

E. S. Baum                         2.10   hrs at    $    370.00   / hr            777.00
C. H. Bell                        11.90   hrs at    $    370.00   / hr          4,403.00
A. R. Cashman                     35.60   hrs at    $    370.00   / hr         13,172.00
K. M. Gafner                       5.50   hrs at    $    370.00   / hr          2,035.00
J. A. Georges                      3.10   hrs at    $    250.00   / hr            775.00
E. J. Glover                      10.30   hrs at    $    370.00   / hr          3,811.00
J. A. Jay                         13.60   hrs at    $    370.00   / hr          5,032.00
J. A. Kephart                     23.20   hrs at    $    370.00   / hr          8,584.00
S. E. Lambrakopoulos              50.70   hrs at    $    700.00   / hr         35,490.00
V. L. Martinez                    39.00   hrs at    $    700.00   / hr         27,300.00
W. A. Prichard                     2.00   hrs at    $    370.00   / hr            740.00
M. A. Rush                         6.80   hrs at    $    700.00   / hr          4,760.00
T. C. Ryan                        35.00   hrs at    $    700.00   / hr         24,500.00
D. J. Veintimilla                  1.70   hrs at    $    370.00   / hr            629.00
                         TOTAL FEES                240.50 hrs             $   132,008.00



                                TASK CODE SUMMARY

B110     Case Administration                         5.60   hrs                 3,359.00
C100     Fact Gathering                             33.70   hrs                12,289.00
L110     Fact Investigation/Development             18.90   hrs                 6,945.00
L120     Analysis/Strategy                         145.00   hrs                94,777.00
L310     Written Discovery                           2.40   hrs                   888.00
L320     Document Production                        21.70   hrs                 7,909.00
L330     Depositions                                 2.90   hrs                 2,030.00
L470     Enforcement                                10.30   hrs                 3,811.00
                           TOTAL FEES              240.50   hrs           $   132,008.00


                        DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                    AMOUNT
Copying Expense                                                                     2.50
Lexis Research                                                                    866.09
Long Distance Courier                                                              72.65
Pacer Research                                                                      7.00
Telephone / Conference Calls / Fx Line Trans                                        1.90
Travel Expenses                                                                   511.26
Travel Related Meals                                                               84.62
                         DISBURSEMENTS & OTHER CHARGES                    $     1,546.02
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                         Invoice Date                     :     November 13, 2017
 1000 Westinghouse Drive                                                               Invoice Number                   :     3452990
 Cranberry Township, PA 16066                                                          Services Through                 :     October 31, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

       Fees                                                                        $         5,250.00
       Disbursements and Other Charges                                             $         1,562.53
       Total Amount Due This Matter                                                                                                $           6,812.53



CURRENT INVOICE DUE - All Matters                                                                                                   $          6,812.53




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
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 Subpoena Response - eDAT Fees (70030)                                          $6,812.53


                                         FEES

DATE       NAME                 HOURS      DESCRIPTION                           AMOUNT
10/10/17   L. A. Diersen         0.70      Run advanced searches and               175.00
                                           isolate results into binder as
                                           requested by A. Cashman in
                                           anticipation of third party review
10/11/17   L. A. Diersen          0.20     Update workflow permissions as            50.00
                                           requested by Eco-counsel
10/17/17   K. R. Slavik           0.90     Analyze documents confirming             225.00
                                           compliance with WEC SEC 007
                                           document production
                                           specifications
10/17/17   K. R. Slavik           0.30     Analyze and review production             75.00
                                           media
10/17/17   R. P. Treglia          3.40     Electronically produce ESI to            850.00
                                           the SEC from Ringtail per the
                                           request of A. Cashman
10/17/17   R. P. Treglia          4.20     Electronically produce ESI from        1,050.00
                                           Ringtail to meet the SEC
                                           requirements per the request of
                                           A. Cashman
10/19/17   K. R. Slavik           0.40     Coordinate information to                100.00
                                           establish user permissions in
                                           Ringtail database for new users
                                           in preparation for review
10/20/17   L. A. Diersen          0.40     Run advanced searches and                100.00
                                           isolate foreign language
                                           production set as requested by
                                           A. Cashman
10/23/17   L. A. Diersen          0.90     WEC SEC: Export documents to             225.00
                                           pdf in anticipation of meeting as
                                           requested by co-counsel
10/23/17   L. A. Diersen          1.80     WEC SEC Subpoena: run                    450.00
                                           advanced searches and compile
                                           witness kit binders
10/24/17   L. A. Diersen          1.90     WEC SEC Subpoena: strategize             475.00
                                           with W. Prichard, R. Yammine,
                                           E. Glover, and J. Veintimilla in
                                           regards to navigating ringtail
                                           and performing searched for
                                           "witness kits"
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DATE            NAME                   HOURS      DESCRIPTION                          AMOUNT
10/24/17        L. A. Diersen           0.70      WEC SEC Subpoena: run                  175.00
                                                  advanced searches and isolate
                                                  and prepare documents for
                                                  production "WEC SEC 008" as
                                                  requested by A. Cashman
10/25/17        L. A. Diersen            0.40     WEC SEC Subpoena: run                   100.00
                                                  advanced searches and isolate
                                                  witness kit binder for Benjamin
                                                  documents for Pillsbury as
                                                  requested by A. Cashman
10/27/17        L. A. Diersen            2.50     WEC SEC: Electronically                 625.00
                                                  produce "WEC SEC 008" out of
                                                  litigation support database per
                                                  the request of A. Cashman for
                                                  production to opposition
10/27/17        K. R. Slavik             0.70     Analyze documents confirming            175.00
                                                  compliance with WEC SEC 008
                                                  document production
                                                  specifications
10/27/17        K. R. Slavik             0.20     Analyze and review production            50.00
                                                  media
10/30/17        L. A. Diersen            0.60     WEC SEC Subpoena: Export                150.00
                                                  draft privilege log as requested
                                                  by J. Chiccarino and A.
                                                  Cashman
10/31/17        C. T. Field              0.80     Search for non-produced                 200.00
                                                  documents which have been
                                                  marked for privilege redaction,
                                                  create a Ringtail binder of
                                                  search results and family
                                                  members, then make binder
                                                  available for review
                                TOTAL FEES                  21.00 hrs              $     5,250.00


                                     TIMEKEEPER SUMMARY

L. A. Diersen                            10.10   hrs at   $    250.00    / hr           2,525.00
C. T. Field                               0.80   hrs at   $    250.00    / hr             200.00
K. R. Slavik                              2.50   hrs at   $    250.00    / hr             625.00
R. P. Treglia                             7.60   hrs at   $    250.00    / hr           1,900.00
                                TOTAL FEES                21.00 hrs               $     5,250.00
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                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
10/31/17         ESI Conversion: Convert 1.14009 GB to TIFF images @ $500/GB:                                       570.04
                 $570.04
10/31/17         Ringtail Fees: October 2017 Data Storage Fees: 39.50 GB @                                          592.49
                 $15.00/GB: $592.49
10/31/17         Ringtail Fees: October 2017 8 Web Licenses @ $50/month:                                            400.00
                 $400.00
                                DISBURSEMENTS & OTHER CHARGES                $                                    1,562.53

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                                                 MATTER SUMMARY

Fees                                                                                                     $        5,250.00
Disbursements and Other Charges                                                                          $        1,562.53
MATTER TOTAL                                                                                             $        6,812.53
17-10751-mew          Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                               Entries Part 1 Pg 179 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      December 14, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3464382
Cranberry Township, PA 16066                                                         Services Through                      :      November 30, 2017




 0236915.00030          Subpoena Response


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $       233,835.00
Disbursements and Other Charges                                                                                                          $         2,072.60

CURRENT INVOICE DUE                                                                                                                      $       235,907.60




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
11/01/17   A. R. Cashman      0.50 L120       Conference with team             185.00
                                              regarding status of
                                              response to subpoena and
                                              preparation for SEC
                                              meetings
11/01/17   A. R. Cashman      1.40 L320       Coordinate the collection,        518.00
                                              production, and review of
                                              documents responsive to
                                              the SEC requests
11/01/17   K. M. Gafner       0.40 L320       Coordinate collection,            148.00
                                              review, and production of
                                              documents responsive to
                                              SEC subpoena
11/01/17   J. A. Georges      0.20 C100       Attend team status                  50.00
                                              conference
11/01/17   J. A. Georges      0.30 C100       Prepare SEC timeline                75.00
                                              presentation
11/01/17   J. A. Georges      0.10 C100       Communications with IT              25.00
                                              regarding same
11/01/17   J. A. Jay          3.80 C100       Complete witness kit            1,406.00
11/01/17   J. A. Kephart      1.90 L110       Review documents                  703.00
                                              produced to SEC in
                                              preparation for upcoming
                                              witness interviews
11/01/17   S. E.              0.30 L120       Conference with V.                210.00
           Lambrakopoulos                     Martinez regarding SEC
                                              meeting and related issues
11/01/17   V. L. Martinez     0.20 L120       Call with co-counsel to           140.00
                                              discuss timing of SEC
                                              presentation, and timing of
                                              drafts of slide deck and
                                              narrative response
11/01/17   V. L. Martinez     0.10 L120       Call with counsel regarding         70.00
                                              conversations with former
                                              employee clients
11/02/17   C. H. Bell         0.70 C100       Coordinate with A.                259.00
                                              Cashman and A.
                                              McCullough regarding
                                              preparation of witness kits
                                              to be used and referenced
                                              by senior attorneys
                                              preparing for and attending
                                              witness interviews with
                                              government
11/02/17   A. R. Cashman      0.50 L320       Coordinate the production         185.00
                                              of documents and the
                                              privilege log for documents
                                              responsive to the SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
                                                subpoena
11/02/17   K. M. Gafner          0.60 L320      Coordinate collection,             222.00
                                                review, and production of
                                                documents responsive to
                                                SEC Subpoena request
11/02/17   J. A. Georges         1.30 L110      Prepare SEC presentation           325.00
                                                timeline
11/02/17   J. A. Georges         0.20 L110      Communications with T.               50.00
                                                Ryan regarding subpoenas
                                                for employees,
                                                questionnaires for same
11/02/17   J. A. Jay             2.80 C100      Complete witness kit             1,036.00
11/02/17   S. E.                 1.30 L120      Work on issues relating to         910.00
           Lambrakopoulos                       SEC presentation
11/02/17   S. E.                 0.40 L120      Various conferences with V.        280.00
           Lambrakopoulos                       Martinez regarding same
11/02/17   V. L. Martinez        0.30 L120      Make arrangements for A.           210.00
                                                McCullough to prepare
                                                employee witness kit
11/02/17   V. L. Martinez        1.20 L120      Read co-counsel revisions          840.00
                                                to narrative response and
                                                correspond with T. Ryan, S.
                                                Lambrakopoulos and A.
                                                Cashman regarding the
                                                same
11/02/17   W. A. Prichard        3.80 C100      Review document                  1,406.00
                                                production in preparation
                                                for SEC interviews
11/02/17   T. C. Ryan            1.40 L120      Review materials and draft         980.00
                                                slide deck in preparation for
                                                staff meeting
11/02/17   D. J. Veintimilla     0.20 L320      Review background                    74.00
                                                materials related to
                                                WEC/SEC matter
11/03/17   A. R. Cashman         0.60 L120      Attend status conference           222.00
                                                with co-counsel regarding
                                                response to SEC subpoena
11/03/17   A. R. Cashman         1.20 L320      Coordinate the collection,         444.00
                                                review, and production of
                                                documents responsive to
                                                SEC subpoena and for
                                                SEC meeting
11/03/17   J. A. Georges         3.00 L110      Prepare and revise SEC             750.00
                                                presentation timeline
11/03/17   J. A. Georges         0.50 L110      Conference with A.                 125.00
                                                Cashman and graphics
                                                regarding same
11/03/17   J. A. Georges         0.40 L110      Prepare subpoena                   100.00
                                                questionnaires at the
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DATE       NAME                  HRS TASK       DESCRIPTION                      AMOUNT
                                                request of T. Ryan
11/03/17   E. J. Glover          2.80 L470      Review documents for              1,036.00
                                                creation of witness binder
11/03/17   T. L. Kornobis        0.30 L120      Meet with V. Martinez and           111.00
                                                S. Lambrakopoulos
                                                regarding SEC investigation
                                                and subpoena responses
11/03/17   S. E.                 0.40 L120      Conference call with co-            280.00
           Lambrakopoulos                       counsel regarding SEC
                                                presentation and narratives
11/03/17   S. E.                 0.80 L120      Various conferences with V.         560.00
           Lambrakopoulos                       Martinez, T. Kornobis and
                                                other team members
                                                regarding same
11/03/17   S. E.                 1.00 L120      Review revised narrative            700.00
           Lambrakopoulos
11/03/17   S. E.                 0.80 L120      Review chart for                    560.00
           Lambrakopoulos                       presentation
11/03/17   S. E.                 0.20 L120      Emails with A. Cashman              140.00
           Lambrakopoulos                       regarding same
11/03/17   V. L. Martinez        0.70 L120      Meet with S.                        490.00
                                                Lambrakopoulos and T.
                                                Kornobis to discuss staffing
                                                on the SEC matter and
                                                correspond with T. Ryan
                                                regarding the same
11/03/17   V. L. Martinez        2.50 L120      Review and revise draft           1,750.00
                                                narrative response, and
                                                correspond with A.
                                                Cashman regarding the
                                                same
11/03/17   V. L. Martinez        0.20 L120      Review timeline for SEC             140.00
                                                presentation
11/03/17   V. L. Martinez        0.80 L120      Hold weekly team call with          560.00
                                                K&L Gates and co-counsel
11/03/17   W. A. Prichard        0.20 C100      Continue reviewing                    74.00
                                                document production in
                                                preparation for SEC
                                                interviews.
11/03/17   T. C. Ryan            1.00 L120      Prepare for and participate         700.00
                                                in debrief with co-counsel
11/03/17   T. C. Ryan            0.50 L120      Coordinate logistics for staff      350.00
                                                meeting
11/03/17   D. J. Veintimilla     2.80 L320      Review documents to               1,036.00
                                                prepare witnesses for SEC
                                                interviews.
11/05/17   A. R. Cashman         0.40 L120      Review comments to                  148.00
                                                narrative response to the
                                                SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
11/05/17   A. R. Cashman         0.80 L320      Review documents for             296.00
                                                production responsive to
                                                the SEC subpoena
11/05/17   K. M. Gafner          2.40 L320      Coordinate collection,            888.00
                                                review, and production of
                                                documents responsive to
                                                SEC subpoena
11/06/17   C. H. Bell            1.00 C100      Review evidence for               370.00
                                                inclusion in former
                                                employee witness kit for
                                                use by attorneys
                                                participating in government
                                                interviews
11/06/17   E. J. Glover          1.90 L470      Review documents for              703.00
                                                creation of witness binder
11/06/17   J. A. Jay             2.40 C100      Complete witness kit              888.00
11/06/17   S. E.                 0.80 L120      Review and revise narrative       560.00
           Lambrakopoulos                       for SEC
11/06/17   S. E.                 0.30 L120      Various conferences with V.       210.00
           Lambrakopoulos                       Martinez regarding
                                                narrative
11/06/17   S. E.                 3.80 L120      Review and revise SEC           2,660.00
           Lambrakopoulos                       presentation slides based
                                                on co-counsel and client
                                                comments
11/06/17   V. L. Martinez        0.10 L120      Arrange call to introduce T.        70.00
                                                Kornobis to KLG team
11/06/17   V. L. Martinez        0.10 L120      Correspond with A.                  70.00
                                                Cashman regarding
                                                shareholder agreements
                                                sent to co-counsel
11/06/17   V. L. Martinez        0.20 L120      Correspond with J. Gagen          140.00
                                                to arrange a time to work
                                                on the narrative response,
                                                as well as the timeline for
                                                the SEC presentation
11/06/17   V. L. Martinez        2.50 L120      Review and revise narrative     1,750.00
                                                response based on
                                                comments provided by KLG
                                                team, and distribute to
                                                same
11/06/17   V. L. Martinez        0.10 L120      Correspond with co-counsel          70.00
                                                regarding setting up a
                                                meeting with counsel for
                                                former employees
11/06/17   W. A. Prichard        5.30 C100      Review document                 1,961.00
                                                production in preparation
                                                for SEC interviews.
11/06/17   D. J. Veintimilla     5.80 L320      Review documents to             2,146.00
                                                prepare witnesses for SEC
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             interviews.
11/07/17   A. R. Cashman      0.80 L120      Conference regarding              296.00
                                             narrative response and
                                             preparation for meeting with
                                             SEC
11/07/17   A. R. Cashman      0.80 L320      Review privilege log in           296.00
                                             preparation for document
                                             production to SEC
11/07/17   J. A. Georges      0.40 C100      Respond to A. Cashman             100.00
                                             request regarding revisions
                                             to SEC Presentation
                                             Timeline
11/07/17   E. J. Glover       4.90 L470      Review documents for            1,813.00
                                             creation of witness binder
11/07/17   J. A. Jay          2.80 C100      Complete witness kit            1,036.00
11/07/17   T. L. Kornobis     3.30 L120      Analyze documents relating      1,221.00
                                             to matters involved in SEC
                                             investigation
11/07/17   T. L. Kornobis     0.60 L120      Conference with. V.               222.00
                                             Martinez, S.
                                             Lambrakopoulos, A.
                                             Cashman regarding
                                             strategy for SEC
                                             investigation
11/07/17   T. L. Kornobis     0.50 L120      Call with T. Ryan, V.             185.00
                                             Martinez, S.
                                             Lambrakopoulos, A.
                                             Cashman regarding
                                             narrative response to SEC
11/07/17   T. L. Kornobis     0.90 L120      Review and comment on             333.00
                                             draft narrative response to
                                             SEC
11/07/17   S. E.              0.60 L120      Conference call with V.           420.00
           Lambrakopoulos                    Martinez, A. Cashman and
                                             T. Kornobis regarding case
11/07/17   S. E.              0.80 L120      Various conferences and           560.00
           Lambrakopoulos                    emails with T. Ryan, V.
                                             Martinez and A. Cashman
                                             regarding presentation
                                             status
11/07/17   S. E.              0.60 L120      Review revisions to               420.00
           Lambrakopoulos                    narrative
11/07/17   S. E.              3.60 L120      Revise SEC presentation         2,520.00
           Lambrakopoulos                    slides
11/07/17   S. E.              1.70 L120      Research SEC related            1,190.00
           Lambrakopoulos                    proceedings in connection
                                             with meeting
11/07/17   V. L. Martinez     2.80 L120      Prepare for and meet with       1,960.00
                                             co-counsel to go over open
                                             comments on the draft
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                narrative response
11/07/17   V. L. Martinez        0.20 L120      Hold call with T. Ryan to         140.00
                                                catch up on timing of SEC
                                                presentation and state of
                                                draft narrative response
11/07/17   V. L. Martinez        2.00 L120      Hold call with KLG team to      1,400.00
                                                discuss issues raised by
                                                co-counsel
11/07/17   V. L. Martinez        0.40 L120      Hold call with KLG team to        280.00
                                                discuss issues raised by
                                                co-counsel
11/07/17   V. L. Martinez        1.50 L120      Revise draft narrative          1,050.00
                                                response following call with
                                                KLG team
11/07/17   V. L. Martinez        0.20 L120      Correspond with KLG team          140.00
                                                regarding former
                                                employee's counsel request
                                                for access to documents
11/07/17   A. E. McCullough      1.00 L110      Summarize relevant                370.00
                                                documents into a speaking
                                                index
11/07/17   A. E. McCullough      1.30 L110      Review documents on               481.00
                                                Ringtail for relevance to
                                                potential SEC claims
11/07/17   W. A. Prichard        5.80 C100      Draft speaking index in         2,146.00
                                                preparation for SEC
                                                interviews
11/07/17   T. C. Ryan            2.90 L120      Review and revise draft         2,030.00
                                                narrative
11/07/17   D. J. Veintimilla     4.40 L320      Continue reviewing              1,628.00
                                                documents to prepare
                                                witnesses for SEC
                                                interviews
11/08/17   A. R. Cashman         3.60 L120      Edit narrative response and     1,332.00
                                                presentation for the SEC
11/08/17   K. M. Gafner          1.20 L320      Coordinate collection,            444.00
                                                review, and production of
                                                documents responsive to
                                                SEC subpoena request
11/08/17   J. A. Georges         0.30 L110      SEC Presentation timeline           75.00
                                                revisions at the request of
                                                A. Cashman
11/08/17   J. A. Georges         0.20 L110      Attend team status                  50.00
                                                conference
11/08/17   E. J. Glover          9.10 L470      Review documents for            3,367.00
                                                creation of witness binder
11/08/17   J. A. Jay             2.40 C100      Complete witness kit              888.00
11/08/17   T. L. Kornobis        0.50 L120      Meet with V. Martinez and         185.00
                                                A. Cashman regarding SEC
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             narrative response
11/08/17   T. L. Kornobis     2.90 L120      Analyze EPC Agreements          1,073.00
                                             and prepare summary for
                                             use in narrative response
11/08/17   T. L. Kornobis     1.60 L120      Review SEC PowerPoint             592.00
                                             and other background
                                             documents
11/08/17   T. L. Kornobis     2.40 L120      Research case law related         888.00
                                             to fraud element for S.
                                             Lambrakopoulos
11/08/17   S. E.              1.20 L120      Various conferences and           840.00
           Lambrakopoulos                    emails with V. Martinez, T.
                                             Kornobis and team
                                             regarding SEC meeting
                                             preparation
11/08/17   S. E.              0.60 L120      Review ETC narrative              420.00
           Lambrakopoulos
11/08/17   S. E.              0.80 L120      Review and revise draft           560.00
           Lambrakopoulos                    slides for presentation
11/08/17   S. E.              1.80 L120      Review SEC enforcement          1,260.00
           Lambrakopoulos                    actions relation to legal
                                             theories
11/08/17   V. L. Martinez     2.50 L120      Review draft SEC narrative      1,750.00
                                             and correspond with KLG
                                             team regarding the same,
                                             and revise and send drafts
                                             internally
11/08/17   V. L. Martinez     3.10 L120      Hold call with co-counsel       2,170.00
                                             regarding draft narrative
                                             and revise accordingly
11/08/17   V. L. Martinez     1.30 L120      Hold call and correspond          910.00
                                             with A. Cashman and T.
                                             Kornobis regarding support
                                             and exhibits for draft
                                             narrative, and change
                                             narrative references
                                             accordingly
11/08/17   V. L. Martinez     0.10 L120      Correspond with Client              70.00
                                             regarding upcoming
                                             meeting with SEC
11/08/17   V. L. Martinez     0.30 L120      Send white papers to A.           210.00
                                             Cashman
11/08/17   V. L. Martinez     0.50 L120      Hold call with W. Sullivan        350.00
                                             regarding preparing his
                                             witnesses
11/08/17   V. L. Martinez     0.40 L120      Hold call with co-counsel         280.00
                                             regarding providing records
                                             to counsel for former
                                             employees
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
11/08/17   V. L. Martinez        0.20 L120      Correspond with assistant        140.00
                                                to make travel
                                                arrangements to Miami
11/08/17   A. E. McCullough      2.00 L110      Review documents on               740.00
                                                Ringtail for relevance to
                                                potential SEC claims
11/08/17   A. E. McCullough      2.10 L110      Summarize relevant                777.00
                                                documents into a speaking
                                                index
11/08/17   W. A. Prichard        1.70 C100      Prepare witness kit               629.00
11/08/17   T. C. Ryan            0.90 L120      Status update conference          630.00
                                                with client
11/08/17   T. C. Ryan            0.70 L120      Conference with co-counsel        490.00
                                                regarding narrative
11/08/17   T. C. Ryan            3.30 L120      Review and revise draft         2,310.00
                                                narrative, slide deck
11/08/17   D. J. Veintimilla     3.70 L320      Review documents in             1,369.00
                                                preparation of witness kit
                                                for SEC interviews
11/09/17   A. R. Cashman         0.90 L210      Edit narrative response to        333.00
                                                the SEC and prepare
                                                exhibits
11/09/17   J. A. Georges         1.30 L110      Edit SEC Timeline for             325.00
                                                presentation
11/09/17   E. J. Glover          4.20 L470      Review documents for            1,554.00
                                                creation of witness binders
11/09/17   S. E.                 6.80 L120      Participate in meeting at       4,760.00
           Lambrakopoulos                       White & Case regarding
                                                developing presentation
                                                slides
11/09/17   S. E.                 0.40 L120      Various emails regarding          280.00
           Lambrakopoulos                       same
11/09/17   V. L. Martinez        6.70 L120      Review draft slide deck,        4,690.00
                                                travel to and from meeting
                                                with co-counsel regarding
                                                same
11/09/17   A. E. McCullough      1.00 C400      Summarize potentially             370.00
                                                important documents for
                                                witness kit in a speaking
                                                index
11/09/17   W. A. Prichard        1.10 C100      Compose draft Executive           407.00
                                                Summary, K&L Gates
                                                Profile, and History for
                                                witness binder in
                                                preparation for SEC
                                                interviews
11/09/17   T. C. Ryan            5.50 L120      Address issues related to       3,850.00
                                                narrative, slide deck in
                                                preparation for meeting with
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                staff
11/09/17   D. J. Veintimilla     3.30 L320      Review documents to             1,221.00
                                                prepare witnesses for
                                                interviews with the SEC
11/10/17   A. R. Cashman         5.40 L120      Prepare and finalize            1,998.00
                                                narrative response to the
                                                SEC
11/10/17   E. J. Glover          2.20 L470      Review documents for              814.00
                                                creation of witness binders
11/10/17   E. J. Glover          1.20 L470      Create witness binder             444.00
11/10/17   T. L. Kornobis        0.80 C200      Research aiding and               296.00
                                                abetting standards and
                                                send summary to S.
                                                Lambrakopoulos and V.
                                                Martinez
11/10/17   S. E.                 0.40 L120      Confer with T. Kornobis           280.00
           Lambrakopoulos                       regarding research in
                                                preparation for SEC
                                                meeting
11/10/17   S. E.                 0.80 L120      Review and revise timeline        560.00
           Lambrakopoulos                       chart
11/10/17   S. E.                 1.00 L120      Conference call with co-          700.00
           Lambrakopoulos                       counsel regarding same
11/10/17   S. E.                 1.80 L120      Review SEC enforcement          1,260.00
           Lambrakopoulos                       actions and report in
                                                preparation for same
11/10/17   S. E.                 0.40 L120      Various emails with team          280.00
           Lambrakopoulos                       regarding same
11/10/17   V. L. Martinez        0.20 L120      Correspond with client            140.00
                                                regarding logistics for the
                                                trip to Miami
11/10/17   V. L. Martinez        0.20 L120      Hold call with A. Cashman         140.00
                                                regarding edits to the draft
                                                narrative and exhibits to
                                                produce with it
11/10/17   V. L. Martinez        0.70 L120      Correspond with co-counsel        490.00
                                                regarding edits to draft
                                                narrative and collecting
                                                exhibits for the same, and
                                                review and respond to draft
                                                comments
11/10/17   V. L. Martinez        0.30 L120      Review research on the            210.00
                                                substantial assistance
                                                prong of aiding and abetting
                                                liability
11/10/17   V. L. Martinez        0.10 L120      Correspond with Ankura             70.00
                                                about questions for the
                                                SEC presentation
11/10/17   V. L. Martinez        0.40 L120      Correspond with co-counsel        280.00
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                                                about post-acquisition
                                                consortium expenses, and
                                                find exhibits to support
                                                same
11/10/17   V. L. Martinez        1.00 L120      Review slides to prepare for      700.00
                                                presentation
11/10/17   V. L. Martinez        0.70 L120      Hold weekly team call             490.00
11/10/17   A. E. McCullough      1.10 L110      Review and summarize              407.00
                                                potentially relevant
                                                documents for speaking
                                                index in witness kit
11/10/17   T. C. Ryan            0.80 L120      Prepare for and conference        560.00
                                                with team in preparation for
                                                staff meeting
11/10/17   T. C. Ryan            2.40 L120      Review documents and            1,680.00
                                                prior narratives in
                                                preparation for staff
                                                meeting
11/10/17   D. J. Veintimilla     8.00 L320      Review documents to             2,960.00
                                                prepare witnesses for
                                                interviews with the SEC.
11/11/17   A. R. Cashman         0.50 L120      Prepare and finalize              185.00
                                                narrative response to the
                                                SEC
11/11/17   A. E. McCullough      5.00 L110      Review and organize             1,850.00
                                                documents in witness
                                                binder on Ringtail
11/11/17   T. C. Ryan            1.50 L120      Prepare for staff meeting       1,050.00
11/11/17   D. J. Veintimilla     3.70 L320      Review documents to             1,369.00
                                                prepare witnesses for
                                                interviews with the SEC
11/12/17   A. R. Cashman         1.30 L120      Prepare and finalize              481.00
                                                narrative response to the
                                                SEC
11/12/17   S. E.                 0.60 L120      Review narrative revisions        420.00
           Lambrakopoulos
11/12/17   S. E.                 1.00 L120      Preparation for SEC               700.00
           Lambrakopoulos                       meeting
11/12/17   V. L. Martinez        0.60 L120      Correspond with attorneys         420.00
                                                on KLG team regarding the
                                                content of and exhibits to
                                                the draft narrative
11/12/17   V. L. Martinez        2.50 L120      Review SEC presentation         1,750.00
                                                slide deck and prepare for
                                                presentation
11/12/17   A. E. McCullough      2.00 L110      Summarize documents               740.00
                                                potentially relevant to SEC
                                                inquiry into a speaking
                                                index for Brad Young
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
11/12/17   T. C. Ryan            5.90 L120      Final draft narrative and        4,130.00
                                                prepare for staff meeting
11/12/17   D. J. Veintimilla     4.90 L320      Review documents to              1,813.00
                                                prepare witnesses for
                                                interviews with the SEC.
11/13/17   A. R. Cashman         3.20 L120      Finalize narrative response      1,184.00
                                                and presentation to the
                                                SEC
11/13/17   K. M. Gafner          0.50 L320      Coordinate collection,             185.00
                                                review, and production of
                                                documents responsive to
                                                SEC subpoena
11/13/17   J. A. Georges         0.60 L110      SEC presentation timeline          150.00
                                                revisions, communications
                                                with A. Cashman, IT
                                                regarding same
11/13/17   J. A. Jay             3.40 C100      Complete witness kit             1,258.00
11/13/17   S. E.                 5.50 L120      Meetings with co-counsel         3,850.00
           Lambrakopoulos                       and client in preparation for
                                                SEC meeting
11/13/17   V. L. Martinez        4.50 L120      Review presentation slide        3,150.00
                                                deck and prepare for SEC
                                                presentation
11/13/17   V. L. Martinez        0.40 L120      Meet with client and co-           280.00
                                                counsel to discuss
                                                presentation slide deck
11/13/17   V. L. Martinez        3.50 L120      Meet with co-counsel to          2,450.00
                                                revise presentation slide
                                                deck and discuss points to
                                                raise in SEC meeting
11/13/17   A. E. McCullough      1.00 L110      Edit speaking index for            370.00
                                                witness kit
11/13/17   T. C. Ryan            5.40 L120      Conference with co-counsel       3,780.00
                                                in preparation for staff
                                                meeting
11/13/17   D. J. Veintimilla     2.60 L320      Review documents to                962.00
                                                prepare witnesses for
                                                interview with SEC
11/14/17   A. R. Cashman         1.40 L120      Prepare for production of          518.00
                                                documents regarding
                                                narrative response and
                                                witness interviews
                                                requested by SEC
11/14/17   J. A. Georges         0.20 C100      Communications with A.              50.00
                                                Cashman, Graphics
                                                regarding updates to
                                                timeline for SEC
                                                presentation
11/14/17   E. J. Glover          5.50 L470      Draft speaking index for         2,035.00
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                witness binder
11/14/17   S. E.                 1.30 L120      Meet with client, co-counsel      910.00
           Lambrakopoulos                       and Ankura in preparation
                                                for SEC meeting
11/14/17   S. E.                 4.50 L120      Meeting with co-counsel in      3,150.00
           Lambrakopoulos                       preparation for SEC
                                                meeting
11/14/17   S. E.                 2.30 L120      Meeting with SEC staff in       1,610.00
           Lambrakopoulos                       Miami office
11/14/17   S. E.                 1.00 L120      Follow-up meeting with            700.00
           Lambrakopoulos                       team re same
11/14/17   V. L. Martinez        1.00 L120      Review draft slide deck           700.00
11/14/17   V. L. Martinez        1.00 L120      Conduct prep session with         700.00
                                                client and Ankura
11/14/17   V. L. Martinez        4.00 L120      Meet with co-counsel to         2,800.00
                                                revise slide deck and
                                                discuss SEC presentation
11/14/17   V. L. Martinez        3.00 L120      Travel to and from SEC and      2,100.00
                                                give presentation to SEC
11/14/17   A. E. McCullough      5.20 L110      Edit speaking index for         1,924.00
                                                witness kit
11/14/17   W. A. Prichard        0.60 C100      Conference with A.                222.00
                                                Cashman regarding D.
                                                Sumner witness binder in
                                                preparation for SEC
                                                interview
11/14/17   T. C. Ryan            5.70 L120      Prepare for staff meeting       3,990.00
11/14/17   T. C. Ryan            3.10 L120      Participate in staff meeting    2,170.00
11/14/17   T. C. Ryan            0.60 L120      Debrief with team following       420.00
                                                staff meeting
11/14/17   D. J. Veintimilla     4.20 L320      Review documents to             1,554.00
                                                prepare witnesses for SEC
                                                interview
11/15/17   A. R. Cashman         0.20 L120      Coordinate preparation for         74.00
                                                witness interviews
11/15/17   K. M. Gafner          1.00 L320      Coordinate collection,            370.00
                                                review, and production of
                                                documents responsive to
                                                SEC subpoena
11/15/17   J. A. Georges         0.30 C100      Attend team status                 75.00
                                                conference
11/15/17   E. J. Glover          2.30 L470      Revise speaking index and         851.00
                                                update witness kit
11/15/17   J. A. Jay             3.70 C100      Complete witness kit            1,369.00
11/15/17   T. L. Kornobis        0.30 L120      Call with S.                      111.00
                                                Lambrakopoulos regarding
                                                SEC meeting and legal
                                                research issues
11/15/17   S. E.                 0.40 L120      Confer with T. Kornobis re        280.00
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
           Lambrakopoulos                       SEC meeting and next
                                                steps
11/15/17   V. L. Martinez        0.40 L120      Call with co-counsel to           280.00
                                                discuss yesterday's
                                                meeting with SEC staff
11/15/17   V. L. Martinez        0.20 L120      Correspond with co-counsel        140.00
                                                to arrange meeting
11/15/17   V. L. Martinez        1.00 L120      Review and respond to             700.00
                                                correspondence in the SEC
                                                matter
11/15/17   V. L. Martinez        0.20 L120      Coordinate with S.                140.00
                                                Lambrakopoulos regarding
                                                working with counsel to
                                                former employees to
                                                prepare former employees
                                                for testimony
11/15/17   V. L. Martinez        0.20 L120      Meet with A. McCullough to        140.00
                                                discuss witness preparation
                                                binder
11/15/17   A. E. McCullough      1.50 L110      Compile witness binder            555.00
11/15/17   T. C. Ryan            1.70 L120      Address follow up items         1,190.00
                                                with client
11/15/17   D. J. Veintimilla     0.30 L320      Review documents to               111.00
                                                prepare witnesses for SEC
                                                interview.
11/16/17   A. R. Cashman         0.40 L110      Review documents                  148.00
                                                produced to the SEC for
                                                witness prep
11/16/17   K. M. Gafner          0.60 L320      Coordinate collection,            222.00
                                                review, and production of
                                                documents responsive to
                                                SEC subpoena
11/16/17   S. E.                 0.60 L120      Conference call with B.           420.00
           Lambrakopoulos                       Sullivan regarding
                                                individual witnesses
11/16/17   S. E.                 0.20 L120      Conference with V.                140.00
           Lambrakopoulos                       Martinez regarding same
11/16/17   S. E.                 1.40 L120      Review documents related          980.00
           Lambrakopoulos                       to former employee in
                                                connection with SEC
                                                testimony
11/16/17   V. L. Martinez        2.00 L120      Review correspondence           1,400.00
                                                from the KLG team
                                                regarding various matters
                                                pertaining to the case
11/16/17   V. L. Martinez        0.50 L120      Hold call with co-counsel to      350.00
                                                discuss the logistics for
                                                Sullivan’s representation of
                                                a former employee
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
11/16/17   V. L. Martinez        0.30 L120      Hold call with co-counsel to     210.00
                                                discuss representation
11/16/17   V. L. Martinez        0.30 L120      Meet with S.                      210.00
                                                Lambrakopoulos to discuss
                                                logistics of working with
                                                counsel for former
                                                employee
11/16/17   A. E. McCullough      1.70 L110      Print and organize                629.00
                                                documents for witness kit
11/16/17   W. A. Prichard        0.20 C100      Email correspondence with          74.00
                                                A. Cashman regarding
                                                document review
                                                concerning ETC Issue in
                                                preparation for SEC
                                                interviews
11/16/17   D. J. Veintimilla     3.20 L320      Review documents to             1,184.00
                                                prepare witnesses for
                                                interviews with SEC
11/17/17   A. R. Cashman         0.60 L120      Conference with co-counsel        222.00
                                                regarding SEC response
11/17/17   A. R. Cashman         1.80 L310      Coordinate the review of          666.00
                                                documents and preparation
                                                of witnesses requested by
                                                the SEC
11/17/17   K. M. Gafner          0.50 L320      Coordinate collection,            185.00
                                                review, and production of
                                                documents responsive to
                                                SEC subpoena
11/17/17   E. J. Glover          0.50 L470      Review produced                   185.00
                                                documents for witness
                                                binder update
11/17/17   J. A. Jay             2.30 C100      Revise witness kit                851.00
11/17/17   T. L. Kornobis        0.20 C200      Discuss legal research             74.00
                                                questions with S.
                                                Lambrakopoulos
11/17/17   S. E.                 1.20 L120      Meeting with counsel              840.00
           Lambrakopoulos                       regarding document review
                                                for former employee
11/17/17   S. E.                 0.60 L120      Emails to team regarding          420.00
           Lambrakopoulos                       same and regarding SEC
                                                meeting
11/17/17   S. E.                 0.40 L120      Telephone call with V.            280.00
           Lambrakopoulos                       Martinez and T. Kornobis
                                                regarding same
11/17/17   V. L. Martinez        0.20 L120      Hold call with T. Ryan            140.00
                                                regarding call with counsel
                                                for former employee
11/17/17   V. L. Martinez        2.00 L120      Research regarding              1,400.00
                                                possible resolution
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
11/17/17   V. L. Martinez        0.40 L120      Hold call with T. Ryan, S.       280.00
                                                Lambrakopoulos and A.
                                                Cashman regarding T.
                                                Ryan’s call with staff
                                                attorney
11/17/17   A. E. McCullough      0.80 L110      Compile witness binder and        296.00
                                                mail to A. Cashman
11/17/17   T. C. Ryan            2.70 L120      Participate in follow-up        1,890.00
                                                meetings with client
11/17/17   D. J. Veintimilla     0.30 L320      Review documents to               111.00
                                                prepare witnesses for
                                                interview with SEC.
11/18/17   C. H. Bell            1.40 C100      Continue review of                518.00
                                                documents for inclusion in
                                                witness kit for reference by
                                                senior attorneys
                                                supervising government
                                                interviews and witness
                                                preparation
11/18/17   W. A. Prichard        2.10 C100      Commence document                 777.00
                                                review of production
                                                regarding ETC Issue in
                                                preparation for SEC
                                                interviews
11/19/17   K. M. Gafner          2.10 L320      Review background memos           777.00
                                                on underlying factual and
                                                legal analysis
11/19/17   T. L. Kornobis        2.50 C200      Research caselaw                  925.00
                                                regarding SEC secondary
                                                liability
11/20/17   A. R. Cashman         0.50 L310      Review documents                  185.00
                                                responsive to SEC
                                                subpoena in preparation for
                                                witness interviews
11/20/17   S. E.                 0.80 L120      Conference with T.                560.00
           Lambrakopoulos                       Kornobis regarding SEC
                                                investigation
11/20/17   S. E.                 0.30 L120      Various emails with A.            210.00
           Lambrakopoulos                       Cashman regarding SEC
                                                investigation
11/20/17   S. E.                 1.20 L120      Review related documents          840.00
           Lambrakopoulos
11/20/17   W. A. Prichard        5.50 C100      Complete document review        2,035.00
                                                of production regarding
                                                ETC Issue in preparation
                                                for SEC interviews
11/20/17   D. J. Veintimilla     4.70 L320      Review documents to             1,739.00
                                                prepare witnesses for
                                                interview with SEC
11/21/17   S. E.                 0.30 L120      Conference with V.                210.00
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
           Lambrakopoulos                       Martinez regarding SEC
                                                investigation
11/21/17   S. E.                 0.50 L120      Conference call with V.            350.00
           Lambrakopoulos                       Martinez and co-counsel
                                                regarding same
11/21/17   S. E.                 0.40 L120      Review related issues              280.00
           Lambrakopoulos
11/21/17   V. L. Martinez        0.60 L120      Prepare for and hold call          420.00
                                                with staff attorney to
                                                discuss timing of testimony
11/21/17   V. L. Martinez        0.40 L120      Write notes and correspond         280.00
                                                with T. Ryan regarding the
                                                same
11/21/17   V. L. Martinez        1.00 L120      Correspond and hold call           700.00
                                                with co-counsel regarding
                                                testimony dates
11/21/17   V. L. Martinez        0.30 L120      Discuss issues with S.             210.00
                                                Lambrakopoulos
11/21/17   V. L. Martinez        0.20 L120      Hold call and correspond           140.00
                                                with client regarding
                                                testimony dates
11/21/17   V. L. Martinez        0.20 L120      Hold call with client              140.00
                                                regarding witness
                                                availability
11/21/17   V. L. Martinez        0.20 L120      Correspond with client and         140.00
                                                co-counsel regarding timing
                                                of testimony
11/21/17   V. L. Martinez        0.10 L120      Correspond with S.                  70.00
                                                Lambrakopoulos regarding
                                                availability for testimony
                                                preparation
11/21/17   V. L. Martinez        0.10 L120      Correspond with staff               70.00
                                                attorney regarding
                                                responding to items raised
                                                in today's call
11/21/17   D. J. Veintimilla     5.40 L320      Review documents to              1,998.00
                                                prepare witnesses for SEC
                                                interview.
11/22/17   S. E.                 0.60 L120      Conference call with co-           420.00
           Lambrakopoulos                       counsel regarding SEC
                                                investigation
11/22/17   V. L. Martinez        0.10 L120      Correspond with client              70.00
                                                regarding witness
                                                availability
11/22/17   V. L. Martinez        0.80 L120      Correspond and hold call           560.00
                                                with J. Crowe, J. Gagen
                                                and S. Lambrakopoulos
                                                regarding D. Panahi's
                                                requests for tolling
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
                                                agreements
11/22/17   V. L. Martinez        0.30 L120      Discuss issues with S.           210.00
                                                Lambrakopoulos
11/22/17   V. L. Martinez        0.10 L120      Correspond with D. Panahi         70.00
                                                regarding response to
                                                questions from Tuesday's
                                                call
11/22/17   V. L. Martinez        0.50 L120      Hold call with T. Ryan           350.00
                                                regarding this week's
                                                developments and
                                                considerations for going
                                                forward
11/22/17   V. L. Martinez        1.30 L120      Review witness binder            910.00
                                                prepared for B. Abbott, and
                                                prepare questions for
                                                testimony preparation
11/22/17   T. C. Ryan            0.30 L120      Conference with co-counsel       210.00
                                                regarding conversation with
                                                staff
11/22/17   D. J. Veintimilla     4.00 L320      Review documents to            1,480.00
                                                prepare witnesses for
                                                interview with the SEC
11/25/17   C. H. Bell            3.10 C100      Review documents for           1,147.00
                                                inclusion in witness kit
11/27/17   A. R. Cashman         0.60 L120      Conference with co-counsel       222.00
                                                regarding preparation for
                                                witness testimony
11/27/17   T. L. Kornobis        1.20 C200      Review investigation             444.00
                                                reports and case narratives
11/27/17   S. E.                 0.40 L120      Conference with co-counsel       280.00
           Lambrakopoulos                       regarding SEC investigation
11/27/17   V. L. Martinez        0.70 L120      Correspond and hold call         490.00
                                                with T. Ryan, S.
                                                Lambrakopoulos, A.
                                                Cashman and T. Kornobis
                                                regarding timing of
                                                testimonies and questions
                                                regarding WEC's desire to
                                                enter into a tolling
                                                agreement
11/27/17   V. L. Martinez        0.40 L120      Arrange and hold call with       280.00
                                                client regarding discussion
                                                of tolling agreement
11/27/17   V. L. Martinez        0.30 L120      Review witness preparation       210.00
                                                binders
11/27/17   V. L. Martinez        0.50 L120      Task associates with             350.00
                                                drafting interview
                                                preparation questions
11/27/17   V. L. Martinez        0.60 L120      Arrange and hold call with       420.00
                                                client regarding how to
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DATE       NAME                  HRS TASK       DESCRIPTION                  AMOUNT
                                                respond to SEC requests
                                                for tolling agreements and
                                                how to schedule witness
                                                testimonies
11/27/17   V. L. Martinez        0.10 L120      Hold call with T. Ryan           70.00
                                                regarding scheduling
                                                witness testimony
11/27/17   V. L. Martinez        0.10 L120      Correspond with staff            70.00
                                                attorney regarding the
                                                same
11/27/17   V. L. Martinez        0.20 L120      Make arrangements for           140.00
                                                meeting to transition T.
                                                Kornobis onto the case
11/27/17   V. L. Martinez        0.80 L120      Draft agenda for meeting        560.00
                                                with A. Cashman and T.
                                                Kornobis
11/27/17   A. E. McCullough      1.70 L120      Email with V. Martinez          629.00
                                                regarding drafting
                                                anticipated SEC interview
                                                questions for witness kit
11/27/17   A. E. McCullough      1.80 L120      Review and analyze              666.00
                                                narrative responses
                                                submitted to the SEC
11/27/17   T. C. Ryan            1.80 L120      Conference calls on           1,260.00
                                                testimony schedules
11/27/17   D. J. Veintimilla     2.30 L320      Review documents to             851.00
                                                prepare witnesses for
                                                interview with the SEC
11/28/17   A. R. Cashman         1.00 L120      Conference with K&L Gates       370.00
                                                team regarding status
11/28/17   A. R. Cashman         1.30 L120      Coordinate response to          481.00
                                                Toshiba subpoena
11/28/17   J. A. Jay             4.70 C100      Draft witness prep            1,739.00
                                                questions
11/28/17   V. L. Martinez        0.60 L120      Review witness preparation      420.00
                                                binder
11/28/17   V. L. Martinez        1.00 L120      Meet with A. Cashman and        700.00
                                                T. Kornobis to discuss all
                                                aspects of the SEC matter
                                                necessary to bring T.
                                                Kornobis on board and to
                                                transition Amanda's
                                                responsibilities for the
                                                matter, and discuss follow
                                                up tasks with T. Kornobis
11/28/17   V. L. Martinez        0.30 L120      Hold call and correspond        210.00
                                                with T. Ryan to discuss
                                                witness testimony dates
                                                and tolling agreement
                                                proposal
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
11/28/17   V. L. Martinez        0.20 L120      Correspond with staff             140.00
                                                attorney about testimony
                                                dates
11/28/17   A. E. McCullough      4.60 L120      Review and analyze               1,702.00
                                                narratives submitted to
                                                SEC, 2015 Independent
                                                Investigative Committee
                                                report and Westinghouse
                                                presentation to SEC to
                                                create a list of potential
                                                SEC interview questions
                                                witnesses
11/28/17   T. C. Ryan            1.10 L120      Conference calls regarding         770.00
                                                scheduling testimony
11/28/17   D. J. Veintimilla     0.40 L320      Review documents top               148.00
                                                prepare witnesses for
                                                interviews with the SEC
11/29/17   A. R. Cashman         0.60 L120      Coordinate the preparation         222.00
                                                of witnesses for interview
                                                by the SEC
11/29/17   E. J. Glover          2.50 L470      Review witness materials           925.00
                                                and draft interview
                                                questions
11/29/17   V. L. Martinez        0.30 L120      Correspond and hold call           210.00
                                                with S. Lambrakopoulos to
                                                find example tolling
                                                agreements to share with
                                                co-counsel, and correspond
                                                with T. Ryan regarding the
                                                same
11/29/17   V. L. Martinez        0.60 L120      Correspond with T. Ryan            420.00
                                                regarding SEC testimony
                                                dates, and hold call with co-
                                                counsel regarding the same
11/29/17   V. L. Martinez        0.30 L120      Hold call with T. Ryan to          210.00
                                                discuss SEC testimony
                                                preparation, preparing a
                                                primer on SEC testimony
                                                for witnesses, and how to
                                                deal with SEC tolling
                                                agreement request
11/29/17   V. L. Martinez        0.20 L120      Hold call with S.                  140.00
                                                Lambrakopoulos regarding
                                                request from client for
                                                guidance on when to invoke
                                                privilege in Westinghouse
                                                presentations and
                                                communications
11/29/17   V. L. Martinez        0.30 L120      Correspond with A.                 210.00
                                                McCullogh regarding
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                preparing questions to
                                                accompany witness
                                                document collection
11/29/17   V. L. Martinez        0.30 L120      Correspond with A.                210.00
                                                Cashman and T. Kornobis
                                                regarding communications
                                                regarding FY13 goodwill
                                                impairment, and review
                                                documents produced
11/29/17   A. E. McCullough      3.10 L120      Review speaking index and       1,147.00
                                                form potential SEC
                                                questions based off of
                                                identified documents
11/29/17   W. A. Prichard        0.20 C100      Review witness preparation         74.00
                                                questions and outlines in
                                                preparation for SEC
                                                interviews
11/29/17   T. C. Ryan            0.40 L120      Conference with client            280.00
                                                regarding testimony
11/29/17   D. J. Veintimilla     2.50 L320      Review documents and              925.00
                                                begin drafting questions to
                                                prepare witnesses for
                                                interview with SEC
11/30/17   E. J. Glover          1.80 L470      Review witness kit and draft      666.00
                                                questions for witness
                                                interview preparation
                                                session
11/30/17   J. A. Jay             3.50 C100      Draft witness questions         1,295.00
11/30/17   S. E.                 0.60 L120      Review Deloitte documents         420.00
           Lambrakopoulos                       for SEC production
11/30/17   S. E.                 0.20 L120      Email to counsel for              140.00
           Lambrakopoulos                       Deloitte regarding
                                                production
11/30/17   S. E.                 0.20 L120      Confer with V. Martinez           140.00
           Lambrakopoulos                       regarding testimony issues
11/30/17   S. E.                 0.40 L120      Review and revise draft           280.00
           Lambrakopoulos                       regarding testimony issues
11/30/17   V. L. Martinez        1.50 l120      Draft memorandum                1,050.00
                                                explaining the process of
                                                SEC testimony for our
                                                witnesses
11/30/17   V. L. Martinez        0.20 l120      Review SEC enforcement            140.00
                                                manual
11/30/17   V. L. Martinez        0.40 l120      Discuss same with S.              280.00
                                                Lambrakopoulos, and
                                                revise based on her input
11/30/17   V. L. Martinez        0.10 l120      Correspond with staff              70.00
                                                attorney regarding
                                                testimony dates
17-10751-mew    Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
                               Entries Part 1 Pg 200 of 335
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                                                                                Page 22 of 23

DATE       NAME                  HRS TASK         DESCRIPTION                     AMOUNT
11/30/17   V. L. Martinez        0.50 l120        Hold call with E. Glover          350.00
                                                  regarding preparation
                                                  questions
11/30/17   A. E. McCullough      0.50 L120        Review speaking index and          185.00
                                                  formulate potential SEC
                                                  interview questions
                            TOTAL FEES               465.90 hrs            $     233,835.00


                                 TIMEKEEPER SUMMARY

C. H. Bell                            6.20   hrs at    $    370.00   / hr          2,294.00
A. R. Cashman                        30.30   hrs at    $    370.00   / hr         11,211.00
K. M. Gafner                          9.30   hrs at    $    370.00   / hr          3,441.00
J. A. Georges                         9.30   hrs at    $    250.00   / hr          2,325.00
E. J. Glover                         38.90   hrs at    $    370.00   / hr         14,393.00
J. A. Jay                            31.80   hrs at    $    370.00   / hr         11,766.00
J. A. Kephart                         1.90   hrs at    $    370.00   / hr            703.00
T. L. Kornobis                       18.00   hrs at    $    370.00   / hr          6,660.00
S. E. Lambrakopoulos                 60.30   hrs at    $    700.00   / hr         42,210.00
V. L. Martinez                       79.70   hrs at    $    700.00   / hr         55,790.00
A. E. McCullough                     37.40   hrs at    $    370.00   / hr         13,838.00
W. A. Prichard                       26.50   hrs at    $    370.00   / hr          9,805.00
T. C. Ryan                           49.60   hrs at    $    700.00   / hr         34,720.00
D. J. Veintimilla                    66.70   hrs at    $    370.00   / hr         24,679.00
                            TOTAL FEES                465.90 hrs             $   233,835.00
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15   Exhibit Time
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                               TASK CODE SUMMARY

C100    Fact Gathering                          66.00   hrs              24,240.00
C200    Researching Law                          4.70   hrs               1,739.00
C400    Third Party Communication                1.00   hrs                 370.00
L110    Fact Investigation/Development          34.80   hrs              11,940.00
L120    Analysis/Strategy                       76.90   hrs              50,959.00
l120    Analysis/Strategy                        1.20   hrs                 840.00
L120    Analysis/Strategy                       42.30   hrs              25,287.00
l120    Analysis/Strategy                        1.50   hrs               1,050.00
L120    Analysis/Strategy                      114.70   hrs              71,974.00
L210    Pleadings                                0.90   hrs                 333.00
L310    Written Discovery                        2.30   hrs                 851.00
L320    Document Production                     80.70   hrs              29,859.00
L470    Enforcement                             38.90   hrs              14,393.00
                          TOTAL FEES           465.90   hrs        $    233,835.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Air Fare                                                                    971.43
Copying Expense                                                              45.40
Lexis Research                                                               85.65
Long Distance Courier                                                        49.68
Travel Expenses: Hotel                                                      607.94
Travel Expenses: Parking                                                     75.00
Travel Expenses: Ground Transportation                                       33.18
Travel Related Meals                                                        125.43
Westlaw Research                                                             78.89
                         DISBURSEMENTS & OTHER CHARGES             $      2,072.60
17-10751-mew                 Doc 3955-7              Filed 09/25/18 Entered 09/25/18 13:03:15                                              Exhibit Time
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                         Invoice Date                     :     December 14, 2017
 1000 Westinghouse Drive                                                               Invoice Number                   :     3460818
 Cranberry Township, PA 16066                                                          Services Through                 :     November 30, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

       Fees                                                                        $       18,419.00
       Disbursements and Other Charges                                             $        1,164.40
       Total Amount Due This Matter                                                                                                $         19,583.40



CURRENT INVOICE DUE - All Matters                                                                                                   $        19,583.40




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
17-10751-mew   Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15          Exhibit Time
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 Subpoena Response - eDAT Fees (70030)                                       $19,583.40


                                           FEES

DATE       NAME                   HOURS      DESCRIPTION                         AMOUNT
11/01/17   J. A. Chiccarino        2.80      Coordinate and oversee review of     1,036.00
                                             privilege log for production
                                             responsive to SEC subpoena
11/01/17   C. T. Field              0.30     Remove documents without                75.00
                                             Responsive search term family
                                             hits from privilege review binder
11/01/17   C. T. Field              0.30     Meet with J. Chiccarino, R.             75.00
                                             Treglia and A. Cashman
                                             regarding privilege review and
                                             coordinating foreign language
                                             review for privileged documents
11/01/17   C. T. Field              0.40     Create binder of foreign language      100.00
                                             documents with privilege coding
                                             and make available for review
11/01/17   N. J. Kenney             4.40     Complete privilege log for             770.00
                                             production responsive to SEC
                                             subpoena
11/01/17   G. R. Ray                7.50     Complete privilege log for           1,312.50
                                             production responsive to SEC
                                             subpoena
11/02/17   J. A. Chiccarino         2.70     Coordinate and oversee review of       999.00
                                             privilege log for production
                                             responsive to SEC subpoena
11/02/17   C. T. Field              0.70     Run searches and create witness        175.00
                                             binder
11/02/17   C. T. Field              0.30     Remove documents which do not           75.00
                                             hit on the Responsive search
                                             terms from the privilege review
                                             binder
11/02/17   N. J. Kenney             3.50     Complete privilege log for             612.50
                                             production responsive to SEC
                                             subpoena
11/02/17   G. R. Ray                5.10     Complete privilege log for             892.50
                                             production responsive to SEC
                                             subpoena
11/03/17   J. A. Chiccarino         2.80     Coordinate and oversee review of     1,036.00
                                             privilege log for production
                                             responsive to SEC subpoena
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DATE       NAME                   HOURS    DESCRIPTION                          AMOUNT
11/03/17   C. T. Field             1.10    Update witness binders for             275.00
                                           counsel review without fully
                                           privileged documents
11/03/17   T. M. Gracey             0.20   Assist A. McCullough with                50.00
                                           accessing data for review and
                                           coding
11/04/17   J. A. Chiccarino         0.90   Coordinate and oversee review of        333.00
                                           privilege log for production
                                           responsive to SEC subpoena
11/06/17   J. A. Chiccarino         2.70   Coordinate and oversee review of        999.00
                                           privilege log for production
                                           responsive to SEC subpoena
11/06/17   C. T. Field              0.40   Create external user account for        100.00
                                           DC counsel and provide access
                                           credentials and basic training
                                           materials
11/06/17   C. T. Field              0.70   Provide search assistance to W.         175.00
                                           Prichard and create binder of
                                           witness documents from the most
                                           recent production
11/06/17   T. M. Gracey             1.60   Strategize with R. Treglia with         400.00
                                           regards to SEC production and
                                           Ringtail load template settings
                                           and features
11/06/17   K. R. Slavik             0.80   Analyze documents confirming            200.00
                                           compliance with WEC SEC 009
                                           document production
                                           specifications
11/07/17   J. A. Chiccarino         3.10   Coordinate and oversee review of      1,147.00
                                           privilege log for production
                                           responsive to SEC subpoena
11/07/17   K. R. Slavik             0.50   Analyze additional documents            125.00
                                           confirming compliance with WEC
                                           SEC 009 document production
                                           specifications
11/07/17   K. R. Slavik             0.20   Analyze and review production            50.00
                                           media
11/08/17   J. A. Chiccarino         2.10   Coordinate and oversee review of        777.00
                                           privilege log for production
                                           responsive to SEC subpoena
11/08/17   C. T. Field              0.20   Add T. Kornobis to Ringtail              50.00
                                           database
11/09/17   J. A. Chiccarino         2.60   Coordinate and oversee review of        962.00
                                           privilege log for production
                                           responsive to SEC subpoena
11/09/17   C. T. Field              0.50   Revise coding template for e-DAT        125.00
                                           reviewers to include issues
                                           related to foreign language review
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DATE         NAME                   HOURS     DESCRIPTION                        AMOUNT
11/09/17     N. J. Kenney            6.10     Complete privilege log for          1,067.50
                                              production responsive to SEC
                                              subpoena
11/09/17     G. R. Ray                3.90    Complete privilege log for            682.50
                                              production responsive to SEC
                                              subpoena
11/09/17     F. J. Scott              7.00    Complete privilege log for          1,225.00
                                              production responsive to SEC
                                              subpoena
11/10/17     J. A. Chiccarino         2.20    Coordinate and oversee review of      814.00
                                              privilege log for production
                                              responsive to SEC subpoena
11/10/17     N. J. Kenney             2.30    Complete privilege log for            402.50
                                              production responsive to SEC
                                              subpoena
11/10/17     G. R. Ray                4.10    Complete privilege log for            717.50
                                              production responsive to SEC
                                              subpoena
11/10/17     F. J. Scott              2.00    Complete privilege log for            350.00
                                              production responsive to SEC
                                              subpoena
11/13/17     J. A. Chiccarino         0.30    Coordinate and oversee review of      111.00
                                              privilege log for production
                                              responsive to SEC subpoena
11/13/17     N. J. Kenney             0.20    Complete privilege log for              35.00
                                              production responsive to SEC
                                              subpoena
11/14/17     N. J. Kenney             0.50    Complete privilege log for              87.50
                                              production responsive to SEC
                                              subpoena
                            TOTAL FEES                 77.00 hrs           $     18,419.00


                                  TIMEKEEPER SUMMARY

J. A. Chiccarino                     22.20   hrs at   $    370.00   / hr          8,214.00
C. T. Field                           4.90   hrs at   $    250.00   / hr          1,225.00
T. M. Gracey                          1.80   hrs at   $    250.00   / hr            450.00
N. J. Kenney                         17.00   hrs at   $    175.00   / hr          2,975.00
G. R. Ray                            20.60   hrs at   $    175.00   / hr          3,605.00
F. J. Scott                           9.00   hrs at   $    175.00   / hr          1,575.00
K. R. Slavik                          1.50   hrs at   $    250.00   / hr            375.00
                            TOTAL FEES                77.00 hrs             $    18,419.00
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                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
11/30/17         ESI Conversion: Convert 0.06009 GB to TIFF images @ $500/GB:                                         30.04
                 $30.04
11/30/17         Ringtail Fees: November 2017 Data Storage Fees: 45.62 GB @                                         684.36
                 $15.00/GB: $684.36
11/30/17         Ringtail Fees: November 2017 10 Web Licenses @ $50/month:                                          450.00
                 $450.00
                                DISBURSEMENTS & OTHER CHARGES                $                                    1,164.40

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                                                 MATTER SUMMARY

Fees                                                                                                     $      18,419.00
Disbursements and Other Charges                                                                          $       1,164.40
MATTER TOTAL                                                                                             $      19,583.40
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 207 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 5, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3479476
Cranberry Township, PA 16066                                                                  Services Through                     :      December 31, 2017




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $      158,686.00
Disbursements and Other Charges                                                                                                                  $        3,210.12

CURRENT INVOICE DUE                                                                                                                              $      161,896.12




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew    Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
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                                          FEES

DATE       NAME                  HRS TASK        DESCRIPTION                     AMOUNT
12/01/17   A. R. Cashman         0.90 L120       Conference with team              333.00
                                                 regarding response to SEC
                                                 subpoena
12/01/17   J. A. Georges         0.80 B110       Access to email distribution,      200.00
                                                 FTP, Share Drive for T.
                                                 Kornobis at the request of
                                                 V. Martinez and
                                                 communications with IT, e-
                                                 DAT regarding same
12/01/17   S. E.                 0.40 L120       Conference call regarding          280.00
           Lambrakopoulos                        SEC investigation
12/01/17   S. E.                 0.20 L120       Emails with Deloitte               140.00
           Lambrakopoulos                        counsel regarding review of
                                                 production
12/01/17   V. L. Martinez        0.40 L120       Hold weekly call regarding         280.00
                                                 matter status
12/01/17   V. L. Martinez        0.20 L120       Hold call with T. Ryan             140.00
                                                 regarding subjects raised
                                                 on weekly call
12/01/17   V. L. Martinez        0.10 L120       Correspond with J.                   70.00
                                                 Georges regarding adding
                                                 T. Kornobis to various email
                                                 lists and databases
12/01/17   V. L. Martinez        0.10 L120       Correspond with associates           70.00
                                                 regarding draft preparation
                                                 questions
12/01/17   V. L. Martinez        0.30 L120       Revise board chart                 210.00
                                                 summaries
12/01/17   A. E. McCullough      4.60 L120       Draft and edit SEC               1,702.00
                                                 preparation questions
12/01/17   A. E. McCullough      1.00 L120       Email questions to V.              370.00
                                                 Martinez
12/01/17   D. J. Veintimilla     0.60 L320       Finish drafting questions to       222.00
                                                 prepare witnesses for
                                                 interview with SEC
12/04/17   A. R. Cashman         1.10 L120       Prepare for witness                407.00
                                                 interviews in response to
                                                 SEC subpoena
12/04/17   J. A. Jay             2.80 C100       Revise witness questions         1,036.00
12/04/17   M. A. Rush            0.40 B110       Conference with T. Ryan            280.00
                                                 regarding case status and
                                                 testimony prep
12/04/17   M. A. Rush            0.40 B110       Begin witness preparation          280.00
12/04/17   T. C. Ryan            1.10 L120       Review documents in                770.00
                                                 preparation of testimony
                                                 and conference with client
                                                 regarding same
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
12/05/17   A. R. Cashman      0.30 L120      Conference with K&L team          111.00
                                             regarding status and next
                                             steps
12/05/17   A. R. Cashman      0.50 L320      Coordinate the production          185.00
                                             of privilege logs in response
                                             to SEC subpoena
12/05/17   J. A. Georges      0.40 L110      Attend team status                 100.00
                                             conference
12/05/17   J. A. Jay          2.10 C100      Revise interview questions         777.00
                                             and witness kit
12/05/17   T. L. Kornobis     0.90 C300      Review and analyze                 333.00
                                             materials produced to SEC
                                             staff
12/05/17   T. L. Kornobis     0.40 C300      Weekly team meeting                148.00
12/05/17   S. E.              0.20 L120      Telephone call with V.             140.00
           Lambrakopoulos                    Martinez regarding SEC
                                             investigation and
                                             procedural rules
12/05/17   S. E.              0.40 L120      Review and revise                  280.00
           Lambrakopoulos                    memorandum to clients
                                             regarding SEC procedural
                                             issues
12/05/17   V. L. Martinez     0.50 L120      Hold call with co-counsel          350.00
                                             regarding preparation of
                                             individual witnesses to
                                             testify
12/05/17   V. L. Martinez     0.40 L120      Meet with S.                       280.00
                                             Lambrakopoulos to discuss
                                             questions about the
                                             scheduling of SEC
                                             testimony
12/05/17   V. L. Martinez     1.70 L120      Draft bullet points regarding    1,190.00
                                             scheduling of SEC
                                             testimony
12/05/17   V. L. Martinez     0.30 L120      Find and provide materials         210.00
                                             regarding previous
                                             testimonies to T. Kornobis
12/05/17   V. L. Martinez     0.20 L120      Correspond with fellow             140.00
                                             partners to arrange call to
                                             determine how to handle
                                             joint defense information
                                             request
12/05/17   W. A. Prichard     1.30 C100      Revise witness preparation         481.00
                                             outline for forthcoming
                                             enforcement interviews by
                                             adding questions related to
                                             additional matters
12/05/17   T. C. Ryan         0.60 L120      Prepare for and conference         420.00
                                             with client on testimony
                                             strategy
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
12/05/17   T. C. Ryan            1.30 L120      Prepare for testimony           910.00
12/05/17   T. C. Ryan            1.10 L120      Prepare memorandum              770.00
                                                regarding testimony
                                                strategy
12/05/17   D. J. Veintimilla     0.40 L320      Edit and submit questions        148.00
                                                to prepare witness for
                                                interview with enforcement
                                                staff
12/06/17   J. A. Georges         0.10 C100      Respond to T. Ryan                 25.00
                                                request regarding
                                                Japanese translation for
                                                MOIs
12/06/17   J. A. Georges         0.20 C100      Communications with J.             50.00
                                                Vientimiglia, e-DAT
                                                regarding same
12/06/17   S. E.                 0.60 L120      Conference call with co-         420.00
           Lambrakopoulos                       counsel regarding SEC
                                                investigation and testimony
12/06/17   S. E.                 2.20 L120      Research and revise            1,540.00
           Lambrakopoulos                       memorandum to clients
                                                regarding SEC testimony
12/06/17   S. E.                 0.80 L120      Review Deloitte documents        560.00
           Lambrakopoulos
12/06/17   S. E.                 0.50 L120      Various internal                 350.00
           Lambrakopoulos                       communications regarding
                                                SEC testimony and
                                                memorandum
12/06/17   V. L. Martinez        1.00 L120      Set up call and hold to          700.00
                                                discuss joint defense
                                                information request.
12/06/17   V. L. Martinez        1.20 L120      Review materials provided        840.00
                                                by T. Ryan regarding
                                                bankruptcy proceedings
12/06/17   V. L. Martinez        4.50 L120      Draft memorandum               3,150.00
                                                regarding different
                                                approaches for
                                                rescheduling SEC
                                                testimony
12/06/17   V. L. Martinez        1.00 L120      Conduct research on SEC          700.00
                                                subpoena enforcement
                                                actions
12/06/17   V. L. Martinez        0.50 L120      Meet with S.                     350.00
                                                Lambrakopoulos to discuss
                                                scheduling for SEC
                                                testimony
12/06/17   V. L. Martinez        0.20 L120      Correspond with Client           140.00
                                                regarding timing of SEC
                                                testimony preparations
12/06/17   V. L. Martinez        0.20 L120      Make arrangements to hold        140.00
17-10751-mew    Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
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                                                                         Invoice # 3479476
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                SEC testimony preparation
                                                session
12/06/17   V. L. Martinez        0.20 L120      Correspond with fellow            140.00
                                                partners regarding
                                                approaches to rcheduling
                                                SEC testimony
12/06/17   M. A. Rush            0.90 B110      Conference on status of           630.00
                                                employee testimony
12/06/17   T. C. Ryan            3.70 L120      Draft memorandum                2,590.00
                                                regarding testimony at the
                                                request of client
12/06/17   T. C. Ryan            3.20 L120      Review witness kits in          2,240.00
                                                preparation for testimony
12/06/17   T. C. Ryan            1.20 L120      Outline witness preparation       840.00
                                                materials in preparation for
                                                testimony
12/06/17   D. J. Veintimilla     0.60 L320      Edit materials to prepare         222.00
                                                witnesses for interview with
                                                enforcement staff
12/07/17   A. R. Cashman         0.50 L320      Prepare production of             185.00
                                                documents responsive to
                                                the subpoena
12/07/17   J. A. Georges         0.60 C100      Japanese translation at the       150.00
                                                request of T. Ryan,
                                                commmunications with e-
                                                DAT, J. Vientimilla
                                                regarding same
12/07/17   J. A. Georges         0.60 L320      Prepare documents for             150.00
                                                production,
                                                communications with A.
                                                Cashman, e-DAT regarding
                                                same
12/07/17   T. L. Kornobis        2.40 C300      Analyze investigative             888.00
                                                testimony notes, SEC
                                                presentation, and
                                                background reports
12/07/17   S. E.                 1.20 L120      Revisions and analysis            840.00
           Lambrakopoulos                       relating to strategy
                                                memorandum regarding
                                                testimony
12/07/17   S. E.                 0.40 L120      Emails with Deloitte              280.00
           Lambrakopoulos                       counsel regarding
                                                production
12/07/17   S. E.                 0.20 L120      Confer with T. Kornobis           140.00
           Lambrakopoulos                       regarding SEC testimony
12/07/17   V. L. Martinez        0.80 L120      Correspond with fellow KLG        560.00
                                                attorneys regarding
                                                strategy memorandum
12/07/17   V. L. Martinez        3.80 L120      Review and revise multiple      2,660.00
                                                drafts of strategy
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                memorandum
12/07/17   V. L. Martinez        0.20 L120      Correspond with co-counsel        140.00
                                                regarding subpoena status
12/07/17   V. L. Martinez        0.20 L120      Share with team recent            140.00
                                                decision involving
                                                development in case law
12/07/17   V. L. Martinez        2.50 L120      Review materials and draft      1,750.00
                                                questions to prepare for
                                                SEC interview
12/07/17   V. L. Martinez        0.10 L120      Make arrangements to host           70.00
                                                client for testimony
                                                preparations.
12/07/17   M. A. Rush            1.80 L120      Revisions to memo in            1,260.00
                                                alternatives to SEC
                                                testimony
12/07/17   M. A. Rush            0.50 L120      Conference with T. Ryan           350.00
                                                regarding testimony
12/07/17   M. A. Rush            2.90 L120      Begin work on prep binder       2,030.00
12/07/17   T. C. Ryan            6.80 L120      Review and revise draft         4,760.00
                                                regarding testimony
                                                strategies
12/07/17   D. J. Veintimilla     0.30 L320      Review documents to               111.00
                                                prepare witnesses for
                                                interview with enforcement
                                                staff
12/08/17   A. R. Cashman         0.60 L120      Conference with co-counsel        222.00
                                                regarding status of
                                                investigation
12/08/17   A. R. Cashman         0.50 L120      Participate in conference         185.00
                                                call with client and outside
                                                counsel regarding SEC
                                                investigation
12/08/17   A. R. Cashman         1.40 L330      Coorinate the preparation         518.00
                                                of witnesses for interview
                                                pursuant to the SEC
                                                subpoena
12/08/17   J. A. Georges         0.40 C100      Updates to weekly report          100.00
                                                submissions, draft email to
                                                T. Ryan regarding same
12/08/17   T. L. Kornobis        0.30 C300      Analyze and edit subpoena         111.00
                                                tracker to reflect updates
12/08/17   S. E.                 0.70 L120      Conference call with co-          490.00
           Lambrakopoulos                       counsel regarding SEC
                                                investigation issues
12/08/17   S. E.                 0.50 L120      Conference call with              350.00
           Lambrakopoulos                       Deloitte counsel regarding
                                                subpoena
12/08/17   S. E.                 0.80 L120      Review status of Deloitte         560.00
           Lambrakopoulos                       document production
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
12/08/17   S. E.              1.00 L120      Calls with K&L Gates              700.00
           Lambrakopoulos                    counsel regarding SEC
                                             investigation and testimony
12/08/17   S. E.              0.50 L120      Participate on call with           350.00
           Lambrakopoulos                    Audit Committee and
                                             Special Committee chairs
                                             and counsel regarding SEC
                                             investigation
12/08/17   S. E.              1.00 L120      Various emails with counsel        700.00
           Lambrakopoulos                    regarding tolling agreement
                                             and disclosure issues
12/08/17   S. E.              1.20 L120      Review materials in                840.00
           Lambrakopoulos                    preparation for testimony
12/08/17   V. L. Martinez     0.30 L120      Correspond with Client, T.         210.00
                                             Ryan and E. Glover
                                             regarding arrangements for
                                             testimony preparations next
                                             week
12/08/17   V. L. Martinez     0.30 L120      Correspond with co-counsel         210.00
                                             regarding testimony
                                             preparations next week
12/08/17   V. L. Martinez     3.30 L120      Prepare for upcoming             2,310.00
                                             testimony, including drafting
                                             questions and reviewing
                                             exhibits
12/08/17   V. L. Martinez     1.50 L120      Hold call with Client, co-       1,050.00
                                             counsel, bankruptcy
                                             counsel, counsel for the
                                             Special Committee of the
                                             Board, and independent
                                             directors
12/08/17   V. L. Martinez     0.80 L120      Hold weekly call with co-          560.00
                                             counsel regarding the
                                             status of the SEC
                                             investigation
12/08/17   V. L. Martinez     1.70 L120      Draft and distribute talking     1,190.00
                                             points regarding tolling
                                             agreement
12/08/17   V. L. Martinez     0.20 L120      Correspond with                    140.00
                                             bankruptcy counsel on
                                             events in bankruptcy
12/08/17   M. A. Rush         5.40 L120      Review materials for SEC         3,780.00
                                             testimony preparation
12/08/17   M. A. Rush         0.80 L120      Conference with team to            560.00
                                             prepare for audit committee
                                             meeting
12/08/17   M. A. Rush         1.00 L120      Participate in audit               700.00
                                             committee meeting
12/08/17   T. C. Ryan         5.50 L120      Review legal and factual         3,850.00
                                             memoranda in preparation
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
                                             for Audit Committee
                                             meeting
12/08/17   T. C. Ryan         1.10 L120      Participate in preparation         770.00
                                             for call for Audit Committee
                                             meeting
12/08/17   T. C. Ryan         0.90 L120      Participate in Audit               630.00
                                             Committee meeting
12/09/17   C. H. Bell         0.20 C100      Continue review of                   74.00
                                             documents for inclusion into
                                             witness kit for use by senior
                                             attorneys assisting with
                                             government interviews of
                                             client personnel
12/09/17   A. R. Cashman      1.40 L120      Prepare documents for              518.00
                                             circulation regarding
                                             negotiation of production of
                                             witnesses to SEC
12/09/17   A. R. Cashman      0.50 L120      Conference call with co-           185.00
                                             counsel regarding
                                             preparation for witness
                                             interviews
12/09/17   S. E.              0.60 L120      Review and revise draft            420.00
           Lambrakopoulos                    tolling agreement and draft
                                             disclosures
12/09/17   S. E.              1.20 L120      Emails with counsel                840.00
           Lambrakopoulos                    regarding tolling
                                             agreement, draft
                                             disclosures and related
                                             issues
12/09/17   S. E.              0.60 L120      Conference call with co-           420.00
           Lambrakopoulos                    counsel regarding SEC
                                             investigation
12/09/17   V. L. Martinez     0.50 L120      Correspond with M. Rush,           350.00
                                             T. Ryan and S.
                                             Lambrakopoulos regarding
                                             tolling agreement
12/09/17   V. L. Martinez     0.50 L120      Review draft tolling               350.00
                                             agreement
12/09/17   V. L. Martinez     0.30 L120      Correspond with M. Rush,           210.00
                                             T. Ryan, S.
                                             Lambrakopoulos and A.
                                             Cashman regarding
                                             disclosures
12/09/17   V. L. Martinez     0.80 L120      Hold call with bankruptcy          560.00
                                             counsel regarding tolling
                                             agreement
12/09/17   V. L. Martinez     0.80 L120      Correspond and hold call           560.00
                                             with co-counsel regarding
                                             the tolling agreement
12/09/17   V. L. Martinez     0.80 L120      Correspond with co-                560.00
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
                                             counsel, bankruptcy
                                             counsel and counsel for the
                                             Special Committee of the
                                             Board regarding items to
                                             discuss in a call with the
                                             SEC
12/09/17   V. L. Martinez     1.00 L120      Draft and distribute               700.00
                                             understanding of items to
                                             discuss during SEC call
12/09/17   M. A. Rush         1.90 L120      Work on talking points for       1,330.00
                                             SEC tolling agreement and
                                             emails with team
12/09/17   M. A. Rush         1.20 L120      Revise tolling agreement           840.00
12/09/17   M. A. Rush         0.90 L120      Revise disclosures                 630.00
12/09/17   M. A. Rush         0.90 L120      Phone conferences with T.          630.00
                                             Ryan and team
12/09/17   T. C. Ryan         2.40 L120      Review and revise talking        1,680.00
                                             points and testimony
                                             strategy outline
12/09/17   T. C. Ryan         1.00 L120      Address disclosure issues          700.00
                                             with debtor's counsel
12/10/17   C. H. Bell         4.10 C100      Continue review of               1,517.00
                                             documents for inclusion into
                                             witness kit for use by senior
                                             attorneys assisting client in
                                             government interviews of
                                             client personnel
12/10/17   S. E.              0.50 L120      Emails with co-counsel, and        350.00
           Lambrakopoulos                    counsel for Audit
                                             Committee and Special
                                             Committee regarding SEC
                                             investigation
12/10/17   V. L. Martinez     0.70 L120      Hold call with bankruptcy          490.00
                                             counsel and counsel for the
                                             Special Committee of the
                                             Board
12/10/17   V. L. Martinez     0.50 L120      Correspond with M. Rush,           350.00
                                             T. Ryan, S.
                                             Lambrakopoulos and A.
                                             Cashman regarding
                                             strategy for call with the
                                             SEC
12/10/17   V. L. Martinez     0.30 L120      Correspond with T. Ryan            210.00
                                             regarding timing for a call
                                             with the SEC
12/10/17   M. A. Rush         1.80 L120      Conference call with team        1,260.00
                                             regarding SEC depositions
                                             and tolling agreement
12/10/17   M. A. Rush         3.00 L120      Review materials in              2,100.00
                                             preparation for witness
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             testimony
12/10/17   T. C. Ryan         1.70 L120      Prepare for and conference      1,190.00
                                             with co-counsel, client
                                             regarding testimony
                                             strategy
12/10/17   T. C. Ryan         0.80 L120      Draft follow-up strategy          560.00
                                             outline and circulate to co-
                                             counsel, client
12/11/17   S. E.              0.30 L120      Confer with T. Kornobis           210.00
           Lambrakopoulos                    regarding SEC investigation
12/11/17   S. E.              0.30 L120      Various emails with V.            210.00
           Lambrakopoulos                    Martinez and co-counsel
                                             regarding SEC investigation
                                             and testimony
12/11/17   V. L. Martinez     0.50 L120      Hold call with T. Ryan            350.00
                                             regarding scheduling for
                                             testimony
12/11/17   V. L. Martinez     0.60 L120      Hold calls with co-counsel        420.00
                                             regarding scheduling for
                                             testimony
12/11/17   V. L. Martinez     1.00 L120      Hold call with various            700.00
                                             counsel regarding potential
                                             terms of a tolling agreement
12/11/17   V. L. Martinez     0.20 L120      Correspond with T. Ryan           140.00
                                             and S. Lambrakopoulos
                                             regarding terms of tolling
                                             agreement
12/11/17   M. A. Rush         2.40 L120      Conference with T. Ryan         1,680.00
                                             regarding tolling agreement
                                             and review draft disclosures
12/11/17   T. C. Ryan         4.50 L120      Address issues surrounding      3,150.00
                                             tolling agreement
12/11/17   T. C. Ryan         0.70 L120      Prepare for and conference        490.00
                                             with Audit Committee chair
                                             regarding status of
                                             negotiations with staff on
                                             tolling agreement
12/11/17   T. C. Ryan         0.70 L120      Prepare for and conference        490.00
                                             with staff regarding tolling
                                             agreement
12/12/17   A. R. Cashman      0.50 L120      Conference with K&L Gates         185.00
                                             team regarding status of
                                             investigation
12/12/17   K. M. Gafner       0.60 C300      Conference regarding case         222.00
                                             status and strategy
12/12/17   J. A. Georges      0.20 C100      Attend team status                 50.00
                                             conference
12/12/17   T. L. Kornobis     0.90 C300      Participate in team strategy      333.00
                                             call and review summary
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
                                             documents in preparation
                                             for call
12/12/17   S. E.              0.60 l120      Various emails with co-          420.00
           Lambrakopoulos                    counsel regarding SEC
                                             procedural issues
12/12/17   S. E.              0.20 L120      Confer with T. Ryan              140.00
           Lambrakopoulos                    regarding SEC procedural
                                             questions
12/12/17   V. L. Martinez     0.20 L120      Hold call with T. Ryan           140.00
                                             regarding tolling agreement
                                             terms
12/12/17   V. L. Martinez     0.30 L120      Correspond with co-              210.00
                                             counsel, bankruptcy
                                             counsel and counsel for the
                                             Special Committee of the
                                             Board regarding the terms
                                             of a tolling agreement
12/12/17   V. L. Martinez     0.10 L120      Correspond with                   70.00
                                             bankruptcy counsel
                                             regarding tolling agreement
                                             terms
12/12/17   M. A. Rush         1.00 L120      Review revisions to              700.00
                                             disclosure and discuss
                                             tolling issues with T. Ryan
12/12/17   T. C. Ryan         4.30 L120      Address and reconcile          3,010.00
                                             comments from internal
                                             team regarding tolling
                                             agreement
12/13/17   S. E.              0.80 L120      Draft disclosure statement       560.00
           Lambrakopoulos                    in connection with
                                             bankruptcy process
12/13/17   S. E.              0.20 L120      Conference call with T.          140.00
           Lambrakopoulos                    Ryan and V. Martinez on
                                             SEC procedural questions
12/13/17   S. E.              0.40 L120      Various emails with co-          280.00
           Lambrakopoulos                    counsel regarding SEC
                                             procedural issues
12/13/17   V. L. Martinez     0.30 L120      Correspond with T. Ryan          210.00
                                             regarding draft tolling
                                             agreement provisions
12/13/17   V. L. Martinez     0.60 L120      Correspond with co-              420.00
                                             counsel, bankruptcy
                                             counsel, and counsel to the
                                             Special Committee
                                             regarding tolling agreement
                                             provisions
12/13/17   T. C. Ryan         2.20 L120      Prepare for due diligence      1,540.00
                                             call in bankruptcy process
12/13/17   T. C. Ryan         2.70 L120      Address issues related to      1,890.00
                                             tolling agreement
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
12/14/17   M. E. Flinn        4.90 C200      Conduct research of case         1,813.00
                                             law and administrative
                                             actions at request of V.
                                             Martinez
12/14/17   T. L. Kornobis     5.50 C200      Conduct legal research at        2,035.00
                                             request of V. Martinez
12/14/17   S. E.              0.30 L120      Confer with V. Martinez re         210.00
           Lambrakopoulos                    SEC procedural issue
12/14/17   S. E.              1.20 L120      Research SEC                       840.00
           Lambrakopoulos                    enforcement actions in
                                             connection with procedural
                                             questions
12/14/17   V. L. Martinez     2.50 L120      Correspond and hold calls        1,750.00
                                             with co-counsel, bankruptcy
                                             counsel, and counsel to the
                                             Special Committee
                                             regarding tolling agreement
                                             provisions
12/14/17   V. L. Martinez     0.60 L120      Revise draft tolling               420.00
                                             agreement and send to
                                             SEC
12/14/17   V. L. Martinez     0.60 L120      Multiple emails with Audit         420.00
                                             Committee Chair regarding
                                             tolling agreement
                                             provisions
12/14/17   V. L. Martinez     0.50 L120      Review internal research on        350.00
                                             SEC bankruptcy proof of
                                             claim
12/14/17   V. L. Martinez     1.00 L120      Hold calls regarding tolling       700.00
                                             agreement provisions
12/14/17   V. L. Martinez     1.00 L120      Draft alternative tolling          700.00
                                             agreement provisions
12/14/17   V. L. Martinez     0.50 L120      Hold call and correspond           350.00
                                             with co-counsel to share
                                             details of call with the SEC
12/14/17   V. L. Martinez     0.20 L120      Provide summary of recent          140.00
                                             case law for audit
                                             committee chair
12/14/17   T. C. Ryan         4.40 L120      Prepare for and participate      3,080.00
                                             in due diligence call as part
                                             of bankruptcy process
12/14/17   T. C. Ryan         2.70 L120      Address issues arising           1,890.00
                                             regarding the tolling
                                             agreement
12/15/17   A. R. Cashman      1.00 L120      Conference with co-counsel         370.00
                                             regarding status of
                                             subpoena response
12/15/17   M. E. Flinn        2.50 C200      Continue legal research at         925.00
                                             request of V. Martinez
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
12/15/17   T. L. Kornobis     2.40 C200      Conduct legal research at       888.00
                                             request of V. Martinez
12/15/17   T. L. Kornobis     1.40 C400      Calls with SEC staff             518.00
                                             regarding tolling agreement
                                             language
12/15/17   S. E.              0.80 L120      Participate in status call       560.00
           Lambrakopoulos                    with co-counsel
12/15/17   S. E.              0.40 L120      Various emails with co-          280.00
           Lambrakopoulos                    counsel regarding SEC
                                             procedural issues and
                                             testimony
12/15/17   V. L. Martinez     2.50 L120      Correspond with co-            1,750.00
                                             counsel, bankruptcy
                                             counsel and counsel for the
                                             special committee to the
                                             board on the status of
                                             negotiations on the tolling
                                             agreement
12/15/17   V. L. Martinez     2.50 L120      Correspond and hold calls      1,750.00
                                             with the SEC regarding the
                                             terms of the tolling
                                             agreement, and draft
                                             proposed terms
12/15/17   V. L. Martinez     0.20 L120      Meet with T. Kornobis to         140.00
                                             discuss tolling agreement
                                             terms
12/15/17   T. C. Ryan         3.40 L120      Address issues related to      2,380.00
                                             testimony and coordinate
                                             with debtor's counsel
12/15/17   T. C. Ryan         0.70 L120      Prepare for and participate      490.00
                                             in coordination call with
                                             debtor's counsel and
                                             counsel for special
                                             committee
12/18/17   A. R. Cashman      0.60 L320      Coordinate subpoena              222.00
                                             response, including
                                             production of priv log
12/18/17   T. L. Kornobis     5.20 C300      Analyze reports and            1,924.00
                                             documents related to case
                                             history and edit chronology
12/18/17   S. E.              0.30 L120      Confer with V. Martinez          210.00
           Lambrakopoulos                    regarding SEC procedural
                                             issue
12/18/17   S. E.              0.40 L120      Various emails with co-          280.00
           Lambrakopoulos                    counsel regarding SEC
                                             issues
12/18/17   V. L. Martinez     0.60 L120      Meet and hold calls with S.      420.00
                                             Lambrakopoulos and T.
                                             Ryan regarding the tolling
                                             agreement
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DATE       NAME               HRS TASK       DESCRIPTION                      AMOUNT
12/18/17   V. L. Martinez     0.70 L120      Draft emails and                   490.00
                                             correspond with co-
                                             counsel, bankruptcy
                                             counsel, and counsel for
                                             special committee to the
                                             board regarding the tolling
                                             agreement
12/18/17   V. L. Martinez     1.00 L120      Draft and send email to             700.00
                                             SEC staff regarding tolling
                                             agreement
12/18/17   V. L. Martinez     0.40 L120      Hold call with co-counsel           280.00
                                             regarding tolling agreement
                                             and representation of
                                             former employees
12/18/17   V. L. Martinez     0.20 L120      Correspond with A.                  140.00
                                             Cashman regarding
                                             production
12/18/17   T. C. Ryan         1.20 L120      Address issues related to           840.00
                                             finalizing tolling agreement
12/18/17   T. C. Ryan         0.70 L120      Prepare for and conference          490.00
                                             with debtor's counsel
                                             regarding strategies and
                                             alternatives for estate to
                                             address investigation
12/19/17   A. R. Cashman      0.50 L120      Conference with K&L Gates           185.00
                                             team regarding status of
                                             subpoena response
12/19/17   K. M. Gafner       0.50 C300      Attend weekly team                  185.00
                                             strategy meeting
12/19/17   T. L. Kornobis     0.50 C300      Weekly team strategy                185.00
                                             meeting
12/19/17   V. L. Martinez     0.20 L120      Correspond with associate           140.00
                                             regarding production to the
                                             SEC
12/19/17   V. L. Martinez     0.20 L120      Correspond with associate           140.00
                                             regarding status of
                                             production and other
                                             records issues
12/19/17   V. L. Martinez     0.50 L120      Correspond with T. Ryan             350.00
                                             and the client regarding the
                                             tolling agreement
12/19/17   V. L. Martinez     0.70 L120      Correspond and hold calls           490.00
                                             with SEC regarding the
                                             tolling agreement
12/19/17   V. L. Martinez     0.40 L120      Sign and send tolling               280.00
                                             agreement to the SEC
12/19/17   V. L. Martinez     1.00 L120      Draft bullet points related to      700.00
                                             communications with
                                             counsel for former
                                             employees
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
12/19/17   T. C. Ryan         1.10 L120      Address issues related to        770.00
                                             tolling agreement
12/20/17   V. L. Martinez     0.20 L120      Correspond with T. Ryan           140.00
                                             regarding updating client on
                                             SEC investigation
12/20/17   T. C. Ryan         1.80 L120      Review and revise               1,260.00
                                             discussion points with
                                             counsel for former
                                             employees and
                                             communicate with Audit
                                             Committee chairman
                                             regarding same
12/21/17   S. E.              1.50 L120      Research regarding              1,050.00
           Lambrakopoulos                    privilege questions
12/21/17   S. E.              0.40 L120      Emails with Deloitte              280.00
           Lambrakopoulos                    counsel regarding
                                             subpoena
12/21/17   V. L. Martinez     0.20 L120      Correspond with T. Ryan           140.00
                                             and S. Lambrakopoulos,
                                             bankruptcy counsel and
                                             Client regarding information
                                             request from Japanese co-
                                             counsel
12/21/17   V. L. Martinez     1.00 L120      Review information                700.00
                                             surrounding co-counsel
                                             request
12/21/17   V. L. Martinez     1.30 L120      Meet with bankruptcy              910.00
                                             counsel, and hold call with
                                             client, bankruptcy counsel
                                             and T. Ryan regarding co-
                                             counsel request
12/21/17   T. C. Ryan         2.90 L120      Address response to             2,030.00
                                             request from Japanese co-
                                             counsel
12/21/17   T. C. Ryan         1.10 L120      Conference with client            770.00
                                             regarding updates to
                                             investigation
12/22/17   A. R. Cashman      0.80 L120      Conference with co-counsel        296.00
                                             regarding subpoena
                                             response
12/22/17   S. E.              0.70 C300      Conference call with co-          490.00
           Lambrakopoulos                    counsel on SEC
                                             investigation and related
                                             matters
12/22/17   S. E.              0.20 C300      Various emails with V.            140.00
           Lambrakopoulos                    Martinez re cooperation
                                             issues
12/22/17   V. L. Martinez     0.80 L120      Prepare for and hold              560.00
                                             weekly update call with co-
                                             counsel
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
12/22/17   V. L. Martinez     0.20 l120      Correspond with fellow            140.00
                                             partners regarding meeting
                                             with bankruptcy counsel
12/22/17   V. L. Martinez     0.50 l120      Research and correspond            350.00
                                             with S. Lambrakopoulos
                                             regarding research to
                                             understand information
                                             cooperation agreements
12/22/17   V. L. Martinez     0.20 l120      Hold conversations with            140.00
                                             associates regarding
                                             research assignments for
                                             legal issues
12/22/17   T. C. Ryan         1.10 L120      Address inquiry from               770.00
                                             Japanese co-counsel in
                                             investigation
12/22/17   T. C. Ryan         1.20 L120      Prepare for and participate        840.00
                                             in coordination call
12/26/17   S. E.              0.70 C300      Research cooperation               490.00
           Lambrakopoulos                    agreements
12/26/17   V. L. Martinez     0.20 L120      Correspond with S.                 140.00
                                             Lambrakopoulos regarding
                                             upcoming meeting with
                                             bankruptcy counsel
12/27/17   A. R. Cashman      0.40 L320      Coordinate production of           148.00
                                             documents and priv log
                                             responsive to SEC
                                             subpoena
12/27/17   S. E.              0.30 L120      Emails with A. Cashman             210.00
           Lambrakopoulos                    and team regarding
                                             production question on
                                             SEC investigation and
                                             related matters
12/27/17   S. E.              3.50 L120      Research international           2,450.00
           Lambrakopoulos                    cooperation issues relating
                                             to SEC
12/27/17   S. E.              1.20 L120      Prepare guidance on                840.00
           Lambrakopoulos                    attorney-client privilege and
                                             work product designations
12/27/17   S. E.              0.40 L120      Telephone call with V.             280.00
           Lambrakopoulos                    Martinez re SEC
                                             investigation
12/27/17   V. L. Martinez     0.30 L120      Prepare for, correspond            210.00
                                             and hold call with partner
                                             regarding upcoming tasks
                                             for SEC matter
12/27/17   V. L. Martinez     0.10 L120      Review draft response to            70.00
                                             inquiry from Japanese co-
                                             counsel and correspond
                                             with partner to comment on
                                             same
17-10751-mew   Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
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DATE       NAME                 HRS TASK       DESCRIPTION                       AMOUNT
12/27/17   V. L. Martinez       0.10 L120      Correspond with associate           70.00
                                               to add item to list of tasks
                                               for SEC matter
12/27/17   V. L. Martinez        0.10 L120     Correspond with partners             70.00
                                               and associate on
                                               production issues
12/27/17   T. C. Ryan            1.70 L120     Prepare draft                      1,190.00
                                               correspondence for co-
                                               counsel to review regarding
                                               coordination issues with
                                               client
12/28/17   S. E.                 1.80 L120     Research cooperation               1,260.00
           Lambrakopoulos                      agreements
12/29/17   A. R. Cashman         0.40 L320     Coordinate production of            148.00
                                               privilege log for production
                                               to SEC
12/29/17   V. L. Martinez        0.20 L120     Correspond with partners            140.00
                                               and co-counsel regarding
                                               weekly coordination call
12/29/17   V. L. Martinez        0.60 L120     Correspond and hold call            420.00
                                               with co-counsel and
                                               counsel for former
                                               employees regarding
                                               witness preparation, and
                                               review item discussed
                                               during call
12/29/17   V. L. Martinez        0.10 L120     Correspond with co-counsel           70.00
                                               regarding contact with SEC
12/29/17   V. L. Martinez        0.20 L120     Correspond and hold call            140.00
                                               regarding communications
                                               with co-counsel and
                                               counsel for former
                                               employees
12/31/17   V. L. Martinez        0.20 L120     Review and respond to               140.00
                                               correspondence with co-
                                               counsel and bankruptcy
                                               counsel regarding request
                                               for information
12/31/17   V. L. Martinez        0.20 L120     Draft outline of research           140.00
                                               assignments for associates
                            TOTAL FEES            256.30 hrs                $   158,686.00
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                               TIMEKEEPER SUMMARY

C. H. Bell                       4.30    hrs at    $    370.00   / hr          1,591.00
A. R. Cashman                   11.90    hrs at    $    370.00   / hr          4,403.00
M. E. Flinn                      7.40    hrs at    $    370.00   / hr          2,738.00
K. M. Gafner                     1.10    hrs at    $    370.00   / hr            407.00
J. A. Georges                    3.30    hrs at    $    250.00   / hr            825.00
J. A. Jay                        4.90    hrs at    $    370.00   / hr          1,813.00
T. L. Kornobis                  19.90    hrs at    $    370.00   / hr          7,363.00
S. E. Lambrakopoulos            32.60    hrs at    $    700.00   / hr         22,820.00
V. L. Martinez                  63.40    hrs at    $    700.00   / hr         44,380.00
A. E. McCullough                 5.60    hrs at    $    370.00   / hr          2,072.00
W. A. Prichard                   1.30    hrs at    $    370.00   / hr            481.00
M. A. Rush                      27.20    hrs at    $    700.00   / hr         19,040.00
T. C. Ryan                      71.50    hrs at    $    700.00   / hr         50,050.00
D. J. Veintimilla                1.90    hrs at    $    370.00   / hr            703.00
                       TOTAL FEES                 256.30 hrs             $   158,686.00
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                               TASK CODE SUMMARY

B110    Case Administration                      2.50   hrs               1,390.00
C100    Fact Gathering                          12.00   hrs               4,260.00
C200    Researching Law                         15.30   hrs               5,661.00
C300    Analysis and Advice                     13.30   hrs               5,449.00
C400    Third Party Communication                1.40   hrs                 518.00
L110    Fact Investigation/Development           0.40   hrs                 100.00
L120    Analysis/Strategy                       23.10   hrs              15,675.00
l120    Analysis/Strategy                        0.90   hrs                 630.00
L120    Analysis/Strategy                       14.50   hrs               9,886.00
l120    Analysis/Strategy                        0.60   hrs                 420.00
L120    Analysis/Strategy                      166.00   hrs             112,438.00
L320    Document Production                      4.90   hrs               1,741.00
L330    Depositions                              1.40   hrs                 518.00
                          TOTAL FEES           256.30   hrs        $    158,686.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Air Fare                                                                    750.18
Business Meal                                                               349.38
Lexis Research                                                              892.53
Long Distance Courier                                                        38.52
Telephone / Conference Calls / Fx Line Trans                                 25.59
Travel Expenses                                                           1,032.28
Travel Related Meals                                                         35.33
Westlaw Research                                                             86.31
                         DISBURSEMENTS & OTHER CHARGES             $      3,210.12
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                         Invoice Date                     :     January 11, 2018
 1000 Westinghouse Drive                                                               Invoice Number                   :     3471043
 Cranberry Township, PA 16066                                                          Services Through                 :     December 31, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

       Fees                                                                        $         1,351.00
       Disbursements and Other Charges                                             $         1,149.53
       Total Amount Due This Matter                                                                                                $           2,500.53



CURRENT INVOICE DUE - All Matters                                                                                                   $          2,500.53




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
17-10751-mew   Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15             Exhibit Time
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                                                                             Invoice # 3471043
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 Subpoena Response - eDAT Fees (70030)                                              $2,500.53


                                           FEES

DATE       NAME                   HOURS      DESCRIPTION                             AMOUNT
12/01/17   J. A. Chiccarino        0.30      Strategize with litigation support        111.00
                                             regarding document production
12/05/17   J. A. Chiccarino         0.60     Strategize with litigation support         222.00
                                             regarding document production
12/05/17   T. M. Gracey             0.20     Perform strategic queries in                50.00
                                             Ringtail Database for
                                             documents on provided list and
                                             compile results in
                                             preparation for export of ESI
12/05/17   T. M. Gracey             0.30     Perform batch procedures in                 75.00
                                             Ringtail to electronically extract
                                             documents to PDF format in
                                             preparation for native/hard copy
                                             review at the request of
12/05/17   T. M. Gracey             0.20     Analyze and organize results in             50.00
                                             preparation for finalization and
                                             transfer to case team
12/06/17   J. A. Chiccarino         0.70     Strategize with litigation support         259.00
                                             regarding document production
12/07/17   J. A. Chiccarino         0.70     Strategize with litigation support         259.00
                                             regarding document production
12/07/17   L. A. Diersen            0.40     Conference with J. Chiccarino,             100.00
                                             R. Treglia, K. Slavik, and C.
                                             Field in regards to project
                                             management and productions
12/07/17   K. R. Slavik             0.40     Conference with J. Chiccarino,             100.00
                                             R. Treglia, L. Diersen, and C.
                                             Field in regards to project
                                             management and productions
12/07/17   K. R. Slavik             0.50     Analyze documents confirming               125.00
                                             compliance with WEC SEC 010
                                             document production
                                             specifications
                           TOTAL FEES                  4.30 hrs                 $      1,351.00
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                                             TIMEKEEPER SUMMARY

J. A. Chiccarino                             2.30             hrs at      $       370.00     / hr                   851.00
L. A. Diersen                                0.40             hrs at      $       250.00     / hr                   100.00
T. M. Gracey                                 0.70             hrs at      $       250.00     / hr                   175.00
K. R. Slavik                                 0.90             hrs at      $       250.00     / hr                   225.00
                                    TOTAL FEES                                4.30 hrs                   $        1,351.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
12/31/17         Ringtail Fees: December 2017 Data Storage Fees: 46.64 GB @                                         699.53
                 $15.00/GB: $699.53
12/31/17         Ringtail Fees: December 2017 9 Web Licenses @ $50/month:                                           450.00
                 $450.00
                                DISBURSEMENTS & OTHER CHARGES                                            $        1,149.53

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                                                 MATTER SUMMARY

Fees                                                                                                     $        1,351.00
Disbursements and Other Charges                                                                          $        1,149.53
MATTER TOTAL                                                                                             $        2,500.53
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                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 28, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3485630
Cranberry Township, PA 16066                                                                  Services Through                     :      January 31, 2018




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $      230,161.00
Disbursements and Other Charges                                                                                                                  $       11,548.04

CURRENT INVOICE DUE                                                                                                                              $      241,709.04




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew   Doc 3955-7       Filed 09/25/18 Entered 09/25/18 13:03:15      Exhibit Time
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                                          FEES

DATE       NAME                  HRS TASK        DESCRIPTION                  AMOUNT
01/02/18   T. L. Kornobis        0.50 C300       Team strategy meeting          185.00
01/02/18   S. E.                 0.80 L120       Conference call with           560.00
           Lambrakopoulos                        counsel regarding SEC
01/02/18   S. E.                 6.20 L120       Research and prepare          4,340.00
           Lambrakopoulos                        materials for client
                                                 presentation
01/02/18   V. L. Martinez        2.00 L120       Conduct legal research on     1,400.00
                                                 issues relevant to SEC
                                                 matter
01/02/18   V. L. Martinez        2.50 L120       Prepare slide deck for        1,750.00
                                                 debtor’s counsel
01/02/18   V. L. Martinez        1.00 L120       Meet with S.                    700.00
                                                 Lambrakopoulos and hold
                                                 call with T. Ryan and S.
                                                 Lambrakopoulos regarding
                                                 upcoming meeting with
                                                 debtor’s counsel
01/02/18   V. L. Martinez        0.50 L120       Hold weekly team call           350.00
01/02/18   A. E. McCullough      0.10 C200       Conference with V.               37.00
                                                 Martinez and M. Nichols
                                                 regarding legal research
01/02/18   A. E. McCullough      1.70 C200       Conduct legal research at       629.00
                                                 request of V. Martinez
01/02/18   D. M. Nichols Jr.     5.50 C200       Conduct legal research at     2,035.00
                                                 request of V. Martinez
01/02/18   T. C. Ryan            3.70 L120       Prepare for strategy          2,590.00
                                                 meeting with Audit
                                                 Committee Chairman,
                                                 debtor's counsel
01/03/18   T. L. Kornobis        3.80 L110       Review and compile factual    1,406.00
                                                 documents and work
                                                 product materials to
                                                 prepare for client meeting
01/03/18   T. L. Kornobis        4.50 L120       Research SEC case law         1,665.00
                                                 and court filings in
                                                 preparation for client
                                                 meeting and prepare slide
                                                 presentation regarding
                                                 research
01/03/18   S. E.                 6.50 L120       Preparation and research      4,550.00
           Lambrakopoulos                        SEC proceedings in
                                                 connection with client
                                                 meeting on strategy
01/03/18   S. E.                 0.40 L120       Various emails and calls        280.00
           Lambrakopoulos                        with counsel regarding
                                                 same
01/03/18   V. L. Martinez        0.10 L120       Correspond with associate         70.00
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                regarding revisions to a
                                                filing
01/03/18   V. L. Martinez        0.50 L120      Review outline of agenda          350.00
                                                for meeting with debtor’s
                                                counsel
01/03/18   V. L. Martinez        0.50 L120      Meet and hold call with S.        350.00
                                                Lambrakopoulos and T.
                                                Ryan to divide tasks for
                                                meeting with debtor’s
                                                counsel
01/03/18   V. L. Martinez        0.20 L120      Meet with associate to            140.00
                                                discuss research on legal
                                                issues relevant to SEC
                                                matter
01/03/18   V. L. Martinez        5.10 L120      Draft materials for use in      3,570.00
                                                meeting with debtor’s
                                                counsel, and send and
                                                discuss same with T. Ryan
                                                and S. Lambrakopoulos
01/03/18   V. L. Martinez        0.10 L120      Preparation for meeting             70.00
                                                with debtor’s counsel
01/03/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan,          140.00
                                                S. Lambrakopoulos and co-
                                                counsel regarding former
                                                employee
01/03/18   A. E. McCullough      1.70 C200      Conduct legal research at         629.00
                                                request of V. Martinez
01/03/18   D. M. Nichols Jr.     7.00 C200      Conduct legal research in       2,590.00
                                                preparation for meeting with
                                                audit committee chairman
                                                and debtor's counsel
01/03/18   T. C. Ryan            5.50 L120      Review documents, work          3,850.00
                                                product in preparation for
                                                strategy meeting with WEC
                                                audit committee chairman
01/03/18   N. A. Stockey         1.70 L120      Research and prepare              629.00
                                                materials for meetings with
                                                co-counsel
01/03/18   N. A. Stockey         0.40 L120      Confer with colleagues            148.00
                                                regarding materials for
                                                meeting with co-counsel
01/04/18   K. M. Gafner          1.70 C100      Prepare documentation for         629.00
                                                meeting with bankruptcy
                                                counsel
01/04/18   T. L. Kornobis        0.50 C300      Prepare document                  185.00
                                                collection and index for
                                                client meeting
01/04/18   S. E.                 0.60 L120      Conference call with co-          420.00
           Lambrakopoulos                       counsel regarding SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
01/04/18   S. E.                 6.20 L120      Research and preparation       4,340.00
           Lambrakopoulos                       of client presentation
01/04/18   S. E.                 0.60 L120      Various conferences and          420.00
           Lambrakopoulos                       emails with counsel
                                                regarding same
01/04/18   V. L. Martinez        4.50 L120      Conduct legal research for     3,150.00
                                                meeting with debtor’s
                                                counsel, and review
                                                research provided by an
                                                associate
01/04/18   V. L. Martinez        2.50 L120      Draft materials for meeting    1,750.00
                                                with debtor’s counsel
01/04/18   V. L. Martinez        0.50 L120      Correspond with associates       350.00
                                                regarding research
                                                assignments
01/04/18   V. L. Martinez        0.70 L120      Correspond with associates       490.00
                                                to find background
                                                materials for meeting with
                                                debtor’s counsel, and find
                                                and send certain materials
01/04/18   A. E. McCullough      0.10 C100      Conference with V.                 37.00
                                                Martinez regarding legal
                                                research
01/04/18   A. E. McCullough      1.60 C200      Draft legal research             592.00
                                                memorandum
01/04/18   A. E. McCullough      3.50 C200      Conduct follow-up legal        1,295.00
                                                research
01/04/18   D. M. Nichols Jr.     5.20 C200      Conduct additional legal       1,924.00
                                                research at request of V.
                                                Martinez
01/04/18   D. M. Nichols Jr.     0.20 C200      Meet with V. Martinez to           74.00
                                                present research results
                                                and to discuss research
                                                strategy moving forward
01/04/18   T. C. Ryan            3.60 L120      Review prior work product      2,520.00
                                                in preparation for meeting
                                                with audit committee
                                                chairman
01/04/18   N. A. Stockey         0.90 L120      Review and prepare               333.00
                                                materials for meetings with
                                                co-counsel
01/05/18   M. E. Flinn           5.00 C200      Update research and            1,850.00
                                                finalize memo summarizing
                                                findings
01/05/18   K. M. Gafner          1.80 C100      Prepare materials for            666.00
                                                meeting
01/05/18   S. E.                 0.30 L120      Conference call with co-         210.00
           Lambrakopoulos                       counsel regarding SEC and
                                                related matters
17-10751-mew   Doc 3955-7       Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
01/05/18   S. E.                 1.00 L120      Conference with counsel in       700.00
           Lambrakopoulos                       preparation for client
                                                meeting
01/05/18   S. E.                 5.20 L120      Revise and prepare for          3,640.00
           Lambrakopoulos                       presentation to clients
                                                regarding SEC
01/05/18   V. L. Martinez        3.00 L120      Draft materials for meeting     2,100.00
                                                with debtor’s counsel
01/05/18   V. L. Martinez        0.80 L120      Hold calls with T. Ryan and       560.00
                                                meet with S.
                                                Lambrakopoulos regarding
                                                meeting with debtor’s
                                                counsel
01/05/18   V. L. Martinez        0.50 L120      Prepare for and hold              350.00
                                                weekly conference call with
                                                co-counsel
01/05/18   V. L. Martinez        0.70 L120      Correspond and meet with          490.00
                                                associates regarding
                                                memos for three legal
                                                research assignments
01/05/18   A. E. McCullough      2.40 C200      Draft legal memorandum            888.00
01/05/18   D. M. Nichols Jr.     5.00 C200      Continue to draft and edit      1,850.00
                                                legal memorandum
01/05/18   T. C. Ryan            5.50 L120      Prepare for debrief and         3,850.00
                                                strategy session with audit
                                                committee chairman
01/05/18   T. C. Ryan            0.60 L120      Prepare and participate in        420.00
                                                coordination call with co-
                                                counsel
01/05/18   T. C. Ryan            0.70 L120      Conference with former            490.00
                                                employee
01/06/18   S. E.                 1.00 L120      Work on draft presentation        700.00
           Lambrakopoulos                       for client regarding SEC
01/06/18   V. L. Martinez        0.30 L120      Correspond with T. Ryan           210.00
                                                and S. Lambrakopoulos
                                                regarding upcoming
                                                meeting with debtor’s
                                                counsel
01/06/18   V. L. Martinez        2.20 L120      Prepare materials for           1,540.00
                                                meeting with debtor’s
                                                counsel
01/06/18   A. E. McCullough      1.30 C200      Draft and send memo to V.         481.00
                                                Martinez on legal research
01/07/18   S. E.                 1.50 L120      Meet with co-counsel in         1,050.00
           Lambrakopoulos                       preparation for meeting with
                                                client regarding SEC
01/07/18   S. E.                 0.80 L120      Review presentation in            560.00
           Lambrakopoulos                       preparation and related
                                                materials for meeting with
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             clients
01/07/18   V. L. Martinez     0.40 L120      Correspond with T. Ryan           280.00
                                             and S. Lambrakopoulos
                                             regarding upcoming
                                             meeting with debtor’s
                                             counsel
01/07/18   V. L. Martinez     1.50 L120      Prepare materials for           1,050.00
                                             meeting with debtor’s
                                             counsel
01/07/18   T. C. Ryan         1.20 L120      Review and revise slide           840.00
                                             deck for debrief with audit
                                             committee chairman
01/07/18   T. C. Ryan         2.00 L120      Conference with S.              1,400.00
                                             Lambrakoplous, V.
                                             Martinez to prep for
                                             meeting
01/08/18   S. E.              5.50 L120      Meeting with clients and co-    3,850.00
           Lambrakopoulos                    counsel regarding SEC
01/08/18   S. E.              0.40 L120      Various emails and                280.00
           Lambrakopoulos                    conferences with co-
                                             counsel follow-up matters
                                             with SEC
01/08/18   V. L. Martinez     5.00 L120      Prepare for and hold            3,500.00
                                             meeting with client and
                                             debtor’s counsel
01/08/18   T. C. Ryan         8.00 L120      Meetings with audit             5,600.00
                                             committee chairman,
                                             debtor's counsel regarding
                                             investigation
01/09/18   M. E. Flinn        0.30 C200      Review and summarize              111.00
                                             recent case development
01/09/18   T. L. Kornobis     0.30 C300      Team strategy call                111.00
01/09/18   S. E.              0.40 L120      Conference with counsel           280.00
           Lambrakopoulos                    regarding SEC procedural
                                             matter and review related
                                             material
01/09/18   S. E.              1.60 L120      Research legal issues           1,120.00
           Lambrakopoulos                    related to SEC
01/09/18   V. L. Martinez     0.80 L120      Correspond and hold calls         560.00
                                             with partners regarding
                                             SEC contact
01/09/18   V. L. Martinez     0.20 L120      Correspond with associate         140.00
                                             regarding recently reported
                                             relevant case
01/09/18   T. C. Ryan         2.30 L120      Address follow-up issues at     1,610.00
                                             request of debtor's counsel
01/10/18   S. E.              0.50 L120      Conferences with counsel          350.00
           Lambrakopoulos                    regarding SEC matters
01/10/18   S. E.              3.30 L120      Research and analysis on        2,310.00
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
           Lambrakopoulos                    SEC enforcement
                                             proceedings
01/10/18   V. L. Martinez     0.40 L120      Hold calls and correspond        280.00
                                             with T. Ryan and S.
                                             Lambrakopoulos regarding
                                             SEC contact
01/10/18   V. L. Martinez     3.00 L120      Conduct legal research on      2,100.00
                                             an Exchange Act procedure
01/10/18   T. C. Ryan         0.40 L120      Conference with debtor's         280.00
                                             counsel regarding follow-up
01/10/18   T. C. Ryan         0.50 L120      Conference with client           350.00
                                             regarding status of
                                             investigation
01/10/18   T. C. Ryan         0.60 L120      Conference with team             420.00
                                             regarding status of
                                             investigation
01/11/18   S. E.              0.60 L120      Conference calls with co-        420.00
           Lambrakopoulos                    counsel regarding SEC
01/11/18   S. E.              0.30 L120      Confer with counsel              210.00
           Lambrakopoulos                    regarding additional
                                             research related to SEC
01/11/18   S. E.              0.30 L120      Telephone call with counsel      210.00
           Lambrakopoulos                    regarding SEC procedural
                                             issue
01/11/18   S. E.              3.20 L120      Research legal issues          2,240.00
           Lambrakopoulos                    related to SEC
01/11/18   V. L. Martinez     1.30 L120      Review research                  910.00
                                             memorandum and
                                             correspond with associate
                                             regarding cited authorities
01/11/18   V. L. Martinez     0.10 L120      Correspond with SEC               70.00
01/11/18   V. L. Martinez     0.70 L120      Correspond with T. Ryan          490.00
                                             and S. Lambrakopoulos,
                                             client and bankruptcy
                                             counsel regarding contact
                                             from the SEC
01/11/18   V. L. Martinez     1.00 L120      Review correspondence            700.00
                                             with client and bankruptcy
                                             counsel, and hold call with
                                             co-counsel, regarding
                                             external inquiry
01/11/18   T. C. Ryan         1.70 L120      Address issues regarding       1,190.00
                                             tolling agreement
01/11/18   T. C. Ryan         0.80 L120      Conference with co-counsel       560.00
                                             regarding status of
                                             investigation
01/12/18   T. L. Kornobis     0.80 C300      Review and analyze               296.00
                                             documents from
                                             government meetings
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DATE       NAME                 HRS TASK       DESCRIPTION                     AMOUNT
01/12/18   S. E.                0.30 L120      Conference call with co-          210.00
           Lambrakopoulos                      counsel regarding SEC and
                                               related matters
01/12/18   S. E.                0.30 L120      Telephone call with counsel        210.00
           Lambrakopoulos                      regarding same
01/12/18   S. E.                2.20 L120      Research and review of           1,540.00
           Lambrakopoulos                      SEC proceedings in
                                               connection with legal
                                               analysis
01/12/18   V. L. Martinez       0.20 L120      Correspond with SEC                140.00
01/12/18   V. L. Martinez       0.50 L120      Correspond and hold call           350.00
                                               with T. Ryan and S.
                                               Lambrakopoulos regarding
                                               correspondence with SEC,
                                               and review related records
01/12/18   V. L. Martinez       0.60 L120      Hold update call with co-          420.00
                                               counsel
01/12/18   T. C. Ryan           0.70 L120      Prepare for and participate        490.00
                                               in coordination call with co-
                                               counsel
01/12/18   T. C. Ryan           0.90 L120      Conferences with v.                630.00
                                               Martinez, S.
                                               Lambrakopolous regarding
                                               tolling agreement
01/15/18   V. L. Martinez       1.50 L120      Review prior                     1,050.00
                                               communications with the
                                               SEC
01/15/18   V. L. Martinez       0.30 L120      Review article and                 210.00
                                               correspond with associate
                                               to obtain copy of court
                                               decision
01/15/18   A. E. McCullough     0.10 C200      Locate and send case                 37.00
                                               discussing SEC statute of
                                               limitations to V. Martinez
01/16/18   J. A. Georges        0.10 C100      Attend status conference            25.00
01/16/18   S. E.                1.50 L120      Review research related to       1,050.00
           Lambrakopoulos                      SEC legal issues
01/16/18   S. E.                0.50 L120      Confer with counsel                350.00
           Lambrakopoulos                      regarding preparation for
                                               SEC call
01/16/18   S. E.                0.40 L120      Various emails with counsel        280.00
           Lambrakopoulos                      regarding SEC issue
01/16/18   S. E.                0.50 L120      Participate in conference          350.00
           Lambrakopoulos                      call with SEC staff
01/16/18   S. E.                0.50 L120      Confer with counsel                350.00
           Lambrakopoulos                      regarding SEC call
01/16/18   S. E.                0.40 L120      Meet with associate                280.00
           Lambrakopoulos                      regarding research related
                                               to SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
01/16/18   V. L. Martinez        0.30 L120      Meet with associate to          210.00
                                                discuss conclusions of
                                                research memorandum,
                                                and to task associate with
                                                another research project
01/16/18   V. L. Martinez        2.10 L120      Review correspondence,         1,470.00
                                                correspond and hold calls
                                                with T. Ryan and S.
                                                Lambrakopoulos to prepare
                                                for calls with SEC staff
01/16/18   V. L. Martinez        0.60 L120      Hold calls with SEC staff        420.00
01/16/18   V. L. Martinez        0.50 L120      Correspond and hold call         350.00
                                                with co-counsel regarding
                                                case developments
01/16/18   V. L. Martinez        0.60 L120      Review correspondence            420.00
                                                and materials provided by
                                                co-counsel on matter
                                                developments
01/16/18   V. L. Martinez        0.10 L120      Correspond with T. Ryan            70.00
                                                and S. Lambrakopoulos
                                                regarding accounting
                                                procedures
01/16/18   V. L. Martinez        0.20 L120      Correspond with associate        140.00
                                                to request a recent
                                                appellate brief
01/16/18   A. E. McCullough      0.50 C200      Confer with counsel to           185.00
                                                discuss legal research
                                                memo
01/16/18   A. E. McCullough      0.20 C200      Confer with counsel to             74.00
                                                discuss legal research
                                                project
01/16/18   D. M. Nichols Jr.     2.10 C200      Read and analyze                 777.00
                                                applicable memoranda to
                                                provide background to
                                                inform research
01/16/18   T. C. Ryan            0.70 L120      Internal conference to           490.00
                                                prepare for call with
                                                government
01/16/18   T. C. Ryan            1.30 L120      Prepare for and participate      910.00
                                                in call with staff
01/17/18   S. E.                 0.50 L120      Various emails with co-          350.00
           Lambrakopoulos                       counsel regarding SEC
01/17/18   S. E.                 0.40 L120      Review and revise draft          280.00
           Lambrakopoulos                       communication to clients
                                                regarding SEC
01/17/18   S. E.                 0.80 L120      Confer with associate            560.00
           Lambrakopoulos                       regarding research in
                                                connection with SEC and
                                                related communications
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
01/17/18   S. E.                 3.20 L120      Research and analysis           2,240.00
           Lambrakopoulos                       relating to SEC legal issues
01/17/18   V. L. Martinez        2.50 L120      Conduct legal research on       1,750.00
                                                recent appeal and
                                                correspond with co-counsel
                                                regarding the same
01/17/18   V. L. Martinez        0.30 L120      Review cases and                  210.00
                                                correspond with associate
                                                regarding cases cited in
                                                legal research
                                                memorandum
01/17/18   V. L. Martinez        1.00 L120      Hold calls with T. Ryan and       700.00
                                                client regarding media
                                                inquiries
01/17/18   V. L. Martinez        0.10 L120      Correspond with client             70.00
                                                regarding SEC request
01/17/18   V. L. Martinez        0.70 L120      Correspond and hold call          490.00
                                                with co-counsel regarding
                                                regulatory inquiry
01/17/18   V. L. Martinez        0.40 L120      Review and respond to T.          280.00
                                                Ryan and S.
                                                Lambrakopoulos regarding
                                                draft response regarding
                                                regulatory inquiry
01/17/18   V. L. Martinez        1.20 L120      Hold call with co-counsel         840.00
                                                regarding media inquiries,
                                                and correspond with T.
                                                Ryan and client regarding
                                                the same
01/17/18   A. E. McCullough      0.40 C200      Research and send cases           148.00
                                                relevant to legal memo to
                                                counsel
01/17/18   D. M. Nichols Jr.     5.00 C200      Conduct factual and legal       1,850.00
                                                research regarding SEC
                                                inquiry
01/17/18   D. M. Nichols Jr.     0.90 C200      Confer with counsel               333.00
                                                regarding factual and legal
                                                research
01/17/18   T. C. Ryan            1.10 L120      Communicate with audit            770.00
                                                committee chairman
                                                regarding status of
                                                investigation
01/18/18   S. E.                 0.40 L120      Various emails with co-           280.00
           Lambrakopoulos                       counsel regarding SEC
01/18/18   S. E.                 0.50 L120      Conference call with co-          350.00
           Lambrakopoulos                       counsel regarding SEC
01/18/18   S. E.                 0.50 L120      Conference call with co-          350.00
           Lambrakopoulos                       counsel and witness
                                                regarding SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
01/18/18   S. E.                 0.20 L120      Conference call with co-          140.00
           Lambrakopoulos                       counsel for debrief
01/18/18   S. E.                 0.80 L120      Meet with associate                560.00
           Lambrakopoulos                       regarding project on factual
                                                issues relating to SEC and
                                                review of work product
01/18/18   S. E.                 1.80 L120      Research legal issue             1,260.00
           Lambrakopoulos                       relating to SEC
01/18/18   S. E.                 0.40 L120      Conference call with               280.00
           Lambrakopoulos                       counsel regarding same
01/18/18   V. L. Martinez        0.30 L120      Correspond with client             210.00
                                                regarding upcoming call
                                                and make arrangements for
                                                same with co-counsel
01/18/18   V. L. Martinez        0.40 L120      Prepare for and hold call          280.00
                                                with co-counsel regarding
                                                upcoming call regarding
                                                witness preparation and
                                                press inquiries
01/18/18   V. L. Martinez        2.20 L120      Review and revise chart          1,540.00
                                                tracking status of all tasks,
                                                and send same to
                                                associate
01/18/18   V. L. Martinez        0.20 L120      Correspond with                    140.00
                                                bankruptcy counsel
                                                regarding status of open
                                                research item
01/18/18   V. L. Martinez        1.30 L120      Prepare for and hold call          910.00
                                                with S. Lambrakopoulos
                                                and co-counsel, and follow-
                                                up call with T. Ryan,
                                                regarding witness
                                                preparation
01/18/18   V. L. Martinez        1.50 L120      Conduct legal research           1,050.00
                                                regarding the federal
                                                securities laws
01/18/18   A. E. McCullough      4.60 C200      Conduct legal research on        1,702.00
                                                issues relevant to SEC
                                                inquiry
01/18/18   A. E. McCullough      0.40 C200      Compile legal research to          148.00
                                                compile to counsel
                                                regarding SEC inquiry
01/18/18   D. M. Nichols Jr.     0.50 C200      Confer with counsel                185.00
                                                regarding legal research
                                                conducted and the strategic
                                                use of information found
01/18/18   D. M. Nichols Jr.     6.50 C200      Conduct legal and factual        2,405.00
                                                research regarding issues
                                                presented in the SEC
                                                inquiry
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
01/18/18   T. C. Ryan            1.20 L120      Coordination calls with co-      840.00
                                                counsel
01/19/18   J. A. Georges         0.00 C100      Report updates at the               0.00
                                                request of T. Ryan
01/19/18   S. E.                 1.20 L120      Research legal issue              840.00
           Lambrakopoulos                       related to SEC
01/19/18   S. E.                 0.20 L120      Status call with co-counsel       140.00
           Lambrakopoulos                       on SEC
01/19/18   S. E.                 0.80 L120      Review analysis and               560.00
           Lambrakopoulos                       research work product by
                                                associate
01/19/18   S. E.                 0.20 L120      Confer with counsel               140.00
           Lambrakopoulos                       regarding SEC procedural
                                                issue
01/19/18   V. L. Martinez        0.40 L120      Correspond with T. Ryan           280.00
                                                and S. Lambrakopoulos
                                                regarding tasks to discuss
                                                with co-counsel, and hold
                                                call regarding the same
01/19/18   V. L. Martinez        0.40 L120      Prepare for and hold call         280.00
                                                with co-counsel regarding
                                                witness contact and
                                                preparation
01/19/18   V. L. Martinez        0.40 L120      Hold weekly update call           280.00
                                                with co-counsel
01/19/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan           140.00
                                                and S. Lambrakopoulos
                                                regarding staffing upcoming
                                                document review
01/19/18   V. L. Martinez        0.30 L120      Hold call with client             210.00
                                                regarding contact with SEC
01/19/18   A. E. McCullough      1.70 C200      Conduct legal research on         629.00
                                                privilege issues and discuss
                                                findings with counsel
01/19/18   D. M. Nichols Jr.     3.80 C200      Conduct legal and factual       1,406.00
                                                research in connection with
                                                the SEC's inquiry
01/19/18   T. C. Ryan            2.20 L120      Conference calls with co-       1,540.00
                                                counsel regarding status of
                                                investigation
01/20/18   T. C. Ryan            1.30 L120      Conference with client and        910.00
                                                revise draft communication
                                                regarding status of
                                                investigation
01/22/18   S. E.                 1.50 L120      Review research relating to     1,050.00
           Lambrakopoulos                       privilege issues
01/22/18   S. E.                 0.40 L120      Various emails with co-           280.00
           Lambrakopoulos                       counsel regarding SEC
                                                investigation
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
01/22/18   S. E.              0.80 L120      Review analysis by               560.00
           Lambrakopoulos                    associate relating to SEC
                                             factual issues
01/22/18   V. L. Martinez     1.80 L120      Conduct legal research on       1,260.00
                                             privilege issue, and
                                             correspond with T. Ryan
                                             and S. Lambrakopoulos
                                             regarding the same
01/22/18   V. L. Martinez     0.70 L120      Review weekly report and          490.00
                                             articles cited in the same
01/22/18   T. C. Ryan         1.10 L120      Conference with client            770.00
                                             regarding due diligence
                                             follow-up
01/23/18   J. A. Georges      0.10 L110      Attend team status                 25.00
                                             conference
01/23/18   T. L. Kornobis     0.70 C300      Team strategy call                259.00
                                             regarding open issues and
                                             developments
01/23/18   S. E.              3.20 L120      Research legal issues and       2,240.00
           Lambrakopoulos                    other proceedings in
                                             connection with SEC
01/23/18   V. L. Martinez     0.10 L120      Correspond with T. Ryan            70.00
                                             and S. Lambrakopoulos
                                             regarding ongoing legal
                                             research on privilege issues
01/24/18   T. L. Kornobis     2.00 C200      Review materials in               740.00
                                             connection with SEC
                                             responses and research
                                             SEC enforcement actions
01/24/18   S. E.              0.60 L120      Review materials for joint        420.00
           Lambrakopoulos                    interest matters
01/24/18   S. E.              0.40 L120      Various emails with counsel       280.00
           Lambrakopoulos                    and co-counsel regarding
                                             joint interest questions
01/24/18   S. E.              0.60 L120      Conference call with co-          420.00
           Lambrakopoulos                    counsel regarding joint
                                             interest issues
01/24/18   S. E.              0.40 L120      Confer with counsel               280.00
           Lambrakopoulos                    regarding joint interest
01/24/18   V. L. Martinez     0.10 L120      Correspond with client             70.00
                                             regarding SEC request
01/24/18   V. L. Martinez     0.20 L120      Draft correspondence to           140.00
                                             SEC
01/24/18   V. L. Martinez     0.50 L120      Correspond with co-counsel        350.00
                                             regarding witness
                                             preparation materials
01/24/18   V. L. Martinez     1.50 L120      Hold calls with T. Ryan, S.     1,050.00
                                             Lambrakopoulos and co-
                                             counsel regarding witness
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             preparation, and meet
                                             internally to discuss issues
                                             following calls
01/24/18   V. L. Martinez     0.20 L120      Research public filings on        140.00
                                             EDGAR related to a
                                             previous investment
01/24/18   T. C. Ryan         1.10 L120      Conference with co-counsel        770.00
                                             regarding testimony
01/25/18   A. L. Burdette     1.90 C100      Coordinate witness                703.00
                                             preparation binders
01/25/18   K. M. Gafner       0.90 L120      Address issues regarding          333.00
                                             witness kits
01/25/18   J. A. Georges      0.60 C100      Respond to K. Gafner              150.00
                                             document request for
                                             outside counsel
01/25/18   J. A. Georges      0.60 L110      Respond to T. Kornobis            150.00
                                             engagement request
01/25/18   T. L. Kornobis     2.60 C200      Continue research related         962.00
                                             to SEC enforcement
                                             actions and discuss with S.
                                             Lambrakopoulos
01/25/18   S. E.              1.60 L120      Research and analyze legal      1,120.00
           Lambrakopoulos                    issues pertaining to SEC
01/25/18   S. E.              0.40 L120      Confer with associate             280.00
           Lambrakopoulos                    regarding results of legal
                                             research on SEC issue
01/25/18   S. E.              1.40 L120      Review legal analysis             980.00
           Lambrakopoulos                    memos by associates
01/25/18   S. E.              0.40 L120      Confer with counsel on            280.00
           Lambrakopoulos                    witness review and
                                             conferences
01/25/18   V. L. Martinez     0.50 L120      Correspond with associates        350.00
                                             regarding witness
                                             preparation binders
01/25/18   V. L. Martinez     0.40 L120      Correspond with co-counsel        280.00
                                             regarding witness
                                             preparation materials
01/25/18   V. L. Martinez     0.80 L120      Task associates with              560.00
                                             drafting witness preparation
                                             questions, and correspond
                                             with them regarding the
                                             same
01/25/18   V. L. Martinez     0.70 L120      Correspond with partner           490.00
                                             and associates regarding
                                             privilege review protocol
01/25/18   V. L. Martinez     0.40 L120      Correspond with associate         280.00
                                             regarding prior
                                             correspondence with the
                                             SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
01/25/18   V. L. Martinez        0.20 L120      Correspond with partner           140.00
                                                and associate regarding
                                                compiling list of
                                                engagements
01/25/18   V. L. Martinez        0.40 L120      Review and correspond              280.00
                                                with associate and
                                                paralegal regarding
                                                research memo, and task
                                                associate with follow-up
                                                research
01/25/18   A. E. McCullough      0.20 C300      Send testimony preparation          74.00
                                                materials to counsel
01/25/18   D. M. Nichols Jr.     1.60 C200      Conduct legal research to          592.00
                                                identify applicable law
                                                regarding the SEC inquiry
01/25/18   D. J. Veintimilla     0.30 L320      Review documents to                111.00
                                                prepare witnesses for
                                                interviews with the SEC
01/26/18   C. H. Bell            4.30 C100      Conduct review of emails in      1,591.00
                                                preparation of witness kit
01/26/18   A. L. Burdette        0.30 C100      Coordinate witness                 111.00
                                                preparation binders
01/26/18   J. A. Georges         1.30 L110      Prepare witness kits for           325.00
                                                attorney review,
                                                communications with V.
                                                Martinez, A. Burdette,
                                                outside counsel regarding
                                                same
01/26/18   T. L. Kornobis        1.60 C300      Attention review of                592.00
                                                documents for privilege and
                                                search for consultant letters
01/26/18   S. E.                 0.40 L120      Confer with counsel                280.00
           Lambrakopoulos                       regarding legal analysis
                                                relating to SEC issues
01/26/18   S. E.                 0.20 L120      Status conference call with        140.00
           Lambrakopoulos                       co-counsel
01/26/18   S. E.                 1.80 L120      Review legal analysis and        1,260.00
           Lambrakopoulos                       research from associates
                                                regarding SEC legal issues
01/26/18   S. E.                 0.40 L120      Emails with co-counsel             280.00
           Lambrakopoulos                       regarding SEC testimony
                                                questions
01/26/18   S. E.                 1.50 L120      Review and analyze               1,050.00
           Lambrakopoulos                       documents relating to SEC
                                                potential testimony
01/26/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan            140.00
                                                regarding privilege review
01/26/18   V. L. Martinez        0.50 L120      Correspond with associates         350.00
                                                regarding status of witness
17-10751-mew   Doc 3955-7       Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
                                                preparation materials
01/26/18   V. L. Martinez        0.60 L120      Review research                    420.00
                                                memorandum and task
                                                associates with research
                                                assignments
01/26/18   V. L. Martinez        0.10 L120      Correspond with co-counsel          70.00
                                                regarding witness
                                                preparation materials
01/26/18   V. L. Martinez        0.30 L120      Correspond with associates         210.00
                                                regarding prioritization of
                                                multiple tasks
01/26/18   V. L. Martinez        0.50 L120      Correspond S.                      350.00
                                                Lambrakopoulos,
                                                associates and counsel for
                                                auditor regarding document
                                                review
01/26/18   V. L. Martinez        2.00 L120      Correspond with co-counsel       1,400.00
                                                regarding privilege issues in
                                                documents for production,
                                                and review documents at
                                                issue
01/26/18   V. L. Martinez        2.50 L120      Conduct research, confer         1,750.00
                                                with S. Lambrakopoulos,
                                                and draft outline of results
01/26/18   A. E. McCullough      2.80 C200      Legal research for counsel       1,036.00
                                                on potential bases for SEC
                                                action
01/26/18   D. M. Nichols Jr.     0.50 C200      Consult with counsel               185.00
                                                regarding legal research
                                                conducted in response to
                                                SEC inquiry
01/26/18   D. M. Nichols Jr.     4.60 C200      Conduct legal research           1,702.00
                                                regarding the SEC inquiry
01/26/18   T. C. Ryan            0.80 L120      Address issues to organize         560.00
                                                document review
01/26/18   T. C. Ryan            1.30 L120      Review request from                910.00
                                                auditor
01/27/18   S. E.                 0.50 L120      Various emails with co-            350.00
           Lambrakopoulos                       counsel regarding potential
                                                testimony
01/27/18   V. L. Martinez        0.10 L120      Correspond with S.                  70.00
                                                Lambrakopoulos regarding
                                                document review
01/27/18   V. L. Martinez        0.10 L120      Correspond with co-counsel          70.00
                                                regarding document review
                                                issues
01/27/18   V. L. Martinez        0.40 L120      Correspond with T. Ryan,           280.00
                                                S. Lambrakopoulos and co-
                                                counsel regarding witness
17-10751-mew   Doc 3955-7       Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
                                                preparation
01/27/18   V. L. Martinez        1.50 L120      Draft outline from research      1,050.00
                                                of precedents
01/28/18   S. E.                 0.60 L120      Various emails and                 420.00
           Lambrakopoulos                       preparation of disclosure for
                                                bankruptcy proceeding
01/28/18   V. L. Martinez        1.40 L120      Draft witness preparation          980.00
                                                materials
01/28/18   V. L. Martinez        0.10 L120      Correspond with T. Ryan,            70.00
                                                S. Lambrakopoulos and co-
                                                counsel regarding witness
                                                preparation
01/28/18   D. M. Nichols Jr.     0.60 C200      Conduct legal research to          222.00
                                                identify case law relevant to
                                                the SEC inquiry
01/29/18   J. A. Georges         0.20 L110      Report updates at the               50.00
                                                request of T. Ryan
01/29/18   J. A. Jay             1.80 C100      Complete witness binder            666.00
                                                per V. Martinez
01/29/18   T. L. Kornobis        0.70 L110      Analyze database and               259.00
                                                review-related issues in
                                                consultant database and
                                                prepare summary for V.
                                                Martinez
01/29/18   S. E.                 0.40 L120      Various emails with co-            280.00
           Lambrakopoulos                       counsel re witness
                                                testimony preparation
01/29/18   S. E.                 1.20 L120      Review privilege assertions        840.00
           Lambrakopoulos                       for auditor work-papers in
                                                connection with SEC
01/29/18   S. E.                 0.40 L120      Various emails with co-            280.00
           Lambrakopoulos                       counsel regarding privilege
                                                assertions
01/29/18   S. E.                 0.50 L120      Conference call with               350.00
           Lambrakopoulos                       counsel for auditor
01/29/18   S. E.                 0.40 L120      Various calls with counsel         280.00
           Lambrakopoulos                       regarding privilege
                                                assertions
01/29/18   S. E.                 0.80 L120      Review associate work-             560.00
           Lambrakopoulos                       product on factual analysis
                                                relating to SEC
01/29/18   S. E.                 0.50 L120      Review and revise outline          350.00
           Lambrakopoulos                       relating to SEC strategy
01/29/18   S. E.                 1.40 L120      Research enforcement               980.00
           Lambrakopoulos                       proceedings by SEC
01/29/18   V. L. Martinez        0.50 l120      Review update from co-             350.00
                                                counsel
01/29/18   V. L. Martinez        1.10 l120      Hold call with co-counsel          770.00
                                                regarding witness
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
                                                preparation, and
                                                correspond and hold calls
                                                with T. Ryan and S.
                                                Lambrakopoulos regarding
                                                the same
01/29/18   V. L. Martinez        1.00 L120      Prepare for and hold call        700.00
                                                with counsel for auditor
01/29/18   V. L. Martinez        0.60 L120      Meet with associates             420.00
                                                regarding research
                                                projects, discuss results
                                                and ask for most relevant
                                                authorities
01/29/18   V. L. Martinez        3.00 L120      Review witness materials       2,100.00
                                                prepared by associates,
                                                and draft witness
                                                preparation questions
01/29/18   A. E. McCullough      2.00 C200      Conduct legal research at        740.00
                                                request of V. Martinez
01/29/18   D. M. Nichols Jr.     9.10 C200      Conduct legal and factual      3,367.00
                                                research in response to the
                                                SEC inquiry
01/29/18   D. M. Nichols Jr.     1.10 C200      Consult with counsel             407.00
                                                regarding legal research
                                                and strategy regarding SEC
                                                inquiry
01/29/18   T. C. Ryan            0.70 L120      Conference with counsel for      490.00
                                                auditor
01/29/18   T. C. Ryan            1.00 L120      Review documents                 700.00
                                                provided by counsel for
                                                auditor
01/29/18   T. C. Ryan            0.40 L120      Conference with client           280.00
                                                regarding request from
                                                auditor's counsel
01/30/18   K. M. Gafner          0.80 C300      Conference regarding case        296.00
                                                strategy and status
01/30/18   J. A. Georges         0.30 L110      Attend team status                75.00
                                                conference
01/30/18   J. A. Jay             3.40 C100      Prepare witness binder per     1,258.00
                                                V. Martinez
01/30/18   T. L. Kornobis        0.70 C300      Prepare summary of               259.00
                                                consultant database issues
                                                for V. Martinez
01/30/18   S. E.                 0.30 L120      Conference call with             210.00
           Lambrakopoulos                       counsel regarding auditor
                                                work papers
01/30/18   S. E.                 0.50 L120      Conference call with             350.00
           Lambrakopoulos                       associates team regarding
                                                document review and
                                                preparation for witness
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                testimony
01/30/18   V. L. Martinez        1.00 L120      Review documents at               700.00
                                                request of auditor's counsel
01/30/18   V. L. Martinez        0.50 L120      Hold call with T. Ryan            350.00
                                                regarding privilege issues
01/30/18   V. L. Martinez        2.20 L120      Prepare witness materials       1,540.00
01/30/18   V. L. Martinez        0.30 L120      Hold conference with              210.00
                                                associate regarding search
                                                for certain SEC actions
01/30/18   V. L. Martinez        0.40 L120      Hold call with bankruptcy         280.00
                                                counsel regarding status of
                                                developments in multiple
                                                matters
01/30/18   A. E. McCullough      5.30 C200      Legal research for counsel      1,961.00
                                                on issues related to
                                                possible SEC action
01/30/18   D. M. Nichols Jr.     9.10 C200      Conduct legal and factual       3,367.00
                                                research in response to the
                                                SEC inquiry
01/30/18   D. M. Nichols Jr.     0.20 C200      Communicate with counsel           74.00
                                                regarding legal research
                                                conducted for the SEC
                                                inquiry
01/30/18   T. C. Ryan            2.20 L120      Review request from             1,540.00
                                                auditor's counsel and
                                                communicate with client
                                                regarding same
01/30/18   T. C. Ryan            0.70 L120      Update debtor's counsel           490.00
                                                and audit committee on
                                                status of investigation
01/31/18   J. A. Jay             5.30 C100      Prepare witness binder per      1,961.00
                                                V. Martinez
01/31/18   J. A. Kephart         1.70 B110      Review documents in               629.00
                                                preparation for interviews
01/31/18   T. L. Kornobis        0.40 C300      Analyze issues related to         148.00
                                                database privilege review
01/31/18   S. E.                 1.00 L120      Conference call with co-          700.00
           Lambrakopoulos                       counsel regarding request
                                                from auditor
01/31/18   S. E.                 0.50 L120      Review modifications to           350.00
           Lambrakopoulos                       redactions
01/31/18   S. E.                 1.20 L120      Prepare for conference with       840.00
           Lambrakopoulos                       co-counsel regarding
                                                testimony of former
                                                employees
01/31/18   V. L. Martinez        0.20 L120      Correspond with S.                140.00
                                                Lambrakopoulos regarding
                                                witness preparation
                                                meeting
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DATE       NAME                  HRS TASK         DESCRIPTION                     AMOUNT
01/31/18   V. L. Martinez        0.50 L120        Hold call with client, T.         350.00
                                                  Ryan, S. Lambrakopoulos
                                                  and co-counsel regarding
                                                  redaction issues
01/31/18   V. L. Martinez        0.10 L120        Correspond with associate           70.00
                                                  regarding witness
                                                  preparation materials
01/31/18   V. L. Martinez        0.30 L120        Correspond with associate          210.00
                                                  regarding privilege review
                                                  protocols
01/31/18   V. L. Martinez        1.50 L120        Draft witness preparation        1,050.00
                                                  materials
01/31/18   D. M. Nichols Jr.     3.40 C200        Conduct legal and factual        1,258.00
                                                  research in response to the
                                                  SEC inquiry
01/31/18   T. C. Ryan            0.90 L120        Review and reconcile               630.00
                                                  proposed redaction
01/31/18   T. C. Ryan            1.40 L120        Conference with co-counsel         980.00
                                                  to review redaction
01/31/18   D. J. Veintimilla     0.20 L320        Review documents to                 74.00
                                                  prepare witnesses for
                                                  interviews with the SEC
                            TOTAL FEES               403.60 hrs              $   230,161.00


                                 TIMEKEEPER SUMMARY

C. H. Bell                            4.30   hrs at    $    370.00   / hr          1,591.00
A. L. Burdette                        2.20   hrs at    $    370.00   / hr            814.00
M. E. Flinn                           5.30   hrs at    $    370.00   / hr          1,961.00
K. M. Gafner                          5.20   hrs at    $    370.00   / hr          1,924.00
J. A. Georges                         3.20   hrs at    $    250.00   / hr            800.00
J. A. Jay                            10.50   hrs at    $    370.00   / hr          3,885.00
J. A. Kephart                         1.70   hrs at    $    370.00   / hr            629.00
T. L. Kornobis                       19.10   hrs at    $    370.00   / hr          7,067.00
S. E. Lambrakopoulos                 91.90   hrs at    $    700.00   / hr         64,330.00
V. L. Martinez                       96.10   hrs at    $    700.00   / hr         67,270.00
A. E. McCullough                     30.60   hrs at    $    370.00   / hr         11,322.00
D. M. Nichols Jr.                    71.90   hrs at    $    370.00   / hr         26,603.00
T. C. Ryan                           58.10   hrs at    $    700.00   / hr         40,670.00
N. A. Stockey                         3.00   hrs at    $    370.00   / hr          1,110.00
D. J. Veintimilla                     0.50   hrs at    $    370.00   / hr            185.00
                            TOTAL FEES                403.60 hrs             $   230,161.00
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                               TASK CODE SUMMARY

B110    Case Administration                      1.70   hrs                 629.00
C100    Fact Gathering                          21.30   hrs               7,797.00
C200    Researching Law                        112.10   hrs              41,477.00
C300    Analysis and Advice                      6.50   hrs               2,405.00
L110    Fact Investigation/Development           7.00   hrs               2,290.00
L120    Analysis/Strategy                        5.20   hrs               3,640.00
l120    Analysis/Strategy                        1.60   hrs               1,120.00
L120    Analysis/Strategy                      247.70   hrs             170,618.00
L320    Document Production                      0.50   hrs                 185.00
                          TOTAL FEES           403.60   hrs        $    230,161.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Application Verification, Inc. (Vendor)                                      94.81
Business Meal                                                               365.99
Color Copying/Printing                                                        6.00
Copying Expense                                                              61.20
Lexis Research                                                            4,280.75
Long Distance Courier                                                        24.63
Pacer Research                                                               15.50
Telephone / Conference Calls / Fx Line Trans                                  4.92
Transportation Expenses: Air Fare                                         1,961.10
Transportation Expenses: Amtrak                                             867.00
Transportation Expenses: Hotel                                              983.86
Travel Expenses: Parking                                                     28.00
Travel Expenses: Ground Transportation                                      381.91
Travel Related Meals                                                        222.41
Westlaw Research                                                          2,249.96
                              DISBURSEMENTS & OTHER CHARGES        $     11,548.04
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                                                         Entries Part 1 Pg 250 of 335

                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 28, 2018
 1000 Westinghouse Drive                                                                       Invoice Number                       :      3480700
 Cranberry Township, PA 16066                                                                  Services Through                     :      January 31, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

        Fees                                                                               $               50.00
        Disbursements and Other Charges                                                    $            1,149.53
        Total Amount Due This Matter                                                                                                             $           1,199.53



CURRENT INVOICE DUE - All Matters                                                                                                                $           1,199.53




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew           Doc 3955-7         Filed 09/25/18 Entered 09/25/18 13:03:15                             Exhibit Time
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                                                                                                       Invoice # 3480700
                                                                                                                 0236915
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 Subpoena Response - eDAT Fees (70030)                                                                       $1,199.53


                                                           FEES

DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
01/29/18         T. M. Gracey                     0.20         Strategize with A. Parker and L.                   50.00
                                                               Diersen regarding PDF
                                                               documents needed for review
                                                               external to Ringtail
                                    TOTAL FEES                           0.20 hrs             $                       50.00


                                             TIMEKEEPER SUMMARY

T. M. Gracey                                 0.20 hrs at                  $       250.00 / hr                         50.00
                                    TOTAL FEES                                0.20 hrs                   $            50.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
01/31/18         Ringtail Fees: January 2018 Data Storage Fees: 46.63554 GB @                                       699.53
                 $15.00/GB: $699.53
01/31/18         Ringtail Fees: January 2018 9 Web Licenses @ $50/month:                                            450.00
                 $450.00
                                DISBURSEMENTS & OTHER CHARGES                 $                                   1,149.53

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                                                 MATTER SUMMARY

Fees                                                                                                     $           50.00
Disbursements and Other Charges                                                                          $        1,149.53
MATTER TOTAL                                                                                             $        1,199.53
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                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      March 29, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3496559
Cranberry Township, PA 16066                                                                  Services Through                     :      February 28, 2018




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $      205,848.00
Disbursements and Other Charges                                                                                                                  $        1,111.23

CURRENT INVOICE DUE                                                                                                                              $      206,959.23




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
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                                          FEES

DATE       NAME                  HRS TASK        DESCRIPTION                   AMOUNT
02/01/18   E. J. Glover          0.30 L470       Coordinate witness binder       111.00
                                                 review
02/01/18   J. A. Jay             4.20 C100       Prepare witness binder per     1,554.00
                                                 V. Martinez
02/01/18   T. L. Kornobis        0.20 L110       Work with V. Martinez              74.00
                                                 regarding document review
                                                 matters relating to
                                                 consultant documents
02/01/18   S. E.                 3.60 L120       Review documents in            2,520.00
           Lambrakopoulos                        preparation for witness
                                                 testimony
02/01/18   S. E.                 0.40 L120       Various calls and emails         280.00
           Lambrakopoulos                        with counsel regarding
                                                 witness preparation issues
02/01/18   S. E.                 0.60 L120       Review outline and               420.00
           Lambrakopoulos                        materials for meeting with
                                                 co-counsel
02/01/18   S. E.                 0.40 L120       Various calls and emails         280.00
           Lambrakopoulos                        with associates regarding
                                                 document review
02/01/18   S. E.                 1.20 L120       Review and revise outline        840.00
           Lambrakopoulos                        by counsel on strategic
                                                 issues
02/01/18   S. E.                 1.20 L120       Review research relating to      840.00
           Lambrakopoulos                        strategic issues
02/01/18   V. L. Martinez        0.40 L120       Meet and correspond with         280.00
                                                 associate regarding legal
                                                 research project
02/01/18   V. L. Martinez        0.30 L120       Meet and correspond with         210.00
                                                 associate regarding list of
                                                 prior engagements
02/01/18   V. L. Martinez        0.20 L120       Correspond with associates       140.00
                                                 regarding witness
                                                 preparation materials
02/01/18   V. L. Martinez        1.00 L120       Draft witness preparation        700.00
                                                 materials
02/01/18   V. L. Martinez        0.20 L120       Correspond with co-counsel       140.00
                                                 regarding witness
                                                 preparation
02/01/18   A. E. McCullough      1.60 C200       Conference with counsel          592.00
                                                 regarding legal research
02/01/18   A. E. McCullough      3.70 L120       Review legal research to       1,369.00
                                                 produce outline for counsel
02/01/18   T. C. Ryan            0.80 L120       Prepare for meeting with         560.00
                                                 counsel for former
                                                 employees
02/01/18   D. J. Veintimilla     0.30 L320       Review documents to              111.00
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
                                             prepare witnesses for
                                             interviews
02/02/18   J. A. Georges      1.20 L110      Prepare documents for            300.00
                                             counsel review at the
                                             request of C. Bell,
                                             communications with e-
                                             DAT regarding same
02/02/18   E. J. Glover       0.30 L470      Review items regarding           111.00
                                             production to the SEC
02/02/18   J. A. Jay          3.80 C100      Prepare witness binder per     1,406.00
                                             V. Martinez
02/02/18   J. A. Kephart      2.80 B110      Review documents in            1,036.00
                                             preparation for interviews
02/02/18   S. E.              0.40 L120      Prepare for meeting with         280.00
           Lambrakopoulos                    counsel to former
                                             employees
02/02/18   S. E.              1.00 L120      Conferences with co-             700.00
           Lambrakopoulos                    counsel regarding meeting
                                             with counsel to former
                                             employees
02/02/18   S. E.              1.90 L120      Meet with counsel to former    1,330.00
           Lambrakopoulos                    employees
02/02/18   S. E.              0.20 L120      Participate in status call       140.00
           Lambrakopoulos                    with co-counsel
02/02/18   S. E.              0.40 L120      Conference with associate        280.00
           Lambrakopoulos                    regarding research
                                             question
02/02/18   S. E.              0.80 L120      Review analysis by               560.00
           Lambrakopoulos                    associate on factual issues
                                             relating to SEC
02/02/18   S. E.              2.70 L120      Review documents in            1,890.00
           Lambrakopoulos                    preparation for potential
                                             witness testimony
02/02/18   V. L. Martinez     1.20 L120      Prepare witness                  840.00
                                             preparation materials
02/02/18   V. L. Martinez     0.20 L120      Correspond with co-counsel       140.00
                                             regarding timing of meeting
02/02/18   V. L. Martinez     2.50 L120      Meeting with co-counsel        1,750.00
                                             regarding witness
                                             preparation
02/02/18   V. L. Martinez     0.30 L120      Hold weekly call with co-        210.00
                                             counsel and counsel for
                                             Toshiba
02/02/18   V. L. Martinez     0.20 L120      Correspond with                  140.00
                                             bankruptcy counsel and
                                             partner regarding legal
                                             issue arising in bankruptcy
02/02/18   V. L. Martinez     0.20 L120      Meet and correspond with         140.00
                                             associates regarding
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
                                                privilege review
02/02/18   D. M. Nichols Jr.     0.30 C200      Consult with counsel             111.00
                                                regarding research in
                                                response to the SEC
                                                inquiry
02/02/18   D. M. Nichols Jr.     0.70 C200      Conduct legal and factual        259.00
                                                research in response to the
                                                SEC inquiry
02/02/18   T. C. Ryan            0.70 L120      Prepare update for co-           490.00
                                                counsel
02/03/18   T. L. Kornobis        3.40 L110      Review documents from          1,258.00
                                                consultant database and
                                                prepare summary of
                                                findings
02/03/18   S. E.                 1.50 L120      Review legal memoranda         1,050.00
           Lambrakopoulos                       and analyses relating to
                                                SEC legal issues
02/04/18   V. L. Martinez        1.30 L120      Review witness preparation       910.00
                                                materials
02/05/18   J. A. Georges         0.70 L110      Prepare documents for            175.00
                                                counsel review at the
                                                request of C. Bell,
                                                communications with e-
                                                DAT regarding same
02/05/18   J. A. Georges         0.10 L110      Report update at the               25.00
                                                request of T. Ryan
02/05/18   J. A. Jay             4.30 C100      Prepare witness binder per     1,591.00
                                                V. Martinez
02/05/18   T. L. Kornobis        0.40 L110      Conference with V.               148.00
                                                Martinez regarding
                                                consultant database review
                                                strategy and privilege
                                                determinations
02/05/18   S. E.                 0.80 L120      Review and revise slide          560.00
           Lambrakopoulos                       deck for client meeting
02/05/18   S. E.                 0.40 L120      Conference with associate        280.00
           Lambrakopoulos                       regarding analysis of
                                                factual questions for SEC
02/05/18   S. E.                 0.40 L120      Conference with counsel          280.00
           Lambrakopoulos                       regarding strategic issues
                                                and regarding witness
                                                preparation
02/05/18   S. E.                 1.20 L120      Review matters relating to       840.00
           Lambrakopoulos                       former employees in
                                                connection with SEC
                                                testimony
02/05/18   S. E.                 1.80 l120      Review documents               1,260.00
           Lambrakopoulos                       selected in connection with
                                                witness testimony
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
                                                preparation
02/05/18   V. L. Martinez        0.50 L120      Correspond with T. Ryan          350.00
                                                and S. Lambrakopoulos on
                                                recent meeting with co-
                                                counsel
02/05/18   V. L. Martinez        0.60 L120      Review and comment on            420.00
                                                client presentation, and
                                                correspond with associate
                                                regarding the same
02/05/18   V. L. Martinez        0.30 L120      Review materials and             210.00
                                                correspond with associate
                                                regarding witness
                                                preparation materials
02/05/18   V. L. Martinez        0.50 L120      Prepare witness                  350.00
                                                preparation materials and
                                                correspond with S.
                                                Lambrakopoulos regarding
                                                the same
02/05/18   V. L. Martinez        0.30 L120      Correspond with associates       210.00
                                                regarding privilege review
                                                procedures
02/05/18   A. E. McCullough      0.70 C300      Edit legal research outline      259.00
                                                for counsel
02/05/18   D. M. Nichols Jr.     4.40 C200      Complete legal and factual     1,628.00
                                                research in response to
                                                SEC inquiry
02/05/18   D. M. Nichols Jr.     0.40 C200      Communicate with counsel         148.00
                                                regarding factual and legal
                                                research
02/05/18   T. C. Ryan            6.20 L120      Conference with client in      4,340.00
                                                preparation for due
                                                diligence meeting
02/06/18   C. H. Bell            0.50 C100      Finalize draft witness kit       185.00
02/06/18   S. A. Bronder         0.40 L320      Conference with T. Ryan          148.00
                                                regarding privilege review
02/06/18   S. A. Bronder         0.40 L320      Conference with T.               148.00
                                                Kornobis regarding
                                                privilege review
02/06/18   S. A. Bronder         1.30 L320      Review prior review              481.00
                                                protocols
02/06/18   S. A. Bronder         1.50 L320      Draft privilege review           555.00
                                                categories
02/06/18   S. A. Bronder         1.20 L320      Arrange and prepare for          444.00
                                                privilege review kickoff
                                                meeting
02/06/18   K. M. Gafner          0.70 C400      Attend case status               259.00
                                                conference
02/06/18   K. M. Gafner          0.40 L140      Communications with co-          148.00
                                                counsel regarding
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DATE       NAME                HRS TASK       DESCRIPTION                   AMOUNT
                                              document production
02/06/18   J. A. Georges       0.30 L110      Communications with E.             75.00
                                              Glover regarding native
                                              documents for counsel
                                              review
02/06/18   J. A. Georges       0.20 L110      Attend status conference          50.00
02/06/18   E. J. Glover        1.00 L470      Review witness prep              370.00
                                              binders regarding
                                              production integrity
02/06/18   J. A. Jay           2.40 C100      Conduct privilege review         888.00
02/06/18   J. A. Jay           3.90 C100      Prepare witness binder per     1,443.00
                                              V. Martinez
02/06/18   J. A. Kephart       2.40 C100      Review documents in              888.00
                                              preparation for interviews
02/06/18   J. A. Kephart       3.00 C100      Draft summaries of             1,110.00
                                              documents in preparation
                                              for interviews
02/06/18   T. L. Kornobis      3.30 L110      Work with V. Martinez and      1,221.00
                                              S. Bronder on privilege
                                              review matters and prepare
                                              materials for privilege
                                              review
02/06/18   S. E.               0.60 L120      Participate in status call       420.00
           Lambrakopoulos                     with team
02/06/18   S. E.               0.20 L120      Conference with T.               140.00
           Lambrakopoulos                     Kornobis regarding SEC
                                              issues
02/06/18   S. E.               4.80 L120      Review documents               3,360.00
           Lambrakopoulos                     gathered in preparation for
                                              witness testimony
02/06/18   V. L. Martinez      0.80 L120      Hold call, meet and              560.00
                                              correspond with T. Ryan
                                              and associates regarding
                                              privilege review
02/06/18   V. L. Martinez      0.30 L120      Correspond with S.               210.00
                                              Lambrakopoulos and
                                              associate regarding writing
                                              for research project
02/06/18   V. L. Martinez      0.40 L120      Correspond with associates       280.00
                                              regarding witness
                                              preparation materials
02/06/18   V. L. Martinez      0.40 L120      Hold weekly team call to         280.00
                                              discuss the status of
                                              various tasks
02/07/18   S. A. Bronder       2.30 L320      Prepare for and attend           851.00
                                              privilege review kickoff
                                              meeting
02/07/18   S. M. Czypinski     1.00 L110      Attend meeting regarding         370.00
                                              privilege review
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
02/07/18   K. M. Flanigan     1.20 L110      Attend privilege review           444.00
                                             informational meeting
02/07/18   J. A. Georges      0.90 L110      Respond to C. Bell                 225.00
                                             document request,
                                             communications with e-
                                             DAT regarding same
02/07/18   J. A. Georges      0.10 L110      Respond to K. Gafner,                25.00
                                             outside counsel document
                                             requests
02/07/18   J. A. Jay          3.80 C100      Conduct privilege review         1,406.00
02/07/18   J. A. Jay          0.90 C100      Conference regarding               333.00
                                             privilege review protocol
                                             with S. Bronder
02/07/18   J. A. Kephart      1.10 L110      Prepare for and participate        407.00
                                             in privilege review protocol
                                             meeting
02/07/18   T. L. Kornobis     1.30 L110      Meet with team regarding           481.00
                                             privilege review
02/07/18   S. E.              0.50 L120      Conference call with co--          350.00
           Lambrakopoulos                    counsel regarding question
                                             on extraterritorial
                                             jurisdiction
02/07/18   S. E.              0.90 L120      Draft memo regarding               630.00
           Lambrakopoulos                    extraterritorial question and
                                             review related material
02/07/18   S. E.              4.20 L120      Review documents in              2,940.00
           Lambrakopoulos                    preparation for potential
                                             witness testimony
02/07/18   V. L. Martinez     0.30 L120      Meet with S.                       210.00
                                             Lambrakopoulos to discuss
                                             call with co-counsel
02/07/18   V. L. Martinez     0.20 L120      Correspond with associates         140.00
                                             regarding protocol for
                                             privilege review
02/07/18   V. L. Martinez     0.30 L120      Correspond with T. Ryan            210.00
                                             and S. Lambrakopoulos
                                             regarding conversation with
                                             auditor’s counsel
02/07/18   V. L. Martinez     0.70 L120      Review witness preparation         490.00
                                             materials
02/07/18   T. C. Ryan         0.70 L120      E-mail summary to client           490.00
                                             regarding status of
                                             investigation
02/07/18   T. C. Ryan         0.60 L120      Conference with client             420.00
02/07/18   T. C. Ryan         0.50 L120      Update call with co-counsel        350.00
02/08/18   C. H. Bell         0.60 C100      Complete witness kit for V.        222.00
                                             Martinez review
02/08/18   S. A. Bronder      0.50 L320      Exchange emails with team          185.00
                                             regarding privilege review
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
02/08/18   S. A. Bronder      0.70 L320      Exchange emails with team        259.00
                                             regarding privilege review
02/08/18   S. A. Bronder      0.40 L320      Locate auditor inquiry and        148.00
                                             response
02/08/18   S. A. Bronder      0.30 L320      Conference with edat              111.00
                                             regarding past productions
02/08/18   S. A. Bronder      4.40 L320      Prepare for QC of privilege     1,628.00
                                             review
02/08/18   J. A. Georges      0.50 C100      Respond to S. Bronder             125.00
                                             document requests,
                                             conference with K. Gafner
                                             regarding same
02/08/18   J. A. Georges      0.50 L110      Respond to N. Stockey, M.         125.00
                                             Nichols document requests
02/08/18   T. L. Kornobis     0.60 L110      Attention to managing             222.00
                                             privilege review
02/08/18   S. E.              0.60 L120      Review SEC questions and          420.00
           Lambrakopoulos                    summary for bankruptcy-
                                             related meetings
02/08/18   S. E.              0.80 L120      Conference call with clients      560.00
           Lambrakopoulos                    regarding SEC
02/08/18   S. E.              0.00 L120      Review summary relating to           0.00
           Lambrakopoulos                    SEC witness testimony
02/08/18   S. E.              5.20 L120      Review documents in             3,640.00
           Lambrakopoulos                    preparation for potential
                                             SEC testimony
02/08/18   V. L. Martinez     0.50 L120      Hold call with T. Ryan and        350.00
                                             clients to discuss request
                                             by SEC
02/08/18   V. L. Martinez     0.60 l120      Prepare for and hold call         420.00
                                             with T. Ryan and counsel
                                             for auditors to discuss
                                             privilege review
02/08/18   V. L. Martinez     0.80 l120      Hold call with T. Ryan,           560.00
                                             clients and bankruptcy
                                             counsel to discuss updates
                                             in the case.
02/08/18   V. L. Martinez     0.40 l120      Review correspondence             280.00
                                             and correspond with T.
                                             Ryan and S.
                                             Lambrakopoulos regarding
                                             privilege questions
02/08/18   V. L. Martinez     0.30 l120      Review correspondence             210.00
                                             and correspond with T.
                                             Ryan and S.
                                             Lambrakopoulos regarding
                                             auditors
02/08/18   V. L. Martinez     0.50 l120      Correspond with T. Ryan           350.00
                                             and associates regarding
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
                                                privilege review questions.
02/08/18   D. M. Nichols Jr.     0.50 C200      Communicate with counsel         185.00
                                                regarding items related to
                                                the SEC inquiry
02/08/18   D. M. Nichols Jr.     0.90 L110      Conduct factual research         333.00
                                                and review of relevant
                                                documents regarding the
                                                SEC inquiry
02/08/18   T. C. Ryan            2.10 L120      Prepare for and update         1,470.00
                                                audit committee chairman
02/09/18   S. M. Czypinski       1.80 L110      Perform privilege review         666.00
02/09/18   K. M. Flanigan        3.70 L110      Conduct privilege review       1,369.00
02/09/18   J. A. Georges         1.30 L110      Respond to M. Nichols            325.00
                                                document requests,
                                                communications with N.
                                                Stockey, T. Kornobis, e-
                                                DAT regarding same
02/09/18   J. A. Jay             7.70 C100      Conduct privilege review       2,849.00
02/09/18   T. L. Kornobis        0.40 C300      Conference with T. Ryan          148.00
                                                and V. Martinez regarding
                                                privilege review
02/09/18   T. L. Kornobis        1.30 C300      Prepare privilege review         481.00
                                                guidance
02/09/18   S. E.                 0.30 L120      Participate in status call       210.00
           Lambrakopoulos                       with co-counsel
02/09/18   S. E.                 0.20 L120      Confer with V. Martinez          140.00
           Lambrakopoulos                       regarding witness testimony
                                                matters
02/09/18   S. E.                 3.20 L120      Review documents in            2,240.00
           Lambrakopoulos                       preparation for potential
                                                SEC testimony
02/09/18   V. L. Martinez        0.60 L120      Arrange and hold call with       420.00
                                                T. Ryan and associate
                                                regarding privilege review
                                                protocol
02/09/18   V. L. Martinez        0.40 L120      Prepare for and hold             280.00
                                                weekly update call with co-
                                                counsel
02/09/18   V. L. Martinez        0.30 L120      Select and send research         210.00
                                                to co-counsel
02/09/18   V. L. Martinez        0.30 L120      Review and comment on            210.00
                                                privilege review protocol
02/09/18   V. L. Martinez        0.20 L120      Meet with associate to           140.00
                                                review status of open tasks
02/09/18   D. M. Nichols Jr.     4.10 C100      Gather and analyze             1,517.00
                                                documents and data in
                                                furtherance of organizing
                                                materials into binders for
                                                use in reference to the SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
                                                inquiry
02/09/18   T. C. Ryan            2.40 L120      Review and organize              1,680.00
                                                approach to substantive
                                                review of auditor production
02/11/18   K. M. Flanigan        1.90 L110      Conduct privilege review           703.00
02/11/18   D. M. Nichols Jr.     0.10 C100      Collect documents and data          37.00
                                                regarding the SEC inquiry
02/11/18   T. C. Ryan            0.40 L120      Correspond with client on          280.00
                                                SEC matter
02/12/18   S. A. Bronder         7.00   L320    Conduct privilege review         2,590.00
02/12/18   S. M. Czypinski       0.10   L110    Perform privilege review            37.00
02/12/18   K. M. Flanigan        3.30   L110    Conduct privilege review         1,221.00
02/12/18   J. A. Jay             4.90   C100    Conduct privilege review         1,813.00
02/12/18   T. L. Kornobis        0.50   L110    Attention to managing              185.00
                                                privilege review
02/12/18   S. E.                 0.80 L120      Review and revise                  560.00
           Lambrakopoulos                       summary of legal issues for
                                                client
02/12/18   S. E.                 0.30 L120      Confer with counsel                210.00
           Lambrakopoulos                       regarding summary
02/12/18   S. E.                 3.80 L120      Review documents and             2,660.00
           Lambrakopoulos                       work on outline of issues for
                                                witness SEC testimony
02/12/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan            140.00
                                                regarding preparing
                                                synopsis of issues for the
                                                client
02/12/18   V. L. Martinez        0.20 L120      Meet with associate                140.00
                                                regarding research and
                                                document collection efforts
02/12/18   V. L. Martinez        0.60 L120      Meet with S.                       420.00
                                                Lambrakopoulos to discuss
                                                legal theories and discuss
                                                same with T. Ryan
02/12/18   D. M. Nichols Jr.     1.80 C100      Identify and collect relevant      666.00
                                                facts and data in response
                                                to the SEC inquiry
02/12/18   D. M. Nichols Jr.     0.10 C200      Confer with counsel                 37.00
                                                regarding legal and factual
                                                research in response to the
                                                SEC inquiry
02/12/18   T. C. Ryan            1.50 L120      Address document review          1,050.00
                                                issues with team
02/12/18   T. C. Ryan            3.10 L120      Draft summary regarding          2,170.00
                                                current posture and status
                                                of investigation for client
02/13/18   S. A. Bronder         0.70 L320      Conduct privilege review           259.00
02/13/18   S. M. Czypinski       3.90 L110      Perform privilege review         1,443.00
02/13/18   K. M. Flanigan        2.40 L110      Conduct privilege review           888.00
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
02/13/18   J. A. Georges         0.20 L110      Attend status conference        50.00
02/13/18   J. A. Georges         0.20 L110      Review status summary at        50.00
                                                the request of N. Stockey
02/13/18   J. A. Jay             2.80 C100      Conduct privilege review       1,036.00
02/13/18   T. L. Kornobis        0.30 L110      Call with S. Bronder             111.00
                                                regarding managing
                                                privilege review
02/13/18   S. E.                 0.40 C300      Participate in status call       280.00
           Lambrakopoulos                       with co-counsel regarding
                                                SEC and other matters
02/13/18   S. E.                 1.20 C300      Review documents and             840.00
           Lambrakopoulos                       related materials in
                                                preparation for SEC
                                                witness testimony
02/13/18   S. E.                 0.40 C300      Various emails with co-          280.00
           Lambrakopoulos                       counsel regarding SEC
                                                proof of claim questions
02/13/18   V. L. Martinez        0.80 L120      Draft witness preparation        560.00
                                                materials
02/13/18   V. L. Martinez        1.80 L120      Review witness preparation     1,260.00
                                                materials gathered by
                                                associates and correspond
                                                with associates regarding
                                                the same
02/13/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan,         140.00
                                                S. Lambrakopoulos and
                                                client bankruptcy counsel
                                                regarding SEC bankruptcy
                                                request
02/13/18   D. M. Nichols Jr.     2.90 C100      Organize and analyze           1,073.00
                                                applicable facts and data
                                                gathered in response to the
                                                SEC inquiry
02/13/18   T. C. Ryan            1.80 L120      Address proposed revisions     1,260.00
                                                to plan and disclosure
                                                statement
02/14/18   S. M. Czypinski       0.40   L110    Perform privilege review         148.00
02/14/18   K. M. Flanigan        1.70   L110    Conduct privilege review         629.00
02/14/18   J. A. Jay             8.30   C100    Conduct privilege review       3,071.00
02/14/18   S. E.                 0.40   L120    Confer with associate            280.00
           Lambrakopoulos                       regarding legal research
                                                project
02/14/18   S. E.                 0.30 L120      Various emails with counsel      210.00
           Lambrakopoulos                       regarding legal issues for
                                                SEC
02/14/18   S. E.                 1.20 L120      Review research and              840.00
           Lambrakopoulos                       analysis relating to legal
                                                issue by associate
02/14/18   V. L. Martinez        0.50 L120      Correspond and hold call         350.00
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                with co-counsel, associate
                                                and paralegal regarding
                                                privilege review and
                                                witness preparation
                                                materials
02/14/18   V. L. Martinez        0.40 L120      Correspond with T. Ryan,          280.00
                                                S. Lambrakopoulos and co-
                                                counsel about former
                                                employee
02/14/18   D. M. Nichols Jr.     0.30 C100      Confer with counsel               111.00
                                                regarding document and
                                                data preparation in
                                                response to the SEC
                                                inquiry
02/14/18   T. C. Ryan            2.20 L120      Communication with client       1,540.00
                                                regarding contact from
                                                former employee
02/14/18   T. C. Ryan            1.00 L120      Follow up with debtors'           700.00
                                                counsel regarding plan
                                                objections
02/15/18   S. M. Czypinski       2.50 L110      Perform privilege review          925.00
02/15/18   K. M. Flanigan        1.50 L110      Conduct privilege review          555.00
02/15/18   J. A. Georges         0.80 L110      Prepare documents for             200.00
                                                outside counsel at the
                                                direction of V. Martinez,
                                                communications with C.
                                                Bell, J. Kephart regarding
                                                same
02/15/18   J. A. Jay             8.10 C100      Conduct privilege review        2,997.00
02/15/18   J. A. Kephart         2.00 L110      Prepare binder of select          740.00
                                                documents for reference
02/15/18   T. L. Kornobis        0.20 L110      Manage privilege review            74.00
                                                and send summary to T.
                                                Ryan and V. Martinez
02/15/18   S. E.                 0.90 L120      Conference call with co-          630.00
           Lambrakopoulos                       counsel regarding former
                                                employee representation
02/15/18   S. E.                 0.30 L120      Various emails with counsel       210.00
           Lambrakopoulos                       regarding same
02/15/18   S. E.                 1.50 L120      Preparation for witness         1,050.00
           Lambrakopoulos                       interviews regarding SEC
                                                testimony
02/15/18   S. E.                 0.60 L120      Revise draft outline for SEC      420.00
           Lambrakopoulos                       legal issue
02/15/18   V. L. Martinez        0.30 L120      Correspond with paralegal         210.00
                                                and meet with associate
                                                regarding witness
                                                preparation materials
02/15/18   V. L. Martinez        0.40 L120      Review and comment on             280.00
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DATE       NAME                  HRS TASK       DESCRIPTION                   AMOUNT
                                                set of bullet points
                                                discussing a portion of the
                                                internal investigation
02/15/18   V. L. Martinez        0.20 L120      Correspond with paralegal        140.00
                                                regarding witness
                                                preparation materials
02/15/18   V. L. Martinez        0.50 L120      Hold call with co-counsel        350.00
                                                regarding former employee
02/15/18   D. M. Nichols Jr.     1.90 C100      Identify, collect, and           703.00
                                                analyze facts and data in
                                                response to the SEC
                                                inquiry
02/15/18   D. M. Nichols Jr.     0.20 C200      Confer with counsel               74.00
                                                regarding the SEC inquiry
02/15/18   T. C. Ryan            0.60 L120      Conference with client           420.00
                                                regarding request from
                                                government
02/15/18   T. C. Ryan            0.80 L120      Conference with client           560.00
                                                regarding coordination with
                                                Japanese co-counsel
02/15/18   T. C. Ryan            0.60 L120      Conference with co-counsel       420.00
                                                regarding interview request
02/15/18   T. C. Ryan            0.50 L120      Conference with client           350.00
                                                regarding status of
                                                investigation
02/16/18   S. M. Czypinski       0.60 L110      Perform privilege review         222.00
02/16/18   K. M. Flanigan        0.60 L110      Conduct privilege review         222.00
02/16/18   J. A. Georges         0.60 L110      Prepare documents for            150.00
                                                outside counsel at the
                                                request of V. Martinez,
                                                communications with C.
                                                Bell regarding same
02/16/18   J. A. Jay             5.30 C100      Conduct privilege review       1,961.00
02/16/18   S. E.                 0.40 L120      Participate in status call       280.00
           Lambrakopoulos                       with co-counsel
02/16/18   S. E.                 0.40 L120      Emails with co-counsel           280.00
           Lambrakopoulos                       regarding question from
                                                Toshiba counsel
02/16/18   S. E.                 2.60 L120      Review documents for           1,820.00
           Lambrakopoulos                       witness testimony
                                                preparation and revise
                                                related outlines
02/16/18   V. L. Martinez        0.20 L120      Discuss current status of a      140.00
                                                number of issues with T.
                                                Ryan
02/16/18   D. M. Nichols Jr.     1.90 C100      Continue to collect facts        703.00
                                                and data and analyze in
                                                reference to the SEC
                                                inquiry
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
02/16/18   T. C. Ryan            0.50 L120      Prepare for and participate      350.00
                                                in call with co-counsel
02/16/18   T. C. Ryan            0.80 L120      Conversations with co-            560.00
                                                counsel regarding
                                                coordination with parent
                                                company and review prior
                                                correspondence regarding
                                                same
02/16/18   T. C. Ryan            0.40 L120      Review revised language           280.00
                                                regarding objection
02/17/18   K. M. Flanigan        1.40 L110      Conduct privilege review          518.00
02/17/18   V. L. Martinez        0.10 L120      Correspond with paralegal          70.00
                                                regarding witness
                                                preparation materials
02/17/18   V. L. Martinez        0.20 L120      Correspond with associate         140.00
                                                regarding privilege review
02/17/18   V. L. Martinez        0.20 L120      Review correspondence             140.00
                                                and correspond with T.
                                                Ryan, S. Lambrakopoulos
                                                and associate regarding
                                                research project
02/18/18   K. M. Flanigan        1.00   L110    Conduct privilege review          370.00
02/18/18   T. L. Kornobis        0.30   C300    Manage privilege review           111.00
02/19/18   K. M. Flanigan        7.00   L110    Conduct privilege review        2,590.00
02/19/18   J. A. Georges         1.30   L110    Communication with N.             325.00
                                                Stockey, e-DAT regarding
                                                document review, set-up
                                                same for outside counsel
02/19/18   S. E.                 2.80 L120      Review documents in             1,960.00
           Lambrakopoulos                       preparation for SEC
                                                testimony
02/19/18   S. E.                 0.40 L120      Various emails with co-           280.00
           Lambrakopoulos                       counsel regarding privilege
                                                questions
02/19/18   D. M. Nichols Jr.     1.90 C100      Continue to collect and           703.00
                                                utilize data in response to
                                                the SEC inquiry
02/19/18   T. C. Ryan            2.50 L120      Prepare for debrief with        1,750.00
                                                client
02/20/18   S. M. Czypinski       4.80   L110    Perform privilege review        1,776.00
02/20/18   K. M. Flanigan        0.60   L110    Conduct privilege review          222.00
02/20/18   J. A. Georges         0.20   L110    Attend status conference           50.00
02/20/18   T. L. Kornobis        0.40   C300    Team strategy call                148.00
02/20/18   T. L. Kornobis        0.40   C300    Attention to managing             148.00
                                                privilege review and contact
                                                with co-counsel regarding
                                                same
02/20/18   S. E.                 0.60 L120      Various emails regarding          420.00
           Lambrakopoulos                       privilege questions
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DATE       NAME                  HRS TASK       DESCRIPTION                      AMOUNT
02/20/18   S. E.                 0.60 L120      Draft memorandum in                420.00
           Lambrakopoulos                       extraterritorial legal issue
02/20/18   S. E.                 0.20 L120      Telephone call with T.              140.00
           Lambrakopoulos                       Ryand regarding
                                                compliance issue
02/20/18   S. E.                 0.40 L120      Participate in status call          280.00
           Lambrakopoulos                       with counsel
02/20/18   S. E.                 0.40 L120      Confer with counsel                 280.00
           Lambrakopoulos                       regarding SEC
02/20/18   S. E.                 0.40 L120      Conference call with client         280.00
           Lambrakopoulos                       and counsel regarding
                                                compliance issue
02/20/18   S. E.                 0.50 L120      Review materials relating to        350.00
           Lambrakopoulos                       compliance issue
02/20/18   V. L. Martinez        0.50 L120      Prepare for and hold                350.00
                                                weekly call with KLG team
                                                to update all tasks events
02/20/18   V. L. Martinez        0.20 L120      Correspond with co-counsel          140.00
                                                regarding witness
                                                preparation materials
02/20/18   V. L. Martinez        0.60 L120      Meet with S.                        420.00
                                                Lambrakopoulos and hold
                                                call with T. Ryan to discuss
                                                viability of certain causes of
                                                action
02/20/18   V. L. Martinez        0.30 L120      Meet and correspond with            210.00
                                                associate to discuss
                                                financial statement
                                                analyses
02/20/18   V. L. Martinez        0.30 L120      Correspond with T. Ryan,            210.00
                                                S. Lambrakopoulos and co-
                                                counsel on privilege
                                                question and witness
                                                preparation
02/20/18   V. L. Martinez        0.40 L120      Review witness preparation          280.00
                                                materials
02/20/18   D. M. Nichols Jr.     1.20 C100      Gather facts and data to            444.00
                                                assist in preparation for the
                                                SEC inquiry
02/20/18   D. M. Nichols Jr.     0.20 C100      Confer with counsel                  74.00
                                                regarding facts and data to
                                                be used in response to the
                                                SEC inquiry
02/20/18   T. C. Ryan            2.90 L120      Prepare with client for due       2,030.00
                                                diligence meeting
02/20/18   T. C. Ryan            1.20 L120      Participate in meeting              840.00
                                                regarding bankruptcy
                                                process
02/20/18   D. J. Veintimilla     0.50 L320      Review documents to                 185.00
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DATE       NAME                HRS TASK       DESCRIPTION                     AMOUNT
                                              prepare witnesses for
                                              interviews with the SEC.
02/21/18   S. A. Bronder       1.00 P280      Exchange emails with team          370.00
                                              regarding privilege
                                              redactions
02/21/18   S. M. Czypinski     5.00 L110      Perform privilege review         1,850.00
02/21/18   K. M. Flanigan      3.70 L110      Conduct privilege review         1,369.00
02/21/18   T. L. Kornobis      1.10 C300      Calls with co-counsel              407.00
                                              regarding privilege review
                                              matters and witness
                                              preparation
02/21/18   S. E.               2.80 L120      Review documents in              1,960.00
           Lambrakopoulos                     preparation for SEC
                                              witness interviews
02/21/18   V. L. Martinez      0.20 L120      Correspond with T. Ryan            140.00
                                              and S. Lambrakopoulos
                                              regarding case strategy
02/21/18   V. L. Martinez      1.80 L120      Review witness preparation       1,260.00
                                              materials and correspond
                                              with associates regarding
                                              the same
02/21/18   V. L. Martinez      0.20 L120      Correspond with co-counsel         140.00
                                              regarding witness
                                              preparation issues
02/21/18   V. L. Martinez      0.60 L120      Prepare for and hold               420.00
                                              weekly update call with
                                              partners and associates
02/21/18   T. C. Ryan          0.50 L120      Follow up conference with          350.00
                                              client
02/22/18   S. M. Czypinski     0.30 L110      Perform privilege review           111.00
02/22/18   K. M. Flanigan      1.40 L110      Conduct privilege review           518.00
02/22/18   S. E.               1.50 L120      Review documents in              1,050.00
           Lambrakopoulos                     preparation for witness
                                              testimony
02/22/18   S. E.               1.20 L120      Review materials relating to       840.00
           Lambrakopoulos                     compliance policies
02/22/18   S. E.               0.40 L120      Various emails with co-            280.00
           Lambrakopoulos                     counsel regarding
                                              extraterritorial jurisdiction
                                              issues
02/22/18   S. E.               0.40 L120      Conference call with               280.00
           Lambrakopoulos                     counsel regarding
                                              extraterritorial jurisdiction
                                              issues
02/22/18   S. E.               0.60 L120      Prepare response for               420.00
           Lambrakopoulos                     discussion with co-counsel
02/22/18   S. E.               0.50 L120      Confer with associate              350.00
           Lambrakopoulos                     regarding legal research
                                              project
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
02/22/18   V. L. Martinez        0.30 L120      Correspond with T. Ryan,          210.00
                                                S. Lambrakopoulos and co-
                                                counsel regarding
                                                questions of privilege
02/22/18   V. L. Martinez        0.30 L120      Correspond with associates         210.00
                                                and a paralegal regarding
                                                witness preparation
                                                materials
02/22/18   V. L. Martinez        0.30 L120      Correspond and hold call           210.00
                                                with T. Ryan, S.
                                                Lambrakopoulos and co-
                                                counsel regarding privilege
                                                issues
02/22/18   V. L. Martinez        0.10 L120      Correspond with T. Ryan to          70.00
                                                ask about a privilege issue
02/22/18   V. L. Martinez        0.50 L120      Meet, correspond and hold          350.00
                                                call with T. Ryan and S.
                                                Lambrakopoulos regarding
                                                position on certain privilege
                                                issues
02/22/18   V. L. Martinez        4.00 L120      Review witness preparation       2,800.00
                                                materials and prepare
                                                questions
02/22/18   D. M. Nichols Jr.     1.40 C200      Conduct legal research             518.00
                                                regarding issues present in
                                                the SEC inquiry
02/22/18   D. M. Nichols Jr.     0.50 C200      Confer with counsel                185.00
                                                regarding legal and factual
                                                research in response to the
                                                SEC inquiry
02/22/18   E. D. Phillips        0.40 B110      Review documents at                148.00
                                                request of V. Martinez
02/22/18   D. J. Veintimilla     1.90 L320      Review documents to                703.00
                                                prepare witnesses for
                                                interviews with the SEC
02/23/18   S. E.                 0.20 L120      Participate in status call         140.00
           Lambrakopoulos                       with co-counsel
02/23/18   S. E.                 0.20 L120      Meet with associate                140.00
           Lambrakopoulos                       regarding legal research
                                                project
02/23/18   S. E.                 1.20 L120      Research and prepare               840.00
           Lambrakopoulos                       policies and procedures on
                                                privilege and related
                                                matters
02/23/18   S. E.                 2.40 L120      Review documents in              1,680.00
           Lambrakopoulos                       connection with witness
                                                preparation for SEC
                                                testimony
02/23/18   S. E.                 2.20 L120      Review selected SEC              1,540.00
           Lambrakopoulos                       enforcement actions and
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DATE       NAME                  HRS TASK       DESCRIPTION                      AMOUNT
                                                related orders
02/23/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan             140.00
                                                and S. Lambrakopoulos
                                                regarding certain privilege
                                                issues
02/23/18   V. L. Martinez        0.20 L120      Review correspondence               140.00
                                                and correspond with T.
                                                Ryan regarding bankruptcy
                                                proceeding
02/23/18   D. M. Nichols Jr.     3.10 C200      Conduct legal research to         1,147.00
                                                assist in client's response to
                                                the SEC inquiry
02/23/18   D. J. Veintimilla     2.10 L320      Review documents to                 777.00
                                                prepare witnesses for
                                                interviews with the SEC
02/24/18   T. C. Ryan            0.40   L120    Conference with client              280.00
02/25/18   T. L. Kornobis        2.00   C300    Conduct privilege review            740.00
02/26/18   S. M. Czypinski       1.30   L110    Perform privilege review            481.00
02/26/18   K. M. Flanigan        0.10   L110    Conduct privilege review             37.00
02/26/18   S. E.                 3.50   L120    Review public disclosures         2,450.00
           Lambrakopoulos                       and financial statements in
                                                connection with matters
                                                under SEC review
02/26/18   S. E.                 2.50 L120      Review and analyze                1,750.00
           Lambrakopoulos                       documents gathered for
                                                SEC witness testimony
02/26/18   S. E.                 0.40 L120      Emails preparation with co-         280.00
           Lambrakopoulos                       counsel regarding SEC
02/26/18   V. L. Martinez        2.20 L120      Review, revise and                1,540.00
                                                correspond with associate
                                                regarding list of tasks, and
                                                ask follow up questions of
                                                various associates
                                                regarding tasks
02/26/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan             140.00
                                                and S. Lambrakopoulos
                                                regarding privilege issues
02/26/18   V. L. Martinez        0.10 L120      Correspond with co-counsel           70.00
                                                regarding privilege issues
02/26/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan,            140.00
                                                S. Lambrakopoulos and co-
                                                counsel regarding SEC
                                                matter of interest
02/26/18   D. M. Nichols Jr.     3.60 C200      Conduct legal research at         1,332.00
                                                request of S.
                                                Lambrakopoulos
02/27/18   S. A. Bronder         0.30 L320      Conduct privilege review            111.00
02/27/18   S. M. Czypinski       3.50 L110      Perform privilege review          1,295.00
02/27/18   J. A. Georges         0.20 L110      Attend status conference             50.00
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
02/27/18   T. L. Kornobis        1.10 C300      Manage and conduct                407.00
                                                privilege review
02/27/18   S. E.                 1.00 L120      Prepare presentation for           700.00
           Lambrakopoulos                       audit committee meeting
02/27/18   S. E.                 0.50 L120      Participate in status call         350.00
           Lambrakopoulos                       with team
02/27/18   S. E.                 1.50 L120      Review financial                 1,050.00
           Lambrakopoulos                       disclosures and press
                                                releases in connection with
                                                SEC investigation
02/27/18   S. E.                 1.20 L120      Review legal research              840.00
           Lambrakopoulos
02/27/18   S. E.                 1.20 L120      Review documents and               840.00
           Lambrakopoulos                       issues for SEC witness
                                                testimony
02/27/18   V. L. Martinez        0.30 L120      Hold call with associate           210.00
                                                regarding various
                                                outstanding tasks
02/27/18   V. L. Martinez        0.70 L120      Task associate to create           490.00
                                                slide for board presentation,
                                                and correspond with M.
                                                Hubbell regarding the same
02/27/18   V. L. Martinez        0.30 L120      Correspond with co-counsel         210.00
                                                regarding witness
                                                preparation materials and
                                                timing of witness
                                                preparation
02/27/18   V. L. Martinez        0.30 L120      Meet with S.                       210.00
                                                Lambrakopoulos to discuss
                                                witness preparation
02/27/18   V. L. Martinez        0.50 L120      Prepare for and conduct            350.00
                                                weekly team meeting
02/27/18   D. M. Nichols Jr.     2.40 C200      Complete legal research            888.00
                                                regarding issues implicated
                                                by the SEC inquiry
02/27/18   T. C. Ryan            1.20 L120      Prepare and review                 840.00
                                                materials for board meeting
02/28/18   S. M. Czypinski       2.20 L110      Perform privilege review           814.00
02/28/18   K. M. Flanigan        0.80 L110      Conduct privilege review           296.00
02/28/18   S. E.                 0.30 L120      Finalize presentation slides       210.00
           Lambrakopoulos                       to Audit Committee
                                                regarding SEC
02/28/18   S. E.                 0.40 L120      Work on Deloitte subpoena          280.00
           Lambrakopoulos                       issues
02/28/18   S. E.                 0.70 L120      Confer with associate              490.00
           Lambrakopoulos                       regarding legal research
02/28/18   S. E.                 0.80 L120      Draft privilege policy and         560.00
           Lambrakopoulos                       related materials
02/28/18   S. E.                 1.50 L120      Review legal research and        1,050.00
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DATE       NAME                  HRS TASK         DESCRIPTION                       AMOUNT
           Lambrakopoulos                         analysis by associate
02/28/18   D. M. Nichols Jr.     1.30 C200        Conduct research in                 481.00
                                                  response to the SEC
                                                  inquiry to identify relevant
                                                  enforcement proceedings
02/28/18   D. M. Nichols Jr.     0.50 C200        Confer with counsel                 185.00
                                                  regarding legal and factual
                                                  research conducted in
                                                  response to the SEC
                                                  inquiry
02/28/18   E. D. Phillips        1.30 L650        Review documents as                 481.00
                                                  requested by V. Martinez
02/28/18   T. C. Ryan            1.10 L120        Review materials for board          770.00
                                                  meeting and communicate
                                                  with audit committee
                                                  chairman regarding same
                            TOTAL FEES              405.60 hrs                 $   205,848.00


                                 TIMEKEEPER SUMMARY

C. H. Bell                            1.10   hrs at    $    370.00   / hr              407.00
S. A. Bronder                        22.40   hrs at    $    370.00   / hr            8,288.00
S. M. Czypinski                      27.40   hrs at    $    370.00   / hr           10,138.00
K. M. Flanigan                       32.30   hrs at    $    370.00   / hr           11,951.00
K. M. Gafner                          1.10   hrs at    $    370.00   / hr              407.00
J. A. Georges                         9.30   hrs at    $    250.00   / hr            2,325.00
E. J. Glover                          1.60   hrs at    $    370.00   / hr              592.00
J. A. Jay                            60.40   hrs at    $    370.00   / hr           22,348.00
J. A. Kephart                        11.30   hrs at    $    370.00   / hr            4,181.00
T. L. Kornobis                       17.20   hrs at    $    370.00   / hr            6,364.00
S. E. Lambrakopoulos                 93.30   hrs at    $    700.00   / hr           65,310.00
V. L. Martinez                       41.10   hrs at    $    700.00   / hr           28,770.00
A. E. McCullough                      6.00   hrs at    $    370.00   / hr            2,220.00
D. M. Nichols Jr.                    36.60   hrs at    $    370.00   / hr           13,542.00
E. D. Phillips                        1.70   hrs at    $    370.00   / hr              629.00
T. C. Ryan                           38.00   hrs at    $    700.00   / hr           26,600.00
D. J. Veintimilla                     4.80   hrs at    $    370.00   / hr            1,776.00
                            TOTAL FEES                405.60 hrs              $    205,848.00
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                               TASK CODE SUMMARY

B110    Case Administration                      3.20   hrs               1,184.00
C100    Fact Gathering                          83.70   hrs              30,909.00
C200    Researching Law                         21.00   hrs               7,770.00
C300    Analysis and Advice                      9.70   hrs               4,249.00
C400    Third Party Communication                0.70   hrs                 259.00
L110    Fact Investigation/Development          82.70   hrs              29,543.00
L120    Analysis/Strategy                       83.80   hrs              58,660.00
l120    Analysis/Strategy                        1.20   hrs                 840.00
L120    Analysis/Strategy                        2.30   hrs               1,610.00
l120    Analysis/Strategy                        1.40   hrs                 980.00
L120    Analysis/Strategy                       73.30   hrs              50,089.00
l120    Analysis/Strategy                        1.80   hrs               1,260.00
L120    Analysis/Strategy                       10.30   hrs               7,210.00
L140    Document/File Management                 0.40   hrs                 148.00
L320    Document Production                     26.20   hrs               9,694.00
L470    Enforcement                              1.60   hrs                 592.00
L650    eDiscovery Review                        1.30   hrs                 481.00
P280    Other                                    1.00   hrs                 370.00
                          TOTAL FEES           405.60   hrs        $    205,848.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Air Fare                                                                    478.00
Copying Expense                                                             147.10
Copying Expense (Outside Off.)                                                9.65
Long Distance Courier                                                        57.72
Pacer Research                                                               43.00
Telephone / Conference Calls / Fx Line Trans                                 12.20
Travel Expenses                                                              86.44
Westlaw Research                                                            277.12
                         DISBURSEMENTS & OTHER CHARGES             $      1,111.23
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                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      March 29, 2018
 1000 Westinghouse Drive                                                                       Invoice Number                       :      3491305
 Cranberry Township, PA 16066                                                                  Services Through                     :      February 28, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

        Fees                                                                               $            1,715.00
        Disbursements and Other Charges                                                    $            6,847.22
        Total Amount Due This Matter                                                                                                             $           8,562.22



CURRENT INVOICE DUE - All Matters                                                                                                                $           8,562.22




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew   Doc 3955-7     Filed 09/25/18 Entered 09/25/18 13:03:15            Exhibit Time
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                                                                                     0236915
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 Subpoena Response - eDAT Fees (70030)                                            $8,562.22


                                          FEES

DATE       NAME                  HOURS      DESCRIPTION                            AMOUNT
02/06/18   R. P. Treglia          0.80      Provide E. Renzelli with bates           200.00
                                            stamped versions of documents
                                            from within ringtail
02/07/18   L. A. Diersen           0.40     Provide report with cross-                100.00
                                            referenced values as requested
                                            by C. Bell
02/07/18   L. A. Diersen           0.30     Update user credentials for                75.00
                                            Ringtail access
02/07/18   R. M. Tausend           0.20     Provide technical and strategic           140.00
                                            guidance to address C. Bell time
                                            sensitive request for production
                                            cross-reference index for
                                            witness documents.
02/08/18   L. A. Diersen           0.50     Strategize with S. Bronder in             125.00
                                            regards to diligence inquiry and
                                            case background
02/12/18   K. R. Slavik            2.00     Review received collection                500.00
                                            material and store securely in
                                            accordance with client and firm
                                            protocols
02/19/18   L. A. Diersen           0.60     Run advanced searches and                 150.00
                                            isolate "Org" documents as
                                            requested by J. Georges
02/19/18   C. T. Field             0.80     Formulate and run searches for            200.00
                                            a particular subset of
                                            communications within
                                            produced documents within
                                            Ringtail, then binder the results
                                            for review
02/19/18   K. R. Slavik            0.60     Conduct complex searches in               150.00
                                            Ringtail database for requested
                                            documents at the request of T.
                                            Ryan
02/20/18   L. A. Diersen           0.30     Strategize with T. Kornobis and            75.00
                                            J. Georges in regards to user
                                            access
                           TOTAL FEES                 6.50 hrs                $      1,715.00
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                                             TIMEKEEPER SUMMARY

L. A. Diersen                                2.10             hrs at      $       250.00     / hr                   525.00
C. T. Field                                  0.80             hrs at      $       250.00     / hr                   200.00
K. R. Slavik                                 2.60             hrs at      $       250.00     / hr                   650.00
R. M. Tausend                                0.20             hrs at      $       700.00     / hr                   140.00
R. P. Treglia                                0.80             hrs at      $       250.00     / hr                   200.00
                                    TOTAL FEES                                6.50 hrs                   $        1,715.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
02/28/18         Ringtail Fees: February 2018 11 Web Licenses @ $50/month:                                          550.00
                 $550.00
02/28/18         Ringtail Fees: February 2018 1 Web Licenses @ $50/month:                                             50.00
                 $50.00
02/28/18         Ringtail Fees: February 2018 Data Storage Fees: 46.63554 GB @                                      699.53
                 $15.00/GB: $699.53
02/28/18         Ringtail Fees: February 2018 Data Storage Fees: 369.84602 GB                                     5,547.69
                 @ $15.00/GB: $5,547.69
                                DISBURSEMENTS & OTHER CHARGES                 $                                   6,847.22

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                                                 MATTER SUMMARY

Fees                                                                                                     $        1,715.00
Disbursements and Other Charges                                                                          $        6,847.22
MATTER TOTAL                                                                                             $        8,562.22
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 276 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      April 30, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3508170
Cranberry Township, PA 16066                                                                  Services Through                     :      March 31, 2018




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $      142,896.00
Disbursements and Other Charges                                                                                                                  $          402.32

CURRENT INVOICE DUE                                                                                                                              $      143,298.32




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
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                                          FEES

DATE       NAME                  HRS    TASK     DESCRIPTION                   AMOUNT
03/01/18   S. M. Czypinski       3.40   L110     Perform privilege review       1,258.00
03/01/18   K. M. Flanigan        2.60   L110     Conduct privilege review         962.00
03/01/18   S. E.                 0.60   L120     Various emails with co-          420.00
           Lambrakopoulos                        counsel regarding SEC and
                                                 related matters
03/01/18   S. E.                 2.60 L120       Review and analyze             1,820.00
           Lambrakopoulos                        documents in preparation
                                                 for SEC testimony
03/01/18   S. E.                 1.80 L120       Revise outlines for witness    1,260.00
           Lambrakopoulos                        preparation
03/01/18   V. L. Martinez        0.20 L120       Meet with S.                     140.00
                                                 Lambrakopoulos to discuss
                                                 matter involving a former
                                                 employee
03/01/18   D. M. Nichols Jr.     6.10 C200       Analyze and summarize          2,257.00
                                                 information obtained
                                                 through legal research for
                                                 use in the SEC inquiry
03/01/18   E. D. Phillips        3.10 L650       Review documents at            1,147.00
                                                 request of V. Martinez
03/01/18   D. J. Veintimilla     3.60 B110       Review documents to            1,332.00
                                                 prepare witnesses for
                                                 interviews with the SEC
03/02/18   S. M. Czypinski       0.90 L110       Perform privilege review         333.00
03/02/18   S. E.                 0.50 L120       Participate in status call       350.00
           Lambrakopoulos                        with co-counsel
03/02/18   S. E.                 0.30 L120       Conference with associate        210.00
           Lambrakopoulos                        regarding legal research
03/02/18   S. E.                 1.80 L120       Review legal research          1,260.00
           Lambrakopoulos                        memo and underlying
                                                 proceedings
03/02/18   V. L. Martinez        0.20 L120       Correspond with T. Ryan          140.00
                                                 and S. Lambrakopoulos
                                                 regarding bankruptcy
                                                 proceedings and SEC
03/02/18   D. M. Nichols Jr.     1.50 C200       Continue to analyze and          555.00
                                                 summarize relevant cases
                                                 and proceedings
03/02/18   D. M. Nichols Jr.     0.20 C200       Confer with counsel                74.00
                                                 regarding substance of
                                                 research uncovered and
                                                 corresponding analysis
03/02/18   D. M. Nichols Jr.     2.50 C200       Conduct final searches for       925.00
                                                 additional case law and
                                                 proceedings
03/02/18   E. D. Phillips        0.30 L650       Meeting with J. Vientimilla      111.00
                                                 regarding document review
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
03/02/18   D. J. Veintimilla     2.90 B110      Review documents to             1,073.00
                                                prepare witnesses for
                                                interviews with the SEC
03/03/18   V. L. Martinez        0.30 L120      Review and send draft             210.00
                                                factual chronology to T.
                                                Ryan and M. Hubbell
03/03/18   D. J. Veintimilla     1.90 L320      Review documents to               703.00
                                                prepare witnesses for
                                                interviews with the SEC
03/04/18   T. L. Kornobis        5.30 C300      Conduct privilege review        1,961.00
03/04/18   S. E.                 1.50 L120      Review enforcement              1,050.00
           Lambrakopoulos                       actions in connection with
                                                legal research
03/04/18   E. D. Phillips        3.40 L650      Review documents for            1,258.00
                                                responsiveness to request
                                                by V. Martinez
03/04/18   D. J. Veintimilla     3.20 L320      Review documents to             1,184.00
                                                prepare witnesses for
                                                interviews with the SEC
03/05/18   S. M. Czypinski       5.30   L110    Perform privilege review        1,961.00
03/05/18   J. A. Jay             1.70   C100    Conduct privilege review          629.00
03/05/18   J. A. Jay             1.80   C100    Prepare witness binder            666.00
03/05/18   J. A. Kephart         2.70   C100    Privilege review of WEC           999.00
                                                consultant documents
03/05/18   T. L. Kornobis        0.20 C300      Manage privilege review            74.00
03/05/18   S. E.                 1.30 L120      Review and analyze SEC            910.00
           Lambrakopoulos                       enforcement actions
03/05/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan           140.00
                                                and S. Lambrakopoulos
                                                regarding strategy meeting
                                                in DC
03/05/18   E. D. Phillips        2.70 P930      Draft and revise witness kit      999.00
                                                document
03/05/18   D. J. Veintimilla     7.10 L320      Review documents to             2,627.00
                                                prepare witnesses for
                                                interviews with the SEC
03/06/18   S. M. Czypinski       3.20   L110    Perform privilege review        1,184.00
03/06/18   K. M. Flanigan        3.30   L110    Conduct privilege review        1,221.00
03/06/18   J. A. Jay             2.60   C100    Conduct privilege review          962.00
03/06/18   J. A. Kephart         1.20   L320    Privilege review of               444.00
                                                documents related to
                                                consultants
03/06/18   T. L. Kornobis        0.40 C300      Team status conference on         148.00
                                                open issues
03/06/18   T. L. Kornobis        2.00 C300      Work on managing witness          740.00
                                                preparation binder and
                                                privilege review matters
03/06/18   S. E.                 0.40 L120      Revise tracking document          280.00
           Lambrakopoulos                       relating to SEC
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                investigation
03/06/18   S. E.                 0.40 L120      Emails with co-counsel            280.00
           Lambrakopoulos                       regarding SEC witness
                                                testimony
03/06/18   S. E.                 0.40 L120      Conference with counsel           280.00
           Lambrakopoulos                       regarding testimony
                                                preparation and privilege
                                                reviews
03/06/18   S. E.                 1.80 L120      Review documents in             1,260.00
           Lambrakopoulos                       preparation for testimony
03/06/18   S. E.                 0.60 L120      Review legal analysis of          420.00
           Lambrakopoulos                       enforcement actions
03/06/18   V. L. Martinez        0.20 L120      Correspond with co-counsel        140.00
                                                regarding witness
                                                preparation
03/06/18   V. L. Martinez        0.30 L120      Correspond with associate         210.00
                                                regarding providing witness
                                                preparation materials to co-
                                                counsel
03/06/18   V. L. Martinez        0.50 L120      Prepare for and conduct           350.00
                                                weekly staff meeting
03/06/18   E. D. Phillips        3.60 P930      Revise witness kit              1,332.00
                                                requested by T. Kornobis
03/06/18   D. J. Veintimilla     0.70 L320      Review documents to               259.00
                                                prepare witnesses for
                                                interviews with the SEC
03/07/18   S. M. Czypinski       2.90 L110      Perform privilege review        1,073.00
03/07/18   J. A. Jay             1.80 C100      Conduct privilege review          666.00
03/07/18   J. A. Kephart         4.90 L320      Conduct privilege review of     1,813.00
                                                select documents
03/07/18   T. L. Kornobis        0.50 C100      Review and manage                 185.00
                                                witness kit preparation and
                                                privilege review
03/07/18   S. E.                 1.00 L120      Conference with counsel           700.00
           Lambrakopoulos                       regarding strategic issues
                                                and preparation for meeting
03/07/18   S. E.                 0.40 L120      Telephone call with counsel       280.00
           Lambrakopoulos                       regarding follow-up
                                                strategic issues
03/07/18   S. E.                 2.00 L120      Meeting with co-counsel         1,400.00
           Lambrakopoulos                       regarding SEC testimony
                                                issues preparation and
                                                strategy
03/07/18   S. E.                 0.60 L120      Review and revise draft           420.00
           Lambrakopoulos                       talking points on SEC issue
03/07/18   S. E.                 0.60 L120      Review legal analysis per         420.00
           Lambrakopoulos                       associate
03/07/18   S. E.                 0.40 L120      Conference with associate         280.00
           Lambrakopoulos                       regarding privilege review
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DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
                                                of documents
03/07/18   V. L. Martinez        0.40 L120      Correspond with co-counsel        280.00
                                                and associates regarding
                                                witness preparation
                                                materials
03/07/18   V. L. Martinez        0.60 L120      Prepare for and call with T.      420.00
                                                Ryan and S.
                                                Lambrakopoulos regarding
                                                strategy and next steps
03/07/18   V. L. Martinez        0.40 L120      Call with co-counsel              280.00
                                                regarding witness
                                                preparation efforts
03/07/18   E. D. Phillips        4.60 P930      Draft and revise witness kit    1,702.00
                                                materials at request of V.
                                                Martinez and T. Kornobis
03/07/18   T. C. Ryan            1.70 L120      Strategy session with co-       1,190.00
                                                counsel
03/07/18   D. J. Veintimilla     2.70 L320      Review documents to               999.00
                                                prepare witnesses for
                                                interviews with the SEC
03/08/18   S. M. Czypinski       0.20 L110      Perform privilege review           74.00
03/08/18   K. M. Flanigan        0.80 L110      Conduct privilege review          296.00
03/08/18   S. E.                 0.30 L120      Emails with counsel               210.00
           Lambrakopoulos                       regarding SEC investigation
03/08/18   V. L. Martinez        0.60 L120      Review training                   420.00
                                                presentation for Client and
                                                correspond with T. Ryan
                                                and S. Lambrakopoulos
                                                regarding the same
03/08/18   D. M. Nichols Jr.     1.00 C200      Conduct research to               370.00
                                                identify relevant precedent
03/08/18   D. M. Nichols Jr.     0.40 C200      Read and analyze                  148.00
                                                documents regarding SEC
                                                inquiry
03/08/18   D. J. Veintimilla     0.50 L320      Review documents to               185.00
                                                prepare witnesses for
                                                interviews with the SEC
03/09/18   S. M. Czypinski       1.50   L110    Perform privilege review          555.00
03/09/18   K. M. Flanigan        2.00   L110    Conduct privilege review          740.00
03/09/18   J. A. Jay             1.50   C100    Conduct privilege review          555.00
03/09/18   T. L. Kornobis        1.60   C300    Conduct and manage                592.00
                                                privilege review
03/09/18   S. E.                 2.50 L120      Review documents in             1,750.00
           Lambrakopoulos                       preparation for SEC
                                                witness testimony
03/09/18   S. E.                 1.60 L120      Review legal research and       1,120.00
           Lambrakopoulos                       analysis regarding SEC
                                                issues
03/09/18   S. E.                 0.40 L120      Conference with counsel           280.00
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DATE       NAME               HRS TASK       DESCRIPTION                     AMOUNT
           Lambrakopoulos                    regarding SEC investigation
                                             and strategy
03/09/18   V. L. Martinez     0.50 L120      Correspond with T. Ryan            350.00
                                             and S. Lambrakopoulos
                                             regarding witness
                                             preparation issues
03/09/18   V. L. Martinez     0.40 L120      Meet with S.                       280.00
                                             Lambrakopoulos to map out
                                             tasks going forward
03/11/18   K. M. Flanigan     0.10 L110      Conduct privilege review            37.00
03/11/18   T. L. Kornobis     2.20 C300      Conduct privilege review           814.00
03/12/18   J. A. Kephart      1.20 L320      Review and code                    444.00
                                             potentially privileged
                                             documents
03/12/18   T. L. Kornobis     3.30 C300      Conduct privilege review         1,221.00
03/12/18   V. L. Martinez     0.10 L120      Correspond with associates          70.00
                                             regarding witness
                                             preparation materials
03/12/18   T. C. Ryan         0.80 L120      Conference with V.                 560.00
                                             Martinez, client regarding
                                             status of investigation
03/13/18   J. A. Jay          3.80 C100      Conduct privilege review         1,406.00
03/13/18   J. A. Kephart      0.20 L320      Review documents                    74.00
                                             regarding potential privilege
                                             claims
03/13/18   T. L. Kornobis     2.60 C300      Conduct privilege review           962.00
03/13/18   T. L. Kornobis     0.40 C300      Team strategy call                 148.00
03/13/18   S. E.              0.60 L120      Participate in status call on      420.00
           Lambrakopoulos                    pending matters
03/13/18   S. E.              1.20 L120      Review documents relating          840.00
           Lambrakopoulos                    to SEC testimony
03/14/18   K. M. Flanigan     1.10 L110      Conduct privilege review           407.00
03/14/18   J. A. Jay          6.70 C100      Conduct privilege review         2,479.00
03/14/18   J. A. Kephart      0.30 L320      Review documents                   111.00
                                             regarding potential privilege
                                             issues
03/14/18   S. E.              0.40 L120      Emails with co-counsel             280.00
           Lambrakopoulos                    regarding investigation
03/14/18   S. E.              2.50 L120      Review and analyze recent        1,750.00
           Lambrakopoulos                    SEC enforcement
                                             proceedings and related
                                             legal research issues
03/14/18   S. E.              1.80 L120      Review and analyze               1,260.00
           Lambrakopoulos                    documents in preparation
                                             for SEC testimony
03/14/18   V. L. Martinez     0.20 L120      Task associates to search          140.00
                                             production database for
                                             certain terms
03/14/18   V. L. Martinez     0.60 L120      Read Commission                    420.00
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
                                                decisions for presentation
03/15/18   K. M. Flanigan        2.40 L110      Conduct privilege review           888.00
03/15/18   J. A. Jay             5.00 C100      Conduct privilege review         1,850.00
03/15/18   J. A. Kephart         4.20 L320      Review documents                 1,554.00
                                                regarding potential privilege
                                                issues
03/15/18   S. E.                 0.40 L120      Emails with counsel                280.00
           Lambrakopoulos                       regarding SEC investigation
03/15/18   S. E.                 0.30 L120      Conference with associate          210.00
           Lambrakopoulos                       regarding legal research
                                                question
03/15/18   S. E.                 0.30 L120      Emails with counsel                210.00
           Lambrakopoulos                       regarding document
                                                question
03/15/18   S. E.                 1.80 L120      Review documents for SEC         1,260.00
           Lambrakopoulos                       testimony
03/15/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan            140.00
                                                and S. Lambrakopoulos
                                                regarding privilege issues
03/15/18   V. L. Martinez        0.10 L120      Correspond with S.                   70.00
                                                Lambrakopoulos regarding
                                                translation
03/15/18   V. L. Martinez        1.30 L120      Draft outline for potential        910.00
                                                presentation and send
                                                same to T. Ryan and S.
                                                Lambrakopoulos
03/15/18   D. M. Nichols Jr.     0.20 C200      Conference with counsel              74.00
                                                regarding research in
                                                response to the SEC
                                                inquiry
03/15/18   D. M. Nichols Jr.     0.30 C200      Conduct legal research in          111.00
                                                response to the SEC
                                                inquiry
03/16/18   K. M. Flanigan        0.50   L110    Conduct privilege review           185.00
03/16/18   K. M. Flanigan        0.80   L110    Conduct privilege review           296.00
03/16/18   J. A. Jay             2.70   C100    Conduct privilege review           999.00
03/16/18   J. A. Kephart         3.00   L320    Review documents                 1,110.00
                                                regarding potential privilege
                                                issues
03/16/18   S. E.                 0.50 L120      Participate in status and          350.00
           Lambrakopoulos                       strategy call with co-
                                                counsel
03/16/18   S. E.                 0.40 L120      Various emails with co-            280.00
           Lambrakopoulos                       counsel regarding
                                                Japanese translation and
                                                review of related
                                                documents
03/16/18   S. E.                 2.50 L120      Review research in               1,750.00
           Lambrakopoulos                       connection with
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
                                                preparations of outline and
                                                strategy for SEC
03/16/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan            140.00
                                                and S. Lambrakopoulos
                                                regarding presentation
03/16/18   V. L. Martinez        0.40 L120      Hold weekly update call            280.00
                                                with co-counsel
03/16/18   V. L. Martinez        0.20 L120      Correspond with T. Ryan            140.00
                                                and S. Lambrakopoulos
                                                regarding email translation
03/16/18   D. M. Nichols Jr.     2.10 C200      Conduct legal research and         777.00
                                                analyze the results for use
                                                in response to the SEC
                                                inquiry
03/16/18   T. C. Ryan            0.80 L120      Prepare for and conference         560.00
                                                with team regarding status
                                                of investigation
03/19/18   K. M. Flanigan        2.10 L110      Conduct privilege review           777.00
03/19/18   J. A. Jay             3.10 C100      Conduct privilege review         1,147.00
03/19/18   J. A. Kephart         1.80 L320      Review documents                   666.00
                                                regarding potential privilege
                                                issues
03/19/18   S. E.                 0.40 L120      Emails with co-counsel             280.00
           Lambrakopoulos                       regarding SEC
03/19/18   S. E.                 1.80 L120      Draft talking points/outline     1,260.00
           Lambrakopoulos                       related to SEC strategy and
                                                presentation
03/19/18   S. E.                 1.40 L120      Review documents in                980.00
           Lambrakopoulos                       preparation for SEC
                                                testimony
03/19/18   D. M. Nichols Jr.     2.30 C200      Conduct legal research             851.00
                                                regarding in furtherance of
                                                developing legal arguments
                                                in response to the SEC
                                                inquiry
03/20/18   K. M. Flanigan        4.00 L110      Conduct privilege review         1,480.00
03/20/18   J. A. Jay             4.70 C100      Conduct privilege review         1,739.00
03/20/18   T. L. Kornobis        0.50 C300      Team startegy and status           185.00
                                                call
03/20/18   S. E.                 0.30 L120      Participate in status and          210.00
           Lambrakopoulos                       strategy call with co-
                                                counsel
03/20/18   S. E.                 0.50 L120      Review draft summary on            350.00
           Lambrakopoulos                       factual issues
03/20/18   V. L. Martinez        0.40 L120      Hold weekly status update          280.00
                                                call with KLG team
03/20/18   D. M. Nichols Jr.     2.00 C200      Conduct legal and factual          740.00
                                                research in furtherance of
                                                preparing a response to the
17-10751-mew   Doc 3955-7       Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
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DATE       NAME                  HRS TASK       DESCRIPTION                     AMOUNT
                                                SEC inquiry
03/20/18   D. M. Nichols Jr.     0.70 C200      Summarize findings                 259.00
03/20/18   T. C. Ryan            0.70 L120      Prepare for and participate        490.00
                                                in coordination call
03/21/18   J. A. Jay             4.40 C100      Conduct privilege review         1,628.00
03/21/18   J. A. Kephart         1.20 L320      Review documents                   444.00
                                                regarding potential privilege
                                                issues
03/21/18   S. E.                 0.40 L120      Various emails with co-            280.00
           Lambrakopoulos                       counsel regarding SEC
                                                proceedings
03/21/18   V. L. Martinez        0.20 L120      Correspond with co-counsel         140.00
                                                regarding a question of
                                                privilege
03/21/18   V. L. Martinez        0.50 L120      Review weekly report from          350.00
                                                co-counsel, and correspond
                                                with co-counsel regarding
                                                the same
03/21/18   T. C. Ryan            0.70 L120      Conference with client             490.00
                                                regarding coordination with
                                                former employee
03/22/18   J. A. Jay             1.10 C100      Conduct privilege review           407.00
03/22/18   J. A. Kephart         0.80 L320      Review documents                   296.00
                                                regarding potential privilege
                                                issues
03/22/18   T. L. Kornobis        1.30 C300      Conduct privilege review           481.00
03/22/18   T. L. Kornobis        0.30 C300      Work with vendor on                111.00
                                                document access for
                                                privilege review
03/22/18   T. L. Kornobis        0.80 C300      Prepare summary materials          296.00
                                                for internal meeting on
                                                privilege review
03/22/18   S. E.                 0.30 L120      Review and revise draft            210.00
           Lambrakopoulos                       letter regarding privilege
                                                matters
03/22/18   S. E.                 0.90 L120      Draft talking points relating      630.00
           Lambrakopoulos                       to SEC strategy
03/22/18   V. L. Martinez        0.50 L120      Task associate on task             350.00
                                                regarding witness
                                                preparation materials,
                                                including providing previous
                                                materials for incorporation
                                                and revision
03/22/18   V. L. Martinez        0.20 L120      Correspond with co-counsel         140.00
                                                regarding SEC investigation
03/22/18   V. L. Martinez        0.20 L120      Correspond with co-counsel         140.00
                                                regarding witness
                                                production
03/22/18   V. L. Martinez        1.00 L120      Review and revise witness          700.00
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DATE       NAME                 HRS TASK       DESCRIPTION                    AMOUNT
                                               preparation outlines
03/23/18   K. M. Flanigan       1.40 L110      Conduct privilege review          518.00
03/23/18   J. A. Jay            4.40 C100      Conduct privilege review        1,628.00
03/23/18   J. A. Kephart        0.20 L320      Prepare for and email with         74.00
                                               T. Kornobis
03/23/18   T. L. Kornobis       1.10 C300      Work on secondary review          407.00
                                               process for privilege review
                                               and call with K. Flanigan
                                               regarding same
03/23/18   S. E.                0.40 L120      Participate in status and         280.00
           Lambrakopoulos                      strategy call with co-
                                               counsel
03/23/18   S. E.                0.80 L120      Gather information on SEC         560.00
           Lambrakopoulos                      proceedings and SEC staff
                                               recent investigation for
                                               team
03/23/18   S. E.                0.80 L120      Brief review of documents         560.00
           Lambrakopoulos                      provided by former
                                               employee counsel
03/23/18   V. L. Martinez       0.50 L120      Prepare for and hold              350.00
                                               weekly update call with co-
                                               counsel
03/23/18   V. L. Martinez       0.20 L120      Correspond with associate         140.00
                                               regarding update to witness
                                               preparation materials
03/23/18   V. L. Martinez       0.20 L120      Review correspondence             140.00
                                               with co-counsel regarding a
                                               separate SEC matter
03/23/18   V. L. Martinez       3.50 L120      Review materials and draft      2,450.00
                                               witness preparation
                                               questions
03/23/18   A. E. McCullough     2.40 L120      Edit witness preparation          888.00
                                               document and send to V.
                                               Martinez for review
03/23/18   T. C. Ryan           0.50 L120      Prepare and participate in        350.00
                                               weekly co-counsel call
03/23/18   T. C. Ryan           0.50 L120      Review status of auditor          350.00
                                               review and production
03/24/18   V. L. Martinez       0.70 L120      Draft witness preparation         490.00
                                               questions
03/25/18   T. L. Kornobis       7.80 C300      Conduct secondary               2,886.00
                                               privilege review and
                                               prepare materials for
                                               meeting regarding privilege
                                               review decisions
03/26/18   J. A. Jay            3.40 C100      Conduct privilege review        1,258.00
03/26/18   T. L. Kornobis       1.80 C300      Edit materials related to         666.00
                                               privilege review for meeting
                                               with T. Ryan, V. Martinez,
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DATE       NAME                 HRS TASK       DESCRIPTION                   AMOUNT
                                               and S. Lambrakopoulos
03/26/18   S. E.                1.80 L120      Review documents               1,260.00
           Lambrakopoulos                      provided by former
                                               employee in connection
                                               with SEC subpoena
03/26/18   S. E.                0.40 L120      Various emails with counsel      280.00
           Lambrakopoulos                      regarding SEC matter
03/26/18   S. E.                0.30 L120      Various emails regarding         210.00
           Lambrakopoulos                      privilege review for SEC
                                               matter
03/26/18   V. L. Martinez       0.20 L120      Review weekly report from        140.00
                                               co-counsel
03/26/18   V. L. Martinez       0.20 L120      Correspond with associate        140.00
                                               regarding review of
                                               privileged materials
03/26/18   V. L. Martinez       0.80 L120      Draft witness preparation        560.00
                                               questions
03/26/18   V. L. Martinez       0.20 L120      Hold call with T. Ryan           140.00
                                               regarding question related
                                               to an employment
                                               agreement
03/26/18   A. E. McCullough     1.60 L120      Edit witness preparation         592.00
                                               document to reflect
                                               comments from counsel
03/27/18   T. L. Kornobis       1.50 C300      Prepare materials for            555.00
                                               privielge review meeting
03/27/18   T. L. Kornobis       2.00 C300      Meet with T. Ryan, V.            740.00
                                               Martinez, and S.
                                               Lambrakopoulos regarding
                                               privilege review matters
03/27/18   T. L. Kornobis       0.40 C300      Team strategy meting             148.00
03/27/18   S. E.                0.30 L120      Participate in status call       210.00
           Lambrakopoulos                      with counsel on SEC and
                                               other matters
03/27/18   S. E.                0.50 L120      Review escalated privilege       350.00
           Lambrakopoulos                      items
03/27/18   S. E.                1.60 L120      Conference with counsel on     1,120.00
           Lambrakopoulos                      escalated privilege
                                               questions
03/27/18   S. E.                1.20 L120      Review of documents              840.00
           Lambrakopoulos                      relating to SEC
03/27/18   V. L. Martinez       0.20 L120      Correspond with S.               140.00
                                               Lambrakopoulos regarding
                                               witness document review
03/27/18   V. L. Martinez       0.50 L120      Prepare for and hold             350.00
                                               weekly call with KLG team
03/27/18   V. L. Martinez       0.70 L120      Correspond, meet and hold        490.00
                                               call with T. Ryan, S.
                                               Lambrakopoulos and an
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             associate regarding
                                             questions raised during a
                                             privilege review
03/27/18   T. C. Ryan         0.60 L120      Conference with client on         420.00
                                             status of investigation
03/28/18   S. E.              0.30 L120      Review document relating          210.00
           Lambrakopoulos                    to legal issue
03/28/18   S. E.              1.20 L120      Review forms employee             840.00
           Lambrakopoulos                    documents in connection
                                             with SEC subpoena
                                             production
03/28/18   S. E.              1.90 L120      Review escalated privilege      1,330.00
           Lambrakopoulos                    matters and documents
                                             relating to audit
03/28/18   S. E.              0.30 L120      Emails with associate             210.00
           Lambrakopoulos                    regarding escalated
                                             privilege matters
03/28/18   S. E.              1.30 L120      Work on outline/talking           910.00
           Lambrakopoulos                    points for legal strategy
                                             matter on SEC
03/29/18   T. L. Kornobis     1.60 C300      Meet with T. Ryan, V.             592.00
                                             Martinez, and S.
                                             Lambrakopoulos regarding
                                             privilege review matters
                                             and prepare materials for
                                             meeting
03/29/18   S. E.              2.20 L120      Conference with counsel         1,540.00
           Lambrakopoulos                    regarding escalated
                                             privilege calls for SEC
                                             production
03/29/18   S. E.              0.40 L120      Various emails with co-           280.00
           Lambrakopoulos                    counsel regarding SEC
03/29/18   V. L. Martinez     0.80 L120      Correspond, hold calls and        560.00
                                             meet with T. Ryan, S.
                                             Lambrakopoulos and an
                                             associate regarding a
                                             privilege review
03/29/18   V. L. Martinez     0.30 L120      Correspond with T. Ryan,          210.00
                                             S. Lambrakopoulos, and
                                             co-counsel regarding
                                             review procedures for
                                             witness preparation
                                             materials
03/30/18   T. L. Kornobis     2.50 C300      Prepare documents for T.          925.00
                                             Ryan in connection with
                                             privilege review
03/30/18   S. E.              0.40 L120      Participate in status call        280.00
           Lambrakopoulos                    with co-counsel
03/30/18   S. E.              1.60 L120      Work on draft talking points    1,120.00
           Lambrakopoulos                    regarding SEC strategy
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DATE       NAME                  HRS TASK         DESCRIPTION                     AMOUNT
03/30/18   V. L. Martinez        0.50 L120        Prepare for and hold              350.00
                                                  weekly call with co-counsel
03/30/18   A. E. McCullough      2.20 L120        Edit and expand witness            814.00
                                                  preparation document from
                                                  counsel's suggestions
03/30/18   T. C. Ryan            1.00 L120        Prepare for and conference         700.00
                                                  with co-counsel regarding
                                                  status of investigation
03/31/18   V. L. Martinez        2.50 L120        Draft witness preparation        1,750.00
                                                  materials, and correspond
                                                  with associate regarding
                                                  the same
                            TOTAL FEES              305.40 hrs               $   142,896.00


                                 TIMEKEEPER SUMMARY

S. M. Czypinski                      17.40   hrs at    $    370.00   / hr          6,438.00
K. M. Flanigan                       21.10   hrs at    $    370.00   / hr          7,807.00
J. A. Jay                            48.70   hrs at    $    370.00   / hr         18,019.00
J. A. Kephart                        21.70   hrs at    $    370.00   / hr          8,029.00
T. L. Kornobis                       40.10   hrs at    $    370.00   / hr         14,837.00
S. E. Lambrakopoulos                 60.20   hrs at    $    700.00   / hr         42,140.00
V. L. Martinez                       23.10   hrs at    $    700.00   / hr         16,170.00
A. E. McCullough                      6.20   hrs at    $    370.00   / hr          2,294.00
D. M. Nichols Jr.                    19.30   hrs at    $    370.00   / hr          7,141.00
E. D. Phillips                       17.70   hrs at    $    370.00   / hr          6,549.00
T. C. Ryan                            7.30   hrs at    $    700.00   / hr          5,110.00
D. J. Veintimilla                    22.60   hrs at    $    370.00   / hr          8,362.00
                            TOTAL FEES                305.40 hrs             $   142,896.00
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                               TASK CODE SUMMARY

B110    Case Administration                      6.50   hrs               2,405.00
C100    Fact Gathering                          51.90   hrs              19,203.00
C200    Researching Law                         19.30   hrs               7,141.00
C300    Analysis and Advice                     39.60   hrs              14,652.00
L110    Fact Investigation/Development          38.50   hrs              14,245.00
L120    Analysis/Strategy                       96.80   hrs              65,714.00
L320    Document Production                     35.10   hrs              12,987.00
L650    eDiscovery Review                        6.80   hrs               2,516.00
P930    Other                                   10.90   hrs               4,033.00
                          TOTAL FEES           305.40   hrs        $    142,896.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Color Copying/Printing                                                      66.00
Copying Expense                                                            128.00
Copying Expense (Outside Off.)                                             194.46
Pacer Research                                                               2.20
Telephone / Conference Calls / Fx Line Trans                                11.66
                         DISBURSEMENTS & OTHER CHARGES             $       402.32
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                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      April 30, 2018
 1000 Westinghouse Drive                                                                       Invoice Number                       :      3504421
 Cranberry Township, PA 16066                                                                  Services Through                     :      March 31, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

        Fees                                                                               $            1,650.00
        Disbursements and Other Charges                                                    $            1,299.69
        Total Amount Due This Matter                                                                                                             $           2,949.69



CURRENT INVOICE DUE - All Matters                                                                                                                $           2,949.69




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew        Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15           Exhibit Time
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 Subpoena Response - eDAT Fees (70030)                                                 $2,949.69


                                                FEES

DATE            NAME                   HOURS      DESCRIPTION                           AMOUNT
03/05/18        L. A. Diersen           2.20      Strategize with E. Renzelli from        550.00
                                                  White and Case in regards to
                                                  exporting "Produced Cherian
                                                  Communications" for external
                                                  review (0.3); organize and
                                                  export "Produced Cherian
                                                  Communications" as requested
                                                  by E. Renzelli (1.9)
03/06/18        L. A. Diersen            1.80     Prepare for and conduct training         450.00
                                                  for White and Case
03/06/18        L. A. Diersen            0.50     Export Japanese language                 125.00
                                                  privileged log information as
                                                  requested by T. Kornobis
03/06/18        C. T. Field              0.70     Locate produced versions of              175.00
                                                  documents from Bates ranges;
                                                  produce PDFs of those versions
03/12/18        K. R. Slavik             0.10     Coordinate information to                 25.00
                                                  establish user permissions in
                                                  Ringtail database for new users
                                                  in preparation for review
03/14/18        C. T. Field              1.30     Formulate search as requested            325.00
                                                  by case team over produced
                                                  documents, image and export
                                                  results for review, and perform
                                                  broader follow-up searches with
                                                  Ringtail
                                TOTAL FEES                  6.60 hrs               $      1,650.00


                                     TIMEKEEPER SUMMARY

L. A. Diersen                            4.50 hrs at     $       250.00 / hr             1,125.00
C. T. Field                              2.00 hrs at     $       250.00 / hr               500.00
K. R. Slavik                             0.10 hrs at     $       250.00 / hr                25.00
                                TOTAL FEES                   6.60 hrs             $      1,650.00
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                                                                                                                 0236915
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                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
03/19/18         FTI Consulting, Inc. - 02282018 - 12/31/17 - FTI Machine                                              0.15
                 Language Translation Fees: 1 file @ $0.15/file
03/31/18         Ringtail Fees March 2017 12 Web Licenses @ $50/month:                                              600.00
                 $650.00
03/31/18         Ringtail Fees: March 2018 Data Storage Fees: 46.63581 GB @                                         699.54
                 $15.00/GB: $699.54
                                DISBURSEMENTS & OTHER CHARGES                                            $        1,299.69

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                                                 MATTER SUMMARY

Fees                                                                                                     $        1,650.00
Disbursements and Other Charges                                                                          $        1,299.69
MATTER TOTAL                                                                                             $        2,949.69
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
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                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      May 24, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3514191
Cranberry Township, PA 16066                                                                  Services Through                     :      April 30, 2018




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $         95,038.00
Disbursements and Other Charges                                                                                                                  $            456.37

CURRENT INVOICE DUE                                                                                                                              $         95,494.37




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew   Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
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                                         FEES

DATE       NAME                 HRS TASK        DESCRIPTION                    AMOUNT
04/02/18   K. M. Flanigan       0.10 L110       Correspond with T.               37.00
                                                Kornobis regarding
                                                privilege review
04/02/18   T. L. Kornobis       1.30 C300       Prepare materials for             481.00
                                                secondary review as part of
                                                privilege review
04/02/18   S. E.                1.20 L120       Review documents relating         840.00
           Lambrakopoulos                       to SEC matter
04/02/18   S. E.                0.40 L120       Various emails with co-           280.00
           Lambrakopoulos                       counsel regarding SEC
04/02/18   V. L. Martinez       6.30 L120       Draft witness preparation        4,410.00
                                                materials
04/02/18   A. E. McCullough     5.90 L120       Conference with counsel          2,183.00
                                                and update witness
                                                preparation documents to
                                                reflect additional questions
                                                discussed
04/03/18   K. M. Flanigan       0.40 L110       Correspond with T.                148.00
                                                Kornobis regarding
                                                privilege review
04/03/18   J. A. Georges        0.40 L110       Attend status conference          100.00
04/03/18   T. L. Kornobis       0.70 C300       Prepare secondary                 259.00
                                                privilege review document
04/03/18   T. L. Kornobis       0.30 C300       Call with K. Flanigan on          111.00
                                                privilege review
04/03/18   T. L. Kornobis       0.50 C300       Team strategy call                185.00
04/03/18   S. E.                0.50 L120       Participate in status and         350.00
           Lambrakopoulos                       strategy call with co-
                                                counsel regarding SEC and
                                                other matters
04/03/18   S. E.                1.30 L120       Review documents related          910.00
           Lambrakopoulos                       to SEC matter
04/03/18   V. L. Martinez       6.20 L120       Draft witness preparation        4,340.00
                                                materials
04/03/18   A. E. McCullough     0.60 L120       Edit witness preparation          222.00
                                                document to reflect edits
                                                from counsel
04/03/18   T. C. Ryan           1.30 L120       Conduct follow-up e-mail          910.00
                                                review at client's request
04/04/18   S. E.                1.90 L120       Review and revise outline        1,330.00
           Lambrakopoulos                       and document analysis for
                                                witness preparation
04/04/18   V. L. Martinez       0.30 L120       Correspond with T. Ryan           210.00
                                                and S. Lambrakopoulos
                                                regarding testimony
                                                preparations
04/04/18   V. L. Martinez       0.40 L120       Correspond with T. Ryan           280.00
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DATE       NAME                 HRS TASK       DESCRIPTION                    AMOUNT
                                               and S. Lambrakopoulos
                                               after learning information
                                               about a related matter of
                                               interest
04/04/18   V. L. Martinez       0.30 L120      Hold call with counsel for a      210.00
                                               related party to discuss
                                               status of the SEC’s
                                               investigation
04/04/18   T. C. Ryan           0.70 L120      Conference with J. Wright         490.00
                                               regarding status of
                                               bankruptcy and claims
                                               process
04/04/18   J. A. Wright III     0.50 P300      Call with T. Ryan                 350.00
04/04/18   J. A. Wright III     0.20 P300      Conf. with D. Mawhinney           140.00
04/04/18   J. A. Wright III     0.40 P300      Review and comment on             280.00
                                               claim analysis
04/05/18   T. L. Kornobis       1.00 C300      Collect documents in              370.00
                                               connection with privilege
                                               review and send to T. Ryan
04/05/18   V. L. Martinez       0.10 L120      Correspond with T. Ryan             70.00
                                               and S. Lambrakopoulos
                                               regarding SEC activity in a
                                               related matter of interest
04/05/18   T. C. Ryan           1.00 L120      Address issues related to         700.00
                                               assertions of work-product
                                               protections
04/05/18   T. C. Ryan           1.00 L120      Review bankruptcy plan            700.00
                                               memo
04/06/18   K. M. Flanigan       5.10 L110      Conduct privilege quality        1,887.00
                                               check
04/06/18   J. A. Georges        0.50 C100      Prepare custodian ESI for         125.00
                                               attorney review at the
                                               request of S.
                                               Lambrakopoulos,
                                               communications with e-
                                               DAT regarding same
04/06/18   T. L. Kornobis       1.30 C300      Work on privilege review          481.00
04/06/18   T. L. Kornobis       0.40 C300      Call with co-counsel              148.00
                                               regarding privilege review
04/06/18   T. C. Ryan           1.00 L120      Prepare for and attend            700.00
                                               coordination call
04/07/18   T. L. Kornobis       2.70 C300      Conduct secondary                 999.00
                                               privilege review
04/08/18   T. L. Kornobis       2.30 C300      Conduct secondary                 851.00
                                               privilege review
04/09/18   K. M. Flanigan       2.70 L110      Conduct privilege review          999.00
                                               quality check
04/09/18   V. L. Martinez       2.10 L120      Draft presentation               1,470.00
04/10/18   K. M. Flanigan       2.90 L110      Conduct privilege quality        1,073.00
17-10751-mew   Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
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DATE       NAME                 HRS TASK       DESCRIPTION                    AMOUNT
                                               check
04/10/18   J. A. Georges        0.20 L110      Participate in status update        50.00
                                               conference
04/10/18   J. A. Georges        0.30 L110      Respond to T. Ryan                  75.00
                                               document request
04/10/18   T. L. Kornobis       0.20 C300      Review and manage                   74.00
                                               privilege review process
04/10/18   S. E.                0.40 L120      Various emails with counsel       280.00
           Lambrakopoulos                      regarding SEC strategy
04/10/18   V. L. Martinez       2.60 L120      Draft presentation, and task     1,820.00
                                               associate to perform
                                               associated legal research
04/10/18   V. L. Martinez       0.20 L120      Call regarding appellate          140.00
                                               argument
04/10/18   V. L. Martinez       0.10 L120      Correspond with T. Ryan             70.00
                                               regarding the same
04/10/18   A. E. McCullough     0.30 L430      Conference with counsel           111.00
                                               regarding case strategy
04/10/18   A. E. McCullough     2.40 L430      Edit memo from counsel's          888.00
                                               suggestions
04/10/18   T. C. Ryan           0.40 L120      Conference with counsel for       280.00
                                               auditor
04/11/18   K. M. Flanigan       6.60 L110      Conduct privilege review         2,442.00
                                               quality check
04/11/18   T. L. Kornobis       1.50 C300      Conduct secondary                 555.00
                                               privilege review
04/11/18   V. L. Martinez       0.20 L120      Correspond with T. Ryan           140.00
                                               and S. Lambrakopoulos
                                               regarding a recent SEC
                                               case of interest
04/11/18   V. L. Martinez       2.70 L120      Draft presentation and meet      1,890.00
                                               with associate regarding
                                               research in support of the
                                               same
04/11/18   A. E. McCullough     0.40 L430      Conference with counsel           148.00
                                               regarding case strategy
04/11/18   A. E. McCullough     5.90 L430      Draft and edit strategy          2,183.00
                                               memo
04/12/18   K. M. Flanigan       4.00 L110      Conduct privilege review         1,480.00
                                               quality check
04/12/18   T. L. Kornobis       0.90 C300      Conduct secondary                 333.00
                                               searches and review
                                               documents in privilege
                                               review
04/12/18   S. E.                0.60 L120      Review memo from counsel          420.00
           Lambrakopoulos                      regarding legal analysis of
                                               bankruptcy question
04/12/18   S. E.                1.20 L120      Review and revise outline         840.00
           Lambrakopoulos                      for SEC testimony
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DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
                                             preparation for former
                                             employees
04/13/18   K. M. Flanigan     3.40 L110      Conduct quality check of         1,258.00
                                             privilege review
04/13/18   S. E.              1.00 L120      Review and revise draft           700.00
           Lambrakopoulos                    strategy memo
04/13/18   S. E.              2.70 L120      Review and revise outline        1,890.00
           Lambrakopoulos                    of questions and
                                             documents for witness
                                             preparation
04/13/18   V. L. Martinez     0.40 L120      Review matter update for          280.00
                                             Client and provide
                                             comments to T. Ryan
04/13/18   V. L. Martinez     0.10 L120      Correspond with associate           70.00
                                             regarding research
                                             memorandum
04/13/18   V. L. Martinez     0.20 L120      Correspond with co-counsel        140.00
                                             regarding appellate
                                             argument in a related case
                                             of interest
04/13/18   T. C. Ryan         1.30 L120      Coordinate review of              910.00
                                             auditor production
04/13/18   T. C. Ryan         0.50 L120      Review witness prep outline        350.00
04/14/18   T. L. Kornobis     3.50 C300      Conduct secondary review         1,295.00
                                             searches and make
                                             changes for privilege review
04/15/18   T. L. Kornobis     5.10 C300      Conduct secondary review         1,887.00
                                             searches and make
                                             changes for privilege review
04/15/18   V. L. Martinez     0.50 L120      Conduct legal research and        350.00
                                             communicate with
                                             associate to update
                                             memorandum
04/16/18   K. M. Flanigan     1.70 L110      Conduct privilege review          629.00
                                             quality check
04/16/18   T. L. Kornobis     0.40 C300      Correspond with co-counsel        148.00
                                             on database review
04/16/18   T. L. Kornobis     0.40 C300      Final edits to privilege          148.00
                                             review
04/16/18   S. E.              0.20 L120      Confer with co-counsel            140.00
           Lambrakopoulos                    regarding SEC
04/16/18   S. E.              1.20 L120      Draft briefing paper on SEC       840.00
           Lambrakopoulos                    legal issue
04/16/18   V. L. Martinez     0.50 L120      Review and comment on             350.00
                                             research memo
04/16/18   V. L. Martinez     0.30 L120      Hold call with T. Ryan            210.00
                                             regarding status of the
                                             matter and planned next
                                             steps
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DATE       NAME                 HRS TASK       DESCRIPTION                     AMOUNT
04/16/18   V. L. Martinez       0.30 L120      Correspond with                   210.00
                                               bankruptcy counsel
04/16/18   V. L. Martinez       0.20 L120      Correspond with associate          140.00
                                               regarding revisions to a
                                               research memorandum
04/16/18   A. E. McCullough     1.90 L430      Conduct legal research for         703.00
                                               memo
04/16/18   T. C. Ryan           2.70 L120      Prepare for meeting with          1,890.00
                                               audit committee chairman
04/16/18   T. C. Ryan           1.30 L120      Update conference with             910.00
                                               audit committee chairman
04/17/18   K. M. Flanigan       2.10 L110      Conduct privilege review           777.00
                                               quality check and
                                               correspond with T.
                                               Kornobis regarding same
04/17/18   J. A. Georges        0.20 L110      Participate in status                50.00
                                               conference
04/17/18   T. L. Kornobis       0.90 C300      Finalize privilege review          333.00
04/17/18   S. E.                0.20 L120      Participate in co-counsel          140.00
           Lambrakopoulos                      status call regarding SEC
                                               and other matters
04/17/18   S. E.                1.80 L120      Revise and draft sections of      1,260.00
           Lambrakopoulos                      briefing paper on SEC
                                               matters
04/17/18   S. E.                0.80 L120      Research recent SEC                560.00
           Lambrakopoulos                      enforcement action
04/17/18   V. L. Martinez       0.20 L120      Correspond with associate          140.00
                                               regarding status of privilege
                                               review
04/17/18   V. L. Martinez       0.30 L120      Prepare for and hold               210.00
                                               weekly call
04/17/18   V. L. Martinez       1.30 L120      Draft argument for                 910.00
                                               presentation
04/17/18   V. L. Martinez       0.10 L120      Correspond with T. Ryan              70.00
                                               regarding witness
                                               preparation materials
04/17/18   T. C. Ryan           0.70 L120      Follow up on request from          490.00
                                               audit committee chairman
04/18/18   S. E.                3.20 L120      Revise and draft sections of      2,240.00
           Lambrakopoulos                      briefing paper on SEC
04/18/18   S. E.                0.60 L120      Emails with co-counsel             420.00
           Lambrakopoulos                      regarding SEC issues
04/18/18   V. L. Martinez       0.80 L120      Coordinate with bankruptcy         560.00
                                               counsel
04/18/18   T. C. Ryan           1.10 L120      Prepare summary for audit          770.00
                                               committee meeting
04/19/18   K. M. Flanigan       2.10 L110      Conduct privilege review           777.00
                                               quality check
04/19/18   T. L. Kornobis       1.50 L110      Complete secondary review          555.00
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DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
                                             for privilege review and
                                             communicate with auditor's
                                             counsel about database
                                             issues
04/19/18   S. E.              0.50 L120      Conference with co-counsel       350.00
           Lambrakopoulos                    regarding bankruptcy and
                                             SEC issues
04/19/18   S. E.              0.40 L120      Review analysis of legal         280.00
           Lambrakopoulos                    argument
04/19/18   S. E.              3.20 L120      Draft and revise briefing       2,240.00
           Lambrakopoulos                    paper on legal issues for
                                             SEC
04/19/18   V. L. Martinez     0.80 L120      Draft and send to T. Ryan        560.00
                                             and S. Lambrakopoulos
                                             recap of meeting with
                                             bankruptcy counsel
04/19/18   T. C. Ryan         1.00 L120      Conference with counsel          700.00
                                             regarding upcoming matter
04/20/18   S. E.              0.40 L120      Participate in status call       280.00
           Lambrakopoulos                    with co-counsel
04/20/18   S. E.              2.20 L120      Revise sections of briefing     1,540.00
           Lambrakopoulos                    paper for SEC matter
04/20/18   V. L. Martinez     0.30 L120      Hold weekly call with co-        210.00
                                             counsel
04/20/18   V. L. Martinez     0.10 L120      Correspond with S.                 70.00
                                             Lambrakopoulos regarding
                                             draft presentation
04/20/18   T. C. Ryan         0.50 L120      Prepare for and participate      350.00
                                             in coordination call
04/20/18   T. C. Ryan         0.30 L120      Review draft                     210.00
                                             correspondence to co-
                                             counsel
04/21/18   V. L. Martinez     0.60 L120      Draft email to bankruptcy        420.00
                                             counsel on providing advice
                                             to the Client
04/24/18   S. E.              2.80 L120      Research and prepare            1,960.00
           Lambrakopoulos                    arguments for briefing
                                             paper for SEC
04/25/18   S. E.              1.50 L120      Draft sections of briefing      1,050.00
           Lambrakopoulos                    paper for SEC matter
04/25/18   T. C. Ryan         1.30 L120      Conferences regarding            910.00
                                             claim withdrawal
04/26/18   S. E.              0.30 L120      Review bankruptcy-related        210.00
           Lambrakopoulos                    question
04/26/18   S. E.              5.30 L120      Research and draft briefing     3,710.00
           Lambrakopoulos                    paper for SEC matter
04/26/18   V. L. Martinez     0.60 L120      Correspond with                  420.00
                                             bankruptcy counsel and
                                             review SEC withdrawal
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DATE       NAME                  HRS TASK         DESCRIPTION                     AMOUNT
04/27/18   S. E.                 0.30 L120        Various emails with counsel       210.00
           Lambrakopoulos                         regarding SEC
04/27/18   S. E.                 0.40 L120        Conference call with co-           280.00
           Lambrakopoulos                         counsel regarding SEC
04/27/18   S. E.                 5.30 L120        Research and draft briefing       3,710.00
           Lambrakopoulos                         paper for SEC matter
04/27/18   V. L. Martinez        0.80 L120        Correspond and hold calls          560.00
                                                  with bankruptcy counsel, T.
                                                  Ryan, S. Lambrakopoulos
                                                  and client regarding SEC
                                                  decision to withdraw claim
04/27/18   V. L. Martinez        0.30 L120        Hold weekly call with co-          210.00
                                                  counsel
04/27/18   T. C. Ryan            0.70 L120        Conferences regarding              490.00
                                                  claim withdrawal
04/30/18   S. E.                 0.40 L120        Various emails with counsel        280.00
           Lambrakopoulos                         regarding SEC and related
                                                  matters
04/30/18   S. E.                 5.60 L120        Research and draft                3,920.00
           Lambrakopoulos                         sections of briefing paper
                                                  for SEC matter
04/30/18   V. L. Martinez        0.30 L120        Correspond and hold call           210.00
                                                  with client regarding
                                                  withdrawal of SEC
                                                  bankruptcy claim
04/30/18   V. L. Martinez        0.20 L120        Correspond with client, T.         140.00
                                                  Ryan, S. Lambrakopoulos
                                                  and bankruptcy counsel
                                                  regarding withdrawal of
                                                  SEC bankruptcy claim
                            TOTAL FEES              171.40 hrs               $    95,038.00


                                 TIMEKEEPER SUMMARY

K. M. Flanigan                       31.10   hrs at    $    370.00   / hr         11,507.00
J. A. Georges                         1.60   hrs at    $    250.00   / hr            400.00
T. L. Kornobis                       24.90   hrs at    $    370.00   / hr          9,213.00
S. E. Lambrakopoulos                 47.80   hrs at    $    700.00   / hr         33,460.00
V. L. Martinez                       30.70   hrs at    $    700.00   / hr         21,490.00
A. E. McCullough                     17.40   hrs at    $    370.00   / hr          6,438.00
T. C. Ryan                           16.80   hrs at    $    700.00   / hr         11,760.00
J. A. Wright III                      1.10   hrs at    $    700.00   / hr            770.00
                            TOTAL FEES                171.40 hrs             $    95,038.00

456.37
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                               TASK CODE SUMMARY

C100    Fact Gathering                           0.50   hrs                125.00
C300    Analysis and Advice                     23.40   hrs              8,658.00
L110    Fact Investigation/Development          33.70   hrs             12,337.00
L120    Analysis/Strategy                      101.80   hrs             69,115.00
L430    Written Motions and Submissions         10.90   hrs              4,033.00
P300    Structure/Strategy/Analysis              1.10   hrs                770.00
                          TOTAL FEES           171.40   hrs        $    95,038.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                             AMOUNT
Westlaw Research                                                          456.37
                        DISBURSEMENTS & OTHER CHARGES              $      456.37
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                                                         Entries Part 1 Pg 302 of 335

                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      May 9, 2018
 1000 Westinghouse Drive                                                                       Invoice Number                       :      3514083
 Cranberry Township, PA 16066                                                                  Services Through                     :      April 30, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

        Fees                                                                               $              387.49
        Disbursements and Other Charges                                                    $            1,299.54
        Total Amount Due This Matter                                                                                                             $           1,687.03



CURRENT INVOICE DUE - All Matters                                                                                                                $           1,687.03




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew           Doc 3955-7         Filed 09/25/18 Entered 09/25/18 13:03:15                             Exhibit Time
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                                                                                                       Invoice # 3514083
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 Subpoena Response - eDAT Fees (70030)                                                                       $1,687.03


                                                           FEES

DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
04/30/18         ESI Processing                   N/A          ESI Processing: 1.29163 GB                         387.49
                                                               processed @ $50/GB = $64.58
                                                               (raw extracted volume - input);
                                                               1.29163 GB processed @
                                                               $250/GB = $322.91 (post-
                                                               filtered volume - output); Total
                                                               ESI Processing Charge:
                                                               $387.49
                                    TOTAL FEES                           0.00 hrs               $                   387.49


                                             TIMEKEEPER SUMMARY

ESI Processing                                N/A hrs at                  $         N/A / hr                        387.49
                                    TOTAL FEES                                0.00 hrs                   $          387.49


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
04/30/18         Ringtail Fees: April 2018 12 Web Licenses @ $50/month: $600.00                                     600.00
04/30/18         Ringtail Fees: April 2018 Data Storage Fees: 46.63581 GB @                                         699.54
                 $15.00/GB: $699.54
                                DISBURSEMENTS & OTHER CHARGES                  $                                  1,299.54

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                                                 MATTER SUMMARY

Fees                                                                                                     $          387.49
Disbursements and Other Charges                                                                          $        1,299.54
MATTER TOTAL                                                                                             $        1,687.03
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
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                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      June 26, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3529729
Cranberry Township, PA 16066                                                                  Services Through                     :      May 31, 2018




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $           7,791.00
Disbursements and Other Charges                                                                                                                  $               2.12

CURRENT INVOICE DUE                                                                                                                              $           7,793.12




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057




Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
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                                        FEES

DATE       NAME                 HRS TASK         DESCRIPTION                     AMOUNT
04/13/18   S. E.                0.30 L120        Review summary for status         210.00
           Lambrakopoulos                        report
05/01/18   J. A. Georges        0.20 L110        Attend status conference            50.00
05/01/18   S. E.                0.40 C300        Participate in status and          280.00
           Lambrakopoulos                        strategy call with counsel
05/01/18   V. L. Martinez       0.40 L120        Hold weekly team call              280.00
05/01/18   T. C. Ryan           0.70 L120        Address follow-up                  490.00
                                                 questions regarding
                                                 withdrawal of claim
05/02/18   S. E.                1.50 C300        Research issues relating to      1,050.00
           Lambrakopoulos                        SEC briefing paper
05/03/18   S. E.                3.50 C300        Research and prepare draft       2,450.00
           Lambrakopoulos                        of SEC briefing paper
05/03/18   T. C. Ryan           0.40 C300        Conference with co-counsel         280.00
                                                 regarding status of
                                                 investigation
05/04/18   S. E.                2.60 C300        Revise and finalize briefing     1,820.00
           Lambrakopoulos                        paper for SEC matter
05/08/18   T. C. Ryan           0.40 C300        Follow up with client              280.00
                                                 regarding status of
                                                 investigation
05/18/18   S. E.                0.40 C300        Telephone call with co-            280.00
           Lambrakopoulos                        counsel regarding SEC
05/21/18   J. A. Georges        0.10 C100        Prepare documents for               25.00
                                                 attorney review at the
                                                 request of T. Ryan
05/24/18   N. A. Stockey        0.80 C300        Review and analyze                 296.00
                                                 withdrawal of claim
                           TOTAL FEES                11.70 hrs               $     7,791.00


                                TIMEKEEPER SUMMARY

J. A. Georges                       0.30    hrs at   $    250.00   / hr              75.00
S. E. Lambrakopoulos                8.70    hrs at   $    700.00   / hr           6,090.00
V. L. Martinez                      0.40    hrs at   $    700.00   / hr             280.00
T. C. Ryan                          1.50    hrs at   $    700.00   / hr           1,050.00
N. A. Stockey                       0.80    hrs at   $    370.00   / hr             296.00
                           TOTAL FEES                11.70 hrs              $     7,791.00
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                                                                     Invoice # 3529729
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                                  TASK CODE SUMMARY

C100     Fact Gathering                             0.10   hrs                 25.00
C300     Analysis and Advice                       10.00   hrs              6,736.00
L110                                                0.20   hrs                 50.00
L120                                                1.10   hrs                770.00
L120     Analysis/Strategy                          0.30   hrs                210.00
                          TOTAL FEES               11.70   hrs        $     7,791.00


                        DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                AMOUNT
Lexis Research                                                                2.12
                         DISBURSEMENTS & OTHER CHARGES                $       2.12
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                                                         Entries Part 1 Pg 307 of 335

                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      June 5, 2018
 1000 Westinghouse Drive                                                                       Invoice Number                       :      3523041
 Cranberry Township, PA 16066                                                                  Services Through                     :      May 31, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

        Disbursements and Other Charges                                                    $            1,249.54
        Total Amount Due This Matter                                                                                                             $           1,249.54



CURRENT INVOICE DUE - All Matters                                                                                                                $           1,249.54




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057




Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew           Doc 3955-7         Filed 09/25/18 Entered 09/25/18 13:03:15                             Exhibit Time
                                         Entries Part 1 Pg 308 of 335

                                                                                                       Invoice # 3523041
                                                                                                                 0236915
                                                                                                              Page 2 of 2



 Subpoena Response - eDAT Fees (70030)                                                                       $1,249.54

                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
05/31/18         Ringtail Fees: May 2018 11 Web Licenses @ $50/month: $550.00                                       550.00
05/31/18         Ringtail Fees: May 2018 Data Storage Fees: 46.63581 GB @                                           699.54
                 $15.00/GB: $699.54
                                DISBURSEMENTS & OTHER CHARGES                 $                                   1,249.54

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                                                 MATTER SUMMARY

Disbursements and Other Charges                                                                          $        1,249.54
MATTER TOTAL                                                                                             $        1,249.54
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 309 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      July 31, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3542399
Cranberry Township, PA 16066                                                                  Services Through                     :      June 30, 2018




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $           4,955.00

CURRENT INVOICE DUE                                                                                                                              $           4,955.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
                            Entries Part 1 Pg 310 of 335
                                                                       Invoice # 3542399
                                                                          0236915.00030
                                                                              Page 2 of 3

                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
06/11/18   J. A. Georges      0.30 C100       Report updates at the            75.00
                                              request of T. Ryan
06/13/18   J. A. Georges      0.20 C100       Communications with e-              50.00
                                              DAT, A. Cashman
                                              regarding document
                                              production preparation
06/15/18   V. L. Martinez     0.20 C300       Review correspondence             140.00
                                              and correspond with
                                              associate regarding
                                              privilege review of database
06/19/18   T. C. Ryan         0.50 C300       E-mail exchanges                  350.00
                                              regarding termination of
                                              investigation
06/21/18   S. E.              0.20 C300       Review SEC                        140.00
           Lambrakopoulos                     correspondence
06/21/18   S. E.              0.30 C300       Various conferences with          210.00
           Lambrakopoulos                     counsel regarding SEC
                                              correspondence
06/21/18   V. L. Martinez     0.40 C300       Correspond with D. Panahi,        280.00
                                              T. Ryan and S.
                                              Lambrakopoulos regarding
                                              SEC declination letter
06/22/18   S. E.              0.40 C300       Conference call with co-          280.00
           Lambrakopoulos                     counsel regarding SEC
                                              correspondence
06/22/18   S. E.              0.30 C300       Various emails with co-           210.00
           Lambrakopoulos                     counsel regarding SEC
                                              correspondence
06/22/18   S. E.              0.40 C300       Confer with associate             280.00
           Lambrakopoulos                     regarding SEC subpoenas
06/22/18   V. L. Martinez     0.30 C300       Correspond with various           210.00
                                              parties regarding SEC
                                              declination letter
06/22/18   V. L. Martinez     0.80 C300       Correspond and hold call          560.00
                                              with S. Lambrakopoulos
                                              and co-counsel regarding
                                              SEC declination letter and
                                              other developments, and
                                              correspond with T. Ryan
                                              regarding the same
06/25/18   S. E.              0.60 c300       Various emails with co-           420.00
           Lambrakopoulos                     counsel regarding SEC
                                              correspondence and status
                                              report to clients
06/25/18   S. E.              0.30 c300       Confer with associate             210.00
           Lambrakopoulos                     regarding SEC subpoena
                                              question
06/25/18   V. L. Martinez     0.10 C300       Correspond with T. Ryan,            70.00
17-10751-mew     Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15            Exhibit Time
                                Entries Part 1 Pg 311 of 335
                                                                                Invoice # 3542399
                                                                                   0236915.00030
                                                                                       Page 3 of 3

DATE         NAME                  HRS TASK         DESCRIPTION                       AMOUNT
                                                    S. Lambrakopoulos and co-
                                                    counsel regarding public
                                                    announcement of Toshiba
                                                    declination
06/25/18     T. C. Ryan            0.50 C400        Conference with auditor's            350.00
                                                    counsel regarding
                                                    termination of investigation
06/27/18     S. E.                 0.80 C300        Review litigation hold               560.00
             Lambrakopoulos                         notices in light of SEC
                                                    communications
06/27/18     S. E.                 0.30 C300        Emails with co-counsel               210.00
             Lambrakopoulos                         regarding litigation hold
                                                    notices
06/27/18     V. L. Martinez        0.10 C300        Correspond with T. Ryan                70.00
                                                    and S. Lambrakopoulos
                                                    regarding litigation holds
06/27/18     T. C. Ryan            0.40 C300        Address status of                    280.00
                                                    preservation notice in light
                                                    of termination of
                                                    investigation
                              TOTAL FEES                 7.40 hrs                $      4,955.00


                                   TIMEKEEPER SUMMARY

J. A. Georges                          0.50    hrs at   $       250.00   / hr            125.00
S. E. Lambrakopoulos                   3.60    hrs at   $       700.00   / hr          2,520.00
V. L. Martinez                         1.90    hrs at   $       700.00   / hr          1,330.00
T. C. Ryan                             1.40    hrs at   $       700.00   / hr            980.00
                              TOTAL FEES                    7.40 hrs             $     4,955.00



                                   TASK CODE SUMMARY

C100       Fact Gathering                                   0.50   hrs                   125.00
C300       Analysis and Advice                              3.80   hrs                 2,660.00
c300       Analysis and Advice                              0.90   hrs                   630.00
C300       Analysis and Advice                              1.70   hrs                 1,190.00
C400       Third Party Communication                        0.50   hrs                   350.00
                           TOTAL FEES                       7.40   hrs           $     4,955.00
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 312 of 335

                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      July 12, 2018
 1000 Westinghouse Drive                                                                       Invoice Number                       :      3538163
 Cranberry Township, PA 16066                                                                  Services Through                     :      June 30, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

        Disbursements and Other Charges                                                    $            1,049.54
        Total Amount Due This Matter                                                                                                             $           1,049.54



CURRENT INVOICE DUE - All Matters                                                                                                                $           1,049.54




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew           Doc 3955-7         Filed 09/25/18 Entered 09/25/18 13:03:15                             Exhibit Time
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                                                                                                              Page 2 of 2



 Subpoena Response - eDAT Fees (70030)                                                                       $1,049.54

                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
06/30/18         Ringtail Fees: June 2018 7 Web Licenses @ $50/month: $350.00                                       350.00
06/30/18         Ringtail Fees: June 2018 Data Storage Fees: 46.63581 GB @                                          699.54
                 $15.00/GB: $699.54
                                DISBURSEMENTS & OTHER CHARGES                 $                                   1,049.54

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                                                 MATTER SUMMARY

Disbursements and Other Charges                                                                          $        1,049.54
MATTER TOTAL                                                                                             $        1,049.54
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 314 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      August 23, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3551822
Cranberry Township, PA 16066                                                                  Services Through                     :      July 31, 2018




 0236915.00030                     Subpoena Response



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $           2,590.00

CURRENT INVOICE DUE                                                                                                                              $           2,590.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057




Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew    Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
                               Entries Part 1 Pg 315 of 335
                                                                          Invoice # 3551822
                                                                             0236915.00030
                                                                                 Page 2 of 3

                                          FEES

DATE       NAME                  HRS TASK        DESCRIPTION                     AMOUNT
07/09/18   S. E.                 0.50 C300       Confer with counsel               350.00
           Lambrakopoulos                        regarding litigation hold
                                                 questions
07/09/18   S. E.                 0.50 c300       Review litigation hold             350.00
           Lambrakopoulos                        notices
07/09/18   V. L. Martinez        0.10 C300       Correspond with T. Ryan             70.00
                                                 and S. Lambrakopoulos
                                                 regarding document holds
07/09/18   V. L. Martinez        0.40 C300       Meet with S.                       280.00
                                                 Lambrakopoulos to discuss
                                                 document holds
07/10/18   S. E.                 0.20 c300       Emails with counsel                140.00
           Lambrakopoulos                        regarding litigation hold
                                                 questions
07/10/18   V. L. Martinez        0.30 C300       Correspond with T. Ryan            210.00
                                                 regarding document holds
07/18/18   S. E.                 0.80 c300       Review recent court opinion        560.00
           Lambrakopoulos                        with related emails
07/18/18   V. L. Martinez        0.10 C300       Call J. Crowe to discuss            70.00
                                                 recent court decision
07/19/18   S. E.                 0.30 C300       Various e-mails with co-           210.00
           Lambrakopoulos                        counsel on recent court
                                                 opinion
07/19/18   V. L. Martinez        0.50 C300       Hold a call with co-counsel        350.00
                                                 to discuss potential
                                                 responses to recent
                                                 decision, and draft an email
                                                 to client, T. Ryan and S.
                                                 Lambrakopoulos regarding
                                                 the same
                            TOTAL FEES                 3.70 hrs              $     2,590.00


                                 TIMEKEEPER SUMMARY

S. E. Lambrakopoulos                 2.30 hrs at    $       700.00 / hr           1,610.00
V. L. Martinez                       1.40 hrs at    $       700.00 / hr             980.00
                            TOTAL FEES                  3.70 hrs            $     2,590.00
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15   Exhibit Time
                            Entries Part 1 Pg 316 of 335
                                                                  Invoice # 3551822
                                                                     0236915.00030
                                                                         Page 3 of 3


                               TASK CODE SUMMARY

C300    Analysis and Advice                      0.50   hrs                 350.00
c300    Analysis and Advice                      0.70   hrs                 490.00
C300    Analysis and Advice                      0.80   hrs                 560.00
c300    Analysis and Advice                      0.80   hrs                 560.00
C300    Analysis and Advice                      0.90   hrs                 630.00
                        TOTAL FEES               3.70   hrs        $      2,590.00
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 317 of 335

                                          K&L GATES LLP
                                          925 FOURTH AVENUE
                                          SUITE 2900
                                          SEATTLE, WA 98104-1158
                                          T 206.623.7580 F 206.623.7022 klgates.com
                                          Tax ID No. 25 0921018




 Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      August 6, 2018
 1000 Westinghouse Drive                                                                       Invoice Number                       :      3546462
 Cranberry Township, PA 16066                                                                  Services Through                     :      July 31, 2018
                                                                                               Our File Number                      :      0236915




                                                       INVOICE SUMMARY BY MATTER

Subpoena Response - eDAT Fees (70030)

        Disbursements and Other Charges                                                    $            1,049.54
        Total Amount Due This Matter                                                                                                             $           1,049.54



CURRENT INVOICE DUE - All Matters                                                                                                                $           1,049.54




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057




Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew           Doc 3955-7         Filed 09/25/18 Entered 09/25/18 13:03:15                             Exhibit Time
                                         Entries Part 1 Pg 318 of 335

                                                                                                       Invoice # 3546462
                                                                                                                 0236915
                                                                                                              Page 2 of 2



 Subpoena Response - eDAT Fees (70030)                                                                       $1,049.54

                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
07/31/18         Ringtail Fees: July 2018 7 Web Licenses @ $50/month: $350.00                                       350.00
07/31/18         Ringtail Fees: July 2018 Data Storage Fees: 46.63581 GB @                                          699.54
                 $15.00/GB: $699.54
                                DISBURSEMENTS & OTHER CHARGES                 $                                   1,049.54

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                                                 MATTER SUMMARY

Disbursements and Other Charges                                                                          $        1,049.54
MATTER TOTAL                                                                                             $        1,049.54
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 319 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      May 24, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3514192
Cranberry Township, PA 16066                                                                  Services Through                     :      April 30, 2018




 0236915.00032                     D&O Insurance matters



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $           4,480.00

CURRENT INVOICE DUE                                                                                                                              $           4,480.00




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew       Doc 3955-7     Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
                                 Entries Part 1 Pg 320 of 335
                                                                            Invoice # 3514192
                                                                               0236915.00032
                                                                                   Page 2 of 2

                                            FEES

DATE           NAME                HRS TASK        DESCRIPTION                    AMOUNT
04/12/18       T. M. Reiter        1.40 L120       Review client emails and         980.00
                                                   attachments
04/16/18       T. M. Reiter        1.20 L120       Review documents                  840.00
                                                   regarding insurance claim
                                                   and emails to client
04/17/18       T. M. Reiter        1.70 L120       Draft and review letter to       1,190.00
                                                   carrier and review emails
                                                   and policy
04/25/18       T. M. Reiter        0.40 L120       Telephone conference with         280.00
                                                   broker regarding insurance
04/27/18       T. M. Reiter        1.70 L120       Prepare for and telephone        1,190.00
                                                   conference with insurer and
                                                   broker regarding coverage
                                                   issues
                              TOTAL FEES                6.40 hrs              $     4,480.00


                                   TIMEKEEPER SUMMARY

T. M. Reiter                           6.40 hrs at    $       700.00 / hr           4,480.00
                              TOTAL FEES                  6.40 hrs           $      4,480.00



                                    TASK CODE SUMMARY

L120       Analysis/Strategy                              6.40 hrs                  4,480.00
                            TOTAL FEES                    6.40 hrs           $      4,480.00
17-10751-mew          Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                               Entries Part 1 Pg 321 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                         Invoice Date                          :      June 23, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3389819
Cranberry Township, PA 16066                                                          Services Through                      :      May 31, 2017




 0236915.00034           Non-adverse compliance and insurance advice



                                                         INVOICE SUMMARY

Fees                                                                                                                                     $           1,680.00
Disbursements and Other Charges                                                                                                          $              67.56

CURRENT INVOICE DUE                                                                                                                      $           1,747.56


Trust Balance on this Matter: $888,965.92




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7     Filed 09/25/18 Entered 09/25/18 13:03:15 Exhibit Time
                               Entries Part 1 Pg 322 of 335
                                                                    Invoice # 3389819
                                                                       0236915.00034
                                                                           Page 2 of 2


                                          FEES

DATE         NAME                HRS TASK        DESCRIPTION                     AMOUNT
05/30/17     P. W. Sweeney       0.30 B110       Review of documents               210.00
                                                 regarding CPUC arbitration
                                                 and potential disclosure of
                                                 proprietary information
05/30/17     P. W. Sweeney        0.30 B110      Conversation with client          210.00
                                                 regarding steps to protect
                                                 disclosure of said
                                                 information
05/31/17     R. W. Hosking        1.50 L120      Conferences and emails          1,050.00
                                                 with K. Brode and P.
                                                 Sweeney
05/31/17     P. W. Sweeney        0.30 L190      Draft edits to proposed           210.00
                                                 declaration to be submitted
                                                 with motion to seal in
                                                 CPUC proceeding
                             TOTAL FEES               2.40 hrs               $    1,680.00


                                 TIMEKEEPER SUMMARY

R. W. Hosking                         1.50 hrs at   $       700.00 / hr          1,050.00
P. W. Sweeney                         0.90 hrs at   $       700.00 / hr            630.00

                             TOTAL FEES                 2.40 hrs            $     1,680.00



                                  TASK CODE SUMMARY

B110       Case Administration                          0.60 hrs                   420.00
L120       Analysis/Strategy                            1.50 hrs                 1,050.00
L190       Other Case Assessment, Development           0.30 hrs                   210.00
           and
                            TOTAL FEES                  2.40 hrs            $     1,680.00



                         DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                      AMOUNT
Pacer Research                                                                       7.10
Westlaw Research                                                                   60.46
                             DISBURSEMENTS & OTHER CHARGES                  $       67.56
17-10751-mew
BTK00117


                       Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                                Entries Part 1 Pg 323 of 335
                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                         Invoice Date                          :      July 24, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3410075
Cranberry Township, PA 16066                                                          Services Through                      :      June 30, 2017




  0236915.00034          Non-adverse compliance and insurance advice


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $           1,820.00

CURRENT INVOICE DUE                                                                                                                       $           1,820.00

Trust Balance on this Matter: $888,965.92




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
                                Entries Part 1 Pg 324 of 335
                                                                           Invoice # 3410075
                                                                              0236915.00034
                                                                                  Page 2 of 2

                                           FEES

DATE         NAME                 HRS TASK        DESCRIPTION                     AMOUNT
06/06/17     R. W. Hosking        0.40 P210       Conferences and emails            280.00
                                                  with client
06/06/17     R. W. Hosking        0.40 P210       T. Reiter regarding                280.00
                                                  insurance issue
06/06/17     R. W. Hosking        1.80 P210       Address bankruptcy issues        1,260.00
06/30/17     R. W. Hosking        0.00 L120       Redacted    issues; emails,          0.00
                                                  etc.
                             TOTAL FEES                2.60 hrs               $     1,820.00


                                  TIMEKEEPER SUMMARY

R. W. Hosking                         2.60 hrs at    $       700.00 / hr           1,820.00
                             TOTAL FEES                  2.60 hrs            $     1,820.00



                                   TASK CODE SUMMARY

P210       Corporate Review                              2.60 hrs                  1,820.00
                           TOTAL FEES                    2.60 hrs            $     1,820.00
17-10751-mew
BTK00117


                       Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                                Entries Part 1 Pg 325 of 335
                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                         Invoice Date                          :      August 15, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3419032
Cranberry Township, PA 16066                                                          Services Through                      :      July 31, 2017




  0236915.00034          Non-adverse compliance and insurance advice


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $           6,440.00
Disbursements and Other Charges                                                                                                           $              16.00

CURRENT INVOICE DUE                                                                                                                       $           6,456.00

Trust Balance on this Matter: $870,330.92




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
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                                                                           Invoice # 3419032
                                                                              0236915.00034
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                                           FEES

DATE         NAME                 HRS TASK        DESCRIPTION                     AMOUNT
07/12/17     R. W. Hosking        0.90 B110       Internal follow up regarding      630.00
                                                  client inquiry with notes
                                                  regarding same
07/13/17     R. W. Hosking        0.10 B110       Audit letter review                 70.00
07/13/17     R. W. Hosking        0.60 B110       Review of files and matters        420.00
07/13/17     R. W. Hosking        0.70 B110       Internal emails regarding          490.00
                                                  response
07/17/17     R. W. Hosking        2.00 B110       Review of matters and files      1,400.00
                                                  for audit response
07/18/17     R. W. Hosking        1.00 B110       Review of matters for audit        700.00
                                                  response and conference
                                                  with client regarding same
07/19/17     R. W. Hosking        0.70 B110       Review audit responses             490.00
07/24/17     R. W. Hosking        0.50 B110       Emails regarding audit             350.00
                                                  response
07/24/17     R. W. Hosking        1.50 B110       Review and address               1,050.00
                                                  material issues/matters
07/28/17     R. W. Hosking        1.20 B110       Follow up on insurance and         840.00
                                                  DOJ third-party subpoena
                                                  issues
                             TOTAL FEES                9.20 hrs               $     6,440.00


                                  TIMEKEEPER SUMMARY

R. W. Hosking                         9.20 hrs at    $       700.00 / hr           6,440.00
                             TOTAL FEES                  9.20 hrs            $     6,440.00



                                   TASK CODE SUMMARY

B110       Case Administration                           9.20 hrs                  6,440.00
                           TOTAL FEES                    9.20 hrs            $     6,440.00


                         DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                       AMOUNT
Long Distance Courier                                                               16.00
                             DISBURSEMENTS & OTHER CHARGES                   $       16.00
17-10751-mew          Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                               Entries Part 1 Pg 327 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      September 28, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3426893
Cranberry Township, PA 16066                                                         Services Through                      :      August 31, 2017




 0236915.00034          Non-adverse compliance and insurance advice


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $            3,430.00

CURRENT INVOICE DUE                                                                                                                      $            3,430.00

Trust Balance on this Matter: $870,330.92




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
                                Entries Part 1 Pg 328 of 335
                                                                           Invoice # 3426893
                                                                              0236915.00034
                                                                                  Page 2 of 2

                                           FEES

DATE         NAME                 HRS    TASK     DESCRIPTION                    AMOUNT
08/03/17     R. W. Hosking        0.30   b110     Audit response                   210.00
08/03/17     R. W. Hosking        0.50   b110     Due diligence                    350.00
08/03/17     R. W. Hosking        0.40   b110     Emails/conferences               280.00
                                                  regarding audit due
                                                  diligence
08/04/17     R. W. Hosking        0.80 C300       Review and finalize audit         560.00
                                                  response
08/08/17     R. W. Hosking        1.50 B110       Review due diligence             1,050.00
                                                  documents supporting audit
                                                  response
08/16/17     R. W. Hosking        0.20 c300       Conference with J. Pricener       140.00
08/24/17     R. W. Hosking        1.20 C300       Emails to/from client             840.00
                                                  regarding new matters and
                                                  attention to new matters
                             TOTAL FEES                4.90 hrs             $      3,430.00


                                  TIMEKEEPER SUMMARY

R. W. Hosking                         4.90 hrs at    $       700.00 / hr           3,430.00
                             TOTAL FEES                  4.90 hrs           $      3,430.00



                                   TASK CODE SUMMARY

B110       Case Administration                           1.50   hrs                1,050.00
b110       Case Administration                           1.20   hrs                  840.00
C300       Analysis and Advice                           0.80   hrs                  560.00
c300       Analysis and Advice                           0.20   hrs                  140.00
C300       Analysis and Advice                           1.20   hrs                  840.00
                           TOTAL FEES                    4.90   hrs         $      3,430.00
17-10751-mew          Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                               Entries Part 1 Pg 329 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      November 13, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3450607
Cranberry Township, PA 16066                                                         Services Through                      :      October 31, 2017




 0236915.00034          Non-adverse compliance and insurance advice


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $         11,760.00

CURRENT INVOICE DUE                                                                                                                      $         11,760.00




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
                                Entries Part 1 Pg 330 of 335
                                                                          Invoice # 3450607
                                                                             0236915.00034
                                                                                 Page 2 of 2

                                           FEES

DATE         NAME                 HRS TASK        DESCRIPTION                    AMOUNT
10/04/17     R. W. Hosking        2.80 B110       Review RFP regarding            1,960.00
                                                  immigration work
10/17/17     R. W. Hosking        1.50 B120       Conferences regarding           1,050.00
                                                  response to RFP
10/18/17     R. W. Hosking        3.40 B110       Manage issues related to        2,380.00
                                                  response to RFP
10/19/17     R. W. Hosking        1.60 B110       Conferences with client         1,120.00
                                                  regarding RFP
10/25/17     R. W. Hosking        1.80 B110       Prepare for client meeting      1,260.00
10/26/17     R. W. Hosking        4.50 B110       Attend client meeting           3,150.00
10/27/17     R. W. Hosking        1.20 B110       Review and organize               840.00
                                                  follow-up from client
                                                  meeting
                             TOTAL FEES               16.80 hrs              $   11,760.00


                                  TIMEKEEPER SUMMARY

R. W. Hosking                         16.80 hrs at   $    700.00 / hr            11,760.00
                             TOTAL FEES              16.80 hrs              $    11,760.00



                                   TASK CODE SUMMARY

B110       Case Administration                       15.30 hrs                   10,710.00
B120       Asset Analysis and Recovery                1.50 hrs                    1,050.00
                            TOTAL FEES               16.80 hrs              $    11,760.00
17-10751-mew          Doc 3955-7                Filed 09/25/18 Entered 09/25/18 13:03:15                                                         Exhibit Time
                                               Entries Part 1 Pg 331 of 335
                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      December 14, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3464383
Cranberry Township, PA 16066                                                         Services Through                      :      November 30, 2017




 0236915.00034          Non-adverse compliance and insurance advice


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $           1,890.00

CURRENT INVOICE DUE                                                                                                                      $           1,890.00




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew     Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15         Exhibit Time
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                                                                           Invoice # 3464383
                                                                              0236915.00034
                                                                                  Page 2 of 2

                                           FEES

DATE         NAME                 HRS TASK        DESCRIPTION                     AMOUNT
11/27/17     R. W. Hosking        2.70 B110       Coordinate on issues             1,890.00
                                                  related to Project M matter
                             TOTAL FEES                2.70 hrs               $     1,890.00


                                  TIMEKEEPER SUMMARY

R. W. Hosking                         2.70 hrs at    $       700.00 / hr           1,890.00
                             TOTAL FEES                  2.70 hrs            $     1,890.00



                                   TASK CODE SUMMARY

B110       Case Administration                           2.70 hrs                  1,890.00
                           TOTAL FEES                    2.70 hrs            $     1,890.00
17-10751-mew                     Doc 3955-7               Filed 09/25/18 Entered 09/25/18 13:03:15                                                       Exhibit Time
                                                         Entries Part 1 Pg 333 of 335
                                          K&L GATES LLP
                                          K&L GATES CENTER
                                          210 SIXTH AVENUE
                                          PITTSBURGH, PA 15222-2613
                                          T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                          Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                                 Invoice Date                         :      February 5, 2018
1000 Westinghouse Drive                                                                       Invoice Number                       :      3480055
Cranberry Township, PA 16066                                                                  Services Through                     :      December 31, 2017




 0236915.00034                     Non-adverse compliance and insurance advice



                                                                    INVOICE SUMMARY

Fees                                                                                                                                             $         23,310.00

CURRENT INVOICE DUE                                                                                                                              $         23,310.00

Trust Balance on this Matter: $870,330.92




                                                                         Due and Payable upon Receipt
                 Mail To: K&L Gates LLP, P.O. Box 844255, Boston, MA 02284-4255
        Overnight/Courier: PNC Bank C/O K&L Gates LLP, Lockbox #844255, 20 Commerce Way - Ste 800, Woburn, MA 01801-1057
Wire/ACH/EDI Instructions: Receiving Bank: PNC Bank N.A,                            Beneficiary: K&L Gates LLP             Routing/ABA: 043000096
                                              500 First Ave 92                      Acct No.: 1077692783                   Swift Code: PNCCUS33
                                              Pittsburgh, PA 15219
Please reference client/matter number in electronic payment details and email the remittance advice to AccountsReceivableSEA@klgates.com with invoice number(s) and amounts.


             PLEASE NOTE NEW REMITTANCE ADDRESS
17-10751-mew   Doc 3955-7    Filed 09/25/18 Entered 09/25/18 13:03:15        Exhibit Time
                            Entries Part 1 Pg 334 of 335
                                                                       Invoice # 3480055
                                                                          0236915.00034
                                                                              Page 2 of 3

                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
12/05/17   R. W. Hosking      3.00 B110       Internal conferences and        2,100.00
                                              analysis regarding global
                                              immigration issues
12/07/17   R. W. Hosking      3.00 B110       Internal conferences            2,100.00
                                              regarding global
                                              immigration issues
12/07/17   R. W. Hosking      2.00 B110       Review immigration matters      1,400.00
                                              for client and prepare notes
12/11/17   R. W. Hosking      1.50 B110       Conferences with client         1,050.00
                                              regarding employees
12/11/17   R. W. Hosking      2.50 B110       Internal conferences            1,750.00
                                              regarding WEC employee
                                              issues
12/12/17   R. W. Hosking      0.50 B110       Conferences with client           350.00
                                              regarding bankruptcy
                                              management issues
12/12/17   R. W. Hosking      0.50 B110       Conferences with client           350.00
                                              regarding employee issues
12/12/17   R. W. Hosking      2.00 B110       Internal conferences and        1,400.00
                                              notes regarding bankruptcy
                                              management issues
12/13/17   R. W. Hosking      3.50 B110       Conferences and emails          2,450.00
                                              with client regarding new
                                              contract issues
12/15/17   R. W. Hosking      2.00 B110       Review and comment on           1,400.00
                                              interim fee application
12/15/17   R. W. Hosking      1.30 B110       Follow up analysis and            910.00
                                              notes regarding new
                                              contract issues
12/18/17   R. W. Hosking      1.20 B110       Conferences and emails            840.00
                                              with consultant regarding
                                              immigration issues
12/18/17   R. W. Hosking      1.60 B110       Internal conferences            1,120.00
                                              regarding immigration
                                              issues
12/20/17   R. W. Hosking      3.50 B110       Review SC litigation            2,450.00
                                              matters and prepare notes
                                              regarding same
12/21/17   R. W. Hosking      0.70 B110       Emails with Carl Voltz in         490.00
                                              Chicago office
12/21/17   R. W. Hosking      1.30 B110       Review litigation papers          910.00
                                              and analyze strategy
                                              regarding witness issues in
                                              SC litigation and provide
                                              internal advice regarding
                                              same
12/26/17   R. W. Hosking      0.80 B110       Emails with Carl Voltz in         560.00
17-10751-mew     Doc 3955-7      Filed 09/25/18 Entered 09/25/18 13:03:15       Exhibit Time
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                                                                         Invoice # 3480055
                                                                            0236915.00034
                                                                                Page 3 of 3

DATE         NAME                 HRS TASK       DESCRIPTION                    AMOUNT
                                                 Chicago office
12/26/17     R. W. Hosking        2.40 B110      Review litigation papers        1,680.00
                                                 and analyze strategy
                                                 regarding witness issues in
                                                 SC litigation and provide
                                                 internal advice regarding
                                                 same
                             TOTAL FEES              33.30 hrs              $   23,310.00


                                  TIMEKEEPER SUMMARY

R. W. Hosking                         33.30 hrs at   $    700.00 / hr           23,310.00
                             TOTAL FEES              33.30 hrs             $    23,310.00



                                   TASK CODE SUMMARY

B110       Case Administration                       33.30 hrs                  23,310.00
                           TOTAL FEES                33.30 hrs             $    23,310.00
